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                                     STAFF REPORT ON BILL 21-22E
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                    Committee: PS                                                             AGENDA ITEM #4B
                    Committee Review: Completed                                              November 15, 2022
                    Staff: Christine Wellons, Senior Legislative Attorney                               Action
   Montgomery       Purpose: Final action – vote expected
  County Council
                    Keywords: #FirearmsInPublicPlaces


     SUBJECT
     Expedited Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly
     Lead Sponsors: Council President Albornoz
     Co-Sponsors: Councilmembers Hucker, Friedson, Navarro, Jawando, Riemer, and Katz; Council Vice-
     President Glass; and Councilmember Rice
     EXPECTED ATTENDEES
        N/A

     COUNCIL DECISION POINTS & COMMITTEE RECOMMENDATION
        •   Action – Council vote expected
        •   The Public Safety Committee (3-0) recommends enactment of Bill 21-22 as amended.

     DESCRIPTION/ISSUE
     Expedited Bill 21-22 would:
            (1)     prohibit the possession of firearms in or near places of public assembly, with certain
                    exemptions;
            (2)     remove an exemption that allows individuals with certain handgun permits to possess
                    handguns within 100 yards of a place of public assembly: and
            (3)     generally amend the law regarding restrictions against firearms in the County.

     SUMMARY OF KEY DISCUSSION POINTS
     The PS Committee recommends the enactment of Expedited Bill 21-22 with amendments to:
                •   clarify the definition of “place of public assembly” in light of recent Supreme Court
                    jurisprudence;
                •   update provisions regarding ghost guns due to changes in Maryland law; and
                •   expressly add a severability clause to Chapter 57 of the County Code.

     This report contains:
            Staff Report                                                                   Pages 1-8
            Expedited Bill 21-22                                                           ©1
            Legislative Request Report                                                     ©7
            Fiscal Impact Statement                                                        ©8
            Racial Equity and Social Justice Impact Statement                              © 10
            Economic Impact Statement                                                      © 16
            Public Testimony                                                               © 18

                                      EXHIBIT D
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            Bruen Decision                                                            © 84



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     Compliance Manager can also be reached at 240-777-6197 (TTY 240-777-6196) or at
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                                                                                         Agenda Item #4B
                                                                                        November 15, 2022
                                                                                                   Action


                                             MEMORANDUM


                                                                                        November 10, 2022


        TO:            County Council

        FROM:          Christine Wellons, Senior Legislative Attorney

        SUBJECT:       Expedited Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly
        PURPOSE:       Final action – roll call vote expected

                 Committee recommendation (3-0): approval of Bill 21-22 with amendments

               Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly, sponsored by Lead
        Sponsor Council President Albornoz and Co-Sponsored by Councilmembers Hucker, Friedson,
        Navarro, Jawando, Riemer, Katz, Council Vice-President Glass and Councilmember Rice, was
        introduced on July 12, 2022. A Public Hearing occurred on July 26, 2022 and a Public Safety
        Committee worksession was held on October 31, 2022. Final action is scheduled for November
        15, 2022.
               Expedited Bill 21-22 would:
               (1)     prohibit the possession of firearms in or near places of public assembly, with
                       certain exemptions;
               (2)     remove an exemption that allows individuals with certain handgun permits to
                       possess handguns within 100 yards of a place of public assembly: and
               (3)     generally amend the law regarding restrictions against firearms in the County.


               BACKGROUND

                In the Supreme Court decision of New York State Rifle & Pistol Assn. v. Bruen, Superintendent
        of New York State Police, Slip Opinion No. 20-843 (June 23, 2022), available at
        https://www.supremecourt.gov/opinions/21pdf/20-843_7j80.pdf, the Supreme Court overturned a
        requirement of New York’s handgun carry law. The New York law had required an applicant for a
        handgun carry license to show “proper cause” for the license, and the Supreme Court held that the
        requirement violated the Second Amendment’s right to bear arms. The Court explained, however,
        that “longstanding” “laws forbidding the carrying of firearms in sensitive places such as schools
        and government buildings” are constitutionally permissible.
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                 Like New York, Maryland has a proper-cause requirement for wear-and-carry handgun
        licenses. See Md. Code Ann., Public Safety Section 5-306. Governor Hogan, in response to Bruen,
        instructed the Maryland State Police not to enforce the proper-cause element of the Maryland law.
        https://governor.maryland.gov/2022/07/05/governor-hogan-directs-maryland-state-police-to-
        suspend-good-and-substantial-reason-standard-for-wear-and-carry-permits/.      Subsequently, the
        Court of Special Appeals struck down Maryland’s proper cause requirement in late July. In re Rounds,
        255 Md. App. 205 (2022).

                As a result of the Supreme Court eliminating “just cause” requirements, more individuals in
        Maryland likely will carry firearms, regardless of whether the individuals have any good or substantial
        reason to carry them.

               BILL SPECIFICS

                Expedited Bill 21-22 would prevent an individual from possessing a firearm within 100
        yards of a place of public assembly even when the individual has a wear-and-carry permit from
        the State of Maryland. This restriction would strengthen current County law, which exempts
        individuals with permits from the restriction against carrying weapons within 100 yards of places of
        public assembly.

               LEGAL FRAMEWORK

               Maryland law specifically allows counties to regulate the possession of certain firearms
        within 100 yards of a place of public assembly. Under the Criminal Law Article of the Maryland
        Code, § 4-209:

               State preemption
              (a) Except as otherwise provided in this section, the State preempts the right of a county,
        municipal corporation, or special taxing district to regulate the purchase, sale, taxation, transfer,
        manufacture, repair, ownership, possession, and transportation of:
                       (1) a handgun, rifle, or shotgun; and
                       (2) ammunition for and components of a handgun, rifle, or shotgun.
               Exceptions
               (b)(1) A county, municipal corporation, or special taxing district may regulate the
        purchase, sale, transfer, ownership, possession, and transportation of the items listed in
        subsection (a) of this section:
                               (i) with respect to minors;
                               (ii) with respect to law enforcement officials of the subdivision; and
                              (iii) except as provided in paragraph (2) of this subsection, within 100
                       yards of or in a park, church, school, public building, and other place of public
                       assembly.

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               (2) A county, municipal corporation, or special taxing district may not prohibit the teaching
        of or training in firearms safety, or other educational or sporting use of the items listed in
        subsection (a) of this section.
        (Emphasis added).

                There are many instances in which the State limits a person’s ability to carry a weapon,
        regardless of whether the person has a permit. See the Maryland State Police website,
        https://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDivision/
        Firearms/WearandCarryPermit.aspx, which lists numerous state areas, such as State parks and
        State buildings, where a concealed carry permit does not apply. Currently, the State law prevents
        permit carriers from possessing firearms at specific locations including school property, state
        buildings (not County buildings), state parks, the General Assembly, aircraft, Maryland Rest
        Areas, and certain daycares. See id.
                Notably, these restricted areas identified by the State Police do not include certain areas
        within the County’s broader definition of “place of public assembly” – which was amended under
        Bill 4-21 bill to mean “a place where the public may assemble, whether the place is publicly or
        privately owned, including a park; place of worship; school; library; recreational facility; hospital;
        community health center; long-term facility; or multipurpose exhibition facility, such as a
        fairgrounds or conference center. A place of public assembly includes all property associated with
        the place, such as a parking lot or grounds of a building.”
               SUMMARY OF PUBLIC HEARING
                 On July 26, 2022, the Council heard extensive testimony regarding Expedited Bill 21-22.
        (©15). Many speakers supported the bill as necessary for public safety. Many speakers opposed
        the bill based upon Second Amendment and safety concerns.
               SUMMARY OF PUBLIC SAFETY WORKSESSION
               The Committee discussed the following issues, and adopted the following amendments.
               1.      Supreme Court Approach to Identifying “Sensitive Places” – i.e., places where
                       Guns may be Banned
                Prior to Bruen, the judicial test to review firearms regulations consisted of two parts: (1)
        whether a gun regulation was consistent with Constitutional text and history; and (2) whether the
        regulation satisfied a means-ends balancing test (consisting of strict or intermediate scrutiny).
        Under Bruen, the Court has shifted so that only the first part of the test now matters; if the court
        concludes that a regulation is not consistent with the Constitutional text and history, it is invalid.
        It can no longer be resuscitated by a balancing test.
               In Bruen, the Supreme Court explicitly rejected New York’s identification of “sensitive
        places” where firearms may be banned, even for individuals who have wear-and-carry permits:
                       Although we have no occasion to comprehensively define “sensitive places” in this
                       case, we do think respondents err in their attempt to characterize New York’s
                       proper-cause requirement as a “sensitive-place” law. In their view, “sensitive
                                                      3
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                       places” where the government may lawfully disarm law-abiding citizens include
                       all “places where people typically congregate and where law-enforcement and
                       other public-safety professionals are presumptively available.” Brief for
                       Respondents 34. It is true that people sometimes congregate in “sensitive places,”
                       and it is likewise true that law enforcement professionals are usually presumptively
                       available in those locations. But expanding the category of “sensitive places”
                       simply to all places of public congregation that are not isolated from law
                       enforcement defines the category of “sensitive places” far too broadly.
                       Respondents’ argument would in effect exempt cities from the Second Amendment
                       and would eviscerate the general right to publicly carry arms for self-defense….
                       Slip opinion at 21 (emphasis added).
                The Court went on to identify five locations – schools, legislative assemblies, government
        buildings, polling places, and courthouses – it considers to be “sensitive places” where weapons
        may be totally prohibited. The Court left open the possibility that other locations where weapons
        were historically banned – or the modern counterparts of those locations – might qualify as
        “sensitive places.”
                       .…[A]nalogical reasoning requires only that the government identify a well-
                       established and representative historical analogue, not a historical twin. So even
                       if a modern-day regulation is not a dead ringer for historical precursors, it still
                       may be analogous enough to pass constitutional muster.
                       Consider, for example, Heller’s discussion of “longstanding” “laws forbidding the
                       carrying of firearms in sensitive places such as schools and government
                       buildings.” 554 U. S., at 626. Although the historical record yields relatively few
                       18th- and 19th-century “sensitive places” where weapons were altogether
                       prohibited—e.g., legislative assemblies, polling places, and courthouses—we are
                       also aware of no disputes regarding the lawfulness of such prohibitions. See D.
                       Kopel & J. Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L. Rev. 205,
                       229–236, 244–247 (2018); see also Brief for Independent Institute as Amicus
                       Curiae 11–17. We therefore can assume it settled that these locations were
                       “sensitive places” where arms carrying could be prohibited consistent with the
                       Second Amendment. And courts can use analogies to those historical regulations
                       of “sensitive places” to determine that modern regulations prohibiting the carry
                       of firearms in new and analogous sensitive places are constitutionally
                       permissible.
                       Slip opinion at 21 (emphasis added).
               2.      Amendments to the Definition of “Place of Public Assembly”
               The County currently defines a “place of public assembly” as follows:
                       Place of public assembly: A “place of public assembly” is a place where the public
                       may assemble, whether the place is publicly or privately owned, including a park;
                       place of worship; school; library; recreational facility; hospital; community health
                                                         4
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                        center; long-term facility; or multipurpose exhibition facility, such as a fairgrounds
                        or conference center. A place of public assembly includes all property associated
                        with the place, such as a parking lot or grounds of a building. (Sec. 57-1).
                In order to make this definition more closely aligned with Bruen’s approach to “sensitive
        places” (as discussed above) – and in order to include places that Bruen has specifically said do qualify
        as “sensitive places” – the Committee voted to adopt the following amendment.

        After line 1, add the following.

        57-1. Definitions

                                                       *         *   *

                        Place of public assembly: A “place of public assembly” is:
                        (1)     a [place where the public may assemble, whether the place is] publicly or
                                privately owned:[, including a]
                                (A)        park;
                                (B)        place of worship;
                                (C)        school;
                                (D)        library;
                                (E)        recreational facility;
                                (F)        hospital;
                                (G)        community health center, including any health care facility or
                                           community-based program licensed by the Maryland Department of
                                           Health;
                                (H)        long-term facility, including any licensed nursing home, group
                                           home, or care home; [or]
                                (I)        multipurpose exhibition facility, such as a fairgrounds or conference
                                           center; or
                                (J)        childcare facility;
                        (2)     government building, including any place owned by or under the control of
                                the County;
                        (3)     polling place;
                        (4)     courthouse;
                        (5)     legislative assembly; or


                                                                 5
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                        (6)     a gathering of individuals to collectively express their constitutional right
                                to protest or assemble.
                        A “place of public assembly” includes all property associated with the place, such
                        as a parking lot or grounds of a building.
                                                    *       *        *

                3.      Severability Clause

                Given the fluctuating jurisprudence regarding the Second Amendment, the Committee voted
        to add a “severability clause” to the bill. The purpose of the severability clause is to explicitly reflect
        the Council’s intent that if any portion of the bill is found to be invalid, the remainder of the bill must
        remain in effect. This is important so that if a court were to strike down portions of the County’s law
        against carrying firearms in “places of public assembly”, the remainder of the law would be
        enforceable.

        After line 31, insert the following.

                Sec. 3. Severability. If any provision of this Act, or any provision of Chapter 57, is found to
        be invalid by the final judgment of a court of competent jurisdiction, the remaining provisions must
        be deemed severable and must continue in full force and effect.

                4.      Alignment with Maryland Law

               After the adoption of Council Bill 4-21 (Ghost Guns), the General Assembly adopted ghost
        gun legislation requested by Attorney General Frosh (Chapter 1 of the 2022 Laws of Maryland).

                In order to align County ghost gun definitions with those of the new state law – and in
        order to acknowledge that the ghost gun laws must be interpreted in accordance with regulations
        of the federal Bureau of Alcohol, Tobacco, Firearms, and Explosives – the Committee adopted the
        following amendments.

        After line 1, add the following.

        57-1. Definitions

                                                    *       *        *

                Gun or firearm: Any rifle, shotgun, revolver, pistol, ghost gun, undetectable gun, air gun,
                air rifle or any similar mechanism by whatever name known which is designed to expel a
                projectile through a gun barrel by the action of any explosive, gas, compressed air, spring
                or elastic.
                                                  *       *       *

                        (2)     “Ghost gun” means a firearm, including an unfinished frame or receiver,
                                that:


                                                            6
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                              (A)     lacks a unique serial number engraved or cased in metal alloy on the
                                      frame or receiver by a licensed manufacturer, maker or importer
                                      [under] in accordance with federal law; and
                              (B)     lacks markings and is not registered with the Secretary of the State
                                      Police in accordance with [27 C.F.R. § 479.102] Section 5-
                                      703(b)(2)(ii) of the Public Safety Article of the Maryland Code.
                              [It] “Ghost gun” does not include a firearm that has been rendered
                              permanently inoperable, or a firearm that is not required to have a serial
                              number in accordance with the Federal Gun Control Act of 1968.
                                                 *      *       *

                       (8)    “Undetectable gun” means:
                                                 *      *       *

                       (9)    “Unfinished frame or receiver” means a forged, cast, printed, extruded, or
                              machined body or similar article that has reached a stage in manufacture
                              where it may readily be completed, assembled, or converted to be used as
                              the frame or receiver of a functional firearm.
        Add the following uncodified section to Bill 21-22.

                Sec. 4. This Act and Chapter 57 must be construed in a manner that is consistent with
        regulations of the federal Bureau of Alcohol, Tobacco, Firearms, and Explosives, including 87 FR
        24652 (effective August 24, 2022), as amended.

               5.      Technical Correction
               The Committee voted to adopt the following technical amendment to correct a
        typographical error in Section 57-7(d).
        57-7. Access to guns by minors.
                                                 *      *       *

                (d)    A person must not purchase, sell, transfer, possess, or [transfer] transport a ghost
        gun, including a gun created through a 3D printing process, in the presence of a minor.


                                                 *      *       *

        NEXT STEP: Roll call vote on whether to enact Expedited Bill 21-22 with amendments, as
                   recommended by the Public Safety Committee.


        This packet contains:                                                              Circle #
           Expedited Bill 21-22                                                            1
           Legislative Request Report                                                      7
           Fiscal Impact Statement                                                         8
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           Racial Equity and Social Justice Impact Statement                       10
           Economic Impact Statement                                               16
           Public Testimony                                                        18
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                                                                     Expedited Bill No. 21-22
                                                                     Concerning: Weapons – Firearms In or
                                                                          Near Places of Public Assembly
                                                                     Revised: 11/10/2022         Draft No. 2
                                                                     Introduced:     July 12, 2022
                                                                     Expires:        January 12, 2024
                                                                     Enacted:
                                                                     Executive:
                                                                     Effective:
                                                                     Sunset Date: None
                                                                     Ch.        , Laws of Mont. Co.


                                COUNTY COUNCIL
                        FOR MONTGOMERY COUNTY, MARYLAND

                                 Lead Sponsor: Council President Albornoz
           Co-Sponsors: Councilmembers Hucker, Friedson, Jawando, Riemer, and Katz; Council Vice-
                                 President Glass; and Councilmember Rice

        AN EXPEDITED ACT to:
             (1)  prohibit the possession of firearms in or near places of public assembly, with certain
                  exemptions;
             (2)  remove an exemption that allows individuals with certain handgun permits to
                  possess handguns within 100 yards of a place of public assembly; and
             (3)  generally amend the law regarding restrictions against firearms in the County.

        By amending
              Montgomery County Code
              Chapter 57, Weapons
              [[Section]] Sections 57-1, 57-7, and 57-11


              Boldface                              Heading or defined term.
              Underlining                           Added to existing law by original bill.
              [Single boldface brackets]            Deleted from existing law by original bill.
              Double underlining                    Added by amendment.
              [[Double boldface brackets]]          Deleted from existing law or the bill by amendment.
              * * *                                 Existing law unaffected by bill.

        The County Council for Montgomery County, Maryland approves the following Act:




                                                                                                          (1)
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                                                                            EXPEDITED BILL NO. 21-22


    1         Sec. 1. [[Section]] Sections 57-1, 57-7, and 57-11 [[is]] are amended as
    2   follows:
    3   57-1. Definitions.
    4                                           *    *      *
    5                Gun or firearm: Any rifle, shotgun, revolver, pistol, ghost gun,
    6                undetectable gun, air gun, air rifle or any similar mechanism by
    7                whatever name known which is designed to expel a projectile through a
    8                gun barrel by the action of any explosive, gas, compressed air, spring or
    9                elastic.
   10                                           *    *      *
   11                (2)      “Ghost gun” means a firearm, including an unfinished frame or
   12                         receiver, that:
   13                         (A)    lacks a unique serial number engraved or cased in metal
   14                                alloy on the frame or receiver by a licensed manufacturer,
   15                                maker or importer [[under]] in accordance with federal
   16                                law; and
   17                         (B)    lacks markings and is not registered with the Secretary of
   18                                the State Police in accordance with [[27 C.F.R. § 479.102]]
   19                                Section 5-703(b)(2)(ii) of the Public Safety Article of the
   20                                Maryland Code.
   21                         [[It]] “Ghost gun” does not include a firearm that has been
   22                         rendered permanently inoperable, or a firearm that is not required
   23                         to have a serial number in accordance with the Federal Gun
   24                         Control Act of 1968.
   25                                           *    *      *
   26                (8)      “Undetectable gun” means:

                                                     -2-


                                                                                                (2)
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                                                                          EXPEDITED BILL NO. 21-22


   27                                       *    *       *
   28              (9)    “Unfinished frame or receiver” means a forged, cast, printed,
   29                     extruded, or machined body or similar article that has reached a
   30                     stage in manufacture where it may readily be completed,
   31                     assembled, or converted to be used as the frame or receiver of a
   32                     functional firearm.
   33

   34                                       *    *       *
   35              Place of public assembly: A “place of public assembly” is:
   36              (1)    a [[place where the public may assemble, whether the place is]]
   37                     publicly or privately owned:[[, including a]]
   38                     (A)   park;
   39                     (B)   place of worship;
   40                     (C)   school;
   41                     (D)   library;
   42                     (E)   recreational facility;
   43                     (F)   hospital;
   44                     (G)   community health center, including any health care facility
   45                           or community-based program licensed by the Maryland
   46                           Department of Health;
   47                     (H)   long-term facility, including any licensed nursing home,
   48                           group home, or care home; [[or]]
   49                     (I)   multipurpose exhibition facility, such as a fairgrounds or
   50                           conference center; or
   51                     (J)   childcare facility;



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                                                                                              (3)
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                                                                             EXPEDITED BILL NO. 21-22


   52               (2)    government building, including any place owned by or under the
   53                      control of the County;
   54               (3)    polling place;
   55               (4)    courthouse;
   56               (5)    legislative assembly; or
   57               (6)    a gathering of individuals to collectively express their
   58                      constitutional right to protest or assemble.
   59               A “place of public assembly” includes all property associated with the
   60               place, such as a parking lot or grounds of a building.
   61                                        *      *      *
   62   57-7. Access to guns by minors.
   63                                        *      *      *
   64         (d)   A person must not purchase, sell, transfer, possess, or [[transfer]]
   65               transport a ghost gun, including a gun created through a 3D printing
   66               process, in the presence of a minor.
   67                                        *      *      *
   68   57-11. Firearms in or near places of public assembly.
   69         (a)   In or within 100 yards of a place of public assembly, a person must not:
   70               (1)    sell, transfer, possess, or transport a ghost gun, undetectable gun,
   71                      handgun, rifle, or shotgun, or ammunition or major component
   72                      for these firearms; or
   73               (2)    sell, transfer, possess, or transport a firearm created through a 3D
   74                      printing process.
   75         (b)   This section does not:
   76               (1)    prohibit the teaching of firearms safety or other educational or
   77                      sporting use in the areas described in subsection (a);

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                                                                                                 (4)
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                                                                           EXPEDITED BILL NO. 21-22


   78                 (2)    apply to a law enforcement officer, or a security guard licensed to
   79                        carry the firearm;
   80                 (3)    apply to the possession of a firearm or ammunition, other than a
   81                        ghost gun or an undetectable gun, in the person’s own home;
   82                 (4)    apply to the possession of one firearm, and ammunition for the
   83                        firearm, at a business by either the owner who has a permit to
   84                        carry the firearm, or one authorized employee of the business
   85                        who has a permit to carry the firearm; or
   86                 (5)    [apply to the possession of a handgun by a person who has
   87                        received a permit to carry the handgun under State law; or]
   88                 [(6)] apply to separate ammunition or an unloaded firearm:
   89                        (A)   transported in an enclosed case or in a locked firearms rack
   90                              on a motor vehicle, unless the firearm is a ghost gun or an
   91                              undetectable gun; or
   92                        (B)   being surrendered in connection with a gun turn-in or
   93                              similar program approved by a law enforcement agency.
   94                                        *     *      *
   95         Sec. 2. Expedited Effective Date. The Council declares that this legislation
   96   is necessary for the immediate protection of the public interest. This Act takes effect
   97   on the date on which it becomes law.
   98         Sec. 3. Severability. If any provision of this Act, or any provision of Chapter
   99   57, is found to be invalid by the final judgment of a court of competent jurisdiction,
  100   the remaining provisions must be deemed severable and must continue in full force
  101   and effect.




                                                  -5-


                                                                                               (5)
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                                                                        EXPEDITED BILL NO. 21-22


  102         Sec. 4. This Act and Chapter 57 must be construed in a manner that is
  103   consistent with regulations of the federal Bureau of Alcohol, Tobacco, Firearms, and
  104   Explosives, including 87 FR 24652 (effective August 24, 2022), as amended.




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                                                                                            (6)
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                                   LEGISLATIVE REQUEST REPORT

                                                Bill 21-22
                          Weapons – Firearms in or Near Places of Public Assembly

     DESCRIPTION:        The bill would prohibit the possession of firearms in or near areas of
                         public assembly and remove an exemption that currently allows
                         individuals with certain handgun permits to possess weapons within
                         100 yards of a place of public assembly.

     PROBLEM:            Gun violence.

     GOALS AND           Protect the possession of certain areas within sensitive areas, e.,g., in
     OBJECTIVES:         or near places of public assembly.

     COORDINATION:       Montgomery County Police Department

     FISCAL IMPACT:      Office of Management and Budget

     ECONOMIC            Office of Legislative Oversight
     IMPACT:

     RACIAL EQUITY
     AND SOCIAL
     JUSTICE IMPACT:     Office of Legislative Oversight

     EVALUATION:         To be done.

     EXPERIENCE          State of Maryland
     ELSEWHERE:

     SOURCE OF           Christine Wellons, Senior Legislative Attorney
     INFORMATION:

     APPLICATION         Yes
     WITHIN
     MUNICIPALITIES:

     PENALTIES:          N/A




                                                                                                     (7)
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                                        Fiscal Impact Statement
                  Bill 21-22 – Weapons – Firearms In or Near Places of Public Assembly


        1. Legislative Summary

           Bill 21-22 would prohibit the possession of firearms in or near places of public assembly,
           remove an exemption that allows individuals with certain handgun permits to possess
           handguns within 100 yards of a place of public assembly, and amend the law regarding
           restrictions against firearms in the County.

        2. An estimate of changes in County revenues and expenditures regardless of whether the
           revenues or expenditures are assumed in the recommended or approved budget.
           Includes source of information, assumptions, and methodologies used.

           The Bill’s impact on County expenditures is expected to be nominal. Changes in the number
           of calls for service are expected to be small and can be absorbed within the Montgomery
           County Police Department’s current staff complement. There is no anticipated impact on
           County revenues.

        3. Revenue and expenditure estimates covering at least the next 6 fiscal years.

           As stated in the response to question #2, the Bill’s impact on County expenditures is
           expected to be nominal, and there is no anticipated impact on County revenues.

        4. An Actuarial analysis through the entire amortization period for each bill that would
           affect retiree pension or group insurance costs.

           Not applicable.

        5. An estimate of expenditures related to County’s information technology (IT) systems,
           including Enterprise Resource Planning (ERP) systems.

           There is no anticipated impact on County information technology systems.

        6. Later actions that may affect future revenue and expenditures if the bill authorizes
           future spending.

           Bill 21-22 does not authorize future spending.

        7. An estimate of the staff time needed to implement the bill.

           Staff time required to administer the Bill is expected to be minimal. Officer training will be
           accomplished through an informational bulletin.

        8. An explanation of how the addition of new staff responsibilities would affect other
           duties.

           No new staff would be required.

                                                                                                        (8)
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        9. An estimate of costs when an additional appropriation is needed.

            Not applicable.

      10.   A description of any variable that could affect revenue and cost estimates.

            Not applicable.

      11.   Ranges of revenue or expenditures that are uncertain or difficult to project.

            The number of additional calls that the Emergency Communications Center (ECC) may
            receive in a calendar year due to this Bill is difficult to quantify, but is expected to be
            minimal. The Department will reevaluate after one year.

      12.   If a bill is likely to have no fiscal impact, why that is the case.

            See response to question #2.

      13.   Other fiscal impacts or comments.

            Not applicable.

      14.   The following contributed to and concurred with this analysis:

            Darren Francke, Assistant Chief of Police, Management Services Bureau
            Dale Phillips, Director, Management and Budget Division
            Karla Thomas, Manager, Management and Budget Division
            Derrick Harrigan, Office of Management and Budget




        _______________________________________                                    8/22/22
                                                                              __________________
        Jennifer R. Bryant, Director                                                 Date
        Office of Management and Budget




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  Racial Equity and Social Justice (RESJ)
  Impact Statement
  Office of Legislative Oversight


    EXPEDITED                 WEAPONS – FIREARMS IN OR NEAR PLACES OF PUBLIC
    BILL 21-22:               ASSEMBLY
  SUMMARY
  The Office of Legislative Oversight (OLO) finds the racial equity and social justice (RESJ) impact of Expedited Bill 21-22 is
  indeterminant due to insufficient information on the demographics of the Bill’s beneficiaries, as well as on the potential
  effects on gun violence and police interactions in the County.



  PURPOSE OF RESJ IMPACT STATEMENT
  The purpose of RESJ impact statements is to evaluate the anticipated impact of legislation on racial equity and social
  justice in the County. Racial equity and social justice refer to a process that focuses on centering the needs, leadership,
  and power of communities of color and low-income communities with a goal of eliminating racial and social inequities.1
  Achieving racial equity and social justice usually requires seeing, thinking, and working differently to address the racial
  and social harms that have caused racial and social inequities.2



  PURPOSE OF EXPEDITED BILL 21-22
  Gun violence is a significant public health problem in the United States. In 2020, there were 45,222 gun-related deaths,
  54 percent of which were suicides and 43 percent of which were homicides.3 Gun homicides have recently been
  highlighted as a rapidly growing concern, potentially a result of distress during the pandemic.4 In 2020, 79 percent of
  homicides involved a firearm, the highest percentage recorded in over 50 years.5 Further, the firearm homicide rate
  jumped 35 percent in 2020, an increase deemed as historic by the Centers for Disease Control and Prevention (CDC).6
  The U.S. also stands out internationally when it comes to gun homicides. Among high-income countries with populations
  of 10 million or more, the U.S. ranks first in gun homicides, having a rate more than double the next country on the list,
  Chile, and 22 times greater than in the European Union as a whole.7

  Following the Supreme Court decision on New York State Rifle & Pistol Assn. v. Bruen, Superintendent of New York State
  Police, Governor Larry Hogan ordered Maryland State Police to suspend the ‘good and substantial reason’ standard in
  reviewing applications for wear-and-carry permits.8 Recent reports have noted a sharp increase in new permit
  applications in Maryland following the governor’s orders.9

  The goal of Expedited Bill 21-22 is to “prevent an individual from possessing a firearm within 100 yards of a place of
  public assembly even when the individual has a wear-and-carry permit from the State of Maryland.”10 The Bill achieves
  this goal through removing an exemption in County law that currently allows individuals with certain handgun permits to
  possess handguns within 100 yards of a place of public assembly.




  Office of Legislative Oversight                                                                       August 5, 2022

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  RESJ Impact Statement
  Expedited Bill 21-22

  State law currently prohibits permit carriers from possessing firearms at specific locations, including school property,
  state buildings, and state parks, among other locations. Bill 21-22 broadens the restricted areas established by the state
  to include places of public assembly as defined by County law, which includes parks, places of worship, schools, libraries,
  recreational facilities, hospitals, community health centers, long-term facilities, or multipurpose exhibition facilities, such
  as fairgrounds or conference centers. A place of public assembly can be publicly or privately owned, and includes all
  property associated with the place, such as a parking lot or grounds of a building.11

  Expedited Bill 21-22 was introduced to the Council on July 12, 2022.

  In February 2021, OLO published a RESJ impact statement (RESJIS) for Bill 4-21, Weapons – Protection of Minors and
  Public Places – Restrictions Against Ghost Guns and Undetectable Guns.12 OLO builds on Bill 4-21’s analysis for this
  RESJIS.


  GUN VIOLENCE AND RACIAL EQUITY
  Black, Indigenous, and Other People of Color (BIPOC), have long experienced significant disparities in gun violence.
  Regarding the recent sharp increase in gun homicides, researchers at the CDC stated:

          “The firearm homicide rate in 2020 was the highest recorded since 1994 (1). However, the increase in firearm
          homicides was not equally distributed. Young persons, males, and Black persons consistently have the highest
          firearm homicide rates, and these groups experienced the largest increases in 2020. These increases represent
          the widening of long-standing disparities in firearm homicide rates. For example, the firearm homicide rate
          among Black males aged 10–24 years was 20.6 times as high as the rate among White males of the same age in
          2019, and this ratio increased to 21.6 in 2020.”13

  While some attribute violence in BIPOC communities to individual behaviors and choices, these explanations often
  ignore the central role government has played in driving segregation and concentrated poverty, common conditions in
  communities stricken with violence. The following section provides an overview of studies that explore the relationship
  between violence, segregation, and concentrated poverty, with the intent of demonstrating that racial and ethnic
  disparities in gun violence are neither natural nor random. Please see the RESJIS for Expedited Bill 30-21 , Landlord-
  Tenant Relations – Restrictions During Emergencies – Extended Limitations Against Rent Increases and Late Fees, for
  detailed background on the government’s role in fostering segregation and the racial wealth divide.14

  Drivers of Gun Violence. Multiple studies have pointed to residential segregation and concentrated poverty as strong
  predictors of violence, and more specifically gun violence, in communities, for instance:

      •   A study of 103 metropolitan areas over five decades found that “(1) racial segregation substantially increases
          the risk of homicide victimization for blacks while (2) simultaneously decreasing the risk of white homicide
          victimization. The result…is that (3) segregation plays a central role in driving black-white differences in
          homicide mortality.”15
      •   A study of over 65,000 firearm-related deaths among U.S. youth ages 5 to 24 between 2007 and 2016 found that
          “higher concentration of county-level poverty was associated with increased rates of total firearm-related
          deaths.” Moreover, “two-thirds of firearm-related homicides could be associated with living in a county with a
          high concentration of poverty.”16



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  RESJ Impact Statement
  Expedited Bill 21-22

      •   A study of U.S. gun violence data between 2014 and 2017 found that “gun violence is higher in counties with
          both high median incomes and higher levels of poverty.” The researchers went on to state that the “findings
          may well be due to racial segregation and concentrated disadvantage, due to institutional racism, police-
          community relations, and related factors.”17
      •   A study of shootings in Syracuse, New York between 2009 and 2015 found that “higher rates of segregation,
          poverty and the summer months were all associated with increased risk of gun violence.”18
      •   A study of gunshot victims (GSVs) in Louisville, KY between 2012 and 2018 found that “[r]elative to green-graded
          neighborhoods, red-graded [redlined] neighborhoods had five times as many GSVs. This difference remained
          statistically significant after accounting for differences in demographic, racial, and housing characteristics of
          neighborhoods.”19
      •   A study of 13 U.S. cities between 2018 and 2020 found that in 2020, “violence was higher in less-privileged
          neighborhoods than in the most privileged,” where less-privileged neighborhoods demonstrated a higher degree
          of racial, economic, and racialized economic segregation.20

  Consequences of Gun Violence. Gun violence has harmful effects that reverberate deeply in families and communities.
  As Dr. Thomas R. Simon, CDC Associate Director for Science, Division of Violence Prevention, stated to Vox “[p]art of the
  reason why violence is a public health problem is because of the significant and lasting health consequences for victims.”
  The 2022 Vox article provides an overview of research on the toll of gun violence, including the following findings:21

      •   Survivors of gun violence are at an increased risk of chronic pain, psychiatric disorders, and substance abuse and
          are more likely to experience mental health challenges.
      •   More than 15,000 American children lose a parent to gun violence each year. Children who lose a parent (for
          any reason, including gun violence) are more likely to have lower educational attainment, which could lead to
          poorer health given the strong link between education and health outcomes.
      •   Even if a person has not directly lost a loved one to a gun incident, being exposed to gun violence in a
          community leads to mental health issues, including problems with social function, anxiety, and depression.
      •   A 2018 study of six American cities found that individual shootings cost between $583,000 and $2.5 million,
          depending on the city and whether the firearm injury was fatal or nonfatal.

  Data on Gun Violence. National data in Table 1 demonstrates racial and ethnic disparities in gun homicides, whereby
  Black Americans had a firearm homicide rate eleven times that of White Americans in 2020. Latinx and Native Americans
  respectively had firearm homicide rates two and three times greater than Whites, while Asian/Pacific Islanders had a
  lower firearm homicide rate than Whites.




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  RESJ Impact Statement
  Expedited Bill 21-22

                       Table 1: 2020 Firearm Homicide Incidence by Race and Ethnicity, United States
                                                        Number of Firearm      Rate of Firearm Homicides
                Race and Ethnicity22
                                                            Homicides              per 100,000 persons
                Asian or Pacific Islander                      227                          1.0
                American Indian or Alaska Native               221                          8.1
                Black                                        11,904                        26.6
                Latinx                                        2,946                         4.5
                White                                         4,052                         2.2
                                                   Note: Rates are age-adjusted
                                Source: Changes in Firearm Homicide and Suicide Rates Report, CDC

  Local data also confirms racial and ethnic disparities in gun violence. A review of 2016-2018 data by Healthy
  Montgomery, the County’s community health improvement initiative, found that Black residents had an age-adjusted
  firearm hospitalization rate of 8.6 per 100,000 persons, compared to 2.4 for Latinx residents, 1.2 for White residents,
  and 0.3 for Asian residents.23


  ANTICIPATED RESJ IMPACTS
  To consider the anticipated impact of Expedited Bill 21-22 on RESJ in the County, OLO recommends the consideration of
  two related questions:

      •   Who are the primary beneficiaries of this bill?
      •   What racial and social inequities could passage of this bill weaken or strengthen?

  For the first question, the primary beneficiaries of the Bill are presumably residents who frequent places of public
  assembly, as they could experience increased safety from more gun restrictions in these areas. However, there is no
  definitive data on the demographics of people who frequent places of public assembly in the County. As such, OLO
  cannot conclude whether there are racial or ethnic disparities among the primary beneficiaries of this Bill.

  For the second question, OLO considers the effect this Bill could have on reducing gun violence in the County given its
  disproportionate impact on BIPOC residents. While there is strong evidence to suggest that restricting gun access can
  reduce gun violence,24 there is little research on the effect of place-based restrictions such as those proposed in this Bill.
  Further, it is unclear how the enforcement of this law would potentially change police contact with residents, and
  whether that could worsen existing disparities in police interactions with BIPOC residents.25

  Taken together, OLO finds that the RESJ impact of this Bill is indeterminant.


  RECOMMENDED AMENDMENTS
  The Racial Equity and Social Justice Act requires OLO to consider whether recommended amendments to bills aimed at
  narrowing racial and social inequities are warranted in developing RESJ impact statements.26 OLO finds that the RESJ
  impact of Expedited Bill 21-22 is indeterminant due to insufficient information on the demographics of the Bill’s
  beneficiaries, as well as on the potential effects on gun violence and police interactions in the County. OLO does not
  offer recommended amendments since the Bill was not found to be inequitable.


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  RESJ Impact Statement
  Expedited Bill 21-22


  In their recently released study on increased gun violence, researchers at the CDC note, “[t]he findings of this study
  underscore the importance of comprehensive strategies that can stop violence now and in the future by addressing
  factors that contribute to homicide and suicide, including the underlying economic, physical, and social inequities that
  drive racial and ethnic disparities in multiple health outcomes.”27 Should the Council seek to improve the RESJ impact of
  this Bill through incorporating recommended amendments or introducing companion legislation, the policy solutions
  highlighted by the CDC researchers in the study can be considered.



  CAVEATS
  Two caveats to this racial equity and social justice impact statement should be noted. First, predicting the impact of
  legislation on racial equity and social justice is a challenging analytical endeavor due to data limitations, uncertainty, and
  other factors. Second, this RESJ impact statement is intended to inform the legislative process rather than determine
  whether the Council should enact legislation. Thus, any conclusion made in this statement does not represent OLO's
  endorsement of, or objection to, the bill under consideration.



  CONTRIBUTIONS
  OLO staffer Janmarie Peña drafted this RESJ impact statement.


  1
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  Marlysa Gamblin, et.al. Bread for the World, and from Racial Equity Tools. https://www.racialequitytools.org/glossary
  2
    Ibid
  3
    John Gramlich, “What the Data Says about Gun Deaths in the U.S.,” Pew Research Center, February 3, 2022.
  https://www.pewresearch.org/fact-tank/2022/02/03/what-the-data-says-about-gun-deaths-in-the-u-s/
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    “Firearm Deaths Grow, Disparities Widen,” CDC Newsroom, CDC, May 10, 2022. https://www.cdc.gov/media/releases/2022/s0510-
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    “On Gun Violence, the United States is an Outlier,” Institute for Health Metrics and Evaluation,” May 31, 2022.
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  The Office of Governor Larry Hogan, July 5, 2022. https://governor.maryland.gov/2022/07/05/governor-hogan-directs-maryland-
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  Office of Legislative Oversight                                   5                                          August 5, 2022
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  RESJ Impact Statement
  Expedited Bill 21-22

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  Office of Legislative Oversight                                   6                                            August 5, 2022
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  Economic Impact Statement
  Office of Legislative Oversight



  Expedited                          Weapons – Firearms In or Near Places of
  Bill 21-22                         Public Assembly
  SUMMARY
  The Office of Legislative Oversight (OLO) anticipates that enacting Bill 21-22 would have an insignificant impact on
  economic conditions in the County in terms of the Council’s priority indicators.


  BACKGROUND
  The goal of Bill 21-22 is to protect places in or near places of public assembly from gun violence.1 The Bill would attempt
  to achieve this goal by amending the law regarding restrictions against firearms in the County in two ways. First, it
  would “prohibit the possession of firearms in or near areas of public assembly.” Second, it would “remove an exemption
  that currently allows individuals with certain handgun permits to possess weapons within 100 yards of a place of public
  assembly.”2 If enacted, the change in law would take effect on the date it becomes law.3


  INFORMATION SOURCES, METHODOLOGIES, AND ASSUMPTIONS
  Per Section 2-81B of the Montgomery County Code, the purpose of this Economic Impact Statement is to assess the
  impacts of Bill 21-22 on County-based private organizations and residents in terms of the Council’s priority economic
  indicators and assess whether the Bill would likely result in a net positive or negative impact on overall economic
  conditions in the County.4 It is doubtful that enacting Bill 21-22 would impact firearm sales from County-based gun shops.
  Moreover, while gun violence has direct and indirect economic costs for victims, perpetrators, and other stakeholders,5 it
  is beyond the scope of this analysis to assess the effectiveness of the restrictions in preventing gun violence in the future.
  Thus, OLO does not anticipate the changes to the law regarding restrictions against firearms in the County to have
  significant economic impacts on private organizations, residents, or overall conditions in the County.


  VARIABLES
  Not applicable



  1
    Legislative Request Report.
  2
    Bill 21-22.
  3
    Ibid.
  4
    Montgomery County Code, Sec. 2-81B.
  5
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  Montgomery County (MD) Council                                                                                                     1
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  Economic Impact Statement
  Office of Legislative Oversight


  IMPACTS
  WORKFORCE   ▪ TAXATION POLICY ▪ PROPERTY VALUES ▪ INCOMES ▪ OPERATING COSTS ▪ PRIVATE SECTOR CAPITAL INVESTMENT ▪
  ECONOMIC DEVELOPMENT    ▪ COMPETITIVENESS

  Businesses, Non-Profits, Other Private Organizations
  Not applicable

  Residents
  Not applicable


  DISCUSSION ITEMS
  Not applicable


  WORKS CITED
  A State-by-State Examination of the Economic Costs of Gun Violence. U.S. Congress Joint Economic Committee,
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  Montgomery County Code. Sec. 2-81B, Economic Impact Statements.

  Montgomery County Council. Expedited Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly. Introduced
      on July 12, 2022.


  CAVEATS
  Two caveats to the economic analysis performed here should be noted. First, predicting the economic impacts of
  legislation is a challenging analytical endeavor due to data limitations, the multitude of causes of economic outcomes,
  economic shocks, uncertainty, and other factors. Second, the analysis performed here is intended to inform the legislative
  process, not determine whether the Council should enact legislation. Thus, any conclusion made in this statement does
  not represent OLO’s endorsement of, or objection to, the Bill under consideration.


  CONTRIBUTIONS
  Stephen Roblin (OLO) prepared this report.



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         In Support of Expedited Bill 21-22, Weapons -Firearms In or Near Places of Public Assembly
                 On behalf of the Association of Independent Schools of Greater Washington

                                                 July 20, 2022

        I am submitting this testimony as Executive Director of the Association of Independent Schools
        of Greater Washington (“AISGW”) in support of Expedited Bill 21-22, Weapons-Firearms In or
        Near Places of Public Assembly. AISGW represents 78 member schools in the greater D.C. area,
        and our schools educate over 10,000 students in Montgomery County alone. Expedited Bill 21-
        22 would prevent an individual from possessing a firearm within 100 yards of a “place of public
        assembly” even when the individual has a wear-and-carry permit from the State of Maryland.
        The definition of public assembly includes schools. This restriction strengthens current County
        law, which currently exempts individuals with permits from the restriction against carrying
        weapons within 100 yards of places of public assembly.

        We commend the Montgomery County Council for these efforts to stem acts of gun violence
        that have become shockingly all too common in our communities and on our school grounds.
        The recent mass shooting at the Robb Elementary School in Uvalde, Texas, along with the
        persistent and terrifying recurrence of mass shootings across our country, have left school
        leaders once again consoling and calming their communities while searching for solutions to
        keep their school communities safe. Indeed, one of our very own AISGW schools was subject to
        a harrowing act of gun violence in April of this year.

        We understand that Maryland State law already prohibits the wear, carry and transport of
        handguns and firearms on public school grounds. CR 4-102. Extending that protection to all
        schools, as well as other community gathering places throughout the County, however, is an
        important and – unfortunately – very necessary next step as we see this wave of gun violence
        continue. Moreover, we urge the County to consider any other steps that would keep our
        children safe, whether those include broader prevention and education efforts, or prohibitions
        such as this proposed legislation, aimed at preventing this violence from reoccurring.

        I appreciate the opportunity to comment on the proposed legislation on behalf of our AISGW
        member schools and would welcome any chance to support further the goals of keeping our
        children and our school campuses protected from this persistent threat.




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        On Monday, July 11th, County Council President Gabe Albornoz introduced Bill 21-22, to
        remove the exemption for W&C permit holders from the county’s ban on possessing firearms “in
        or within 100 yards of a place of public assembly,” which includes parks and churches, banning
        carry in those places. I oppose this bill as an infringement on our residents’ recently affirmed
        constitutional rights as issued by the US Supreme Court(i.e., Bruen case).

        The bill provides no requirement for the county to clearly mark which of these areas are to be
        “gun-free zones,” which will result in confusion among law-abiding citizens who are permit
        holders.

        The legislation also makes no mention of whether the county intends to guarantee the safety of
        disarmed citizens in those places with measures, such as metal detectors or police presence. Gun
        free zone declarations are soft targets for criminals and those intent on wrecking havoc. |

        Also, this proposed bill like many of the Democratic Party and left wing gun control policies of
        extreme gun control over the years have and will not work given high crime and murder rates in
        many Maryland cities and towns – not be law abiding gun owners but by criminals and unstable
        persons.

        This proposed bill will not improve safety of our citizens. Armed criminals, who already
        illegally carry without any permits and illegally possess firearms in violation of state and federal
        laws, will likely ignore the arbitrary boundaries created by this ordinance.

        This bill would create more targets of opportunity for criminals and prevent responsible law
        abiding citizens from their right of self-defense. Recent mall shooter in Indiana was terminated
        by a law abiding citizen with a legal carry permit, saving untold additional lives. Good people
        carrying self-defense capabilities are far more effective at deterring crime and reducing crazed
        mayhem than any police presence can do. I urge the council to vote No on Bill 21-22 to keep
        Montgomery County safer than if it was passed into law. If the Council approves this measure
        then the Council needs to address the safety of unarmed citizens in these gun free zones and take
        measure to ensure access to these “gun free zones” provides control points to ensure the safety of
        us.




                                                                                                        (19)
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        To the members of the council,



                 My name is Anthony Nelson, and I have been a resident of Montgomery county since roughly
        2013. I previously lived in Prince George’s County where I experienced more than my fair share of crime
        directly or indirectly including robbery, home break-ins, and car theft. That was precisely part of my
        desire to move out to an area that for most of my life, I considered to be relatively low in crime and safe.

        As a lifelong resident of Maryland, it has been a long frustrating road for the issue of self-defense and
        Maryland’s views to the methods in which one chooses to defend themselves. For my entire adult life, I
        have had to accept lawfully, that I am not able to defend myself or my family to the best of my ability
        due to what many politician’s refer to as “common-sense gun legislation.” Up until July 5, 2022,
        Maryland has remained a “may issue” state in regards to the issuance of any type of permit to carry
        citing “good and substantial” reasoning which to most, felt like an arbitrary term that applied to a very
        small population. The recent Supreme Court Ruling and subsequent statement from Gov. Hogan
        suspending the “good and substantial” clause was an exciting time for many Marylanders and a
        restoration of a long restricted constitutional right as well as the “unalienable right” to Life mentioned
        in the countries founding document. A right that governments were instituted to secure.

        Despite the legislation that Maryland has upheld for all these years, touting some of the strictest gun
        laws on the books in the country, Maryland has remained competitive in the category of “most
        homicides by state” category. This can be partly contributed to Maryland’s unwillingness to prosecute
        criminals who are in turn released and commit more heinous crimes; as well as enforce laws that are
        already on the books. As recent as June, Deputy First Class Glenn Hilliard was murdered by a man who
        should have been previously locked-up for being convicted of armed robbery. I would like to note that at
        the time of the armed robbery and at the time of the murder of Deputy Hilliard, the suspect was under
        the age of legal handgun ownership in the state of Maryland. At the time of this letter, just one week
        ago, a 15-year-old squeegee worker in Baltimore shot and killed a bat-wielding man in Baltimore. While
        all of the details of the case may never all be known, we know that a 15-year old boy was armed and it
        was stated that most of the boys who are on these corners providing this service are as well. This stands
        to show that no matter what laws are on the books, criminals will always willfully disobey them, and it is
        always the law-abiding citizen who is left at a disadvantage. This legislation is not aimed at keeping
        criminals from bringing guns into “public areas,” because we all know that criminals will do it no matter
        what the law says. What we do know for sure is that criminals don’t look for resistance or a fight, they
        look for victims and easy targets. This bill only creates more of the latter.

        Driving into my home city of Olney now, there are road signs warning of car jackings. A January 2022
        WTOP article titled “Homicides, carjackings up in Montgomery County” is a constant lingering thought in
        my head when I come to a stop light with my 3 small children who are under the age of 6 and wife all in
        the vehicle. The article denotes an 88% rise in homicides and 72% increase in carjackings. Average law-
        abiding citizens are tired of being a statistic. Having more trained citizens looking to protect themselves
        and their families suddenly becoming criminals because of a law based on no data is the exact reason
        why crime statistics in this county will continue to rise if this unconstitutional bill is passed.

        Members of this council have stated that Marylanders want this bill passed; however I think it can be
        reasonably argued by the influx of applications for wear and carry permits, as well as the current backlog




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        of people trying to sign up for the class, is quite representative of the climate. This bill, while directly in
        opposition to the supreme court ruling and purpose for the ruling in the first place, stands to turn law-
        abiding citizens who took the time to get the training and spent upwards of $1000 in total to exercise a
        constitutional right into criminals.

        I strongly urge the council to rescind this bill as it is in opposition to the recent supreme court ruling, as
        well as the basic human rights we all have, to defend ourselves and our families.



        Thank you for your time and attention.



        Sincerely,

        Anthony Nelson




                                                                                                                   (21)
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        21 July, 2022

        Mr. Gabe Albornoz
        President, Montgomery County Council

        Regarding Bill 21-22 to remove the exemption from Montgomery County Code § 57.11 for
        holders of Maryland Wear and Carry Permit from within 100 yards of "Place of Public
        Assembly.

        Dear Mr. Albornoz,

        I write to oppose Bill 21-22. This new bill would remove the existing exception for
        permit carry that has long existed in Montgomery County code, and is a clear violation of
        the Supreme Court's decision in NYSRPA v. Bruen as it would ban carry by a permit holder
        virtually everywhere including stores and businesses throughout Montgomery County.
        Carry permits will be useless in Montgomery County if this bill is enacted and allowed to
        stand.

        I am a resident of Anne Arundel County; however, I frequent Montgomery County to access
        the wonderful care at a Johns Hopkins Wilmer Eye Institute in Bethesda. Unfortunately, I
        suffer from glaucoma, which has been difficult to control. While I am not allowed to carry
        within hospitals and medical clinics, Bill 21-22 would not allow me even to carry within the
        county in order to access quality health care. Why are you afraid of a law-abiding citizen,
        like me, who may find it necessary to find health care elsewhere should this law be passed?

        Please do not vote for Bill 21-22.

        Sincerely,
        Cathy S. Wright




                                                                                                (22)
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  My name is Galen Muhammad and I am the State Director of Maryland and Washington, DC for
  the National African American Gun Association or NAAGA. I am also the chapter president for
  the NAAGA chapter in Prince George’s County – Onyx Sharpshooters.


  I am vehemently opposed to this bill as I often travel through Montgomery County as a law-
  abiding citizen who is a concealed carry licensee. While I don’t live in Montgomery County, the
  members of my gun club, others who are also concealed carry licensees and those who seek
  said license will be barred from conducting business or just traveling from Point A to Point B
  within Montgomery County.


  As a certified firearms instructor, I also plan to visit my Montgomery County chapter and their
  events within the county and train residents of Montgomery County at locations in Montgomery
  County and I do travel with my concealed carry firearms.


  This bill gives absolutely no consideration, nor does it mention the fact that those with the Wear
  & Carry license are already prohibited from many areas, including sporting events, federal,
  state, county and city buildings, public transportation, public schools, colleges and universities,
  banks, retail establishment with clearly posted signage, post offices AND their parking lots, etc.
  These are the proverbial “bricks” around which we, law-abiding citizens, who legally concealed
  carry legally navigate. This vague bill being proposed seeks to be the “mortar” to fill in the gaps
  and add additional and unnecessary areas, creating and manufacturing a problem where there
  isn’t one.


  This bill also overlooks the mandatory firearms training that each licensee must attend to be
  qualified to receive the Wear & Carry license. During this training, we are taught that Maryland
  is NOT a Castle Doctrine state and that we have a duty to retreat, if possible.


  I ask that this bill be given an unfavorable report.




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           To the Honorable Members of the County Council of Montgomery County, MD

           Gabe Albornoz, Chairman
           Andrew Friedson
           Evan Glass
           Tom Hucker
           Will Jawando
           Sidney Katz
           Nancy Navarro
           Craig Rice
           Hans Riemer

           From: Dr. Jack L. Rutner
           Silver Spring MD

           Re: Expedited Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly

           This purpose of this testimonial letter is to raise questions to the Montgomery County Council
           about the constitutionality of the proposed legislation embodied in Bill 21-22. This testimonial
           letter will cover three issues:
           I. The guidance provided by the Supreme Court to the Courts in the Bruen decision in how to
                adjudicate Second Amendment cases henceforth;
           II. The Supreme Court’s discussion on sensitive places;
           III. The Supreme Court’s reference to D. Kopel & J. Greenlee, The “Sensitive Places” Doctrine,
                13 Charleston L. Rev. 205 (2018), and Brief for Independent Institute as Amicus Curiae and
                how they would affect the constitutionality of Expedited Bill 21-22.

           I: The Supreme Court in the Bruen decision (8: II) reviewed the two-step procedure Courts of
           Appeal have used since the Heller and McDonald decisions. The Court held that, that was one
           step too many. Specifically, the Court wrote:
                   In keeping with Heller, we hold that when the Second Amendment’s plain text covers an
                   individual’s conduct, the Constitution presumptively protects that conduct. To justify its
                   regulation, the government may not simply posit that the regulation promotes an
                   important interest. Rather, the government must demonstrate that the regulation is
                   consistent with this Nation’s historical tradition of firearm regulation. Only if a fire-
                   arm regulation is consistent with this Nation’s historical tradition may a court conclude
                   that the individual’s conduct falls outside the Second Amendment’s “unqualified com-
                   mand.” (My emphasis.)
           The Court emphasizes this further when it writes (10: IIB):
                   the government must affirmatively prove that its firearms regulation is part of the his-
                   torical tradition that delimits the outer bounds of the right to keep and bear arms.

           On examining Expedited Bill 21-22 I find nowhere does it show how the proposed regulation ex-
           panding sensitive places to many places of public assembly falls within the scope of being con-
           sistent with “this Nation’s historical tradition of firearm regulation.” Absent such analysis Expe-
           dited Bill 21-22 appears to on infirm constitutional grounds. On this basis alone a legal challenge
           to the constitutionality of 21-22 will prove successful in the federal courts.

           II. With regard to sensitive places, the Court discussed the issue of sensitive places. It wrote that
           expanding sensitive places to a large variety of places of public assembly is inconsistent with the




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           Second Amendment. In particular, it writes (22) about New York State’s view on sensitive
           places:
                   In [New York State’s] view, “sensitive places” where the government may lawfully dis-
                   arm law-abiding citizens include all “places where people typically congregate and where
                   law-enforcement and other public-safety professionals are presumptively available.”
                   Brief for Respondents 34. It is true that people sometimes congregate in “sensitive
                   places,” and it is likewise true that law enforcement professionals are usually presump-
                   tively available in those locations. But expanding the category of “sensitive places”
                   simply to all places of public congregation that are not isolated from law enforce-
                   ment defines the category of “sensitive places” far too broadly. Respondents’ argu-
                   ment would in effect exempt cities from the Second Amendment and would eviscerate
                   the general right to publicly carry arms for self-defense that we discuss in detail below.
                   (My emphasis.)

           Expedited Bill 21-22 does precisely what the Court counseled governments not to do, which is to
           expand the category of sensitive places to almost all places of public congregation. According to
           the Court, that categorizes sensitive places far too broadly. Indeed, based on the Court’s language
           in Bruen, should the Council pass Expedited Bill 21-22, legal challenges to it would be successful
           because of the overly broad categorization of sensitive places. When that is coupled with the ab-
           sence of analysis demonstrating that 21-22 is consistent with this Nation’s historical tradition of
           firearm regulation, then it would seem 21-22 is on very legally infirm constitutional grounds and
           will not be upheld in federal court.

           III. The definition of public places in Expedited Bill 21-22 is derived from Bill 4-21. They are:
                    [A] place where the public may assemble, whether the place is publicly or privately
                    owned, including a park; place of worship; school; library; recreational facility; hospital;
                    community health center; long-term facility; or multipurpose exhibition facility, such as a
                    fairgrounds or conference center. A place of public assembly includes all property associ-
                    ated with the place, such as a parking lot or grounds of a building.”

           Most of those places in 4-21 do not fall within the purview of public places based on the current
           references in its discussion in Bruen (21) regarding sensitive places. There, it pointed to an arti-
           cle in Charleston Law Review from 2018 title the “Sensitive Places Doctrine” by Kopel and
           Greenlee (hereinafter, KG), and to the Amicus Curia Brief of the Independent Institute (hereinaf-
           ter BII). Both documents discuss sensitive places while the latter provides guidance on
           “longstanding” laws regarding such places/

           In the KG article, there is a useful summary of the sensitive place doctrine (287f.), some of which
           I quote here (with my emphasis):
                            Extensions by analogy to schools and government buildings. It is difficult to cre-
                   ate a rationale for extending the “sensitive places” doctrine to places that are not schools
                   or government buildings. As discussed above, there are few “longstanding” restrictions
                   on other locations.
                            Given the thin historical record, one can only guess about what factors make
                   places “sensitive.” Some of the guesses are: places where most persons therein are mi-
                   nors (K-12 schools), places that concentrate adversarial conflict and can generate
                   passionately angry emotions (courthouses, legislatures, polling places), or buildings
                   containing people at acute personal risk of being targets of assassination (many gov-
                   ernment buildings).
                            The answer cannot be that the places are crowded. Sometimes they are, but
                   no more so than a busy downtown sidewalk, and sidewalks are not sensitive places.



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                            Rather than try to figure out analogies to “schools and government buildings,”
                   the better judicial approach for other locations is simply to give the government the op-
                   portunity to prove its case under heightened scrutiny.
                            Buffer zones are not sensitive places. Heller allows for carry bans “in” sensi-
                   tive places—not bans “around” or “near” sensitive places. Accordingly, buffer zones
                   are not sensitive places.
                   …
                            Laws that broadly negate the right to arms are not legitimate precedents. Laws
                   that widely prohibit bearing arms are contrary to the text of the Second Amend-
                   ment. Accordingly, they are not a legitimate part of the history and tradition of the
                   right to bear arms.

           In my opinion the critical passages for 21-22 in this summary by KG are those bolded. It is clear
           that Bill 21-22 would widely prohibit carrying arms in a large variety of places within the
           County. As KG observe, “Laws that widely prohibit bearing arms are contrary to the text of the
           Second Amendment.” Moreover, as they suggest, an argument that such places are crowded will
           be insufficient to sustain the constitutionality of Bill 21-22 under heightened scrutiny.

           Bill 21-22 defines places of public assembly to those listed in Bill 4-21. Most of those places
           though do not meet the criteria KG outline in their summary for sensitive places. The places I
           think that do not meet those criteria are places of worship, recreational facilities, hospital, com-
           munity health centers, long-term facility, multipurpose exhibition facilities (e.g., fairgrounds or
           conference centers). Such places are not places where most persons are minors, they are not
           places which concentrate adversarial conduct and they are not places where passionate angry
           emotions are generated. Declaring them off limits to the legal carriage of guns therein again will
           prove to be on constitutionally infirm ground based the guidance in Bruen.

           Another issue of Bill 21-22 is the creation 100-yard buffers zones around places of public assem-
           bly. Such buffer zones under Bruen are most likely not be justifiable for Second Amendment
           cases. KG reviewed several court cases regarding buffer zones around sensitive places of which I
           will summarize one. The case is an Illinois case termed, the People v. Chairez. The State of Illi-
           nois had made it illegal to carry a firearm within a 1,000-foot buffer zone around a state park.
           According to KG (269), the Illinois Supreme Court ruled: “that the law severely burdened the
           core of the right to bear arms, because it prohibited the carriage of weapons for self-defense and it
           affected the entire law-abiding population of Illinois.” Moreover the Court found that the ‘State
           was unable to support its “assertion that a 1000–foot firearm ban around a public park protects
           children, as well as other vulnerable persons, from firearm violence” ’ (KG, 269f.). Bill 21-22
           appears to contain both defects found in People v. Chairez: it affects the entire law-abiding popu-
           lation of Montgomery County; and the County will be unable to support an assertion that buffer
           zones protect children and vulnerable persons. Consequently, the buffer zones themselves are not
           sensitive places and would be ruled unconstitutional. Moreover, based on the guidance in the
           Bruen decision, even if the County could show that such buffer zones might protect children and
           vulnerable persons that would be insufficient to meet the criterion of being within “the historical
           tradition of firearm regulation” and so would be declared unconstitutional based solely on that.

           We turn next to Amicus Curiae brief filed by Independent Institute (BII) in the Bruen Case for
           further guidance on the issue of sensitive places and longstanding traditions of restricting Second
           Amendment rights. In BII, there is a short review of American laws regarding sensitive places,
           which it sometimes terms, “gun-free zones.” According to BII (11), in colonial America, “gun-
           free zones through the time of the Founding were limited …”




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            A notable exception was Maryland’s ban on bringing weapons into houses of Assembly (govern-
           ment buildings). According to BII (12) Virginia followed up on that a century later when it ‘for-
           bade most (but not all) people from “com[ing] before the Justices of any Court, or other of their
           Ministers of Justice, doing their office, with force and arms.” … Virginia’s law also barred citi-
           zens from carrying arms “in other places,” but only when such carrying was done “in terror of the
           country,” id., thus respecting a general right to peaceably carry but carving out a narrow excep-
           tion for courts.’ Thus, according to BII, government buildings would meet the criterion laid down
           in Bruen of being consistent with “this Nation’s historic tradition of firearm regulation” insofar as
           such bans are longstanding traditions. On the other hand, a ban on firearms in a wide variety of
           places of public assembly, such as in 21-22, would not be consistent with that historic tradition
           because there is no longstanding tradition of banning firearms in such places. Hence, the consti-
           tutionality of a such a bill would no doubt not be upheld in federal court based on the guidance
           the Court provided in Bruen.

           BII does indicate certain narrow conditions under which government can ban firearms consistent
           with the Second Amendment (see BII, 22). It writes:
                    The most obvious way is to limit modern gun-free zones to areas in which the govern-
                    ment has demonstrated a serious commitment and a realistic ability to ensure public
                    safety. This can be accomplished by ensuring that would-be criminals are prevented by
                    more than the normative power of a legal prohibition to remain unarmed through, e.g.,
                    the provision of law enforcement officers and armed security, along with metal detectors
                    or other defensive instruments.
           It writes further (BII 24):
                    If the government cannot (or chooses not to) provide protection similar to that at airports
                    in other areas, then designating those areas as “gun free” necessarily evicerates (sic.) the
                    self-defense right and, accordingly, constitutes a Second Amendment violation.

            It would appear from BII, that if the Council bans firearms in public places without its supplying
           adequate security and specifically by supplying adequate law enforcement personnel and metal
           detectors, it will have eviscerated the self-rights of the citizens of Montgomery County and any-
           one else who comes into the County. Hence, I think that under the current guidance found in
           Bruen, Expedited Bill 21-22 is on infirm constitutional grounds and will be found unconstitu-
           tional in federal court.




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     I feel it is uncostitutional and unsafe for the general public to create unlimited gunfree zones to keep legally obtained carry ab
                   with little or no resistance or fear of being stopped or caught. Everyone that creates these laws are surrounded by

                           Thank you




                                                                                                                (29)
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ese laws are surrounded by their own armed security and don't have to defend theirselves or family on their own.




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     My name is James P. Tully. I am 55 years old and have been a Montgomery County Resident my Entire
     life. I have served in the Military, and for the past 22 years I have been a Uniformed Diplomatic Security
     Officer at the U.S. Department of State. I have been sworn in, as a Special Deputy U.S. Marshal, and
     have received training in Active Shooter Response. I am well acquainted with Gun Valence, and come to
     the conclusion that additional legislation does nothing to address criminal activity.
     As a Maryland Ware and Carry Permit Holder, which I have had since 1995. I have strong Objections to
     Bill 21-22. By not allowing a permit holder to come within 100 yards of any place of public Assembly.
     This proposed bill will Make it impossible to travel any ware in Montgomery County with out being in
     violation of the law. An illegal weapons charge would result in criminal charges and having my Maryland
     Gun Permit revoked. These two actions would have an adverse effect on my current employment.
     Bill 21-20 will not allow me to travel in my car, or by foot, in my own neighborhood without passing
     within 100 yards of a school or state park. I would not even be able to stand in my own back yard
     because my property is within 100 yards of a Montgomery County Park.
     In addition, I object to definition of public venues, to including privately own property. This is an
     example of extreme Government over reach. To Include Houses of worship is pure insanity. Multiple
     churches in this country have been the targets of active shooters. The reason being is that it is a soft
     target. The Active Shooters only has one mission, that is to kill as many people as they can. Not allowing
     people to defend themselves in their house of worship only would help facilitate another tragedy.
     It is foolish to believe our local police departments can do any thing to prevent this sort of gun violence.
     Police resources are extreamly limited. The school Resource Officer was Removed from McGruder High
     School a few weeks before that school shooting. If I am not Mistaken, I believe a budget cut was cited as
     the reason. It is a tragedy that Montgomery County government took absolutely no responsibility for
     their lack of insight. The School Resource Officer would not have been in the school in the first place if
     there was not a clear and present known danger.
     As a current Maryland Gun Permit Holder, I can say there is absolutely nothing wrong with the current
     restrictions that have been in place for many years. Most of the civilian gun violence does not involve
     permitholders anyway. This proposed Bill dose noting to stop Gun Violence and would only help                  Commented [JT1]: It
     facilitate more violence by preventing law abiding citizens from defending themselves. There is so much
     to say on this topic more to say on this topic. Brevity is of the upmost importance and I believe I made
     my point. In conclusion there is no reason this bill 21-22 be made into law.




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                  Hello,
                  I’m writing regarding Bill 21-22. I understand this bill removes the exemption
                  for holders of Marylands Wear and Carry permit. This would make it illegal
                  for permit holders to be within 100 yards of “Place of Public Assembly”, which
                  equates to everywhere in the county.
                  According to Data.montgomerycounty.md, from 6/1/2022 to 7/15/2022 there
                  were over 4,800 founded crimes in Montgomery County. This equates to 106
                  crimes per day in the 45 day period. A quick internet search proves these are
                  not legal permit holders committing these crimes. Bill 21-22 would leave me
                  unable to protect myself from assault, burglary, theft, robbery and all such
                  crimes were reported within the county. Why can a criminal have a weapon to
                  commit these crimes but I, being a law abiding American citizen, cannot have
                  one to protect myself from such crimes?
                  The Supreme Court upheld our right to defend ourselves outside our homes in
                  the recent ruling of Bruen. Why are you attempting to subvert the Supreme
                  Court and the constitution?
                  I have lived in WV, OH, PA and CO over my life. Maryland is the first place
                  I have lived that I am afraid to be out of my home for an extended time. I
                  am a law abiding citizen and I’ve completed all the necessary training and
                  requirements in Maryland for a Wear and Carry permit. Carrying a weapon for
                  protection is an overwhelming responsibility for the permit holder. Criminals
                  have no requirements to meet and feel no such responsibility. It is reprehensible
                  that a criminal is more protected than I am.
                  Bill 21-22 impacts my travel as I live in an adjoining county. I will no longer
                  be able to see my physicians or patronize restaurants and shops in the county.
                  I hope the oﬀicials of Montgomery County use statistics and facts and support
                  their law abiding citizens.
                  Janice Hess Frederick County




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                                                                               July 15, 2022

           Montgomery County Council
           Legislative Branch
           Bill 21-22

           Gentlemen, I would respectfully vote against this bill. I have lived in Burtonsville,
           Maryland for 16 years. I have seen an alarming rise in crime in this area, especially over
           the last 4 years. This past week on July 10th, 2022 there was a shooting just down the
           street from my house at the Briggs Chaney Market place. Over 60 shots were fired and
           one innocent bystander was wounded by gunfire. This shooting happened within 2 hours
           of a STRING of robberies in down town Silver Spring. Bill 21-22 would prevent law
           abiding citizens from protecting themselves and their families and would do NOTHING
           to prevent criminals from obtaining firearms and committing violence. I understand law
           makers are desperate to solve gun violence but these laws don’t affect criminals. There
           are so many guns in this country, barring the banning of ALL guns, we need to be
           smarter with possible solutions. Energy would be better spent on training and vetting of
           carry applicants. Examining credentials and references for carry applicants would go a
           long way to keeping us all safe.
           Why do citizens need carry rights :
           Unfortunately, there is a response time for police response. There are occasions when a
           citizen will not have time to call and wait for the police. If I’m walking and attacked by
           dogs I will not be able to call the police for help. If I’m walking and a robber threatens
           me with a knife, I will not have the luxury of calling the police. Last year I called the
           police to report a trespasser on my property. It took 40 minutes for the police to show up.

           Respectfully,

           John Murphy




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           Montgomery County Council                                           July 21, 2022
           Legislative Branch
           Bill 21-22

           I would respectfully vote against this bill. Here are two examples why I feel this way.

           On July 17, 2022 a gunman walked in to the food court of Greenwood Park Mall in
           Indiana. Shot and killed 3 innocent bystanders and wounded another 3. Elishjah Dicken, a
           22 year old legally carrying, killed the gunman and was declared by local police and the
           Mayor a Hero who saved countless lives. YOUR bill would have prevented this
           intervention. WHERE WERE THE POLICE ???
           WHERE WERE THE POLICE IN UVALDE ???

           Closer to home in MONTGOMERY COUNTY yesterday, Wednesday July 20th at 1pm
           an elderly man out for a walk was attacked by a pit bull in Silver Spring. The owners had
           trouble stopping the attack even hitting the dog with their car. The victim is in the
           hospital. How many times does this happen ?? Google how many people are attacked by
           dogs every year. More than 4.5 million people are bitten by dogs in the USA each year.
           Many victims are killed.
           I am elderly and walk every day in Burtonsville. I have been chased by stray dogs twice.
           You want to make Montgomery County safer ? How about banning pit bulls ? A breed
           known for vicious unprovoked attacks.
           My house is close to 2 schools, a church, and the Burtonsville Library. No matter which
           direction I choose to walk I will be walking past one of these “Places of Public
           Assembly”.
           Every time I walk I fear being attacked by dogs. I am completely defenseless thanks to
           your carry laws.

           John Murphy




                                                                                                       (34)
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        My name is Jonathan Wrieden and I am a resident of Montgomery County. Bill 21-22 is blatantly
        unconstitutional and directly infringes on my right to self-defense. I was in the United States Army
        Infantry for ten years and am a combat veteran. I have more training than most police officers, yet this
        bill would prevent me from carrying a firearm in public for protection. Because of my extensive military
        training, I am an asset to society. If any of you were in a mass shooting scenario, you would want me
        there with a gun to save you. I do not trust the police to protect me or my wife in one of these
        situations. In most cases, mass shootings are over and the damage is already done before police can
        arrive. And even if police do arrive in time, I do not want to have to hope and pray they possess the
        courage to act, unlike the police officers in Uvalde. Furthermore, this bill will not stop criminals from
        carrying guns. That’s why they’re called criminals, because they break the law. If a criminal wants to
        carry out a mass shooting, then they are going to do it anyway and this bill will not stop them. This bill
        will only affect the law-abiding citizens. It will strip them of their right to protect themselves and their
        families. All law-abiding citizens can be assets to society. The solution is to properly train and equip
        them, not to strip them of their right to carry a firearm so that they are left defenseless against
        criminals. On July 17, 2022, an armed bystander shot a mass shooter who opened fire in a mall in
        Indiana. If it wasn’t for this responsible citizen, the criminal would have killed many others. There are
        countless other examples of armed law-abiding citizens taking down mass shooters and thereby saving
        many lives while waiting for police to arrive. Do not let the recent sensationalizing of shootings in the
        media make you feel like you have to pass laws to make it look like you care enough to do something.
        This bill is nothing more than an emotional reaction to NYSRPA v. Bruen and it will not stand up in court.
        This bill does not pass the history and traditions test for constitutionality established by the Supreme
        Court in NYSRPA v. Bruen. You’re going about it the wrong way. Focus on keeping guns out of the hands
        of criminals and keeping them in the hands of law-abiding citizens, the assets of society. That’s the
        solution. I urge you not to pass Bill 21-22. It will cost lives, not save them. Thank you for your
        consideration.




                                                                                                               (35)
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        Testimony regarding EXPEDITED BILL NO. 21-22,
        Amending Montgomery County Code Chapter 57, Weapons, Section 57-11

                                                                                             Michael Burke


        I rise in opposition to the language of the proposed Expedited Act to prohibit the possession
        of firearms in or near places of public assembly.
        As written -
        Section b) (2) (does not) apply to a law enforcement officer, or a security guard licensed to
        carry the firearm…
        Please consider the extremely adverse consequences of your proposed bill. Thousands of
        retired law enforcement officers reside in Montgomery County, while thousands more routinely
        travel through the county daily from across the greater DC Metropolitan Area. You (the
        Council) and both the Montgomery County Police Department (MCPD), Montgomery County
        Sheriff’s Office (MCSO) and the Maryland State Police (MSP) rely on these highly trained, well
        vetted, and experienced law enforcement veterans to assist them in maintaining the peace and
        responding to violent incidents (such as an active shooter). Those retired officers, who carry
        their handguns under Maryland State Police Handgun Permits (issued at no cost to all
        former/retired Maryland officers and deputies) and retired Federal Agents and Officers (ATF,
        FBI, Secret Service, US Marshals, Military Police, Military Intelligence, and other counter-
        terrorist agencies) are prepared today, and tomorrow, to step in and STOP violent crime as it
        develops. These men and women with decades of skills have been performing these public
        safety roles for decades. I’m one of them.
        Your bill would order thousands of women and men to DISARM and cease to function as unpaid
        auxiliary forces to safeguard the citizens of the County, and prevent them from coming to the
        aid and assistance of MCPD, MCSO, and MSP for fear of being arrested, detained, and
        prosecuted for unlawful possession of their handguns. Is this what you truly desire?
        Consider the cases of Deputy Chief State Fire Marshal Sander Cohen, and FBI Supervisory
        Special Agent Carlos Wolff. These men took the extreme risk, both “off duty,” to come to the
        aid of a Montgomery County citizen in distress, on Friday, December 8, 2017. Both were killed
        that night. Sander Cohen also served as a volunteer firefighter with the Rockville Volunteer Fire
        Department. They died on I-270, near Great Falls Road, serving the citizens of Montgomery
        County, knowing the risks they faced by serving – you.
        Consider the shooting at Magruder High School, in May 2022. Off duty and retired law
        enforcement officers residing in the area responded to the report of “active shooter” at the
        school, knowing that meant placing their lives at risk – to potentially save CHILDREN, while the
        local precinct was short-staffed. MCPD has 27 unfilled sworn positions, though brass and union
        leadership express concern for a “crisis” in the future. Between April 2020 and April 2021,




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        Testimony regarding EXPEDITED BILL NO. 21-22,
        Amending Montgomery County Code Chapter 57, Weapons, Section 57-11

                                                                                                   Michael Burke
        police resignations rose 26 percent, from 19 to 24, over the preceding 12 months. Retirements
        increased 18 percent, from 28 to 33, department data show.
        The Law Enforcement Officers Safety Act (LEOSA) is a United States federal law, enacted in
        2004, that allows two classes of persons—the "qualified law enforcement officer" and the
        "qualified retired or separated law enforcement officer"—to carry a concealed firearm in any
        jurisdiction in the United States, regardless of state or local law. It is codified within the
        provisions of the Gun Control Act of 1968 as 18 USC § 926B and USC § 926C. LEOSA also covers
        state and public university and/or college campus law enforcement officers (such as University
        of Maryland Police, Montgomery Community College Police, and approximately 20 other
        colleges and universities that have armed law enforcement officers).


        18 USC § 926B
        (a) Notwithstanding any other provision of the law of any State or any political subdivision thereof, an
        individual who is a qualified law enforcement officer and who is carrying the identification required by
        subsection (d) may carry a concealed firearm that has been shipped or transported in interstate or
        foreign commerce, subject to subsection (b).
        (b)This section shall not be construed to supersede or limit the laws of any State that—
        (1) permit private persons or entities to prohibit or restrict the possession of concealed firearms on
        their property; or
        (2) prohibit or restrict the possession of firearms on any State or local government property,
        installation, building, base, or park.
        (c), "qualified law enforcement officer" is defined as any individual employed by a governmental
        agency, who:

            1. is authorized by law to engage in or supervise the prevention, detection, investigation, or
                prosecution of, or the incarceration of any person for, any violation of law, and has statutory
                powers of arrest, or apprehension under section 807(b) of title 10, United States Code
                (article 7(b) of the Uniform Code of Military Justice); This includes state and public
                college/university police officers.
            2. is authorized by the agency to carry a firearm;
            3. is not the subject of any disciplinary action by the agency which could result in suspension or
                loss of police powers;
            4. meets standards, if any, established by the agency which require the employee to regularly
                qualify in the use of a firearm;
            5. is not under the influence of alcohol or another intoxicating or hallucinatory drug or
                substance; and
            6. is not prohibited by Federal law from receiving a firearm.
        (d) the individual must carry photographic identification issued by the governmental agency for which
        the individual is employed that identifies the employee as a police officer or law enforcement officer
        of the agency.




                                                                                                            (37)
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        Testimony regarding EXPEDITED BILL NO. 21-22,
        Amending Montgomery County Code Chapter 57, Weapons, Section 57-11

                                                                                          Michael Burke
        In 2013, LEOSA was amended by the National Defense Authorization Act (NDAA) for Fiscal Year
        2013, effective January 2, 2013, after President Obama signed Public Law 112-239 (H.R. 4310).


        Senator Patrick Leahy, a key sponsor of the bill, remarked "The Senate has agreed to extend
        that trust to the law enforcement officers that serve within our military. They are no less
        deserving or worthy of this privilege and I am very pleased we have acted to equalize their
        treatment under the federal law". He further stated "The amendment we adopt today will
        place military police and civilian police officers within the Department of Defense on equal
        footing with their law enforcement counterparts across the country when it comes to coverage
        under LEOSA.”


        I cannot imagine that this Council wishes to oppose President Obama or Senator Leahy in
        recognizing the vast importance of recognizing these men and women as extremely valuable
        members of the community, people that you would disarm and render ineffective if you pass
        this bill as written. Your statute seeks to nullify unknown thousands of Handgun Permits issued
        lawfully by the Maryland State Police, following deep and detailed background investigations,
        extensive training in the Use of Force, Marksmanship, and other legal education required by the
        General Assembly and the Maryland Police and Correctional Training Commissions (MPTC).
        These well trained, well-armed County residents and visitors, individuals possessing handgun
        permits from around the DC Metropolitan Region, are NOT a threat to public safety- they are an
        unnoticed, unappreciated asset to protecting and serving the communities under your care.




                                                                                                  (38)
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        William Adams


        Opposition to Bill 21-22

        How any elected official may feel personally about guns is not what they are obliged to act on.
        As an elected official, trusted to honor the US Constitution, the Maryland Constitution, and the
        collective wants of their constituents, they must be true to their responsibilities and act
        according to the wishes of their constituents within the bounds of the US Constitution.
        Therefore, the only right thing to do is to reject this bill as it clearly violates the 1st, 2nd, and 14th
        Amendments and is simply a dangerous bill.

        Setting aside for a moment the Constitutional violations this bill presents; the question is why?
        Why do you feel compelled to deny a properly permitted firearm holder freedom of travel
        simply because they are now permitted to carry a firearm when previously there was no
        prohibition from doing so? Is there evidence that anyone is now in greater danger, or is it
        simply speculation based on some misinformed notion that gun holders are dangerous?
        Handgun Permit (HGP) holders in this state have complied with the rigorous training and
        background checks requirements to obtain a permit, and as such, are shown to be safer, law-
        abiding, and even-tempered individuals.

        This proposed law does NOTHING to improve the safety of Maryland citizens that may reside,
        work, or pass through your county. As we have seen most recently at the Greenwood Park Mall
        in Indiana, an armed citizen legally carrying a concealed firearm stopped a mass shooter on a
        shooting rampage in the mall. How many more lives would have been lost had a law like Bill
        21-22 is proposing been in place in this Indiana town. Bill 21-22 will prevent a legally armed
        citizen from responding to such an event in Montgomery County.

        Anyone saying that the freedom to carry a firearm outside the home for self-defense or the
        protection of others is unnecessary and claiming that firearms in the public space is unsafe, is
        simply misinformed or ignoring the facts. If you are truly concerned about the safety of the
        residents, workers, and visitors to Montgomery County, please direct your energies to stopping
        gang crime in your county and leave the law-abiding citizens of Maryland alone.

        PLEASE, reject this bill!

        Sincerely,
        William Adams




                                                                                                             (39)
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        Please allow law abiding citizens to exercise their constitutional rights in Montgomery county. Clearly,
        the statistics show that criminals are getting more and more brazen as we've felt the crime wave in our
        communities. We are already at a disadvantage against criminals. Please give us the opportunity to
        defend ourselves.




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        Testimony in support of Bill 21-22
        Prohibiting firearms in or Near Places of Public Assembly
        Good afternoon. My name is Mindy Landau, I am a resident of Potomac, MD in Montgomery County and
        I’ve lived and worked here as a federal employee, now retired, for 40 years. I am a co-lead of Brady
        United’s Montgomery County Chapter and also represent Brady Maryland and our state executive
        committee. Thank you to the Montgomery County Council for giving me this opportunity to testify.

        Bill 21-22 will protect Montgomery County residents from an armed threats to our citizens in
        places where they work, play and socialize. Our children should not have to fear that someone with a
        gun will invade their “safe” space for learning. Government workers and concertgoers should be able to
        go to work, concerts and parks without worrying whether the person next to them is carrying a gun. Our
        citizens don’t want to feel anxious, intimidated, or afraid. We just want to be free and feel safe in the
        places we visit that give us joy. The presence of guns at or around these public places poses a danger to
        citizens’ emotional and physical well-being. We must protect the citizens of this county and their ability
        to visit places of worship and parks freely and without fear of being shot.

        Let’s call it what it is - guns in public places represent armed threats, clear and simple. And intimidation
        is not what Montgomery County is about. This is why Brady United Against Gun Violence appreciates
        and strongly supports Council President Albornoz’ bill.
        By prohibiting firearms within 100 feet of a gathering place, this bill will help to ensure we are protecting
        the sacred right to assemble for our generation, and generations to come.

        Although we respect the Second Amendment and rights of gun owners under the constitution and laws of
        Maryland, that right must be exercised so as not to infringe on constitutional rights of others, including
        the right to assemble peacefully. Gun laws are designed to do more than to protect physical safety alone.
        They can and do help preserve public order and the freedom of others to peaceably assemble, speak, and
        worship without fear and intimidation.

        As a country, much work has been done over the last 100 years to ensure that freedoms, as represented by
        the right to assemble peacefully, is accessible by all - regardless of their race, socioeconomic class or
        disability. We must continue this work today. Thank you.




                                                                                                                (41)
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        Good afternoon: I am writing to express my concern with Bill 21-22. The bill is problematic and
        worrisome in quite a few ways, but some more than others – and, of course, some more
        personally than others as well.

        I expect to receive my Wear and Carry Permit later this year, as do many others now that the
        Supreme Court, in its Bruen ruling, has declared the “Good and Substantial Reason” portion of
        the permitting law to be unconstitutional. Currently, Montgomery County law forbids carrying a
        firearm within one hundred yards of any place of public assembly, specifying public parks as
        one such location, and makes an exception for those who have carry permits. Bill 21-22 would
        remove this exemption, making it unlawful even for permit holders to carry in such areas.

        My apartment lies about twenty yards from the border of a park owned by Montgomery
        County. Although Bill 21-22 does make an exception for carrying within one’s home, it would
        seem to make it impossible for me to walk out of my own front door while carrying my firearm.
        For me to comply with this bill, I would apparently have to unload my firearm, walk or drive to a
        location deemed suitable for carry by Montgomery County, then reload my firearm and go
        about my day. (And, of course, I would need to perform the same procedure in reverse on my
        way home.) This would make it so inconvenient to use my carry permit that it would effectively
        make my permit useless – which would defeat the purpose of getting the permit in the first
        place.

        I urge you not to pass this bill. If you do, someone in my circumstances will undoubtedly file a
        lawsuit against Montgomery County, and while I am not a lawyer, I find it difficult to see how
        the county could possibly win. You could, in fact, end up having other restrictions besides this
        one thrown out by the court, leaving you with fewer carry restrictions than you had in the first
        place.

        Very truly yours,



        {signed}
        Parrish S. Knight




                                                                                                     (42)
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                                                                         (43)
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               The United States is founded on laws. We as a people, follow the laws. When the government
        decided to not follow the laws, it is no longer a government.

                 To place the county under a gun free zone, will not serve law abiding citizens. No one will be
        safe, crime will continue to rise. There will be no reason to live in Montgomery County as it will be run
        by criminals and gangs.

                Since you are infringing on my right afforded to me by the Constitution of the United States. I
        am requesting that this bill be removed or voted down. It serves no law abiding citizens in Montgomery
        County.



        Robert Utley




                                                                                                              (44)
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        Simeon Pollock


        Dear Mr. President,

        I am writing to you as President of the Montgomery County Council, to ask the council through
        you, to please reconsider passing the ill advised bill 21-22 - Expedited Bill 21-22, Weapons –
        Firearms In or Near Places of Public Assembly.

        Not only is this bill illegal following the Supreme Court’s ruling in Bruen, it will only make
        criminals of otherwise law abiding citizens. It tries to superseded Maryland State law as well as
        tell the Maryland State Police (MSP) that it does not know how to vett and process Concealed
        Carry Permits.

        The State of Maryland, through the MSP, already has in place an age limit - 21, a thorough
        vetting process for anyone wanting a Concealed Carry Permit (CCW). There are classes
        required for an HQL, more class time & testing for a CCW. This state process allows concealed
        handguns to be in the hands of responsible adults.

        The bill before the council will only serve to make vetted, trained, responsible adults into
        criminals in MoCo. Why do that? The criminals who will attack the public won’t follow this law.
        So what purpose does it serve? It will only put a burden on law abiding citizens.

        As a religious Jew who makes his home in the USA & in Montgomery County, I am becoming
        increasingly alarmed at the rise in anti-semitism, plain old Jew hatred that is on display in this
        country and recently in our county, in the heavily Jewish neighborhood of Kemp Mill. I want to
        be able to fight back should anyone come and try to kill Jews just for being Jews and
        congregating in a synagogue. Never Again, means that we won’t be attacked & slaughtered
        without fighting back.

        In Israel where guns of all kinds are common place, it’s usually a private citizen that stops an
        attack before the police or army can respond. That can be here as well.

        In many cases where synagogues were attacked in America, trained & armed congregants may
        have ended the attacks easily as most attackers are not trained in any way to use firearms if
        they are fired upon or face an armed citizen. Even in schools across the country, students &
        teachers are dying because no one is trained & armed to confront the attacker. They are forced
        to wait for the police who will hopefully come & stop the attack.

        Concealed guns grant the element of surprise to any would be attacker & just the knowledge
        that citizens may be trained & armed may prevent a future attack.

        Please don’t pass this legislation & make life for law abiding citizens more difficult.




                                                                                                        (45)
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        Sincerely,

        Simeon Pollock




                                                                          (46)
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        Please follow the recent Supreme Ruling on firearms carry permits. You all took an oath to
        uphold the Constituion.




                                                                                                     (47)
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       Vincent C. McGinnis




       July 18, 2022

       Dear Montgomery County Council,

       RE: Bill 21-22

       Montgomery County Bill 21-22 as written could restrict law-abiding citizens with a Maryland
       issued "wear and carry" permit from exercising their right, if they live "within 100 yards of a
       place of public assembly". My issue with that is, I live between 1 to 2 blocks from Seneca
       Valley High School (SVHS) and cannot avoid the high school. This law could nullify my right
       to bring a firearm outside my house; let alone carry one for personal protection, because of living
       in such close proximity to SVHS.

       Background: I moved into the 'Olde Seneca Woods' development 35 years ago. I am 62 year
       old and I enjoy the convenient location and walking as much as possible. I walk to the FNB
       ATM on the comer of Crystal Rock Drive/I 18. I walk to the grocery store, the Post Office, the
       dry cleaners, and really anywhere I can. All this helps me get exercise and reduces dependence
       on my car. Though I love this location for all its convenience, I try to walk during the day; and
       not too late at night. That's because my house is located in the Crystal Rock Drive area (near
       The Hampton Apartments) and is one of the worst crime areas in Germantown. Just ask any
       Montgomery County Police Officer who has worked in Germantown. For this and other reasons,
       I applied for a Maryland State issued wear and carry permit.

       Bill 21-22 as currently written could nullify my right to bring a firearm outside my house; let
       alone carrying one for protection; because I live in such close proximity to SVHS. This would
       gut the intent of recent change in the law for me and others who live so close to designated
       gun­free zones.

       Thanks for listening my concern. I hope you can address this issue in the bill before its voted on.

       Please feel free to call me with any questions you have.




                                                                                                     (48)
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        July 15, 2022

        Reg: Bill 21-22

        Dear Council Members:

        I do not support Bill 21-22. I believe the bill is driven by the mistaken belief that “more guns on
        the street means more crime.”

        The Bill is intended to outlaw concealed carry almost everywhere in Montgomery County.

        One needs only to know what happened in the 44 states that have either “shall issue” or
        “constitutional” (no permit required) concealed carry. The law-abiding who do not carry guns
        today, do not become criminals tomorrow after personal defense is permitted by the
        government.

        No State that has permissive concealed carry has seen an increase in gun crimes by the law-
        abiding (source AWR Hawkins, John Lott Jr., et. al.)

        Self-defense is a natural right. A “belief” that concealed carry by the law abiding means more
        crime is unfounded and is subordinate to the natural right to survive.

        I support Maryland law as it stands for concealed carry. That is enough for public safety. Bill
        21-22 is not required.

        Best Regards,

        Cs//

        Cary Secrest




                                                                                                       (49)
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        Public Testimony In Response to Bill 21-22, Weapons-Firearms In or Near Places
        of Public Assembly- July 26, 2022


        Good afternoon,

        I am a resident of Montgomery County, MD (Gaithersburg/Damascus to be exact) and a
        law-abiding firearms owner. I am also an attorney and a staunch believer in civil
        rights. I am writing to express my grave concerns with the efforts of the county to curb
        exercise of civil rights by law-abiding firearms owners, as made plainly evident in the
        text of Bill 21-22.

        As the Council is no doubt aware, the Bill of Rights to the US Constitution recognizes
        certain key and fundamental civil rights of US Citizens that the founders thought so
        profoundly important they bore being enumerated. The Second Amendment to the
        Constitution protects the right of individuals to keep and bear arms. The Supreme Court
        has continually held that this is a protected civil right. Citizens have a constitutional
        right to keep and bear arms; to keep and bear arms of those types in ordinary use; and
        to keep and bear arms in public for purposes of self-defense and other lawful ends. The
        Maryland Charter makes the US Constitution the supreme law of Maryland so, quite
        clearly, Marylanders have a constitutional right to wear and carry firearms in public. As
        recognized by Governor Hogan, Marylanders no longer need convince the government
        that they should be allowed to exercise a civil right. The proposed bill’s definition of
        places of public assembly would act to essentially deprive those in or visiting
        Montgomery County of a right to defend themselves, even on private property. This is
        in direct contravention to the recent Supreme Court decision in NYSRPA v. Bruen, but
        you are aware of this fact as the bill is in direct response to the decision in Bruen.

        The Council is, nonetheless, pursuing a bill that directly and intentionally flies in the face
        of constitutional rights. Section 4-209 of the Maryland Criminal Law Code also prohibits
        local governments from imposing certain restrictions on possession of firearms. Bill 21-
        22 goes well beyond the exceptions permitted under Section 4-209.

        Given that the Council is fully aware of the Constitutional rights that it seeks to
        intentionally infringe through attempted imposition of Bill 21-22, I want to draw your
        attention to 42 US Code Section 1983. Section 1983 is a federal statute which provides
        a right for individuals to sue local government officials directly when those officials
        violate civil rights in the course of their duties. Given that the Council is aware that this
        bill would violate civil rights (it is clearly written with that express intent) Council
        members likely lose any defense of qualified immunity and become personally liable for
        their unconstitutional actions. I for one would consider seeking a 1983 action if the
        Council passes a bill directly aimed at infringing my civil rights.

        Putting the above aside for the moment, what is it that frightens the Council so much
        about the lawful exercise of civil rights? Does the Council also intend to ban prayer
        within 100 yards of a place of public assembly? Does the fifth amendment not apply




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        within 100 yards of a place of public assembly? Does the Council believe that
        individuals should lose their fourth amendment rights if within 100 yards of a place of
        public assembly?

        Will the Council ban armed security or law enforcement at Council meetings or is it ok
        for the Council to be protected by firearms as long as the rest of us are not? Given that
        gun control is really the last vestige of Jim Crow laws, maybe the Council is scared of
        minorities being able to defend themselves? Is that it?

        Representative Jamie Raskin, of whom I am no fan, recently publicly pointed out the
        ridiculousness of Bill 21-22 and that it is just a waste of precious taxpayer resources
        and likely to be overturned in court. That said, he also called protection of constitutional
        civil rights draconian and foolish, so maybe he's not a great example.

        I truly encourage you to listen to your better angels and recognize the foolishness of 21-
        22 and, instead, embrace an approach that protects civil liberties of all Montgomery
        County residents and guests.

        Respectfully,


        Matthew Hoffman




                                                                                                (51)
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        Members of the County Council

        I am writing to express my opposition to Bill 21-22 as drafted.

        As written, this proposed ordinance would effectively prohibit use of a Maryland wear and
        carry permit in any of the built up areas of Montgomery County as it would be nearly
        impossible to drive or walk up or down a major street (e.g., Georgia Avenue, Wisconsin Avenue,
        New Hampshire Avenue) without coming within 100 yards of any property attached to a place
        of public assembly. Moreover, any Montgomery County resident with a wear or carry permit
        who lived or owned a business within 100 yards of any property attached to a place of public
        assembly would be barred from using the Maryland wear and carry permit while entering or
        exiting his residence or business. Additionally, there are places in Montgomery County where
        the Beltway and U.S/ 29, for example, come within 100 yards of property attached to a place of
        public assembly. Thus, this ordinance would criminalize use of a wear and carry permit while
        traveling through Montgomery County on the Beltway or U.S. 29. It should not be difficult to
        see why the breath of this ban is inconsistent with the recent Supreme Court decision allowing
        legislatures to ban guns only in narrowly defined sensitive spaces.

        There is also a problem with the vagueness of the definition of place of public assembly. By use
        of the term “including” the ordinance reads as if there are other unlisted places that may be
        considered a place of public assembly. With a criminal statute, the citizen is not supposed to
        have to guess what may or may not be included – particularly with a term that is broad enough
        to include, for example, any store.

        There is a saying, “Bad cases make bad law.” Passing this ordinance as written will
        undoubtedly result in rejection by the courts and may very well result in a court decision that
        further restricts the right of a legislature to ban guns from sensitive spaces and thus winds up
        making gun control harder rather than easier. In addition, passage of this ordinance as written
        will unnecessarily run up County legal fees with money that could be spent on productive
        initiatives.

        In my 31-year career (1966-1997) in criminal justice (including positions as a police officer,
        probation officer, and parole officer in New York State, Staff Director of the U.S. Parole
        Commission, and Principal Technical Advisor of the U.S. Sentencing Commission), I have seen
        quite a few pieces of criminal justice legislation that were not well thought out and/or not well
        drafted. In my opinion, this proposed ordinance, as written, falls in this category. Thus, I
        recommend strongly this proposed ordinance not be enacted as written. 1




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        Sincerely,

        Peter B. Hoffman

        Silver Spring, MD

        1. If the “within 100 yards of” language were removed from this bill (so as to limit the
        prohibition to the actual property of the place of public assembly), and if the definition of place
        of public assembly was tightened to remove its vagueness, it might ameliorate the above noted
        issues. Whether the proposed legislation is needed to address a real problem is another issue
        on which I take no position other than to note that during my career in criminal justice, I
        reviewed more than 25,000 files of convicted offenders and I remember only one case involving
        a crime committed with a handgun carried by a person having a permit to carry a handgun (not
        including offenses committed by persons who were authorized to vary a handgun because they
        were law enforcement officers).




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        Dear Counsel Members and constituents,

        I am writing in regards to Bill Bill 21-22. Please allow me an opportunity to voice my concerns
        and kindly accept it for consideration. I will try to make this short and sweet.

        I have lived in Montgomery County, Maryland for my whole life, except when I went to college. I
        am almost 42 years of age. Although I was a knucklehead growing up, I earned a Master's
        degree, volunteered for the fire department, am a member of a chamber of commerce, am
        Senior Home Safety Specialist, Client Liaison Manager and Marketing Coordinator and served
        on the community board of directors. Not to mention, my wife and I work hard, very hard. We
        have also been steadily employed our whole lives and we pay all our taxes on time.

        As you make your decision, please take this into consideration, how is it fair that a criminal will
        be able to go to a mall with a gun, like it happened in 2016, but someone with my background
        has to be unarmed? Would that really make you feel safer? I live across the street from the mall.
        When I walk my dog, how do I know the proximity of when I am committing a crime by being
        100ft of 100 people?

        This approach will either force me to be unarmed, or deal with a subjective approach of a police
        officer. Why is it that the Supreme Court of the United States just made me, you and a lot of
        others like us more equal and you are voting to take that away? Please excuse me, but the laws
        you are considering will not make us safer.

        Even if I don't carry arms, I feel a lot safer knowing that others who are responsible carry their
        arms. Montgomery County is a great county, but it's not in a secret bubble. Criminals are all over
        the place and they will not follow this law, nor will the criminals from neighboring counties who
        will flock here knowing how rich and unarmed our citizens are.

        There have been many mass killings. The numbers are staggering. It's obvious some of you
        want to make guns go away. I honestly wish we could disarm all of America too, but we can't.
        It's ingrained in the constitution and the Supreme Court just clarified that. The law being
        considered will undoubtedly be challenged by many and it may end up being a very costly
        decision for our county. Please consider putting that time and money into schools, our
        infrastructure, and placing real criminals behind bars.

        Please give me and other responsible citizens of Montgomery County the right and chance to
        defend ourselves if the unlikely, but life threatening, situation happens to arise. The elements of
        this law should be left up to private establishments on whether to allow or not allow arms.

        It's great to require proper training and background checks. Maryland has good laws right now.
        Please, please, please do not create a law to punish the responsible citizens. This law can harm
        a responsible citizen with their lack of safety and/or having unfair legal repercussions.




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        Thank you for your open-mindedness and consideration. Please make that right decision and
        give the responsible citizens the equality that they deserve and that the rest of the country
        already has.

        Respectfully,

        Renan Augusto




                                                                                                   (55)
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        Statement regarding Bill 21-22

        Good afternoon, my name is Michele Walker. I am a native of Maryland. My husband and I
        have raised four children in Montgomery County since 1990. Like our parents, we taught our
        children to respect our country and every person in it no matter their financial or educational
        status. Sadly, there are those among us who do neither of those things.

        Every American has the right and responsibility to defend not just themselves but their family,
        neighbors and other Americans whom they do not know personally. The 2nd Amendment of the
        United States Constitution does not restrict American Citizens from wearing and carrying their
        firearms. The Supreme Court has recently ruled against legislature that demands reason
         or need applications. The courts have ruled against many restrictions that would infringe upon
        our citizens rights. There’s an extremely low percentage of people using firearms to commit
        crimes or harm to others in comparison to the number of people who own one or more firearms
        that do not use them for those purposes.

        There are numerous cases where a law abiding gun owner saved the day as a crime was
        happening. Some were in convenience stores and saved the clerk or another customer from
        robbery and possible death. A judge in Ohio was able to save himself from a criminal who was
        attempting to kill the judge right outside of the courthouse. In a mall a gunman was stopped by a
        citizen who had a permit. None of us have the ability to know if we will be in one of those
        situations where a gun will be used with harmful intent but all of us would be grateful to be
        saved by someone who had our backs. To those who want to push gun control, close your eyes
        and imagine yourself in one of those situations where there is an angry or upset person with a
        gun. Now imagine if you have no one there to save your life because of these laws. How would
        you feel if your close family member were just an innocent bystander harmed or killed because
        of the gun control law that prevented the possibility of someone to stop it from happening? None
        of us are exempt from the potentiality of being harmed by people who just don’t care about the
        law or who are out of their mind. None of us, that includes you too.

        Please stop trying to unarm the law abiding citizens. We have been taught to respect the gun
        and use it properly. Gun control does NOT work. Look at the localities that have the strictest
        laws on the books and see that things have gotten progressively worse. Chicago, New York
        and Philadelphia are shining examples of those cities. Law abiding citizens do not have intent
        to go shoot up people or places. We intend to protect ourselves and those around us from
        others who either have criminal intent or have a mental illness. Address the real issues
        mentioned in the last sentence because it is not the gun, it's the person holding the gun.




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        To the Honorable Members of the County Council of Montgomery County, MD,

        I urge you to vote against Expedited Bill 21-22, Weapons – Firearms in or Near Places of Public
        Assembly. I know you want to make me safer, but this bill does the exact opposite.

        Antisemitic incidents are on the rise in the county, particularly by white supremacistsi. White
        supremacists are the most likely of all extremists to use violenceii. They target synagogues because these
        facilities serve the Jewish community and assure the presence of a significant number of Montgomery
        County citizens at certain times of the week. Furthermore, In the orthodox community, Sabbath
        synagogue attendees do not carry their phones, so there would be a delay in alerting police to an active
        threat.

        An additional factor impacting incident response is that Montgomery County police are understaffed
        and recruitment is down. Our sworn officers per capita is only half the national averageiii. It is unrealistic
        to expect police to be able to engage with an active threat fast enough to prevent mass casualties.

        Furthermore, turning places of worship (and essentially the entirety of the county) into gun free zones
        would do the precise opposite of its intent. It would serve as a welcome sign for potential mass
        murderers as to which locations they can “safely” unleash their mayhemiv — and there’ll be nobody
        there (with a gun) to stop them! This is because the only people who will comply are law-abiding,
        licensed gun owners. Do you really think someone intent on mass murder will leave their gun at home
        because of this law?
        Lastly, the expedited basis of this bill is unjustified. The CCW permit application process takes 90 days
        from submission to approvalv plus a few days to mail the permit to the applicant. This provides the
        MDSP sufficient time to perform a background investigation and interview up to three character
        witnesses. Before you can do that, you have to schedule and attend a 16-hour training class. You also
        need to take a live fire test with your instructor at a range to prove your proficiency firing a handgun.
        You also need to schedule and have your fingerprints taken to submit along with your application and
        fee. Then your CCW permitted citizen would have to select and purchase an appropriate concealed carry
        weapon, which in Maryland involves a minimum 7 day waiting period. Therefore, you have 90 to 120
        days before the impact of additional CCW permit holders will be seen in the county.

        CCW permit holders should be allowed to carry their concealed weapon to their place of worship
        specifically because of the heightened threat against places of worship. This bill will make it illegal for
        them to protect themselves specifically at the place they need it most. Therefore, I strongly urge you to
        vote against Expedited Bill 21-22.

        Larry Jaffe
        Silver Spring, MD

        i
         “Sharp rise in anti-Semitism in Maryland, Virginia and D.C., ADL reports”
        https://www.washingtonjewishweek.com/sharp-rise-in-anti-semitism-in-maryland-virginia-and-d-c-adl-reports/
        and “ADL H.E.A.T. Map™ (Hate, Extremism, Antisemitism, Terrorism)” https://www.adl.org/resources/tools-to-
        track-hate/heat-map




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        ii
         “Domestic Extremism in America: Examining White Supremacist Violence in the Wake of Recent Attacks”
        https://www.humanrightsfirst.org/resource/domestic-extremism-america-examining-white-supremacist-violence-
        wake-recent-attacks Relevant excerpt below:

        In Pittsburgh, Pennsylvania, the killer who attacked worshippers in a synagogue wrote that he believed Western
        Civilization was facing “extinction” and that refugees were “invaders”;[5]

        The Christchurch, New Zealand killer titled his writings “The Great Replacement” and targeted Muslims in a
        country he was initially only visiting;[6]

        The shooter in El Paso, Texas targeted Latinx people in the United States but wrote that he “supported” the racist
        screed from Christchurch;[7]

        In Poway, California, the shooter first targeted a mosque and then a month later opened fire in a synagogue,
        claiming that Jews were orchestrating a “planned genocide of the European race”;[8]

        And most recently, the killer in Buffalo, New York, spent weeks identifying a locale in which to murder Black
        Americans. His own screed was largely a plagiarism of the Christchurch shooter’s “Great Replacement” text, but
        was so sloppy that at times he merely swapped out terms for one victimized community for another.[9]

        This heartbreaking trail of violence illustrates how fluidly the Great Replacement conspiracy theory travels across
        borders and populations.

        Unfortunately, these mass casualty attacks are only one element in the larger phenomenon of violent white
        supremacism and domestic extremism.

        Over the last decade in available data, white supremacist terrorism in the United States has increased many times
        over. Of the 100 white supremacist attacks between 2000 and 2019, 80 of them occurred after 2009, according to
        the Global Terrorism Database (GTD).[10] And while these terrorist attacks have increased, they have also become
        more lethal. Mass casualty attacks perpetrated by white supremacist terrorists like the horrific attack in Buffalo,
        used to be a rare occurrence. Now, they are frequent tragedies.

        iii
           “Departures, sagging recruitment plague Montgomery County police (bethesdamagazine.com)”
        https://bethesdamagazine.com/bethesda-beat/police-fire/departures-sagging-recruitment-plague-montgomery-
        county-police-even-as-crime-soars/
        iv
           “Mass Public Shootings keep occurring in Gun-Free Zones: 94% of attacks since 1950”
        https://crimeresearch.org/2018/06/more-misleading-information-from-bloombergs-everytown-for-gun-safety-on-
        guns-analysis-of-recent-mass-shootings/
        v
           “Wear and Carry Permit (maryland.gov)”
        https://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDivision/Firearms/Wearan
        dCarryPermit.aspx




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        My name is Gary Simon. I am a lifelong resident of Montgomery County. I am a law-abiding MD
        Wear and Carry Permit holder as well as a MD Qualified Handgun Instructor (QHIC). While I
        think it fair to say that my viewpoints and philosophies are not very similar to the majority of the
        esteemed council, I do wish to thank you for the time that each of you dedicate to serving our
        county. I am here today to ask that you do so from a perspective of practicality and one that
        adheres to the laws that make our country what it is today.

        You have proposed a law, 21-22, in response to a decision of the Supreme Court in the NYSRPA
        v. Bruen matter. In doing so, you present a code that directly defies the majority opinion written
        by the Honorable Judge Thomas. I offer a portion of that decision for the record here today. I
        offer only text, removing citation and reference in the essence of time and brevity.

        “Consider, for example, Heller’s discussion of “longstanding” laws forbidding the carrying of
        firearms in sensitive places such as schools and government buildings. Although the historical
        record yields relatively few 18th- and 19th-century “sensitive places” where weapons are
        altogether prohibited-e.g., legislative assemblies, polling places, and courthouses- we are also
        aware of no disputes regarding the lawfulness of such prohibitions. We therefore can assume it
        settled that these locations were “sensitive places” where arms carrying cold be prohibited
        consistent with the Second Amendment. And courts can use analogies to those historical
        regulations of “sensitive places” to determine that modern regulations prohibiting the carry of
        firearms in new and analogous sensitive places are constitutionally permissible. Although we
        have no occasion to comprehensively define “sensitive places” in this case, we do think
        respondents err in their attempt to characterize New York’s proper cause requirement as a
        “sensitive-place” law. In their view, “sensitive places” where the government may lawfully
        disarm law-abiding citizens include all “places where people typically congregate and where law
        enforcement and other public-safety professionals are presumptively available. It is true that
        people sometimes congregate in “sensitive places,” and it is likewise true that law enforcement
        professionals are usually presumptively available in those locations. But expanding the category
        of “sensitive places” simply to all places of public congregation that are not isolated from law
        enforcement defines the category of “sensitive places” too broadly. Respondent’s argument
        would in effect exempt cities from the Second Amendment and would eviscerate the general
        right to publicly carry arms for self-defense that we discuss in detail below. Put simply, there is
        no historical basis for New York to effectively declare the island of Manhattan a “sensitive place”
        simply because it is crowded and protected generally by the New York Police Department,”.

        I am a permit holding, law-abiding citizen who will certainly be effected by this error-filled piece
        of legislation. What I believe gives me the greatest concern is that a body such as yourselves
        would propose such a piece of legislation that you know would be challenged and likely
        overturned. Rather than focusing on laws that focus on criminal conduct and are centered on
        the solving of an issue at hand, you propose something that is nothing more than window
        dressing to your constituency so that you are able to say we tried to do something. Perhaps if
        this type of energy was directed at criminals rather than law-abiding citizens exercising their
        constitutionally protected rights, you might garner the support of people like myself.

        Thank you for your time and consideration.




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        Edward Walker

                        Why I Oppose Bill 21-22 (and you should too)

        I oppose Bill 21-22 for many reasons. The being that it doesn’t just turn a right
        into a privilege, it completely removes this constitutional right from the
        people. For example even with a Maryland wear and carry permit, I would be
        unable to leave my place of residence with a legally owned firearm, 100 yards
        from the ground of a place of public assembly would extend into the street.
        There is a library, a church and a bank a few blocks from my house on the
        main road. Which means I’d have to break the law to exercise my RIGHT to
        carry even if was not intending to carry in Montgomery county.

        Another reason I oppose this bill, as we have seen time and time again the
        police fail to act and to defend civilians, the Uvalde shooting is a prime
        example of law enforcements inability, unwillingness and cowardice to act in
        the event of a mass shooting or violent encounter. There’s also an old saying
        which comes to mind in these cases “when seconds count, cops are minutes
        away”. Throughout the years and as recently July 17, 2022 we saw a law
        abiding citizen, good guy with a gun, stop a cold hearted criminal, bad guy with
        a gun, in 15 seconds. 15 seconds and the horrendous atrocity was ended. 15
        seconds. The officers at Uvalde waited 1 hour and 15 minutes. 1 hour and 15
        minutes compared to 15 seconds. This shouldn’t even need to be discussed.
        The answer is clear the people deserve to maintain their RIGHT to carry in
        public.

        This bill will turn law abiding citizens who would like to exercise their right to
        carry a firearm, legally with a permit, for defense into criminals, while
        criminals would still be criminals who don’t care about our laws and will still
        carry because they are criminals. This bill is bad legislation that will only
        effect lawful gun owners.

        Thank you for your time, even if you don’t actually care what the people think
        and only give us this opportunity to make us feel as if our opinions actually
        matter to you. We’ll see you in court if this passes. Have a nice day.




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            Good afternoon. I’m Deborah Miller, the Director of Maryland Government and Community
        Relations for the JCRC of Greater Washington. The JCRC represents over 100 social services
        agencies, synagogues, and Jewish schools throughout the region. We work to build strong
        relationships and coalitions with other communities in pursuit of justice, tolerance, and equity for
        all. I am here today in support of Expedited Bill 21-22, which aims to reduce the dramatic rise in
        gun violence we are witnessing every day not only across the country, but in our county.

               At the JCRC, one of our highest priorities is the safety and security of all faith-based
        institutions, particularly Jewish houses of worship, given the unprecedented increase in
        antisemitism- up 34% across the nation and 17% in Maryland according to the ADL.
        Additionally, MCPD’s latest report on religious bias incidents shows that more than 85%
        targeted Jews, although they only make up only 10% of the County population. The Jewish
        community knows all too well the devastating impact of gun violence. In addition to the horrific
        targeting of African Americans, Asian Americans, and the LGBT Community throughout the
        country, we remember the Tree of Life tragedy in where 11 members of the Jewish community
        were murdered.

               The importance of this legislation at this time cannot be underestimated. The JCRC is
        deeply disappointed by the Supreme Court’s ruling striking down NY’s concealed weapon
        permit law. We believe it will pose increased risk to public safety. Houses of worship should be
        left to establish their own security plans. We do not want individuals who could walk in off the
        street with a weapon acting in their own individual capacity. It could lead to chaos and create an
        even more potentially deadly situation.

               We will continue to advocate for common-sense gun safety measures throughout our
        region, because we know that the senseless violence, can only be stemmed by limiting easy
        access to such deadly weapons. While the Supreme Court taken a step backward to curb violence
        and ensure safety, we are grateful that in Montgomery County, our leaders are taking a step
        forward to counter this dangerous trend. Fewer guns near or inside our places of assembly will
        create a safer environment for all of our residents. We thank the lead sponsor, Council President
        Gabe Albornoz as well as the entire council for its co-sponsorship.




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             Testimony of Montgomery County Young Democrats in Support of
            Expedited Bill 21-22–Weapons–Firearms In or Near Places of Public
                                       Assembly

                                              July 25, 2022

        Members of the County Council:

        The Montgomery County Young Democrats strongly support Councilmember Albornoz’s
        Bill 21-22, which would ban the possession of guns in or near places of public
        assembly, with a few exceptions. It would also remove an exemption that allows certain
        people with permits to have guns within one hundred yards of these places. Gun
        violence is a major problem in our county and country, resulting in tens of thousands of
        deaths every year, and residents should not live in fear when they are out in public. This
        proposal will tighten restrictions on guns and help ensure that people can participate in
        public life without being intimidated.

        Currently Maryland law allows people with wear-and-carry permits to possess guns
        when they are within one hundred yards of or in parks, churchs, schools, public
        buildings, and other places of public assembly. This bill bans people from selling,
        transferring, possessing, or transporting guns in those areas. It includes reasonable
        exemptions for police officers or security guards, business owners, residents who live
        within 100 yards of a place of public assembly, and instructors for firearm safety and
        use.

        In order for people to thrive in Montgomery County and engage in its civic and
        commercial life, they should feel welcome and not be subject to menacing threats. The
        goal of this bill is to promote public safety and ease of mind. We want to minimize
        concerns and worries that people have about people carrying weapons in and around
        these places. People should be able to go to school, their places of worship, the mall, or




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        community centers without having to constantly look over their shoulder and worry
        about shooters.

        Recently we have seen a troubling trend of people showing up with openly carried
        weapons outside polling places and other locations; these are blatant attempts to
        intimate people, discouraging them from voting and exercising their other political
        rights. And various authoritarian groups have shown up to various events, most notably
        Drag Queen Story Hour, and tried to disrupt them.

        Bill 21-22 would help reduce acts of violence in county public spaces, counter attempts
        to intimidate people, and keep people safer. MCYD urges the County Council to vote yes
        on this bill.

        Sincerely,

        The Montgomery County Young Democrats




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  Montgomery County Council
  Council Office Building
  100 Maryland Avenue, 6th Floor
  Rockville, MD 20850


  July 25, 2022
  Re: OPPOSE Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly.


  Esteemed Council Members:
  I am writing you as a Maryland native, a Montgomery County business owner, and a registered Montgomery
  County voter to oppose Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly. I am also a
  Maryland Wear and Carry permit holder, earned with a substantial amount of background checks and training.
  While I understand your intent is to protect the lives of innocent people, this bill is vague and will create
  confusion for law-abiding citizens with carry permits.
  Under this proposed bill, there is no definition of “places of public assembly,” which can be construed as
  something as simple as a grocery store or bank without context. Since many of us with carry permits are
  frequently traveling from work and the primary purpose of the permit is to keep us safe in the disposition of our
  duties as a business owner while banking or traveling to and from our home, this vague wording places us at
  risk for breaking the law within the county where Maryland has provided us the right to protect our lives.
  For instance, the specific addition of school parking lots places many of us at risk as we travel home from work
  while legally carrying a firearm. With the current cost of gasoline, it is ridiculous to expect us to go miles out of
  our way to return home.
  The most substantial reason for my opposition to this bill is that it creates a patchwork regulation within the
  state of Maryland, which creates a challenging structure for law-abiding citizens of Montgomery County and
  Maryland to comply. This would also set a precedent where law-abiding citizens are placed at risk for
  prosecution from laws within a smaller jurisdiction without any type of signage to identify that legal firearm
  carrying is prohibited. It is challenging enough to recall which states have which specific laws and which areas
  are restricted.
  In addition, there has been an inadequate amount of time since Bill 21-22 was introduced and the hearing date
  of July 26, 2022. Many Montgomery County residents are unaware of the aforementioned bill and have not had
  an opportunity to read or speak their affirmation or opposition to it. This quick vote seems underhanded and
  sneaky, something I am certain none of you wishes to be, particularly with the upcoming election.
  Please oppose this bill and let us address gun violence from root cause mitigation. I would be honored to help
  with supporting the council with data and statistics on root cause mitigation and public awareness.


  Sincerely,
  Rachel King




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                          Testimony in Opposition of Council Bill 21-22
        I submit this petition hosted on change.org in opposition of Council Bill 21-22.

        https://chng.it/bKmKQXGq


        Regards,
        Katie Novotny




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       Dear Councilmembers,

        I'm writing you as a resident of Montgomery county to let you know that I strongly oppose bill
        21-22. I've lived here in Montgomery county for over 20 years now, I've seen the area go though
        lots of changes some good, some bad. Over the years, crime in the area is slowly getting worse and
        worse, from shootings happening less than a mile away from me, to muggings and armed assaults’.
        While I appreciate your efforts to try keep citizens safe, all this bill is doing is sending a message to
        criminals that the county is leaving its citizens defenseless. Stripping your law abiding citizens rights
        to protect themselves even when they've gone through the training, the background checks
        showing that the police approve of them to conceal a weapon is not a well thought out idea.

        Someone that conceal carry's a firearm should be of sound mind and an upstanding citizen, there
        are checks and balances in place to restrict who can and cannot own and even conceal carry a
        firearm already in place. Thorough training is required, background checks are in place police have
        references to double check people who are applying. These should be more than enough. This is
        not going to be the wild west with people carrying a weapon exposed on their hip, These are going
        to be law abiding citizens, concealing a weapon, knowing it’s a last line of defense incase something
        were to happen. With crimes going up, police response time going up, its not enough to solely rely
        on the police. I’ve had friends be victims of violent hate crimes, I’ve been in a situation where there
        was an attempted murder and was run to for help, in those 8-9 minutes of waiting for police to
        hopefully respond can often mean life or death for some.

        I urge you to reconsider going through with this bill. Criminals will never listen to the letter of the
        law. Criminals see gun free zones as easy targets. Allowing your citizens the option to carry with a
        concealed carry permit is a deterrent in itself. Criminals may think twice, and move along not
        knowing who may or may not be able to defend themselves. Freedom is a two way street. Its often
        said ignorance of the law does not make you innocent. I’ve seen a lot of arguments that people
        should not have to worry who around them may or may not legally be carrying a weapon, well,
        ignorance of the law on their part does not make me a criminal. There have been a large number of
        situations where legal residents carrying a concealed firearm have kept horrible things from
        happening. A perfect example of this would be what just happened in Indiana. A mall where a “gun
        free zone” was in place 2 people broke that rule, one with the intent to cause harm to as many as
        he could, the other, a citizen with a concealed carry permit and a firearm out of sight. That citizen
        was able to save countless lives that day due to his training and fast thinking. While that is an
        extreme example it’s also a realistic one.

        In closing. Please reconsider passing this. I appreciate your attempts to make this county a “safer”
        place, but this will not accomplish it and will only hurt its citizens, and possibly even turn perfectly
        law abiding citizens into criminals just by wanting to legally protect themselves by carrying WITH a
        permit that has been issues by the police.

        Thank you for your time,

        Luke Roetman.




                                                                                                             (66)
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                                             Testimony on Expedited Bill 21‐22




        Councilmembers,


                My name is Daniel Sangaree and I’m a Montgomery County resident in Glenmont, a member of

        my community’s home owners’ association’s board of directors, a married gay man, a registered and

        voting Democrat, and a Maryland Handgun Wear and Carry permit holder. My firearms training and

        experience includes handgun training by the Greene County (Missouri) Sheriff’s Department as part of

        my university’s criminal justice degree program, competitive handgun shooting as part of the American

        Criminal Justice Association, years of experience as a concealed weapons permit holder before moving

        to Maryland, Maryland’s Handgun Qualification License training, and Maryland and DC’s 16+ hours of

        concealed handgun permit training. This letter is my testimony in opposition to expedited Bill 21‐22

        currently under your consideration.


                Bill 21‐22 proposes to remove the exemption for Maryland handgun permit holders to the

        county’s places of public assembly restrictions. As a permit holder this bill will affect me to a rather

        extreme degree. It is, in fact, a de facto ban on legal firearm carry throughout the populated areas of the

        county. Under even the much more objective definitions that existed before Bill 4‐21, which this council

        previously passed, with the exemption removed I will not be able to do any of the following while

        otherwise legally armed:


                   travel more than a block from my home in any direction on foot, Metro rail, or by car

                   inspect, as a director, all of the property that is under my HOA’s jurisdiction

                   shop at my primary grocery store, the Safeway in Wheaton, or almost any of the grocery

                    stores in the area, including: Giant in Aspen Hill, Lidl in Glenmont, Aldi in Glenmont, H‐Mart




                                                                                                                   (67)
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                    in Glenmont, Giant in Norbeck, Safeway in Norbeck, Giant in Wheaton, Target in Wheaton,

                    Safeway in Kensington, and so many more.

                   walk my dog on his normal route which was chosen entirely for conflict avoidance

                   defend myself in my car during a rising trend of violent, armed carjackings in the county that

                    police, by the laws of physics, are unable to defend us from


                While I am only speaking for myself, as an HOA board member I have also noted that there are

        households within my HOA that, due to their proximity to a park, residents won’t be able to legally leave

        their house at all while armed, either walking or by car. Many are likely even unaware that they are

        affected in this way. This specific scenario applies to many people in the county and that’s before

        applying the vague definitions as provided in Bill 4‐21.


                The vague definitions for a place of public assembly brought by 4‐21 add a truly dystopian lens

        through which to view this bill. This bill will allow police to arrest anyone who is otherwise legally armed

        nearly anywhere in the county based purely on the personal discretion and biases of the officer. It takes

        absolutely zero imagination to figure out exactly how that will be abused and what groups will be

        victimized by the wide latitude this bill would give police. But just to be absolutely clear, it will be people

        of color, queer people, and other oppressed minorities that bear the brunt of abuses by police from this

        just as they bear the brunt of all police abuses. This is exactly why The Black Attorneys of Legal Aid, the

        Bronx Defenders, and Brooklyn Defender Services, three public‐defender groups in New York, filed an

        amicus brief in support of NY State Rifle and Pistol Association in NYSRPA v Bruen. To quote that brief,

        “virtually all our clients whom New York prosecutes for exercising their Second Amendment right are

        Black or Hispanic. And that is no accident. New York enacted its firearm licensing requirements to

        criminalize gun ownership by racial and ethnic minorities. That remains the effect of its enforcement by

        police and prosecutors today.” ("Brief amici curiae of Black Attorneys of Legal Aid, et al. ", 2021)




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                Which brings me to the biggest problem with this bill. Either the members of this council have

        never visited a county jail, prison, or other place of incarceration or they came away from it with a

        wholly different takeaway than I did when I visited jails and prisons as part of my criminal justice

        program. This bill intends to send upstanding members of our community, vetted by the state police as

        law abiding and trained, to jail for up to six months for an act with no element of malice and likely an

        honest mistake or a matter of police/prosecutorial discretion. This result, which is explicitly what this bill

        demands, is cruel and honestly horrific. This is the exact opposite of criminal justice reform that the

        Democratic Party has called for over the past multiple decades.


                I ask that the members of this council reject this bill which will only serve to criminalize

        upstanding, and disproportionately minority, members of our community.




        Sincerely,




        Daniel Sangaree




        References


        “BRIEF OF THE BLACK ATTORNEYS OF LEGAL AID, THE BRONX DEFENDERS, BROOKLYN DEFENDER

        SERVICES, ET AL. AS AMICI CURIAE IN SUPPORT OF PETITIONERS”, July 2021. Accessible via Supreme

        Court of the United States website, Docket 20‐843.




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             Testimony for the Montgomery County Council
                             July 26, 2022

         Expedited Bill 21-22, Weapons – Firearms In or Near
                       Places of Public Assembly
                              FAVORABLE


        To Council President Albornoz and members of the Public Safety
        Committee,

        My name is Lisa Morris. I am a volunteer with Maryland Moms
        Demand Action and I live in North Potomac. I am submitting
        written testimony in support of Expedited Bill 21-22, Weapons –
        Firearms In or Near Places of Public Assembly.

        I have lived in Montgomery County my entire life. I am also a gun
        violence survivor as my life intersected with gun violence two
        times. I feel and believe our safety as a community and
        individuals/families are more at risk then ever.

        The very dangerous decision made by the Supreme Court to
        weaken states permitting systems is already seeing ripple effect
        in states across the country, including in Maryland. States see
        that a weakened permitting system has a 13-15% increase in the
        rate of violent crimes. Research shows that when it is easier for
        people to carry guns in public, violent crime goes ups.

        Montgomery County is experiencing a rise in gun violence; the
        last thing our county needs is guns where people gather.
        The increased prevalence of guns outside the home only
        increases the risk of violence in public places. This will further
        endanger the public in Montgomery county and Maryland putting
        families, children, individuals and law enforcement in danger in
        what is already a gun violence and mass shooting epidemic.

        Now the burden is more then ever on state and local officials to
        define the spaces in our community where guns are not permitted


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        and to provide strong public safety and gun reform legislation to
        keep all of us safe from gun violence in our communities as we go
        about our daily lives.

         I urge you and the council to pass Bill 21-22.

        Thank you and the all of the council members for all you do for
        our county.

        Lisa Morris
        Volunteer
        Moms Demand Action for Gun Sense in America, Maryland
        Chapter




                                                                          (71)
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                           Testimony for the Montgomery County Council
                                             July 26, 2022


         Expedited Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly
                                             FAVORABLE


        To Council President Albornoz and members of the Public Safety Committee,


        I am Peter Benjamin, a former mayor of the Town of Garrett Park. I am submitting
        written testimony in support of Expedited Bill 21-22, Weapons – Firearms In or Near
        Places of Public Assembly.


        I agree with the legislation proposed and respectfully suggest two additions:


           1. Include within the definition of places of public assembly all modes of public
              transportation, including vehicles and facilities as well as school buses.
           2. I believe that New York, in its action in response to the Bruen decision, dealt with
              weapons carried into private business. I would propose a similar provision that
              would ban weapons in all places of business, including stores, offices, and
              service facilities unless the owner or operator chooses to allow weapons in its
              place of business, in which case the exemption must be posted prominently and
              publicly at all entrances.


        Thank you for your consideration,
        Peter Benjamin




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President
Mark W. Pennak                                       July 21, 2022

                 WRITTEN TESTIMONY OF MARK W. PENNAK, PRESIDENT, MSI,
                              IN OPPOSITION TO BILL 21-22
                 I am the President of Maryland Shall Issue (“MSI”). Maryland Shall Issue is a
                 Section 501(c)(4), all-volunteer, non-partisan organization dedicated to the
                 preservation and advancement of gun owners’ rights in Maryland. It seeks to
                 educate the community about the right of self-protection, the safe handling of
                 firearms, and the responsibility that goes with carrying a firearm in public. I am
                 also an attorney and an active member of the Bar of the District of Columbia and
                 the Bar of Maryland. I recently retired from the United States Department of
                 Justice, where I practiced law for 33 years in the Courts of Appeals of the United
                 States and in the Supreme Court of the United States. I am an expert in Maryland
                 Firearms Law, federal firearms law and the law of self-defense. I am also a
                 Maryland State Police certified handgun instructor for the Maryland Wear and
                 Carry Permit and the Maryland Handgun Qualification License and a certified NRA
                 instructor in rifle, pistol, personal protection in the home, personal protection
                 outside the home, muzzle loading, as well as a range safety officer. This letter is
                 submitted in opposition to Bill 21-22.

                 In Bill 21-22, the County would amend Section 57.11(b) of the County Code to
                 eliminate the existing exemption for carry permit holders from the prohibitions
                 found in Section 57.11(a). Section 57.11(a) provides: “In or within 100 yards of a
                 place of public assembly, a person must not: (1) sell, transfer, possess, or transport
                 a ghost gun, undetectable gun, handgun, rifle, or shotgun, or ammunition or major
                 component for these firearms; or (2) sell, transfer, possess, or transport a firearm
                 created through a 3D printing process.” The County code defines the term "place of
                 public assembly" extremely broadly to mean: “a place where the public may
                 assemble, whether the place is publicly or privately owned.” This definition goes on
                 to include, but is not limited to, any “park; place of worship; school; library;
                 recreational facility; hospital; community health center; long-term facility; or
                 multipurpose exhibition facility, such as fairgrounds or a conference center.” See
                 County Code Section 57.1 (definitions).

                 The County invokes as its authority for this bill, an exception provision to a State
                 preemption statute, MD Code, Criminal Law, § 4-209(a). That statute provides: “(a)
                 Except as otherwise provided in this section, the State preempts the right of a
                 county, municipal corporation, or special taxing district to regulate the purchase,
                 sale, taxation, transfer, manufacture, repair, ownership, possession, and
                 transportation of: (1) a handgun, rifle, or shotgun; and (2) ammunition for and
                 components of a handgun, rifle, or shotgun.” Section 4-209(b) contains exceptions to
                 this general preemption, one of which is that a “county, municipal corporation, or
                 special taxing district may regulate the purchase, sale, transfer, ownership,
                 possession, and transportation of the items listed in subsection (a) of this section:
                                                                                           (73)
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               *** (iii) * * * within 100 yards of or in a park, church, school, public building, and
               other place of public assembly.” MD Code, Criminal Law, 4-209(b)(1)(iii).

               That exception provision is narrow and strictly construed. In Mora v. City of
               Gaithersburg, 462 F.Supp.2d 675, 689 (D.Md. 2006), modified on other grounds, 519
               F.3d 216 (4th Cir. 2008), a federal district court here in Maryland held that “the
               Legislature” has “occup[ied] virtually the entire field of weapons and ammunition
               regulation,” holding further there can be no doubt that “the exceptions [in Section
               4-209(b)] to otherwise blanket preemption [in Section 4-209(a)] are narrow and
               strictly construable.” As thus construed, Section 4-209(b)(1)(iii) does not authorize
               this legislation. Indeed, the extent of the County’s power under this provision is
               currently in litigation in MSI v. Montgomery County, Case No.: 485899V (Mont. Co.
               Cir. Ct), where MSI and other plaintiffs have challenged the County’s enactment of
               Bill 4-21 last year. Cross-motions for summary judgment in that case were filed and
               oral argument conducted on July 19, 2022. Bill 21-22 builds on the framework
               established by Bill 4-21 and effectively negates carry permits issued by the State
               Police throughout the County. If the County loses the Bill 4-21 suit, such a decision
               would necessarily mean that the County likewise lacks the authority to enact Bill
               21-22, as currently drafted. The County would be well-advised to await a decision
               before doubling down on its misguided reliance on Section 4-209(b)(1)(iii).

               But even assuming arguendo that the County has the power it claims under Section
               4-209(b)(1)(iii), Bill 21-22 still fails as it is blatantly unconstitutional under the
               Second Amendment, as construed by the Supreme Court in New York State Rifle &
               Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111 (2022). In Bruen, the Supreme
               Court held that the Second Amendment right to bear arms means “a State may not
               prevent law-abiding citizens from publicly carrying handguns because they have
               not demonstrated a special need for self-defense.” Slip op. at 24-25 n.8. Specifically,
               the Court struck down as unconstitutional New York’s “proper cause” requirement
               for issuance of a permit to carry a handgun in public. The Court went on to reject
               the “means-end,” two step, intermediate scrutiny analysis used by the lower courts
               to sustain gun regulations, holding that “[d]espite the popularity of this two-step
               approach, it is one step too many.” The Court ruled that “the standard for applying
               the Second Amendment is as follows: When the Second Amendment’s plain text
               covers an individual’s conduct, the Constitution presumptively protects that
               conduct. The government must then justify its regulation by demonstrating that it
               is consistent with the Nation’s historical tradition of firearm regulation.” Any such
               historical analogue would have to date from 1791 or, at the latest, 1868, when the
               14th Amendment was adopted. See Bruen, slip op. at 25-26. That is because
               “‘Constitutional rights are enshrined with the scope they were understood to have
               when the people adopted them.’” Bruen, slip op. at 25, quoting District of Columbia
               v. Heller, 554 U.S. 570, 634–635 (2008).

               Bruen also holds that governments may regulate the public possession of firearms
               at “legislative assemblies, polling places, and courthouses” and notes that
               governments may also regulate firearms “in” schools and government buildings.
               Bruen, slip op. at 21, citing Heller, 554 U.S. at 599. Bruen states that “courts can
               use analogies to those historical regulations of ‘sensitive places’ to determine that
               modern regulations prohibiting the carry of firearms in new and analogous sensitive

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               places are constitutionally permissible.” (Id.). But nothing in Bruen can be read to
               allow a State (or a municipality) to regulate or ban firearms at every location where
               the “public may assemble” regardless of whether the place is “publicly or privately
               owned.” Indeed, the Court rejected New York’s “attempt to characterize New York’s
               proper-cause requirement as “a ‘sensitive-place’ law,” ruling that “expanding the
               category of ‘sensitive places’ simply to all places of public congregation that are not
               isolated from law enforcement defines the category of ‘sensitive places’ far too
               broadly.” Slip op. at 22. As the Court explained, “[p]ut simply, there is no historical
               basis for New York to effectively declare the island of Manhattan a ‘sensitive place’
               simply because it is crowded and protected generally by the New York City Police
               Department.” (Id.).

               In a courtroom, the County will bear the burden of proof to show the historical
               presence of such analogous regulations. See Bruen. at 52 (“we are not obliged to sift
               the historical materials for evidence to sustain New York’s statute. That is
               respondents’ burden.”). Ipse dixit declarations or avowed public safety concerns will
               not do. Under Bruen, “when the Second Amendment’s plain text covers an
               individual’s conduct, the Constitution presumptively protects that conduct.” Slip op.
               at 8. Here, the text of the Second Amendment indisputably covers the “possession,
               sale, transport, and transfer” of firearms and ammunition, as regulated by Section
               57.11(a) of the County Code. In such cases, “the government may not simply posit
               that the regulation promotes an important interest,” but rather “the government
               must demonstrate that the regulation is consistent with this Nation’s historical
               tradition of firearm regulation.” Id. In short, under Bruen, “the Second Amendment
               guarantees a general right to public carry.” Bruen, slip op. at 24.

               The County has not and cannot make any such showing that eliminating the right
               to carry under a permit issued by the State Police “is consistent with this Nation’s
               historical tradition of firearm regulation.” Indeed, the very suggestion is
               nonsensical. There is no historical analogue that would permit the County to ban
               all possession of firearms in a church or a park, much less in any “other place of
               public assembly” as vastly defined by the County to include any place where the
               public “may assemble” regardless of whether such place is on public or private land.
               Montgomery County is no more a “sensitive place” than is Manhattan. Under the
               Second Amendment, the County may presumptively enact otherwise reasonable
               firearms regulations for these five, specific locations identified in Bruen and Heller,
               viz, in schools, public buildings, polling places, courthouses and legislative
               assemblies, to the extent such regulation is otherwise authorized by State law. As
               noted, the State has generally barred local regulation of firearms under Section 4-
               209(a). For example, the County has no authority to enact its own, “shall issue”
               licensing system that would supersede or conflict with that established by State
               law. Nor would it make any practical sense for the County to attempt to duplicate
               State law on such matters.

               The State Police may continue to regulate public possession of handguns under its
               existing permit system as long as it issues permits on an objective, “shall issue”
               basis and the permitting system does not operate in such a way as to “deny ordinary
               citizens their right to public carry.” See Bruen, slip op. at 30 n.9. But, there is no
               historical analogue that could justify regulating within 100 yards of those locations

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               or beyond those places. Bruen holds that the “Second Amendment guarantees a
               general right to public carry,” and thus the County may not purport to ban the
               “possession, sale, transport, and transfer of firearms” within 100 yards of any
               location. Again, the burden is on the County to prove an historical analogue to the
               contrary.

               Such bans are particularly nonsensical for persons who have obtained a wear and
               carry permit from the Maryland State Police. Under State law, MD Code, Public
               Safety, § 5-306(b), such individuals are subject to highly intrusive background
               investigations (including fingerprinting) conducted by the State Police and must
               undergo extensive training by State certified instructors, including passing a scored
               live-fire proficiency test. The undersigned is such a State Police-certified instructor.
               The State Police will continue to enforce those requirements even after Bruen. See
               Maryland State Police Advisory, LD-HPU-22-002 (July 5, 2022). Permit holders are
               among the most law-abiding individuals there are. They are not the problem. That
               has been true in all of the 43 States and the District of Columbia that issue permits
               on a “shall issue” basis. https://www.dailywire.com/news/report-concealed-carry-
               permit-holders-are-most-law-aaron-bandler/. Eliminating the exception for permit
               holders currently found in Section 57.11(b) of the County Code is utterly senseless
               from any calm, rational perspective.

               Stated simply, regardless of the personal views of members of the Council County,
               this County is bound by the decisions of the Supreme Court, including decisions
               involving the Second Amendment. The County needs to rethink this Bill. If the
               County persists with the enactment of Bill 21-22, it will not survive judicial review.
               Defying the Supreme Court did not work for the racist proponents of segregation
               who refused to accept Brown v. Board in the 1950s and 1960s, and it will not work
               for any County attempt to defy Bruen. The Second Amendment is not a “second
               class right” that the County is free to ignore. Bruen, slip op. at 62. The sooner that
               members of the Council are able to put aside their personal opinions and accept that
               reality, the better. As stated in Heller, “the enshrinement of constitutional rights
               necessarily takes certain policy choices off the table.” Heller, 554 U.S. at 636.
               County taxpayer dollars have better uses than litigation that will most certainly
               ensue from any enactment of Bill 21-22. When plaintiffs prevail in such litigation
               (and they will), the County will also be on the hook for plaintiffs’ attorneys’ fees and
               costs under federal law, 42 U.S.C. § 1988, and those sums could well be substantial.
               The County Council should stop and think carefully before it goes down that road.
               Responsible, adult stewardship of the County requires nothing less. The County
               cannot say it was not put on notice or acted in ignorance of State law or the Second
               Amendment.

               Respectfully,



               Mark W. Pennak
               President, Maryland Shall Issue, Inc.
               mpennak@marylandshallissue.org


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                           Testimony for the Montgomery County Council
                                            July 26, 2022

             Expedited Bill 21-22, Weapons—Firearms In or Near Places of Public Assembly
                                             FAVORABLE

        To Council President Albornoz and members of the Public Safety Committee,

        My name is Jennifer Stein, and I am a long-standing volunteer with Maryland Moms Demand
        Action. I have lived in Montgomery County since 1995 and currently live in the Town of Chevy
        Chase. Together with my husband, Michael, we have raised a family here. I am submitting
        written testimony in support of Expedited Bill 21-22, Weapons—Firearms In or Near Places of
        Public Assembly.

        Gun violence in our country has become a public health crisis of epic proportions. The statistics
        are so monumental—110 deaths and 200 more injuries every day—it is possible to become numb
        unless directly affected. But none of us is immune to the scourge of gun violence, which destroys
        lives, families, and communities. So far, Montgomery County has avoided a mass shooting in a
        sensitive public space, but this is not a matter of luck. Maryland’s strong concealed carry
        permitting system was appropriate and necessary for public safety. Meanwhile, Montgomery
        County is experiencing a rise in gun violence—the last thing our county needs is guns where
        people gather. And no one should have to worry about gun violence when they take their kids to
        a playground, to a park, or drop them off at school.

        The Supreme Court’s dangerous decision striking down the “proper cause” discretionary
        requirement to conceal carry a firearm has already increased the risk of tragic mass shootings in
        our community. When permitting systems are weakened and more people may carry concealed
        weapons into sensitive public spaces, the research shows that deadly violence rises. States with
        no such discretion in issuing concealed carry permits have homicide rates 11% higher than states
        like Maryland and New York.

        Now that the Supreme Court’s concealed carry decision is the law of the land, Maryland and its
        local governments must take all reasonable action to protect children and adults from senseless
        gun violence within its borders. Expedited Bill 21-22, Weapons—Firearms In or Near Places of
        Public Assembly would be a commonsense, constitutional measure to help ensure public safety
        in the post-Bruen era. Montgomery County has the power under Maryland state law to regulate
        firearms as set forth in Expedited Bill 21-22. I urge the passage of this life-saving bill.

        Sincerely,
        Jennifer Stein
        State Data Co-Lead
        Moms Demand Action for Gun Sense in America, Maryland Chapter



                                                                                                    (77)
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        Dear Sir or Ma'am -

        In reference to Bill 4-21:

        It is inherently dangerous to signal to criminals that the entire county is, in
        effect, a giant gun-free zone... "a place where the public may assemble" is
        literally and figuratively anywhere.

        Please be reminded that the Colorado theater shooter specifically chose the
        particular theater because of it being in a gun-free zone, that is to say, free
        of law-abiding citizens capable of defending themselves. In doing so, he
        knew he could maximize the most damage in the least amount of time
        without a worry that someone, anyone could fight back.

        Now, what are the chances of that happening here? That's the wrong
        question to ask. It's not about the chances, it's about the stakes - my life,
        and that of my family, is too great to risk.

        I am open to any question or comments.

        Very sincerely,

        - Ben Figueroa




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                            Testimony for the Montgomery County Council

                                                July 26, 2022

            Expedited Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly

                                               FAVORABLE

        To Council President Albornoz and members of the Public Safety Committee,

                My name is Melissa Ladd. I am a volunteer with Maryland Moms Demand Action and I
        am a resident of Olney, and have lived in Montgomery County for 20 years. I am submitting
        written testimony in support of Expedited Bill 21-22, Weapons – Firearms In or Near Places
        of Public Assembly. Thank you for writing this bill in response to the misguided decision of the
        Supreme Court.

                The breadth of studies on concealed carry permitting show that when permitting
        restrictions are eased, the rate of violent crime increases. A 2019 Study from Journal of
        Empirical Legal Studies shows that “RTC (Right to Carry) laws are associated with 13–15
        percent higher aggregate violent crime rates 10 years after adoption”.1 Also, the Johns Hopkins
        School of Public Health research indicates that “By years 7 through 10 following the adoption of
        a RTC law, violent crime rates were 11% to 14% higher than predicted had such laws not been in
        place.”2 From a study by Duke University we learn that “increases in violent gun crime (29
        percent), gun robbery (32 percent), and gun theft (35 percent) following the introduction of shall-
        issue concealed carry permit laws.”3

                We know that sensitive area prohibitions keep people safe where the risk of gun violence
        is elevated. Maryland law grants counties and other local authorities the power to regulate
        firearms in and near certain sensitive places, like those listed in this ordinance. The county must

        1
         https://onlinelibrary.wiley.com/doi/abs/10.1111/jels.12219
        2
         https://www.jhsph.edu/research/centers-and-institutes/johns-hopkins-center-for-gun-violence-
        prevention-and-policy/_archive-2019/_pdfs/concealed-carry-of-firearms.pdf
        3

        https://www.nber.org/system/files/working_papers/w30190/w30190.pdf?utm_source=The+Trace+mailing
        +list&utm_campaign=b670a8e418-
        EMAIL_CAMPAIGN_2019_09_24_04_06_COPY_01&utm_medium=email&utm_term=0_f76c3ff31c-
        b670a8e418-112434573




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        do all it can to keep guns out of these sensitive locations where our children and families gather,
        and where we and our elected representatives take part in the democratic process.

        Thank you for addressing this issue and I strongly urge you to pass Bill 21-22.

        Sincerely,

        Melissa Ladd

        Chapter Leader

        Moms Demand Action for Gun Sense in America, Maryland Chapter




                                                                                                       (80)
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                           Testimony for the Montgomery County Council
                                            July 26, 2022

              Expedited Bill 21-22, Weapons – Firearms In or Near Places of Public Assembly
                                              FAVORABLE

        To Council President Albornoz and members of the Public Safety Committee,

        My name is Joanna Pearl. I am a volunteer with Maryland Moms Demand Action, and I live in
        Kensington. I submit this written testimony in support of Expedited Bill 21-22, Weapons –
        Firearms In or Near Places of Public Assembly.

        I recently moved to this area, and my family chose to live in Maryland because we hope and
        believe it will be a safe place to raise my four-year-old daughter. Every day, I worry that even
        here in our state, we and our children are not safe from gun violence as we do everyday things
        like go to a park, a synagogue, a library, or a community center.

        Montgomery County is experiencing a rise in gun violence, and the last thing we need is guns
        where people gather. Maryland law grants counties and other local authorities the power to
        regulate firearms in and near certain sensitive places, like those listed in the ordinance. The
        county should do all it can to keep guns out of these sensitive locations where our children and
        families gather, and where we and our elected representatives take part in the democratic
        process.

        A growing body of research shows that when it is easier for people to carry guns in public,
        violent crime goes up. Sensitive area prohibitions, however, keep people safe where the risk of
        gun violence is elevated. It is a myth that mass shooters target gun-free zones: a study of 30-year
        of shootings showed no evidence that a single mass shooter chose to target a place because it
        prohibited guns. Rather, studies have shown that most mass shooters were connected to the
        location or were motivated by hate, a perceived grievance, or an interpersonal conflict. Keeping
        guns out of sensitive areas, as this bill would do, will make us all safer.

        I hope the Committee will pass Expedited Bill 21-22 and protect everyone in our community
        from gun violence. Thank you for your attention to this critically important issue.


        Sincerely,
        Joanna Pearl
        Montgomery County Local Group Co-Lead
        Moms Demand Action for Gun Sense in America, Maryland Chapter




                                                                                                       (81)
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        I would like to submit brief testimony in opposition to Expedited Bill
        21-22, Weapons - Firearms In or Near Places of Public Assembly. I
        have four reasons for opposing this legislation:

        It will not make me and my family less susceptible to violent crime.

        While the legislation’s intended purpose is to improve safety and protect
        county residents from violent offenders, I fail to see how this provision
        does that. Literally, all Montgomery County residents, including legally
        armed residents deemed responsible by the state police, will be more
        vulnerable to violent crime. Criminals will know they have the tactical
        advantage when pursuing targets in places of public gatherings such as
        bus stops, train stations, parks and shopping center parking lots. I found
        it ironic this bill was announced the same day county police announced
        the arrest of district residents performing armed robbery of MontCo
        residents waiting at bus stops. This type of crime will continue.

        The legislation will place a greater burden on police officers

        At a time when police officers are retiring at record paces and the
        number of recruits failing to meet those losses, current officers will be
        forced to bear a greater burden to prevent and respond to crimes,
        particularly violent crime, before and when they occur. As a native New
        Yorker, I have personally experienced moments of tranquillity turn to
        chaos in a matter of seconds. The time chaos ensues to the time when the
        police arrive seems like an eternity whether it is 30 seconds or three
        minutes. The truth is every individual is their own first responder.

        The legislation will place greater liability costs on businesses

        Businesses will bear additional costs to ensure occupants to their
        businesses are safe from criminal elements. Liability and security



                                                                                 (82)
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        insurance will increase as businesses look to protect themselves from
        lawsuits stemming from crimes committed on their premises.
        Public officials need to reevaluate their objective and not target law
        abiding citizens.

        It appears to me this legislation is not addressing the problem it is trying
        to solve: gun-related crime.

        There is a process in place to ensure firearms are not in the hands of law
        abiding citizens who may not be suitable for owning firearms; are
        criminals looking to circumvent the law, and/or are individual with
        emotional or mental health issues. The county needs to trust this process
        and not disarmed county residents the state police deem responsible to
        legally own and carry firearms. There are also many laws in place
        designed to prevent the illegal purchase, use and distribution of firearms.
        Elected officials must trust the process and laws in place and only make
        changes which ensure law abiding citizens are protected not punished.

        Thank you.




                                                                                 (83)
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                        (Slip Opinion)              OCTOBER TERM, 2021                                       1

                                                               Syllabus

                                 NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
                               being done in connection with this case, at the time the opinion is issued.
                               The syllabus constitutes no part of the opinion of the Court but has been
                               prepared by the Reporter of Decisions for the convenience of the reader.
                               See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


                        SUPREME COURT OF THE UNITED STATES

                                                               Syllabus

                          NEW YORK STATE RIFLE & PISTOL ASSOCIATION,
                          INC., ET AL. v. BRUEN, SUPERINTENDENT OF NEW
                                       YORK STATE POLICE, ET AL.

                        CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                                         THE SECOND CIRCUIT

                            No. 20–843.      Argued November 3, 2021—Decided June 23, 2022
                        The State of New York makes it a crime to possess a firearm without a
                          license, whether inside or outside the home. An individual who wants
                          to carry a firearm outside his home may obtain an unrestricted license
                          to “have and carry” a concealed “pistol or revolver” if he can prove that
                          “proper cause exists” for doing so. N. Y. Penal Law Ann. §400.00(2)(f ).
                          An applicant satisfies the “proper cause” requirement only if he can
                          “demonstrate a special need for self-protection distinguishable from
                          that of the general community.” E.g., In re Klenosky, 75 App. Div. 2d
                          793, 428 N. Y. S. 2d 256, 257.
                             Petitioners Brandon Koch and Robert Nash are adult, law-abiding
                          New York residents who both applied for unrestricted licenses to carry
                          a handgun in public based on their generalized interest in self-defense.
                          The State denied both of their applications for unrestricted licenses,
                          allegedly because Koch and Nash failed to satisfy the “proper cause”
                          requirement. Petitioners then sued respondents—state officials who
                          oversee the processing of licensing applications—for declaratory and
                          injunctive relief, alleging that respondents violated their Second and
                          Fourteenth Amendment rights by denying their unrestricted-license
                          applications for failure to demonstrate a unique need for self-defense.
                          The District Court dismissed petitioners’ complaint and the Court of
                          Appeals affirmed. Both courts relied on the Second Circuit’s prior de-
                          cision in Kachalsky v. County of Westchester, 701 F. 3d 81, which had
                          sustained New York’s proper-cause standard, holding that the require-
                          ment was “substantially related to the achievement of an important
                          governmental interest.” Id., at 96.




                                                                                                                 (84)
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                        2   NEW YORK STATE RIFLE & PISTOL ASSN., INC. v. BRUEN

                                                        Syllabus

                        Held: New York’s proper-cause requirement violates the Fourteenth
                         Amendment by preventing law-abiding citizens with ordinary self-de-
                         fense needs from exercising their Second Amendment right to keep and
                         bear arms in public for self-defense. Pp. 8–63.
                            (a) In District of Columbia v. Heller, 554 U. S. 570, and McDonald v.
                         Chicago, 561 U. S. 742, the Court held that the Second and Fourteenth
                         Amendments protect an individual right to keep and bear arms for
                         self-defense. Under Heller, when the Second Amendment’s plain text
                         covers an individual’s conduct, the Constitution presumptively pro-
                         tects that conduct, and to justify a firearm regulation the government
                         must demonstrate that the regulation is consistent with the Nation’s
                         historical tradition of firearm regulation. Pp. 8–22.
                              (1) Since Heller and McDonald, the Courts of Appeals have devel-
                         oped a “two-step” framework for analyzing Second Amendment chal-
                         lenges that combines history with means-end scrutiny. The Court re-
                         jects that two-part approach as having one step too many. Step one is
                         broadly consistent with Heller, which demands a test rooted in the Sec-
                         ond Amendment’s text, as informed by history. But Heller and McDon-
                         ald do not support a second step that applies means-end scrutiny in
                         the Second Amendment context. Heller’s methodology centered on
                         constitutional text and history. It did not invoke any means-end test
                         such as strict or intermediate scrutiny, and it expressly rejected any
                         interest-balancing inquiry akin to intermediate scrutiny. Pp. 9–15.
                              (2) Historical analysis can sometimes be difficult and nuanced,
                         but reliance on history to inform the meaning of constitutional text is
                         more legitimate, and more administrable, than asking judges to “make
                         difficult empirical judgments” about “the costs and benefits of firearms
                         restrictions,” especially given their “lack [of] expertise” in the field.
                         McDonald, 561 U. S., at 790–791 (plurality opinion). Federal courts
                         tasked with making difficult empirical judgments regarding firearm
                         regulations under the banner of “intermediate scrutiny” often defer to
                         the determinations of legislatures. While judicial deference to legisla-
                         tive interest balancing is understandable—and, elsewhere, appropri-
                         ate—it is not deference that the Constitution demands here. The Sec-
                         ond Amendment “is the very product of an interest balancing by the
                         people,” and it “surely elevates above all other interests the right of
                         law-abiding, responsible citizens to use arms” for self-defense. Heller,
                         554 U. S., at 635. Pp. 15–17.
                              (3) The test that the Court set forth in Heller and applies today
                         requires courts to assess whether modern firearms regulations are
                         consistent with the Second Amendment’s text and historical under-
                         standing. Of course, the regulatory challenges posed by firearms today
                         are not always the same as those that preoccupied the Founders in
                         1791 or the Reconstruction generation in 1868. But the Constitution




                                                                                                     (85)
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                                                      Syllabus

                        can, and must, apply to circumstances beyond those the Founders spe-
                        cifically anticipated, even though its meaning is fixed according to the
                        understandings of those who ratified it. See, e.g., United States v.
                        Jones, 565 U. S. 400, 404–405. Indeed, the Court recognized in Heller
                        at least one way in which the Second Amendment’s historically fixed
                        meaning applies to new circumstances: Its reference to “arms” does not
                        apply “only [to] those arms in existence in the 18th century.” 554 U. S.,
                        at 582.
                           To determine whether a firearm regulation is consistent with the
                        Second Amendment, Heller and McDonald point toward at least two
                        relevant metrics: first, whether modern and historical regulations im-
                        pose a comparable burden on the right of armed self-defense, and sec-
                        ond, whether that regulatory burden is comparably justified. Because
                        “individual self-defense is ‘the central component’ of the Second
                        Amendment right,” these two metrics are “ ‘central’ ” considerations
                        when engaging in an analogical inquiry. McDonald, 561 U. S., at 767
                        (quoting Heller, 554 U. S., at 599).
                           To be clear, even if a modern-day regulation is not a dead ringer for
                        historical precursors, it still may be analogous enough to pass consti-
                        tutional muster. For example, courts can use analogies to “longstand-
                        ing” “laws forbidding the carrying of firearms in sensitive places such
                        as schools and government buildings” to determine whether modern
                        regulations are constitutionally permissible. Id., at 626. That said,
                        respondents’ attempt to characterize New York’s proper-cause require-
                        ment as a “sensitive-place” law lacks merit because there is no histor-
                        ical basis for New York to effectively declare the island of Manhattan
                        a “sensitive place” simply because it is crowded and protected gener-
                        ally by the New York City Police Department. Pp. 17–22.
                           (b) Having made the constitutional standard endorsed in Heller
                        more explicit, the Court applies that standard to New York’s proper-
                        cause requirement. Pp. 23–62.
                             (1) It is undisputed that petitioners Koch and Nash—two ordi-
                        nary, law-abiding, adult citizens—are part of “the people” whom the
                        Second Amendment protects. See Heller, 554 U. S., at 580. And no
                        party disputes that handguns are weapons “in common use” today for
                        self-defense. See id., at 627. The Court has little difficulty concluding
                        also that the plain text of the Second Amendment protects Koch’s and
                        Nash’s proposed course of conduct—carrying handguns publicly for
                        self-defense. Nothing in the Second Amendment’s text draws a
                        home/public distinction with respect to the right to keep and bear
                        arms, and the definition of “bear” naturally encompasses public carry.
                        Moreover, the Second Amendment guarantees an “individual right to
                        possess and carry weapons in case of confrontation,” id., at 592, and
                        confrontation can surely take place outside the home. Pp. 23–24.




                                                                                                    (86)
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                                                          Syllabus

                                 (2) The burden then falls on respondents to show that New York’s
                            proper-cause requirement is consistent with this Nation’s historical
                            tradition of firearm regulation. To do so, respondents appeal to a va-
                            riety of historical sources from the late 1200s to the early 1900s. But
                            when it comes to interpreting the Constitution, not all history is cre-
                            ated equal. “Constitutional rights are enshrined with the scope they
                            were understood to have when the people adopted them.” Heller, 554
                            U. S., at 634–635. The Second Amendment was adopted in 1791; the
                            Fourteenth in 1868. Historical evidence that long predates or post-
                            dates either time may not illuminate the scope of the right. With these
                            principles in mind, the Court concludes that respondents have failed
                            to meet their burden to identify an American tradition justifying New
                            York’s proper-cause requirement. Pp. 24–62.
                                   (i) Respondents’ substantial reliance on English history and
                            custom before the founding makes some sense given Heller’s statement
                            that the Second Amendment “codified a right ‘inherited from our Eng-
                            lish ancestors.’ ” 554 U. S., at 599. But the Court finds that history
                            ambiguous at best and sees little reason to think that the Framers
                            would have thought it applicable in the New World. The Court cannot
                            conclude from this historical record that, by the time of the founding,
                            English law would have justified restricting the right to publicly bear
                            arms suited for self-defense only to those who demonstrate some spe-
                            cial need for self-protection. Pp. 30–37.
                                   (ii) Respondents next direct the Court to the history of the Col-
                            onies and early Republic, but they identify only three restrictions on
                            public carry from that time. While the Court doubts that just three
                            colonial regulations could suffice to show a tradition of public-carry
                            regulation, even looking at these laws on their own terms, the Court is
                            not convinced that they regulated public carry akin to the New York
                            law at issue. The statutes essentially prohibited bearing arms in a
                            way that spread “fear” or “terror” among the people, including by car-
                            rying of “dangerous and unusual weapons.” See 554 U. S., at 627.
                            Whatever the likelihood that handguns were considered “dangerous
                            and unusual” during the colonial period, they are today “the quintes-
                            sential self-defense weapon.” Id., at 629. Thus, these colonial laws
                            provide no justification for laws restricting the public carry of weapons
                            that are unquestionably in common use today. Pp. 37–42.
                                   (iii) Only after the ratification of the Second Amendment in
                            1791 did public-carry restrictions proliferate. Respondents rely heav-
                            ily on these restrictions, which generally fell into three categories:
                            common-law offenses, statutory prohibitions, and “surety” statutes.
                            None of these restrictions imposed a substantial burden on public
                            carry analogous to that imposed by New York’s restrictive licensing
                            regime.




                                                                                                        (87)
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                           Common-Law Offenses. As during the colonial and founding peri-
                        ods, the common-law offenses of “affray” or going armed “to the terror
                        of the people” continued to impose some limits on firearm carry in the
                        antebellum period. But there is no evidence indicating that these com-
                        mon-law limitations impaired the right of the general population to
                        peaceable public carry.
                           Statutory Prohibitions. In the early to mid-19th century, some
                        States began enacting laws that proscribed the concealed carry of pis-
                        tols and other small weapons. But the antebellum state-court deci-
                        sions upholding them evince a consensus view that States could not
                        altogether prohibit the public carry of arms protected by the Second
                        Amendment or state analogues.
                           Surety Statutes. In the mid-19th century, many jurisdictions began
                        adopting laws that required certain individuals to post bond before
                        carrying weapons in public. Contrary to respondents’ position, these
                        surety statutes in no way represented direct precursors to New York’s
                        proper-cause requirement. While New York presumes that individu-
                        als have no public carry right without a showing of heightened need,
                        the surety statutes presumed that individuals had a right to public
                        carry that could be burdened only if another could make out a specific
                        showing of “reasonable cause to fear an injury, or breach of the peace.”
                        Mass. Rev. Stat., ch. 134, §16 (1836). Thus, unlike New York’s regime,
                        a showing of special need was required only after an individual was
                        reasonably accused of intending to injure another or breach the peace.
                        And, even then, proving special need simply avoided a fee.
                           In sum, the historical evidence from antebellum America does
                        demonstrate that the manner of public carry was subject to reasonable
                        regulation, but none of these limitations on the right to bear arms op-
                        erated to prevent law-abiding citizens with ordinary self-defense needs
                        from carrying arms in public for that purpose. Pp. 42–51.
                               (iv) Evidence from around the adoption of the Fourteenth
                        Amendment also does not support respondents’ position. The “discus-
                        sion of the [right to keep and bear arms] in Congress and in public
                        discourse, as people debated whether and how to secure constitutional
                        rights for newly free slaves,” Heller, 554 U. S., at 614, generally
                        demonstrates that during Reconstruction the right to keep and bear
                        arms had limits that were consistent with a right of the public to peace-
                        ably carry handguns for self-defense. The Court acknowledges two
                        Texas cases—English v. State, 35 Tex. 473 and State v. Duke, 42 Tex.
                        455—that approved a statutory “reasonable grounds” standard for
                        public carry analogous to New York’s proper-cause requirement. But
                        these decisions were outliers and therefore provide little insight into
                        how postbellum courts viewed the right to carry protected arms in pub-
                        lic. See Heller, 554 U. S., at 632. Pp. 52–58.




                                                                                                    (88)
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                                                         Syllabus
                                  (v) Finally, respondents point to the slight uptick in gun regu-
                          lation during the late-19th century. As the Court suggested in Heller,
                          however, late-19th-century evidence cannot provide much insight into
                          the meaning of the Second Amendment when it contradicts earlier ev-
                          idence. In addition, the vast majority of the statutes that respondents
                          invoke come from the Western Territories. The bare existence of these
                          localized restrictions cannot overcome the overwhelming evidence of
                          an otherwise enduring American tradition permitting public carry.
                          See Heller, 554 U. S., at 614. Moreover, these territorial laws were
                          rarely subject to judicial scrutiny, and absent any evidence explaining
                          why these unprecedented prohibitions on all public carry were under-
                          stood to comport with the Second Amendment, they do little to inform
                          “the origins and continuing significance of the Amendment.” Ibid.; see
                          also The Federalist No. 37, p. 229. Finally, these territorial re-
                          strictions deserve little weight because they were, consistent with the
                          transitory nature of territorial government, short lived. Some were
                          held unconstitutional shortly after passage, and others did not survive
                          a Territory’s admission to the Union as a State. Pp. 58–62.
                                  (vi) After reviewing the Anglo-American history of public carry,
                          the Court concludes that respondents have not met their burden to
                          identify an American tradition justifying New York’s proper-cause re-
                          quirement. Apart from a few late-19th-century outlier jurisdictions,
                          American governments simply have not broadly prohibited the public
                          carry of commonly used firearms for personal defense. Nor have they
                          generally required law-abiding, responsible citizens to “demonstrate a
                          special need for self-protection distinguishable from that of the general
                          community” to carry arms in public. Klenosky, 75 App. Div. 2d, at 793,
                          428 N. Y. S. 2d, at 257. P. 62.
                             (c) The constitutional right to bear arms in public for self-defense is
                          not “a second-class right, subject to an entirely different body of rules
                          than the other Bill of Rights guarantees.” McDonald, 561 U. S., at 780
                          (plurality opinion). The exercise of other constitutional rights does not
                          require individuals to demonstrate to government officers some special
                          need. The Second Amendment right to carry arms in public for self-
                          defense is no different. New York’s proper-cause requirement violates
                          the Fourteenth Amendment by preventing law-abiding citizens with
                          ordinary self-defense needs from exercising their right to keep and
                          bear arms in public. Pp. 62–63.
                        818 Fed. Appx. 99, reversed and remanded.

                           THOMAS, J., delivered the opinion of the Court, in which ROBERTS, C. J.,
                        and ALITO, GORSUCH, KAVANAUGH, and BARRETT, JJ., joined. ALITO, J.,
                        filed a concurring opinion. KAVANAUGH, J., filed a concurring opinion, in
                        which ROBERTS, C. J., joined. BARRETT, J., filed a concurring opinion.
                        BREYER, J., filed a dissenting opinion, in which SOTOMAYOR and KAGAN,
                        JJ., joined.




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                                                      Opinion of the Court

                             NOTICE: This opinion is subject to formal revision before publication in the
                             preliminary print of the United States Reports. Readers are requested to
                             notify the Reporter of Decisions, Supreme Court of the United States, Wash-
                             ington, D. C. 20543, of any typographical or other formal errors, in order that
                             corrections may be made before the preliminary print goes to press.


                        SUPREME COURT OF THE UNITED STATES
                                                            _________________

                                                             No. 20–843
                                                            _________________

                         NEW YORK STATE RIFLE & PISTOL ASSOCIATION,
                          INC., ET AL., PETITIONERS v. KEVIN P. BRUEN, IN
                            HIS OFFICIAL CAPACITY AS SUPERINTENDENT
                                 OF NEW YORK STATE POLICE, ET AL.
                         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                                   APPEALS FOR THE SECOND CIRCUIT
                                                          [June 23, 2022]

                          JUSTICE THOMAS delivered the opinion of the Court.
                          In District of Columbia v. Heller, 554 U. S. 570 (2008),
                        and McDonald v. Chicago, 561 U. S. 742 (2010), we recog-
                        nized that the Second and Fourteenth Amendments protect
                        the right of an ordinary, law-abiding citizen to possess a
                        handgun in the home for self-defense. In this case, petition-
                        ers and respondents agree that ordinary, law-abiding citi-
                        zens have a similar right to carry handguns publicly for
                        their self-defense. We too agree, and now hold, consistent
                        with Heller and McDonald, that the Second and Fourteenth
                        Amendments protect an individual’s right to carry a hand-
                        gun for self-defense outside the home.
                          The parties nevertheless dispute whether New York’s li-
                        censing regime respects the constitutional right to carry
                        handguns publicly for self-defense. In 43 States, the gov-
                        ernment issues licenses to carry based on objective criteria.
                        But in six States, including New York, the government fur-
                        ther conditions issuance of a license to carry on a citizen’s
                        showing of some additional special need. Because the State




                                                                                                                   (90)
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                                              Opinion of the Court

                        of New York issues public-carry licenses only when an ap-
                        plicant demonstrates a special need for self-defense, we con-
                        clude that the State’s licensing regime violates the Consti-
                        tution.
                                                        I
                                                       A
                           New York State has regulated the public carry of hand-
                        guns at least since the early 20th century. In 1905, New
                        York made it a misdemeanor for anyone over the age of 16
                        to “have or carry concealed upon his person in any city or
                        village of [New York], any pistol, revolver or other firearm
                        without a written license . . . issued to him by a police mag-
                        istrate.” 1905 N. Y. Laws ch. 92, §2, pp. 129–130; see also
                        1908 N. Y. Laws ch. 93, §1, pp. 242–243 (allowing justices
                        of the peace to issue licenses). In 1911, New York’s “Sulli-
                        van Law” expanded the State’s criminal prohibition to the
                        possession of all handguns—concealed or otherwise—with-
                        out a government-issued license. See 1911 N. Y. Laws ch.
                        195, §1, p. 443. New York later amended the Sullivan Law
                        to clarify the licensing standard: Magistrates could “issue
                        to [a] person a license to have and carry concealed a pistol
                        or revolver without regard to employment or place of pos-
                        sessing such weapon” only if that person proved “good
                        moral character” and “proper cause.” 1913 N. Y. Laws ch.
                        608, §1, p. 1629.
                           Today’s licensing scheme largely tracks that of the early
                        1900s. It is a crime in New York to possess “any firearm”
                        without a license, whether inside or outside the home, pun-
                        ishable by up to four years in prison or a $5,000 fine for a
                        felony offense, and one year in prison or a $1,000 fine for a
                        misdemeanor. See N. Y. Penal Law Ann. §§265.01–b (West
                        2017), 261.01(1) (West Cum. Supp. 2022), 70.00(2)(e) and
                        (3)(b), 80.00(1)(a) (West 2021), 70.15(1), 80.05(1). Mean-
                        while, possessing a loaded firearm outside one’s home or
                        place of business without a license is a felony punishable by




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                                              Opinion of the Court

                        up to 15 years in prison. §§265.03(3) (West 2017),
                        70.00(2)(c) and (3)(b), 80.00(1)(a).
                           A license applicant who wants to possess a firearm at
                        home (or in his place of business) must convince a “licensing
                        officer”—usually a judge or law enforcement officer—that,
                        among other things, he is of good moral character, has no
                        history of crime or mental illness, and that “no good cause
                        exists for the denial of the license.” §§400.00(1)(a)–(n)
                        (West Cum. Supp. 2022). If he wants to carry a firearm
                        outside his home or place of business for self-defense, the
                        applicant must obtain an unrestricted license to “have and
                        carry” a concealed “pistol or revolver.” §400.00(2)(f ). To
                        secure that license, the applicant must prove that “proper
                        cause exists” to issue it. Ibid. If an applicant cannot make
                        that showing, he can receive only a “restricted” license for
                        public carry, which allows him to carry a firearm for a lim-
                        ited purpose, such as hunting, target shooting, or employ-
                        ment. See, e.g., In re O’Brien, 87 N. Y. 2d 436, 438–439, 663
                        N. E. 2d 316, 316–317 (1996); Babernitz v. Police Dept. of
                        City of New York, 65 App. Div. 2d 320, 324, 411 N. Y. S. 2d
                        309, 311 (1978); In re O’Connor, 154 Misc. 2d 694, 696–698,
                        585 N. Y. S. 2d 1000, 1003 (Westchester Cty. 1992).
                           No New York statute defines “proper cause.” But New
                        York courts have held that an applicant shows proper cause
                        only if he can “demonstrate a special need for self-protection
                        distinguishable from that of the general community.” E.g.,
                        In re Klenosky, 75 App. Div. 2d 793, 428 N. Y. S. 2d 256, 257
                        (1980). This “special need” standard is demanding. For ex-
                        ample, living or working in an area “ ‘noted for criminal ac-
                        tivity’ ” does not suffice. In re Bernstein, 85 App. Div. 2d
                        574, 445 N. Y. S. 2d 716, 717 (1981). Rather, New York
                        courts generally require evidence “of particular threats, at-
                        tacks or other extraordinary danger to personal safety.”
                        In re Martinek, 294 App. Div. 2d 221, 222, 743 N. Y. S. 2d
                        80, 81 (2002); see also In re Kaplan, 249 App. Div. 2d 199,
                        201, 673 N. Y. S. 2d 66, 68 (1998) (approving the New York




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                        City Police Department’s requirement of “ ‘extraordinary
                        personal danger, documented by proof of recurrent threats
                        to life or safety’ ” (quoting 38 N. Y. C. R. R. §5–03(b))).
                          When a licensing officer denies an application, judicial re-
                        view is limited. New York courts defer to an officer’s appli-
                        cation of the proper-cause standard unless it is “arbitrary
                        and capricious.” In re Bando, 290 App. Div. 2d 691, 692,
                        735 N. Y. S. 2d 660, 661 (2002). In other words, the decision
                        “must be upheld if the record shows a rational basis for it.”
                        Kaplan, 249 App. Div. 2d, at 201, 673 N. Y. S. 2d, at 68. The
                        rule leaves applicants little recourse if their local licensing
                        officer denies a permit.
                          New York is not alone in requiring a permit to carry a
                        handgun in public. But the vast majority of States—43 by
                        our count—are “shall issue” jurisdictions, where authorities
                        must issue concealed-carry licenses whenever applicants
                        satisfy certain threshold requirements, without granting li-
                        censing officials discretion to deny licenses based on a per-
                        ceived lack of need or suitability.1 Meanwhile, only six
                        ——————
                          1 See Ala. Code §13A–11–75 (Cum. Supp. 2021); Alaska Stat.

                        §18.65.700 (2020); Ariz. Rev. Stat. Ann. §13–3112 (Cum. Supp. 2021);
                        Ark. Code Ann. §5–73–309 (Supp. 2021); Colo. Rev. Stat. §18–12–206
                        (2021); Fla. Stat. §790.06 (2021); Ga. Code Ann. §16–11–129 (Supp.
                        2021); Idaho Code Ann. §18–3302K (Cum. Supp. 2021); Ill. Comp. Stat.,
                        ch. 430, §66/10 (West Cum. Supp. 2021); Ind. Code §35–47–2–3 (2021);
                        Iowa Code §724.7 (2022); Kan. Stat. Ann. §75–7c03 (2021); Ky. Rev. Stat.
                        Ann. §237.110 (Lexis Cum. Supp. 2021); La. Rev. Stat. Ann. §40:1379.3
                        (West Cum. Supp. 2022); Me. Rev. Stat. Ann., Tit. 25, §2003 (Cum. Supp.
                        2022); Mich. Comp. Laws §28.425b (2020); Minn. Stat. §624.714 (2020);
                        Miss. Code Ann. §45–9–101 (2022); Mo. Rev. Stat. §571.101 (2016); Mont.
                        Code Ann. §45–8–321 (2021); Neb. Rev. Stat. §69–2430 (2019); Nev. Rev.
                        Stat. §202.3657 (2021); N. H. Rev. Stat. Ann. §159:6 (Cum. Supp. 2021);
                        N. M. Stat. Ann. §29–19–4 (2018); N. C. Gen. Stat. Ann. §14–415.11
                        (2021); N. D. Cent. Code Ann. §62.1–04–03 (Supp. 2021); Ohio Rev. Code
                        Ann. §2923.125 (2020); Okla. Stat., Tit. 21, §1290.12 (2021); Ore. Rev.
                        Stat. §166.291 (2021); 18 Pa. Cons. Stat. §6109 (Cum. Supp. 2016); S. C.
                        Code Ann. §23–31–215(A) (Cum. Supp. 2021); S. D. Codified Laws §23–
                        7–7 (Cum. Supp. 2021); Tenn. Code Ann. §39–17–1366 (Supp. 2021); Tex.
                        Govt. Code Ann. §411.177 (West Cum. Supp. 2021); Utah Code §53–5–




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                        States and the District of Columbia have “may issue” licens-
                        ing laws, under which authorities have discretion to deny
                        concealed-carry licenses even when the applicant satisfies
                        the statutory criteria, usually because the applicant has not
                        demonstrated cause or suitability for the relevant license.
                        Aside from New York, then, only California, the District of
                        Columbia, Hawaii, Maryland, Massachusetts, and New
                        ——————
                        704.5 (2022); Va. Code Ann. §18.2–308.04 (2021); Wash. Rev. Code
                        §9.41.070 (2021); W. Va. Code Ann. §61–7–4 (2021); Wis. Stat. §175.60
                        (2021); Wyo. Stat. Ann. §6–8–104 (2021). Vermont has no permitting
                        system for the concealed carry of handguns. Three States—Connecticut,
                        Delaware, and Rhode Island—have discretionary criteria but appear to
                        operate like “shall issue” jurisdictions. See Conn. Gen. Stat. §29–28(b)
                        (2021); Del. Code, Tit. 11, §1441 (2022); R. I. Gen. Laws §11–47–11
                        (2002). Although Connecticut officials have discretion to deny a
                        concealed-carry permit to anyone who is not a “suitable person,” see
                        Conn. Gen. Stat. §29–28(b), the “suitable person” standard precludes
                        permits only to those “individuals whose conduct has shown them to be
                        lacking the essential character of temperament necessary to be entrusted
                        with a weapon.” Dwyer v. Farrell, 193 Conn. 7, 12, 475 A. 2d 257, 260
                        (1984) (internal quotation marks omitted). As for Delaware, the State
                        has thus far processed 5,680 license applications and renewals in fiscal
                        year 2022 and has denied only 112. See Del. Courts, Super. Ct., Carrying
                        Concealed Deadly Weapon (June 9, 2022), https://courts.delaware.gov/
                        forms/download.aspx?ID=125408. Moreover, Delaware appears to have
                        no licensing requirement for open carry. Finally, Rhode Island has a
                        suitability requirement, see R. I. Gen. Laws §11–47–11, but the Rhode
                        Island Supreme Court has flatly denied that the “[d]emonstration of a
                        proper showing of need” is a component of that requirement. Gadomski
                        v. Tavares, 113 A. 3d 387, 392 (2015). Additionally, some “shall issue”
                        jurisdictions have so-called “constitutional carry” protections that allow
                        certain individuals to carry handguns in public within the State without
                        any permit whatsoever. See, e.g., A. Sherman, More States Remove Per-
                        mit Requirement To Carry a Concealed Gun, PolitiFact (Apr. 12, 2022),
                        https://www.politifact.com/article/2022/apr/12/more-states-remove-per-
                        mit-requirement-carry-concea/ (“Twenty-five states now have permitless
                        concealed carry laws . . . The states that have approved permitless carry
                        laws are: Alabama, Alaska, Arizona, Arkansas, Idaho, Indiana, Iowa,
                        Georgia, Kansas, Kentucky, Maine, Mississippi, Missouri, Montana, New
                        Hampshire, North Dakota, Ohio, Oklahoma, South Dakota, Tennessee,
                        Texas, Utah, Vermont, West Virginia, and Wyoming”).




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                        Jersey have analogues to the “proper cause” standard.2 All
                        of these “proper cause” analogues have been upheld by the
                        Courts of Appeals, save for the District of Columbia’s, which
                        has been permanently enjoined since 2017. Compare Gould
                        v. Morgan, 907 F. 3d 659, 677 (CA1 2018); Kachalsky v.
                        County of Westchester, 701 F. 3d 81, 101 (CA2 2012); Drake
                        v. Filko, 724 F. 3d 426, 440 (CA3 2013); United States v.
                        Masciandaro, 638 F. 3d 458, 460 (CA4 2011); Young v. Ha-
                        waii, 992 F. 3d 765, 773 (CA9 2021) (en banc), with Wrenn
                        v. District of Columbia, 864 F. 3d 650, 668 (CADC 2017).
                                                       B
                           As set forth in the pleadings below, petitioners Brandon
                        Koch and Robert Nash are law-abiding, adult citizens of
                        Rensselaer County, New York. Koch lives in Troy, while
                        Nash lives in Averill Park. Petitioner New York State Rifle
                        & Pistol Association, Inc., is a public-interest group orga-
                        nized to defend the Second Amendment rights of New York-
                        ers. Both Koch and Nash are members.
                           In 2014, Nash applied for an unrestricted license to carry
                        a handgun in public. Nash did not claim any unique danger
                        to his personal safety; he simply wanted to carry a handgun
                        for self-defense. In early 2015, the State denied Nash’s ap-
                        plication for an unrestricted license but granted him a re-
                        stricted license for hunting and target shooting only. In late
                        2016, Nash asked a licensing officer to remove the re-
                        strictions, citing a string of recent robberies in his neigh-
                        borhood. After an informal hearing, the licensing officer de-
                        nied the request. The officer reiterated that Nash’s existing
                        license permitted him “to carry concealed for purposes of off
                        ——————
                          2 See Cal. Penal Code Ann. §26150 (West 2021) (“Good cause”); D. C.

                        Code §§7–2509.11(1) (2018), 22–4506(a) (Cum. Supp. 2021) (“proper rea-
                        son,” i.e., “special need for self-protection”); Haw. Rev. Stat. §§134–2
                        (Cum. Supp. 2018), 134–9(a) (2011) (“exceptional case”); Md. Pub. Saf.
                        Code Ann. §5–306(a)(6)(ii) (2018) (“good and substantial reason”); Mass.
                        Gen. Laws, ch. 140, §131(d) (2020) (“good reason”); N. J. Stat. Ann.
                        §2C:58–4(c) (West Cum. Supp. 2021) (“justifiable need”).




                                                                                                   (95)
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                        road back country, outdoor activities similar to hunting,”
                        such as “fishing, hiking & camping etc.” App. 41. But, at
                        the same time, the officer emphasized that the restrictions
                        were “intended to prohibit [Nash] from carrying concealed
                        in ANY LOCATION typically open to and frequented by the
                        general public.” Ibid.
                           Between 2008 and 2017, Koch was in the same position
                        as Nash: He faced no special dangers, wanted a handgun
                        for general self-defense, and had only a restricted license
                        permitting him to carry a handgun outside the home for
                        hunting and target shooting. In late 2017, Koch applied to
                        a licensing officer to remove the restrictions on his license,
                        citing his extensive experience in safely handling firearms.
                        Like Nash’s application, Koch’s was denied, except that the
                        officer permitted Koch to “carry to and from work.” Id., at
                        114.
                                                      C
                           Respondents are the superintendent of the New York
                        State Police, who oversees the enforcement of the State’s
                        licensing laws, and a New York Supreme Court justice, who
                        oversees the processing of licensing applications in Rensse-
                        laer County. Petitioners sued respondents for declaratory
                        and injunctive relief under Rev. Stat. 1979, 42 U. S. C.
                        §1983, alleging that respondents violated their Second and
                        Fourteenth Amendment rights by denying their unrestricted-
                        license applications on the basis that they had failed to
                        show “proper cause,” i.e., had failed to demonstrate a
                        unique need for self-defense.
                           The District Court dismissed petitioners’ complaint and
                        the Court of Appeals affirmed. See 818 Fed. Appx. 99, 100
                        (CA2 2020). Both courts relied on the Court of Appeals’
                        prior decision in Kachalsky, 701 F. 3d 81, which had sus-
                        tained New York’s proper-cause standard, holding that the
                        requirement was “substantially related to the achievement
                        of an important governmental interest.” Id., at 96.




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                          We granted certiorari to decide whether New York’s de-
                        nial of petitioners’ license applications violated the Consti-
                        tution. 593 U. S. ___ (2021).
                                                      II
                          In Heller and McDonald, we held that the Second and
                        Fourteenth Amendments protect an individual right to
                        keep and bear arms for self-defense. In doing so, we held
                        unconstitutional two laws that prohibited the possession
                        and use of handguns in the home. In the years since, the
                        Courts of Appeals have coalesced around a “two-step”
                        framework for analyzing Second Amendment challenges
                        that combines history with means-end scrutiny.
                          Today, we decline to adopt that two-part approach. In
                        keeping with Heller, we hold that when the Second Amend-
                        ment’s plain text covers an individual’s conduct, the Consti-
                        tution presumptively protects that conduct. To justify its
                        regulation, the government may not simply posit that the
                        regulation promotes an important interest. Rather, the
                        government must demonstrate that the regulation is con-
                        sistent with this Nation’s historical tradition of firearm reg-
                        ulation. Only if a firearm regulation is consistent with this
                        Nation’s historical tradition may a court conclude that the
                        individual’s conduct falls outside the Second Amendment’s
                        “unqualified command.” Konigsberg v. State Bar of Cal.,
                        366 U. S. 36, 50, n. 10 (1961).3


                        ——————
                          3 Rather than begin with its view of the governing legal framework, the

                        dissent chronicles, in painstaking detail, evidence of crimes committed
                        by individuals with firearms. See post, at 1–9 (opinion of BREYER, J.).
                        The dissent invokes all of these statistics presumably to justify granting
                        States greater leeway in restricting firearm ownership and use. But, as
                        Members of the Court have already explained, “[t]he right to keep and
                        bear arms . . . is not the only constitutional right that has controversial
                        public safety implications.” McDonald v. Chicago, 561 U. S. 742, 783
                        (2010) (plurality opinion).




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                                                         A
                           Since Heller and McDonald, the two-step test that Courts
                        of Appeals have developed to assess Second Amendment
                        claims proceeds as follows. At the first step, the govern-
                        ment may justify its regulation by “establish[ing] that the
                        challenged law regulates activity falling outside the scope
                        of the right as originally understood.” E.g., Kanter v. Barr,
                        919 F. 3d 437, 441 (CA7 2019) (internal quotation marks
                        omitted). But see United States v. Boyd, 999 F. 3d 171, 185
                        (CA3 2021) (requiring claimant to show “ ‘a burden on con-
                        duct falling within the scope of the Second Amendment’s
                        guarantee’ ”). The Courts of Appeals then ascertain the
                        original scope of the right based on its historical meaning.
                        E.g., United States v. Focia, 869 F. 3d 1269, 1285 (CA11
                        2017). If the government can prove that the regulated con-
                        duct falls beyond the Amendment’s original scope, “then the
                        analysis can stop there; the regulated activity is categori-
                        cally unprotected.” United States v. Greeno, 679 F. 3d 510,
                        518 (CA6 2012) (internal quotation marks omitted). But if
                        the historical evidence at this step is “inconclusive or sug-
                        gests that the regulated activity is not categorically unpro-
                        tected,” the courts generally proceed to step two. Kanter,
                        919 F. 3d, at 441 (internal quotation marks omitted).
                           At the second step, courts often analyze “how close the
                        law comes to the core of the Second Amendment right and
                        the severity of the law’s burden on that right.” Ibid. (inter-
                        nal quotation marks omitted). The Courts of Appeals gen-
                        erally maintain “that the core Second Amendment right is
                        limited to self-defense in the home.” Gould, 907 F. 3d, at
                        671 (emphasis added). But see Wrenn, 864 F. 3d, at 659
                        (“[T]he Amendment’s core generally covers carrying in pub-
                        lic for self defense”). If a “core” Second Amendment right is
                        burdened, courts apply “strict scrutiny” and ask whether
                        the Government can prove that the law is “narrowly tai-
                        lored to achieve a compelling governmental interest.” Kolbe
                        v. Hogan, 849 F. 3d 114, 133 (CA4 2017) (internal quotation




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                        marks omitted). Otherwise, they apply intermediate scru-
                        tiny and consider whether the Government can show that
                        the regulation is “substantially related to the achievement
                        of an important governmental interest.” Kachalsky, 701
                        F. 3d, at 96.4 Both respondents and the United States
                        largely agree with this consensus, arguing that intermedi-
                        ate scrutiny is appropriate when text and history are un-
                        clear in attempting to delineate the scope of the right. See
                        Brief for Respondents 37; Brief for United States as Amicus
                        Curiae 4.
                                                     B
                          Despite the popularity of this two-step approach, it is one
                        step too many. Step one of the predominant framework is
                        broadly consistent with Heller, which demands a test rooted
                        in the Second Amendment’s text, as informed by history.
                        But Heller and McDonald do not support applying means-
                        end scrutiny in the Second Amendment context. Instead,
                        the government must affirmatively prove that its firearms
                        regulation is part of the historical tradition that delimits
                        the outer bounds of the right to keep and bear arms.
                                                    1
                          To show why Heller does not support applying means-end
                        scrutiny, we first summarize Heller’s methodological ap-
                        proach to the Second Amendment.
                          In Heller, we began with a “textual analysis” focused on
                        ——————
                          4 See Association of N. J. Rifle & Pistol Clubs, Inc. v. Attorney General

                        N. J., 910 F. 3d 106, 117 (CA3 2018); accord, Worman v. Healey, 922 F. 3d
                        26, 33, 36–39 (CA1 2019); Libertarian Party of Erie Cty. v. Cuomo, 970
                        F. 3d 106, 127–128 (CA2 2020); Harley v. Wilkinson, 988 F. 3d 766, 769
                        (CA4 2021); National Rifle Assn. of Am., Inc. v. Bureau of Alcohol, To-
                        bacco, Firearms, and Explosives, 700 F. 3d 185, 194–195 (CA5 2012);
                        United States v. Greeno, 679 F. 3d 510, 518 (CA6 2012); Kanter v. Barr,
                        919 F. 3d 437, 442 (CA7 2019); Young v. Hawaii, 992 F. 3d 765, 783 (CA9
                        2021) (en banc); United States v. Reese, 627 F. 3d 792, 800–801 (CA10
                        2010); GeorgiaCarry.Org, Inc. v. Georgia, 687 F. 3d 1244, 1260, n. 34
                        (CA11 2012); United States v. Class, 930 F. 3d 460, 463 (CADC 2019).




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                        the “ ‘normal and ordinary’ ” meaning of the Second Amend-
                        ment’s language. 554 U. S., at 576–577, 578. That analysis
                        suggested that the Amendment’s operative clause—“the
                        right of the people to keep and bear Arms shall not be in-
                        fringed”—“guarantee[s] the individual right to possess and
                        carry weapons in case of confrontation” that does not de-
                        pend on service in the militia. Id., at 592.
                           From there, we assessed whether our initial conclusion
                        was “confirmed by the historical background of the Second
                        Amendment.” Ibid. We looked to history because “it has
                        always been widely understood that the Second Amend-
                        ment . . . codified a pre-existing right.” Ibid. The Amend-
                        ment “was not intended to lay down a novel principle but
                        rather codified a right inherited from our English ances-
                        tors.” Id., at 599 (alterations and internal quotation
                        marks omitted). After surveying English history dating
                        from the late 1600s, along with American colonial views
                        leading up to the founding, we found “no doubt, on the basis
                        of both text and history, that the Second Amendment con-
                        ferred an individual right to keep and bear arms.” Id., at
                        595.
                           We then canvassed the historical record and found yet
                        further confirmation. That history included the “analogous
                        arms-bearing rights in state constitutions that preceded
                        and immediately followed adoption of the Second Amend-
                        ment,” id., at 600–601, and “how the Second Amendment
                        was interpreted from immediately after its ratification
                        through the end of the 19th century,” id., at 605. When the
                        principal dissent charged that the latter category of sources
                        was illegitimate “postenactment legislative history,” id., at
                        662, n. 28 (opinion of Stevens, J.), we clarified that “exami-
                        nation of a variety of legal and other sources to determine
                        the public understanding of a legal text in the period after
                        its enactment or ratification” was “a critical tool of consti-
                        tutional interpretation,” id., at 605 (majority opinion).
                           In assessing the postratification history, we looked to four




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                        different types of sources. First, we reviewed “[t]hree im-
                        portant founding-era legal scholars [who] interpreted the
                        Second Amendment in published writings.” Ibid. Second,
                        we looked to “19th-century cases that interpreted the Sec-
                        ond Amendment” and found that they “universally support
                        an individual right” to keep and bear arms. Id., at 610.
                        Third, we examined the “discussion of the Second Amend-
                        ment in Congress and in public discourse” after the Civil
                        War, “as people debated whether and how to secure consti-
                        tutional rights for newly freed slaves.” Id., at 614. Fourth,
                        we considered how post-Civil War commentators under-
                        stood the right. See id., at 616–619.
                           After holding that the Second Amendment protected an
                        individual right to armed self-defense, we also relied on the
                        historical understanding of the Amendment to demark the
                        limits on the exercise of that right. We noted that, “[l]ike
                        most rights, the right secured by the Second Amendment is
                        not unlimited.” Id., at 626. “From Blackstone through the
                        19th-century cases, commentators and courts routinely ex-
                        plained that the right was not a right to keep and carry any
                        weapon whatsoever in any manner whatsoever and for
                        whatever purpose.” Ibid. For example, we found it “fairly
                        supported by the historical tradition of prohibiting the car-
                        rying of ‘dangerous and unusual weapons’ ” that the Second
                        Amendment protects the possession and use of weapons
                        that are “ ‘in common use at the time.’ ” Id., at 627 (first
                        citing 4 W. Blackstone, Commentaries on the Laws of Eng-
                        land 148–149 (1769); then quoting United States v. Miller,
                        307 U. S. 174, 179 (1939)). That said, we cautioned that we
                        were not “undertak[ing] an exhaustive historical analysis
                        today of the full scope of the Second Amendment” and
                        moved on to considering the constitutionality of the District
                        of Columbia’s handgun ban. 554 U. S., at 627.
                           We assessed the lawfulness of that handgun ban by scru-
                        tinizing whether it comported with history and tradition.
                        Although we noted that the ban “would fail constitutional




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                        muster” “[u]nder any of the standards of scrutiny that we
                        have applied to enumerated constitutional rights,” id., at
                        628–629, we did not engage in means-end scrutiny when
                        resolving the constitutional question. Instead, we focused
                        on the historically unprecedented nature of the District’s
                        ban, observing that “[f]ew laws in the history of our Nation
                        have come close to [that] severe restriction.” Id., at 629.
                        Likewise, when one of the dissents attempted to justify the
                        District’s prohibition with “founding-era historical prece-
                        dent,” including “various restrictive laws in the colonial pe-
                        riod,” we addressed each purported analogue and concluded
                        that they were either irrelevant or “d[id] not remotely bur-
                        den the right of self-defense as much as an absolute ban on
                        handguns.” Id., at 631–632; see id., at 631–634. Thus, our
                        earlier historical analysis sufficed to show that the Second
                        Amendment did not countenance a “complete prohibition”
                        on the use of “the most popular weapon chosen by Ameri-
                        cans for self-defense in the home.” Id., at 629.
                                                       2
                          As the foregoing shows, Heller’s methodology centered on
                        constitutional text and history. Whether it came to defining
                        the character of the right (individual or militia dependent),
                        suggesting the outer limits of the right, or assessing the
                        constitutionality of a particular regulation, Heller relied on
                        text and history. It did not invoke any means-end test such
                        as strict or intermediate scrutiny.
                          Moreover, Heller and McDonald expressly rejected the
                        application of any “judge-empowering ‘interest-balancing
                        inquiry’ that ‘asks whether the statute burdens a protected
                        interest in a way or to an extent that is out of proportion to
                        the statute’s salutary effects upon other important govern-
                        mental interests.’ ” Heller, 554 U. S., at 634 (quoting id., at
                        689–690 (BREYER, J., dissenting)); see also McDonald, 561
                        U. S., at 790–791 (plurality opinion) (the Second Amend-
                        ment does not permit—let alone require—“judges to assess




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                        the costs and benefits of firearms restrictions” under
                        means-end scrutiny). We declined to engage in means-end
                        scrutiny because “[t]he very enumeration of the right takes
                        out of the hands of government—even the Third Branch of
                        Government—the power to decide on a case-by-case basis
                        whether the right is really worth insisting upon.” Heller,
                        554 U. S., at 634. We then concluded: “A constitutional
                        guarantee subject to future judges’ assessments of its use-
                        fulness is no constitutional guarantee at all.” Ibid.
                           Not only did Heller decline to engage in means-end scru-
                        tiny generally, but it also specifically ruled out the interme-
                        diate-scrutiny test that respondents and the United States
                        now urge us to adopt. Dissenting in Heller, JUSTICE
                        BREYER’s proposed standard—“ask[ing] whether [a] statute
                        burdens a protected interest in a way or to an extent that is
                        out of proportion to the statute’s salutary effects upon other
                        important governmental interests,” id., at 689–690 (dis-
                        senting opinion)—simply expressed a classic formulation of
                        intermediate scrutiny in a slightly different way, see Clark
                        v. Jeter, 486 U. S. 456, 461 (1988) (asking whether the chal-
                        lenged law is “substantially related to an important govern-
                        ment objective”). In fact, JUSTICE BREYER all but admitted
                        that his Heller dissent advocated for intermediate scrutiny
                        by repeatedly invoking a quintessential intermediate-
                        scrutiny precedent. See Heller, 554 U. S., at 690, 696, 704–
                        705 (citing Turner Broadcasting System, Inc. v. FCC, 520
                        U. S. 180 (1997)). Thus, when Heller expressly rejected that
                        dissent’s “interest-balancing inquiry,” 554 U. S., at 634 (in-
                        ternal quotation marks omitted), it necessarily rejected in-
                        termediate scrutiny.5
                        ——————
                          5 The dissent asserts that we misread Heller to eschew means-end scru-

                        tiny because Heller mentioned that the District of Columbia’s handgun
                        ban “would fail constitutional muster” “[u]nder any of the standards of
                        scrutiny that we have applied to enumerated constitutional rights.” Hel-
                        ler, 554 U. S., at 628–629; see post, at 23 (opinion of BREYER, J.). But
                        Heller’s passing observation that the District’s ban would fail under any




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                           In sum, the Courts of Appeals’ second step is inconsistent
                        with Heller’s historical approach and its rejection of means-
                        end scrutiny. We reiterate that the standard for applying
                        the Second Amendment is as follows: When the Second
                        Amendment’s plain text covers an individual’s conduct, the
                        Constitution presumptively protects that conduct. The gov-
                        ernment must then justify its regulation by demonstrating
                        that it is consistent with the Nation’s historical tradition of
                        firearm regulation. Only then may a court conclude that
                        the individual’s conduct falls outside the Second Amend-
                        ment’s “unqualified command.” Konigsberg, 366 U. S., at
                        50, n. 10.
                                                       C
                           This Second Amendment standard accords with how we
                        protect other constitutional rights. Take, for instance, the
                        freedom of speech in the First Amendment, to which Heller
                        repeatedly compared the right to keep and bear arms. 554
                        U. S., at 582, 595, 606, 618, 634–635. In that context,
                        “[w]hen the Government restricts speech, the Government
                        bears the burden of proving the constitutionality of its ac-
                        tions.” United States v. Playboy Entertainment Group, Inc.,
                        529 U. S. 803, 816 (2000); see also Philadelphia Newspa-
                        pers, Inc. v. Hepps, 475 U. S. 767, 777 (1986). In some cases,
                        that burden includes showing whether the expressive con-
                        duct falls outside of the category of protected speech. See
                        Illinois ex rel. Madigan v. Telemarketing Associates, Inc.,
                        538 U. S. 600, 620, n. 9 (2003). And to carry that burden,
                        the government must generally point to historical evidence
                        about the reach of the First Amendment’s protections. See,

                        ——————
                        heightened “standar[d] of scrutiny” did not supplant Heller’s focus on
                        constitutional text and history. Rather, Heller’s comment “was more of
                        a gilding-the-lily observation about the extreme nature of D.C.’s law,”
                        Heller v. District of Columbia, 670 F. 3d 1244, 1277 (CADC 2011) (Ka-
                        vanaugh, J., dissenting), than a reflection of Heller’s methodology or
                        holding.




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                        e.g., United States v. Stevens, 559 U. S. 460, 468–471 (2010)
                        (placing the burden on the government to show that a type
                        of speech belongs to a “historic and traditional categor[y]”
                        of constitutionally unprotected speech “long familiar to the
                        bar” (internal quotation marks omitted)).
                           And beyond the freedom of speech, our focus on history
                        also comports with how we assess many other constitu-
                        tional claims. If a litigant asserts the right in court to “be
                        confronted with the witnesses against him,” U. S. Const.,
                        Amdt. 6, we require courts to consult history to determine
                        the scope of that right. See, e.g., Giles v. California, 554
                        U. S. 353, 358 (2008) (“admitting only those exceptions [to
                        the Confrontation Clause] established at the time of the
                        founding” (internal quotation marks omitted)). Similarly,
                        when a litigant claims a violation of his rights under the
                        Establishment Clause, Members of this Court “loo[k] to his-
                        tory for guidance.” American Legion v. American Humanist
                        Assn., 588 U. S. ___, ___ (2019) (plurality opinion) (slip op.,
                        at 25). We adopt a similar approach here.
                           To be sure, “[h]istorical analysis can be difficult; it some-
                        times requires resolving threshold questions, and making
                        nuanced judgments about which evidence to consult and
                        how to interpret it.” McDonald, 561 U. S., at 803–804
                        (Scalia, J., concurring). But reliance on history to inform
                        the meaning of constitutional text—especially text meant
                        to codify a pre-existing right—is, in our view, more legiti-
                        mate, and more administrable, than asking judges to “make
                        difficult empirical judgments” about “the costs and benefits
                        of firearms restrictions,” especially given their “lack [of] ex-
                        pertise” in the field. Id., at 790–791 (plurality opinion).6

                        ——————
                          6 The dissent claims that Heller’s text-and-history test will prove un-

                        workable compared to means-end scrutiny in part because judges are rel-
                        atively ill equipped to “resolv[e] difficult historical questions” or engage
                        in “searching historical surveys.” Post, at 26, 30. We are unpersuaded.
                        The job of judges is not to resolve historical questions in the abstract; it




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                           If the last decade of Second Amendment litigation has
                        taught this Court anything, it is that federal courts tasked
                        with making such difficult empirical judgments regarding
                        firearm regulations under the banner of “intermediate scru-
                        tiny” often defer to the determinations of legislatures. But
                        while that judicial deference to legislative interest balanc-
                        ing is understandable—and, elsewhere, appropriate—it is
                        not deference that the Constitution demands here. The Sec-
                        ond Amendment “is the very product of an interest balanc-
                        ing by the people” and it “surely elevates above all other
                        interests the right of law-abiding, responsible citizens to
                        use arms” for self-defense. Heller, 554 U. S., at 635. It is
                        this balance—struck by the traditions of the American peo-
                        ple—that demands our unqualified deference.
                                                      D
                           The test that we set forth in Heller and apply today re-
                        quires courts to assess whether modern firearms regula-
                        tions are consistent with the Second Amendment’s text and
                        historical understanding. In some cases, that inquiry will
                        be fairly straightforward. For instance, when a challenged
                        regulation addresses a general societal problem that has
                        persisted since the 18th century, the lack of a distinctly sim-
                        ilar historical regulation addressing that problem is rele-
                        vant evidence that the challenged regulation is inconsistent
                        with the Second Amendment. Likewise, if earlier genera-
                        tions addressed the societal problem, but did so through
                        materially different means, that also could be evidence that
                        ——————
                        is to resolve legal questions presented in particular cases or controver-
                        sies. That “legal inquiry is a refined subset” of a broader “historical in-
                        quiry,” and it relies on “various evidentiary principles and default rules”
                        to resolve uncertainties. W. Baude & S. Sachs, Originalism and the Law
                        of the Past, 37 L. & Hist. Rev. 809, 810–811 (2019). For example, “[i]n
                        our adversarial system of adjudication, we follow the principle of party
                        presentation.” United States v. Sineneng-Smith, 590 U. S. ___, ___ (2020)
                        (slip op., at 3). Courts are thus entitled to decide a case based on the
                        historical record compiled by the parties.




                                                                                                      (106)
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                        a modern regulation is unconstitutional. And if some juris-
                        dictions actually attempted to enact analogous regulations
                        during this timeframe, but those proposals were rejected on
                        constitutional grounds, that rejection surely would provide
                        some probative evidence of unconstitutionality.
                          Heller itself exemplifies this kind of straightforward his-
                        torical inquiry. One of the District’s regulations challenged
                        in Heller “totally ban[ned] handgun possession in the
                        home.” Id., at 628. The District in Heller addressed a per-
                        ceived societal problem—firearm violence in densely popu-
                        lated communities—and it employed a regulation—a flat
                        ban on the possession of handguns in the home—that the
                        Founders themselves could have adopted to confront that
                        problem. Accordingly, after considering “founding-era his-
                        torical precedent,” including “various restrictive laws in the
                        colonial period,” and finding that none was analogous to the
                        District’s ban, Heller concluded that the handgun ban was
                        unconstitutional. Id., at 631; see also id., at 634 (describing
                        the claim that “there were somewhat similar restrictions in
                        the founding period” a “false proposition”).
                          New York’s proper-cause requirement concerns the same
                        alleged societal problem addressed in Heller: “handgun vio-
                        lence,” primarily in “urban area[s].” Ibid. Following the
                        course charted by Heller, we will consider whether “histor-
                        ical precedent” from before, during, and even after the
                        founding evinces a comparable tradition of regulation. Id.,
                        at 631. And, as we explain below, we find no such tradition
                        in the historical materials that respondents and their amici
                        have brought to bear on that question. See Part III–B, in-
                        fra.
                          While the historical analogies here and in Heller are rel-
                        atively simple to draw, other cases implicating unprece-
                        dented societal concerns or dramatic technological changes
                        may require a more nuanced approach. The regulatory
                        challenges posed by firearms today are not always the same




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                        as those that preoccupied the Founders in 1791 or the Re-
                        construction generation in 1868. Fortunately, the Found-
                        ers created a Constitution—and a Second Amendment—
                        “intended to endure for ages to come, and consequently, to
                        be adapted to the various crises of human affairs.” McCul-
                        loch v. Maryland, 4 Wheat. 316, 415 (1819) (emphasis de-
                        leted). Although its meaning is fixed according to the un-
                        derstandings of those who ratified it, the Constitution can,
                        and must, apply to circumstances beyond those the Found-
                        ers specifically anticipated. See, e.g., United States v.
                        Jones, 565 U. S. 400, 404–405 (2012) (holding that installa-
                        tion of a tracking device was “a physical intrusion [that]
                        would have been considered a ‘search’ within the meaning
                        of the Fourth Amendment when it was adopted”).
                           We have already recognized in Heller at least one way in
                        which the Second Amendment’s historically fixed meaning
                        applies to new circumstances: Its reference to “arms” does
                        not apply “only [to] those arms in existence in the 18th cen-
                        tury.” 554 U. S., at 582. “Just as the First Amendment
                        protects modern forms of communications, and the Fourth
                        Amendment applies to modern forms of search, the Second
                        Amendment extends, prima facie, to all instruments that
                        constitute bearable arms, even those that were not in exist-
                        ence at the time of the founding.” Ibid. (citations omitted).
                        Thus, even though the Second Amendment’s definition of
                        “arms” is fixed according to its historical understanding,
                        that general definition covers modern instruments that fa-
                        cilitate armed self-defense. Cf. Caetano v. Massachusetts,
                        577 U. S. 411, 411–412 (2016) (per curiam) (stun guns).
                           Much like we use history to determine which modern
                        “arms” are protected by the Second Amendment, so too does
                        history guide our consideration of modern regulations that
                        were unimaginable at the founding. When confronting such
                        present-day firearm regulations, this historical inquiry that
                        courts must conduct will often involve reasoning by anal-
                        ogy—a commonplace task for any lawyer or judge. Like all




                                                                                           (108)
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                        analogical reasoning, determining whether a historical reg-
                        ulation is a proper analogue for a distinctly modern firearm
                        regulation requires a determination of whether the two reg-
                        ulations are “relevantly similar.” C. Sunstein, On Analogi-
                        cal Reasoning, 106 Harv. L. Rev. 741, 773 (1993). And be-
                        cause “[e]verything is similar in infinite ways to everything
                        else,” id., at 774, one needs “some metric enabling the anal-
                        ogizer to assess which similarities are important and which
                        are not,” F. Schauer & B. Spellman, Analogy, Expertise,
                        and Experience, 84 U. Chi. L. Rev. 249, 254 (2017). For in-
                        stance, a green truck and a green hat are relevantly similar
                        if one’s metric is “things that are green.” See ibid. They
                        are not relevantly similar if the applicable metric is “things
                        you can wear.”
                           While we do not now provide an exhaustive survey of the
                        features that render regulations relevantly similar under
                        the Second Amendment, we do think that Heller and
                        McDonald point toward at least two metrics: how and why
                        the regulations burden a law-abiding citizen’s right to
                        armed self-defense. As we stated in Heller and repeated in
                        McDonald, “individual self-defense is ‘the central compo-
                        nent’ of the Second Amendment right.” McDonald, 561
                        U. S., at 767 (quoting Heller, 554 U. S., at 599); see also id.,
                        at 628 (“the inherent right of self-defense has been central
                        to the Second Amendment right”). Therefore, whether mod-
                        ern and historical regulations impose a comparable burden
                        on the right of armed self-defense and whether that burden
                        is comparably justified are “ ‘central’ ” considerations when
                        engaging in an analogical inquiry. McDonald, 561 U. S., at
                        767 (quoting Heller, 554 U. S., at 599).7
                        ——————
                          7 This does not mean that courts may engage in independent means-

                        end scrutiny under the guise of an analogical inquiry. Again, the Second
                        Amendment is the “product of an interest balancing by the people,” not
                        the evolving product of federal judges. Heller, 554 U. S., at 635 (empha-
                        sis altered). Analogical reasoning requires judges to apply faithfully the
                        balance struck by the founding generation to modern circumstances, and




                                                                                                     (109)
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                           To be clear, analogical reasoning under the Second
                        Amendment is neither a regulatory straightjacket nor a
                        regulatory blank check. On the one hand, courts should not
                        “uphold every modern law that remotely resembles a his-
                        torical analogue,” because doing so “risk[s] endorsing outli-
                        ers that our ancestors would never have accepted.” Drum-
                        mond v. Robinson, 9 F. 4th 217, 226 (CA3 2021). On the
                        other hand, analogical reasoning requires only that the gov-
                        ernment identify a well-established and representative his-
                        torical analogue, not a historical twin. So even if a modern-
                        day regulation is not a dead ringer for historical precursors,
                        it still may be analogous enough to pass constitutional mus-
                        ter.
                           Consider, for example, Heller’s discussion of “longstand-
                        ing” “laws forbidding the carrying of firearms in sensitive
                        places such as schools and government buildings.” 554
                        U. S., at 626. Although the historical record yields rela-
                        tively few 18th- and 19th-century “sensitive places” where
                        weapons were altogether prohibited—e.g., legislative as-
                        semblies, polling places, and courthouses—we are also
                        aware of no disputes regarding the lawfulness of such pro-
                        hibitions. See D. Kopel & J. Greenlee, The “Sensitive
                        Places” Doctrine, 13 Charleston L. Rev. 205, 229–236, 244–
                        247 (2018); see also Brief for Independent Institute as Ami-
                        cus Curiae 11–17. We therefore can assume it settled that
                        these locations were “sensitive places” where arms carrying
                        could be prohibited consistent with the Second Amend-
                        ment. And courts can use analogies to those historical reg-
                        ulations of “sensitive places” to determine that modern reg-
                        ulations prohibiting the carry of firearms in new and
                        analogous sensitive places are constitutionally permissible.
                           Although we have no occasion to comprehensively define

                        ——————
                        contrary to the dissent’s assertion, there is nothing “[i]roni[c]” about that
                        undertaking. Post, at 30. It is not an invitation to revise that balance
                        through means-end scrutiny.




                                                                                                        (110)
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                        “sensitive places” in this case, we do think respondents err
                        in their attempt to characterize New York’s proper-cause
                        requirement as a “sensitive-place” law. In their view, “sen-
                        sitive places” where the government may lawfully disarm
                        law-abiding citizens include all “places where people typi-
                        cally congregate and where law-enforcement and other
                        public-safety professionals are presumptively available.”
                        Brief for Respondents 34. It is true that people sometimes
                        congregate in “sensitive places,” and it is likewise true that
                        law enforcement professionals are usually presumptively
                        available in those locations. But expanding the category of
                        “sensitive places” simply to all places of public congregation
                        that are not isolated from law enforcement defines the cat-
                        egory of “sensitive places” far too broadly. Respondents’ ar-
                        gument would in effect exempt cities from the Second
                        Amendment and would eviscerate the general right to pub-
                        licly carry arms for self-defense that we discuss in detail
                        below. See Part III–B, infra. Put simply, there is no his-
                        torical basis for New York to effectively declare the island
                        of Manhattan a “sensitive place” simply because it is
                        crowded and protected generally by the New York City Po-
                        lice Department.
                           Like Heller, we “do not undertake an exhaustive histori-
                        cal analysis . . . of the full scope of the Second Amendment.”
                        554 U. S., at 626. And we acknowledge that “applying con-
                        stitutional principles to novel modern conditions can be dif-
                        ficult and leave close questions at the margins.” Heller v.
                        District of Columbia, 670 F. 3d 1244, 1275 (CADC 2011)
                        (Kavanaugh, J., dissenting). “But that is hardly unique to
                        the Second Amendment. It is an essential component of ju-
                        dicial decisionmaking under our enduring Constitution.”
                        Ibid. We see no reason why judges frequently tasked with
                        answering these kinds of historical, analogical questions
                        cannot do the same for Second Amendment claims.




                                                                                         (111)
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                                                   III
                          Having made the constitutional standard endorsed in
                        Heller more explicit, we now apply that standard to New
                        York’s proper-cause requirement.
                                                        A
                           It is undisputed that petitioners Koch and Nash—two or-
                        dinary, law-abiding, adult citizens—are part of “the people”
                        whom the Second Amendment protects. See Heller, 554
                        U. S., at 580. Nor does any party dispute that handguns
                        are weapons “in common use” today for self-defense. See
                        id., at 627; see also Caetano, 577 U. S., at 411–412. We
                        therefore turn to whether the plain text of the Second
                        Amendment protects Koch’s and Nash’s proposed course of
                        conduct—carrying handguns publicly for self-defense.
                           We have little difficulty concluding that it does. Respond-
                        ents do not dispute this. See Brief for Respondents 19. Nor
                        could they. Nothing in the Second Amendment’s text draws
                        a home/public distinction with respect to the right to keep
                        and bear arms. As we explained in Heller, the “textual ele-
                        ments” of the Second Amendment’s operative clause— “the
                        right of the people to keep and bear Arms, shall not be in-
                        fringed”—“guarantee the individual right to possess and
                        carry weapons in case of confrontation.” 554 U. S., at 592.
                        Heller further confirmed that the right to “bear arms” refers
                        to the right to “wear, bear, or carry . . . upon the person or
                        in the clothing or in a pocket, for the purpose . . . of being
                        armed and ready for offensive or defensive action in a case
                        of conflict with another person.” Id., at 584 (quoting Mus-
                        carello v. United States, 524 U. S. 125, 143 (1998) (Gins-
                        burg, J., dissenting); internal quotation marks omitted).
                           This definition of “bear” naturally encompasses public
                        carry. Most gun owners do not wear a holstered pistol at
                        their hip in their bedroom or while sitting at the dinner ta-
                        ble. Although individuals often “keep” firearms in their
                        home, at the ready for self-defense, most do not “bear” (i.e.,




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                        carry) them in the home beyond moments of actual confron-
                        tation. To confine the right to “bear” arms to the home
                        would nullify half of the Second Amendment’s operative
                        protections.
                           Moreover, confining the right to “bear” arms to the home
                        would make little sense given that self-defense is “the cen-
                        tral component of the [Second Amendment] right itself.”
                        Heller, 554 U. S., at 599; see also McDonald, 561 U. S., at
                        767. After all, the Second Amendment guarantees an “in-
                        dividual right to possess and carry weapons in case of con-
                        frontation,” Heller, 554 U. S., at 592, and confrontation can
                        surely take place outside the home.
                           Although we remarked in Heller that the need for armed
                        self-defense is perhaps “most acute” in the home, id., at 628,
                        we did not suggest that the need was insignificant else-
                        where. Many Americans hazard greater danger outside the
                        home than in it. See Moore v. Madigan, 702 F. 3d 933, 937
                        (CA7 2012) (“[A] Chicagoan is a good deal more likely to be
                        attacked on a sidewalk in a rough neighborhood than in his
                        apartment on the 35th floor of the Park Tower”). The text
                        of the Second Amendment reflects that reality.
                           The Second Amendment’s plain text thus presumptively
                        guarantees petitioners Koch and Nash a right to “bear”
                        arms in public for self-defense.
                                                     B
                          Conceding that the Second Amendment guarantees a
                        general right to public carry, contra, Young, 992 F. 3d, at
                        813, respondents instead claim that the Amendment “per-
                        mits a State to condition handgun carrying in areas ‘fre-
                        quented by the general public’ on a showing of a non-
                        speculative need for armed self-defense in those areas,”
                        Brief for Respondents 19 (citation omitted).8 To support
                        ——————
                          8 The dissent claims that we cannot answer the question presented

                        without giving respondents the opportunity to develop an evidentiary
                        record fleshing out “how New York’s law is administered in practice, how




                                                                                                   (113)
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                        that claim, the burden falls on respondents to show that
                        New York’s proper-cause requirement is consistent with
                        this Nation’s historical tradition of firearm regulation.
                        Only if respondents carry that burden can they show that
                        the pre-existing right codified in the Second Amendment,
                        and made applicable to the States through the Fourteenth,
                        does not protect petitioners’ proposed course of conduct.
                          Respondents appeal to a variety of historical sources from
                        the late 1200s to the early 1900s. We categorize these pe-
                        riods as follows: (1) medieval to early modern England;
                        (2) the American Colonies and the early Republic; (3) ante-
                        bellum America; (4) Reconstruction; and (5) the late-19th
                        and early-20th centuries.
                          We categorize these historical sources because, when it
                        comes to interpreting the Constitution, not all history is cre-
                        ated equal. “Constitutional rights are enshrined with the
                        scope they were understood to have when the people
                        adopted them.” Heller, 554 U. S., at 634–635 (emphasis
                        added). The Second Amendment was adopted in 1791; the

                        ——————
                        much discretion licensing officers in New York possess, or whether the
                        proper cause standard differs across counties.” Post, at 20. We disagree.
                        The dissent does not dispute that any applicant for an unrestricted con-
                        cealed-carry license in New York can satisfy the proper-cause standard
                        only if he has “ ‘ “a special need for self-protection distinguishable from
                        that of the general community.” ’ ” Post, at 13 (quoting Kachalsky v.
                        County of Westchester, 701 F. 3d 81, 86 (CA2 2012)). And in light of the
                        text of the Second Amendment, along with the Nation’s history of firearm
                        regulation, we conclude below that a State may not prevent law-abiding
                        citizens from publicly carrying handguns because they have not demon-
                        strated a special need for self-defense. See infra, at 62. That conclusion
                        does not depend upon any of the factual questions raised by the dissent.
                        Nash and Koch allege that they were denied unrestricted licenses be-
                        cause they had not “demonstrate[d] a special need for self-defense that
                        distinguished [them] from the general public.” App. 123, 125. If those
                        allegations are proven true, then it simply does not matter whether li-
                        censing officers have applied the proper-cause standard differently to
                        other concealed-carry license applicants; Nash’s and Koch’s constitu-
                        tional rights to bear arms in public for self-defense were still violated.




                                                                                                      (114)
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                        Fourteenth in 1868. Historical evidence that long predates
                        either date may not illuminate the scope of the right if lin-
                        guistic or legal conventions changed in the intervening
                        years. It is one thing for courts to “reac[h] back to the 14th
                        century” for English practices that “prevailed up to the ‘pe-
                        riod immediately before and after the framing of the Con-
                        stitution.’ ” Sprint Communications Co. v. APCC Services,
                        Inc., 554 U. S. 269, 311 (2008) (ROBERTS, C. J., dissenting).
                        It is quite another to rely on an “ancient” practice that had
                        become “obsolete in England at the time of the adoption of
                        the Constitution” and never “was acted upon or accepted in
                        the colonies.” Dimick v. Schiedt, 293 U. S. 474, 477 (1935).
                           As with historical evidence generally, courts must be
                        careful when assessing evidence concerning English
                        common-law rights. The common law, of course, developed
                        over time. Associated Gen. Contractors of Cal., Inc. v. Car-
                        penters, 459 U. S. 519, 533, n. 28 (1983); see also Rogers v.
                        Tennessee, 532 U. S. 451, 461 (2001). And English common-
                        law practices and understandings at any given time in his-
                        tory cannot be indiscriminately attributed to the Framers
                        of our own Constitution. Even “the words of Magna
                        Charta”—foundational as they were to the rights of Amer-
                        ica’s forefathers—“stood for very different things at the
                        time of the separation of the American Colonies from what
                        they represented originally” in 1215. Hurtado v. Califor-
                        nia, 110 U. S. 516, 529 (1884). Sometimes, in interpreting
                        our own Constitution, “it [is] better not to go too far back
                        into antiquity for the best securities of our liberties,” Funk
                        v. United States, 290 U. S. 371, 382 (1933), unless evidence
                        shows that medieval law survived to become our Founders’
                        law. A long, unbroken line of common-law precedent
                        stretching from Bracton to Blackstone is far more likely to
                        be part of our law than a short-lived, 14th-century English
                        practice.
                           Similarly, we must also guard against giving postenact-
                        ment history more weight than it can rightly bear. It is true




                                                                                         (115)
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                        that in Heller we reiterated that evidence of “how the Sec-
                        ond Amendment was interpreted from immediately after its
                        ratification through the end of the 19th century” repre-
                        sented a “critical tool of constitutional interpretation.” 554
                        U. S., at 605. We therefore examined “a variety of legal and
                        other sources to determine the public understanding of [the
                        Second Amendment] after its . . . ratification.” Ibid. And,
                        in other contexts, we have explained that “ ‘a regular course
                        of practice’ can ‘liquidate & settle the meaning of ’ disputed
                        or indeterminate ‘terms & phrases’ ” in the Constitution.
                        Chiafalo v. Washington, 591 U. S. ___, ___ (2020) (slip op.,
                        at 13) (quoting Letter from J. Madison to S. Roane (Sept. 2,
                        1819), in 8 Writings of James Madison 450 (G. Hunt ed.
                        1908)); see also, e.g., Houston Community College System v.
                        Wilson, 595 U. S. ___, ___ (2022) (slip op., at 5) (same); The
                        Federalist No. 37, p. 229 (C. Rossiter ed. 1961) (J. Madison);
                        see generally C. Nelson, Stare Decisis and Demonstrably
                        Erroneous Precedents, 87 Va. L. Rev. 1, 10–21 (2001); W.
                        Baude, Constitutional Liquidation, 71 Stan. L. Rev. 1
                        (2019). In other words, we recognize that “where a govern-
                        mental practice has been open, widespread, and unchal-
                        lenged since the early days of the Republic, the practice
                        should guide our interpretation of an ambiguous constitu-
                        tional provision.” NLRB v. Noel Canning, 573 U. S. 513,
                        572 (2014) (Scalia, J., concurring in judgment); see also My-
                        ers v. United States, 272 U. S. 52, 174 (1926); Printz v.
                        United States, 521 U. S. 898, 905 (1997).
                           But to the extent later history contradicts what the text
                        says, the text controls. “ ‘[L]iquidating’ indeterminacies in
                        written laws is far removed from expanding or altering
                        them.” Gamble v. United States, 587 U. S. ___, ___ (2019)
                        (THOMAS, J., concurring) (slip op., at 13); see also Letter
                        from J. Madison to N. Trist (Dec. 1831), in 9 Writings of
                        James Madison 477 (G. Hunt ed. 1910). Thus, “post-
                        ratification adoption or acceptance of laws that are incon-
                        sistent with the original meaning of the constitutional text




                                                                                            (116)
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                        obviously cannot overcome or alter that text.” Heller, 670
                        F. 3d, at 1274, n. 6 (Kavanaugh, J., dissenting); see also Es-
                        pinoza v. Montana Dept. of Revenue, 591 U. S. ___, ___
                        (2020) (slip op., at 15).
                           As we recognized in Heller itself, because post-Civil War
                        discussions of the right to keep and bear arms “took place
                        75 years after the ratification of the Second Amendment,
                        they do not provide as much insight into its original mean-
                        ing as earlier sources.” 554 U. S., at 614; cf. Sprint Com-
                        munications Co., 554 U. S., at 312 (ROBERTS, C. J., dissenting)
                        (“The belated innovations of the mid- to late-19th-century
                        courts come too late to provide insight into the meaning of
                        [the Constitution in 1787]”). And we made clear in Gamble
                        that Heller’s interest in mid- to late-19th-century commen-
                        tary was secondary. Heller considered this evidence “only
                        after surveying what it regarded as a wealth of authority
                        for its reading—including the text of the Second Amend-
                        ment and state constitutions.” Gamble, 587 U. S., at ___
                        (majority opinion) (slip op., at 23). In other words, this
                        19th-century evidence was “treated as mere confirmation of
                        what the Court thought had already been established.”
                        Ibid.
                           A final word on historical method: Strictly speaking, New
                        York is bound to respect the right to keep and bear arms
                        because of the Fourteenth Amendment, not the Second.
                        See, e.g., Barron ex rel. Tiernan v. Mayor of Baltimore, 7
                        Pet. 243, 250–251 (1833) (Bill of Rights applies only to the
                        Federal Government). Nonetheless, we have made clear
                        that individual rights enumerated in the Bill of Rights and
                        made applicable against the States through the Fourteenth
                        Amendment have the same scope as against the Federal
                        Government. See, e.g., Ramos v. Louisiana, 590 U. S. ___,
                        ___ (2020) (slip op., at 7); Timbs v. Indiana, 586 U. S. ___,
                        ___–___ (2019) (slip op., at 2–3); Malloy v. Hogan, 378 U. S.
                        1, 10–11 (1964). And we have generally assumed that the




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                        scope of the protection applicable to the Federal Govern-
                        ment and States is pegged to the public understanding of
                        the right when the Bill of Rights was adopted in 1791. See,
                        e.g., Crawford v. Washington, 541 U. S. 36, 42–50 (2004)
                        (Sixth Amendment); Virginia v. Moore, 553 U. S. 164, 168–
                        169 (2008) (Fourth Amendment); Nevada Comm’n on Eth-
                        ics v. Carrigan, 564 U. S. 117, 122–125 (2011) (First
                        Amendment).
                           We also acknowledge that there is an ongoing scholarly
                        debate on whether courts should primarily rely on the pre-
                        vailing understanding of an individual right when the Four-
                        teenth Amendment was ratified in 1868 when defining its
                        scope (as well as the scope of the right against the Federal
                        Government). See, e.g., A. Amar, The Bill of Rights: Crea-
                        tion and Reconstruction xiv, 223, 243 (1998); K. Lash, Re-
                        Speaking the Bill of Rights: A New Doctrine of Incorpora-
                        tion (Jan. 15, 2021) (manuscript, at 2), https://papers.ssrn
                        .com/sol3/papers.cfm?abstract_id=3766917 (“When the peo-
                        ple adopted the Fourteenth Amendment into existence,
                        they readopted the original Bill of Rights, and did so in a
                        manner that invested those original 1791 texts with new
                        1868 meanings”). We need not address this issue today be-
                        cause, as we explain below, the public understanding of the
                        right to keep and bear arms in both 1791 and 1868 was, for
                        all relevant purposes, the same with respect to public carry.
                                                 *     *    *
                           With these principles in mind, we turn to respondents’
                        historical evidence. Throughout modern Anglo-American
                        history, the right to keep and bear arms in public has tra-
                        ditionally been subject to well-defined restrictions govern-
                        ing the intent for which one could carry arms, the manner
                        of carry, or the exceptional circumstances under which one
                        could not carry arms. But apart from a handful of late-
                        19th-century jurisdictions, the historical record compiled by
                        respondents does not demonstrate a tradition of broadly




                                                                                           (118)
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                        prohibiting the public carry of commonly used firearms for
                        self-defense. Nor is there any such historical tradition lim-
                        iting public carry only to those law-abiding citizens who
                        demonstrate a special need for self-defense.9 We conclude
                        that respondents have failed to meet their burden to iden-
                        tify an American tradition justifying New York’s proper-
                        cause requirement. Under Heller’s text-and-history stand-
                        ard, the proper-cause requirement is therefore unconstitu-
                        tional.
                                                     1
                          Respondents’ substantial reliance on English history and
                        custom before the founding makes some sense given our
                        statement in Heller that the Second Amendment “codified
                        a right ‘inherited from our English ancestors.’ ” 554 U. S.,
                        at 599 (quoting Robertson v. Baldwin, 165 U. S. 275, 281
                        (1897)); see also Smith v. Alabama, 124 U. S. 465, 478
                        ——————
                           9 To be clear, nothing in our analysis should be interpreted to suggest

                        the unconstitutionality of the 43 States’ “shall-issue” licensing regimes,
                        under which “a general desire for self-defense is sufficient to obtain a
                        [permit].” Drake v. Filko, 724 F. 3d 426, 442 (CA3 2013) (Hardiman, J.,
                        dissenting). Because these licensing regimes do not require applicants
                        to show an atypical need for armed self-defense, they do not necessarily
                        prevent “law-abiding, responsible citizens” from exercising their Second
                        Amendment right to public carry. District of Columbia v. Heller, 554
                        U. S. 570, 635 (2008). Rather, it appears that these shall-issue regimes,
                        which often require applicants to undergo a background check or pass a
                        firearms safety course, are designed to ensure only that those bearing
                        arms in the jurisdiction are, in fact, “law-abiding, responsible citizens.”
                        Ibid. And they likewise appear to contain only “narrow, objective, and
                        definite standards” guiding licensing officials, Shuttlesworth v. Birming-
                        ham, 394 U. S. 147, 151 (1969), rather than requiring the “appraisal of
                        facts, the exercise of judgment, and the formation of an opinion,” Cant-
                        well v. Connecticut, 310 U. S. 296, 305 (1940)—features that typify
                        proper-cause standards like New York’s. That said, because any permit-
                        ting scheme can be put toward abusive ends, we do not rule out constitu-
                        tional challenges to shall-issue regimes where, for example, lengthy wait
                        times in processing license applications or exorbitant fees deny ordinary
                        citizens their right to public carry.




                                                                                                      (119)
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                        (1888). But this Court has long cautioned that the English
                        common law “is not to be taken in all respects to be that of
                        America.” Van Ness v. Pacard, 2 Pet. 137, 144 (1829)
                        (Story, J., for the Court); see also Wheaton v. Peters, 8 Pet.
                        591, 659 (1834); Funk, 290 U. S., at 384. Thus, “[t]he lan-
                        guage of the Constitution cannot be interpreted safely ex-
                        cept by reference to the common law and to British institu-
                        tions as they were when the instrument was framed and
                        adopted,” not as they existed in the Middle Ages. Ex parte
                        Grossman, 267 U. S. 87, 108–109 (1925) (emphasis added);
                        see also United States v. Reid, 12 How. 361, 363 (1852).
                            We interpret the English history that respondents and
                        the United States muster in light of these interpretive prin-
                        ciples. We find that history ambiguous at best and see little
                        reason to think that the Framers would have thought it ap-
                        plicable in the New World. It is not sufficiently probative
                        to defend New York’s proper-cause requirement.
                            To begin, respondents and their amici point to several
                        medieval English regulations from as early as 1285 that
                        they say indicate a longstanding tradition of restricting the
                        public carry of firearms. See 13 Edw. 1, 102. The most
                        prominent is the 1328 Statute of Northampton (or Statute),
                        passed shortly after Edward II was deposed by force of arms
                        and his son, Edward III, took the throne of a kingdom where
                        “tendency to turmoil and rebellion was everywhere appar-
                        ent throughout the realm.” N. Trenholme, The Risings in
                        the English Monastic Towns in 1327, 6 Am. Hist. Rev. 650,
                        651 (1901). At the time, “[b]ands of malefactors, knights as
                        well as those of lesser degree, harried the country, commit-
                        ting assaults and murders,” prompted by a more general
                        “spirit of insubordination” that led to a “decay in English
                        national life.” K. Vickers, England in the Later Middle
                        Ages 107 (1926).
                            The Statute of Northampton was, in part, “a product of
                        . . . the acute disorder that still plagued England.” A. Ver-
                        duyn, The Politics of Law and Order During the Early




                                                                                            (120)
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                        Years of Edward III, 108 Eng. Hist. Rev. 842, 850 (1993). It
                        provided that, with some exceptions, Englishmen could not
                        “come before the King’s Justices, or other of the King’s Min-
                        isters doing their office, with force and arms, nor bring no
                        force in affray of the peace, nor to go nor ride armed by night
                        nor by day, in Fairs, Markets, nor in the presence of the
                        Justices or other Ministers, nor in no part elsewhere, upon
                        pain to forfeit their Armour to the King, and their Bodies to
                        Prison at the King’s pleasure.” 2 Edw. 3 c. 3 (1328).
                           Respondents argue that the prohibition on “rid[ing]” or
                        “go[ing] . . . armed” was a sweeping restriction on public
                        carry of self-defense weapons that would ultimately be
                        adopted in Colonial America and justify onerous public-
                        carry regulations. Notwithstanding the ink the parties spill
                        over this provision, the Statute of Northampton—at least
                        as it was understood during the Middle Ages—has little
                        bearing on the Second Amendment adopted in 1791. The
                        Statute of Northampton was enacted nearly 20 years before
                        the Black Death, more than 200 years before the birth of
                        Shakespeare, more than 350 years before the Salem Witch
                        Trials, more than 450 years before the ratification of the
                        Constitution, and nearly 550 years before the adoption of
                        the Fourteenth Amendment.
                           The Statute’s prohibition on going or riding “armed” ob-
                        viously did not contemplate handguns, given they did not
                        appear in Europe until about the mid-1500s. See K. Chase,
                        Firearms: A Global History to 1700, p. 61 (2003). Rather, it
                        appears to have been centrally concerned with the wearing
                        of armor. See, e.g., Calendar of the Close Rolls, Edward III,
                        1330–1333, p. 131 (Apr. 3, 1330) (H. Maxwell-Lyte ed.
                        1898); id., at 243 (May 28, 1331); id., Edward III, 1327–
                        1330, at 314 (Aug. 29, 1328) (1896). If it did apply beyond
                        armor, it applied to such weapons as the “launcegay,” a 10-
                        to 12-foot-long lightweight lance. See 7 Rich. 2 c. 13 (1383);
                        20 Rich. 2 c. 1 (1396).
                           The Statute’s apparent focus on armor and, perhaps,




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                        weapons like launcegays makes sense given that armor and
                        lances were generally worn or carried only when one in-
                        tended to engage in lawful combat or—as most early viola-
                        tions of the Statute show—to breach the peace. See, e.g.,
                        Calendar of the Close Rolls, Edward III, 1327–1330, at 402
                        (July 7, 1328); id., Edward III, 1333–1337, at 695 (Aug. 18,
                        1336) (1898). Contrast these arms with daggers. In the
                        medieval period, “[a]lmost everyone carried a knife or a
                        dagger in his belt.” H. Peterson, Daggers and Fighting
                        Knives of the Western World 12 (2001). While these knives
                        were used by knights in warfare, “[c]ivilians wore them for
                        self-protection,” among other things. Ibid. Respondents
                        point to no evidence suggesting the Statute applied to the
                        smaller medieval weapons that strike us as most analogous
                        to modern handguns.
                           When handguns were introduced in England during the
                        Tudor and early Stuart eras, they did prompt royal efforts
                        at suppression. For example, Henry VIII issued several
                        proclamations decrying the proliferation of handguns, and
                        Parliament passed several statutes restricting their posses-
                        sion. See, e.g., 6 Hen. 8 c. 13, §1 (1514); 25 Hen. 8 c. 17, §1
                        (1533); 33 Hen. 8 c. 6 (1541); Prohibiting Use of Handguns
                        and Crossbows (Jan. 1537), in 1 Tudor Royal Proclamations
                        249 (P. Hughes & J. Larkin eds. 1964). But Henry VIII’s
                        displeasure with handguns arose not primarily from con-
                        cerns about their safety but rather their inefficacy. Henry
                        VIII worried that handguns threatened Englishmen’s pro-
                        ficiency with the longbow—a weapon many believed was
                        crucial to English military victories in the 1300s and 1400s,
                        including the legendary English victories at Crécy and Ag-
                        incourt. See R. Payne-Gallwey, The Crossbow 32, 34
                        (1903); L. Schwoerer, Gun Culture in Early Modern Eng-
                        land 54 (2016) (Schwoerer).
                           Similarly, James I considered small handguns—called
                        dags—“utterly unserviceable for defence, Militarie practise,
                        or other lawful use.” A Proclamation Against Steelets,




                                                                                            (122)
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                        Pocket Daggers, Pocket Dagges and Pistols (R. Barker
                        printer 1616). But, in any event, James I’s proclamation in
                        1616 “was the last one regarding civilians carrying dags,”
                        Schwoerer 63. “After this the question faded without expla-
                        nation.” Ibid. So, by the time Englishmen began to arrive
                        in America in the early 1600s, the public carry of handguns
                        was no longer widely proscribed.
                           When we look to the latter half of the 17th century, re-
                        spondents’ case only weakens. As in Heller, we consider
                        this history “[b]etween the [Stuart] Restoration [in 1660]
                        and the Glorious Revolution [in 1688]” to be particularly in-
                        structive. 554 U. S., at 592. During that time, the Stuart
                        Kings Charles II and James II ramped up efforts to disarm
                        their political opponents, an experience that “caused Eng-
                        lishmen . . . to be jealous of their arms.” Id., at 593.
                           In one notable example, the government charged Sir John
                        Knight, a prominent detractor of James II, with violating
                        the Statute of Northampton because he allegedly “did walk
                        about the streets armed with guns, and that he went into
                        the church of St. Michael, in Bristol, in the time of divine
                        service, with a gun, to terrify the King’s subjects.” Sir John
                        Knight’s Case, 3 Mod. 117, 87 Eng. Rep. 75, 76 (K. B. 1686).
                        Chief Justice Holt explained that the Statute of Northamp-
                        ton had “almost gone in desuetudinem,” Rex v. Sir John
                        Knight, 1 Comb. 38, 38–39, 90 Eng. Rep. 330 (K. B. 1686),
                        meaning that the Statute had largely become obsolete
                        through disuse.10 And the Chief Justice further explained
                        ——————
                           10 Another medieval firearm restriction—a 1541 statute enacted under

                        Henry VIII that limited the ownership and use of handguns (which could
                        not be shorter than a yard) to those subjects with annual property values
                        of at least £100, see 33 Hen. 8 c. 6, §§1–2—fell into a similar obsolescence.
                        As far as we can discern, the last recorded prosecutions under the 1541
                        statute occurred in 1693, neither of which appears to have been success-
                        ful. See King and Queen v. Bullock, 4 Mod. 147, 87 Eng. Rep. 315 (K. B.
                        1693); King v. Litten, 1 Shower, K. B. 367, 89 Eng. Rep. 644 (K. B. 1693).
                        It seems that other prosecutions under the 1541 statute during the late
                        1600s were similarly unsuccessful. See King v. Silcot, 3 Mod. 280, 280–




                                                                                                        (123)
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                        that the act of “go[ing] armed to terrify the King’s subjects”
                        was “a great offence at the common law” and that the Stat-
                        ute of Northampton “is but an affirmance of that law.” 3
                        Mod., at 118, 87 Eng. Rep., at 76 (first emphasis added).
                        Thus, one’s conduct “will come within the Act,”—i.e., would
                        terrify the King’s subjects—only “where the crime shall ap-
                        pear to be malo animo,” 1 Comb., at 39, 90 Eng. Rep., at
                        330, with evil intent or malice. Knight was ultimately ac-
                        quitted by the jury.11
                        ——————
                        281, 87 Eng. Rep. 186 (K. B. 1690); King v. Lewellin, 1 Shower, K. B. 48,
                        89 Eng. Rep. 440 (K. B. 1689); cf. King and Queen v. Alsop, 4 Mod. 49,
                        50–51, 87 Eng. Rep. 256, 256–257 (K. B. 1691). By the late 1700s, it was
                        widely recognized that the 1541 statute was “obsolete.” 2 R. Burn, The
                        Justice of the Peace, and Parish Officer 243, n. (11th ed. 1769); see also,
                        e.g., The Farmer’s Lawyer 143 (1774) (“entirely obsolete”); 1 G. Jacob,
                        Game-Laws II, Law-Dictionary (T. Tomlins ed. 1797); 2 R. Burn, The
                        Justice of the Peace, and Parish Officer 409 (18th ed. 1797) (calling the
                        1541 statute “a matter more of curiosity than use”).
                           In any event, lest one be tempted to put much evidentiary weight on
                        the 1541 statute, it impeded not only public carry, but further made it
                        unlawful for those without sufficient means to “kepe in his or their
                        houses” any “handgun.” 33 Hen. 8 c. 6, §1. Of course, this kind of limi-
                        tation is inconsistent with Heller’s historical analysis regarding the Sec-
                        ond Amendment’s meaning at the founding and thereafter. So, even if a
                        severe restriction on keeping firearms in the home may have seemed ap-
                        propriate in the mid-1500s, it was not incorporated into the Second
                        Amendment’s scope. We see little reason why the parts of the 1541 stat-
                        ute that address public carry should not be understood similarly.
                           We note also that even this otherwise restrictive 1541 statute, which
                        generally prohibited shooting firearms in any city, exempted discharges
                        “for the defence of [one’s] p[er]son or house.” §4. Apparently, the para-
                        mount need for self-defense trumped the Crown’s interest in firearm sup-
                        pression even during the 16th century.
                           11 The dissent discounts Sir John Knight’s Case, 3 Mod. 117, 87 Eng.

                        Rep. 75, because it only “arguably” supports the view that an evil-intent
                        requirement attached to the Statute of Northampton by the late 1600s
                        and early 1700s. See post, at 37. But again, because the Second Amend-
                        ment’s bare text covers petitioners’ public carry, the respondents here
                        shoulder the burden of demonstrating that New York’s proper-cause re-
                        quirement is consistent with the Second Amendment’s text and histori-
                        cal scope. See supra, at 15. To the extent there are multiple plausible




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                           Just three years later, Parliament responded by writing
                        the “predecessor to our Second Amendment” into the 1689
                        English Bill of Rights, Heller, 554 U. S., at 593, guarantee-
                        ing that “Protestants . . . may have Arms for their Defence
                        suitable to their Conditions, and as allowed by Law,” 1 Wm.
                        & Mary c. 2, §7, in 3 Eng. Stat. at Large 417 (1689). Alt-
                        hough this right was initially limited—it was restricted to
                        Protestants and held only against the Crown, but not Par-
                        liament—it represented a watershed in English history.
                        Englishmen had “never before claimed . . . the right of the
                        individual to arms.” Schwoerer 156.12 And as that individ-
                        ual right matured, “by the time of the founding,” the right
                        to keep and bear arms was “understood to be an individual
                        right protecting against both public and private violence.”
                        Heller, 554 U. S., at 594.
                           To be sure, the Statute of Northampton survived both Sir
                        John Knight’s Case and the English Bill of Rights, but it
                        was no obstacle to public carry for self-defense in the dec-
                        ades leading to the founding. Serjeant William Hawkins,
                        in his widely read 1716 treatise, confirmed that “no wearing
                        of Arms is within the meaning of [the Statute of Northamp-
                        ton], unless it be accompanied with such Circumstances as
                        are apt to terrify the People.” 1 Pleas of the Crown 136. To
                        illustrate that proposition, Hawkins noted as an example
                        that “Persons of Quality” were “in no Danger of Offending
                        against this Statute by wearing common Weapons” be-
                        cause, in those circumstances, it would be clear that they


                        ——————
                        interpretations of Sir John Knight’s Case, we will favor the one that is
                        more consistent with the Second Amendment’s command.
                          12 Even Catholics, who fell beyond the protection of the right to have

                        arms, and who were stripped of all “Arms, Weapons, Gunpowder, [and]
                        Ammunition,” were at least allowed to keep “such necessary Weapons as
                        shall be allowed . . . by Order of the Justices of the Peace . . . for the De-
                        fence of his House or Person.” 1 Wm. & Mary c. 15, §4, in 3 Eng. Stat. at
                        Large 399 (1688).




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                        had no “Intention to commit any Act of Violence or Disturb-
                        ance of the Peace.” Ibid.; see also T. Barlow, The Justice of
                        Peace 12 (1745). Respondents do not offer any evidence
                        showing that, in the early 18th century or after, the mere
                        public carrying of a handgun would terrify people. In fact,
                        the opposite seems to have been true. As time went on, “do-
                        mestic gun culture [in England] softened” any “terror” that
                        firearms might once have conveyed. Schwoerer 4. Thus,
                        whatever place handguns had in English society during the
                        Tudor and Stuart reigns, by the time we reach the 18th cen-
                        tury—and near the founding—they had gained a fairly se-
                        cure footing in English culture.
                           At the very least, we cannot conclude from this historical
                        record that, by the time of the founding, English law would
                        have justified restricting the right to publicly bear arms
                        suited for self-defense only to those who demonstrate some
                        special need for self-protection.
                                                      2
                           Respondents next point us to the history of the Colonies
                        and early Republic, but there is little evidence of an early
                        American practice of regulating public carry by the general
                        public. This should come as no surprise—English subjects
                        founded the Colonies at about the time England had itself
                        begun to eliminate restrictions on the ownership and use of
                        handguns.
                           In the colonial era, respondents point to only three re-
                        strictions on public carry. For starters, we doubt that three
                        colonial regulations could suffice to show a tradition of pub-
                        lic-carry regulation. In any event, even looking at these
                        laws on their own terms, we are not convinced that they
                        regulated public carry akin to the New York law before us.
                           Two of the statutes were substantively identical. Colo-
                        nial Massachusetts and New Hampshire both authorized
                        justices of the peace to arrest “all Affrayers, Rioters, Dis-
                        turbers, or Breakers of the Peace, and such as shall ride or




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                        go armed Offensively . . . by Night or by Day, in Fear or Af-
                        fray of Their Majesties Liege People.” 1692 Mass. Acts and
                        Laws no. 6, pp. 11–12; see 1699 N. H. Acts and Laws ch. 1.
                        Respondents and their amici contend that being “armed of-
                        fensively” meant bearing any offensive weapons, including
                        firearms. See Brief for Respondents 33. In particular, re-
                        spondents’ amici argue that “ ‘offensive’ ” arms in the 1600s
                        and 1700s were what Blackstone and others referred to as
                        “ ‘dangerous or unusual weapons,’ ” Brief for Professors of
                        History and Law as Amici Curiae 7 (quoting 4 Blackstone,
                        Commentaries, at 148–149), a category that they say in-
                        cluded firearms, see also post, at 40–42 (BREYER, J., dis-
                        senting).
                           Respondents, their amici, and the dissent all misunder-
                        stand these statutes. Far from banning the carrying of any
                        class of firearms, they merely codified the existing common-
                        law offense of bearing arms to terrorize the people, as had
                        the Statute of Northampton itself. See supra, at 34–37. For
                        instance, the Massachusetts statute proscribed “go[ing]
                        armed Offensively . . . in Fear or Affray” of the people, indi-
                        cating that these laws were modeled after the Statute of
                        Northampton to the extent that the statute would have
                        been understood to limit public carry in the late 1600s.
                        Moreover, it makes very little sense to read these statutes
                        as banning the public carry of all firearms just a few years
                        after Chief Justice Holt in Sir John Knight’s Case indicated
                        that the English common law did not do so.
                           Regardless, even if respondents’ reading of these colonial
                        statutes were correct, it would still do little to support re-
                        strictions on the public carry of handguns today. At most,
                        respondents can show that colonial legislatures sometimes
                        prohibited the carrying of “dangerous and unusual weap-
                        ons”—a fact we already acknowledged in Heller. See 554
                        U. S., at 627. Drawing from this historical tradition, we ex-
                        plained there that the Second Amendment protects only the
                        carrying of weapons that are those “in common use at the




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                        time,” as opposed to those that “are highly unusual in soci-
                        ety at large.” Ibid. (internal quotation marks omitted).
                        Whatever the likelihood that handguns were considered
                        “dangerous and unusual” during the colonial period, they
                        are indisputably in “common use” for self-defense today.
                        They are, in fact, “the quintessential self-defense weapon.”
                        Id., at 629. Thus, even if these colonial laws prohibited the
                        carrying of handguns because they were considered “dan-
                        gerous and unusual weapons” in the 1690s, they provide no
                        justification for laws restricting the public carry of weapons
                        that are unquestionably in common use today.
                           The third statute invoked by respondents was enacted in
                        East New Jersey in 1686. It prohibited the concealed carry
                        of “pocket pistol[s]” or other “unusual or unlawful weap-
                        ons,” and it further prohibited “planter[s]” from carrying all
                        pistols unless in military service or, if “strangers,” when
                        traveling through the Province. An Act Against Wearing
                        Swords, &c., ch. 9, in Grants, Concessions, and Original
                        Constitutions of the Province of New Jersey 290 (2d ed.
                        1881) (Grants and Concessions). These restrictions do not
                        meaningfully support respondents. The law restricted only
                        concealed carry, not all public carry, and its restrictions ap-
                        plied only to certain “unusual or unlawful weapons,” includ-
                        ing “pocket pistol[s].” Ibid. It also did not apply to all pis-
                        tols, let alone all firearms. “Pocket pistols” had barrel
                        lengths of perhaps 3 or 4 inches, far smaller than the 6-inch
                        to 14-inch barrels found on the other belt and hip pistols
                        that were commonly used for lawful purposes in the 1600s.
                        J. George, English Pistols and Revolvers 16 (1938); see also,
                        e.g., 14 Car. 2 c. 3, §20 (1662); H. Peterson, Arms and Armor
                        in Colonial America, 1526–1783, p. 208 (1956) (Peterson).
                        Moreover, the law prohibited only the concealed carry of
                        pocket pistols; it presumably did not by its terms touch the




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                        open carry of larger, presumably more common pistols, ex-
                        cept as to “planters.”13 In colonial times, a “planter” was
                        simply a farmer or plantation owner who settled new terri-
                        tory. R. Lederer, Colonial American English 175 (1985);
                        New Jersey State Archives, J. Klett, Using the Records of
                        the East and West Jersey Proprietors 31 (rev. ed. 2014),
                        https://www.nj.gov/state/archives/pdf/proprietors.pdf. While
                        the reason behind this singular restriction is not entirely
                        clear, planters may have been targeted because colonial-era
                        East New Jersey was riven with “strife and excitement” be-
                        tween planters and the Colony’s proprietors “respecting ti-
                        tles to the soil.” See W. Whitehead, East Jersey Under the
                        Proprietary Governments 150–151 (rev. 2d ed. 1875); see
                        also T. Gordon, The History of New Jersey 49 (1834).
                           In any event, we cannot put meaningful weight on this
                        solitary statute. First, although the “planter” restriction
                        may have prohibited the public carry of pistols, it did not
                        prohibit planters from carrying long guns for self-defense—
                        including the popular musket and carbine. See Peterson
                        41. Second, it does not appear that the statute survived for
                        very long. By 1694, East New Jersey provided that no slave
                        “be permitted to carry any gun or pistol . . . into the woods,
                        or plantations” unless their owner accompanied them.
                        Grants and Concessions 341. If slave-owning planters were
                        prohibited from carrying pistols, it is hard to comprehend
                        why slaves would have been able to carry them in the
                        planter’s presence. Moreover, there is no evidence that the
                        1686 statute survived the 1702 merger of East and West
                        New Jersey. See 1 Nevill, Acts of the General Assembly of
                        the Province of New-Jersey (1752). At most eight years of
                        ——————
                           13 Even assuming that pocket pistols were, as East Jersey in 1686

                        deemed them, “unusual or unlawful,” it appears that they were com-
                        monly used at least by the founding. See, e.g., G. Neumann, The History
                        of Weapons of the American Revolution 150–151 (1967); see also H. Hen-
                        drick, P. Paradis, & R. Hornick, Human Factors Issues in Handgun
                        Safety and Forensics 44 (2008).




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                        history in half a Colony roughly a century before the found-
                        ing sheds little light on how to properly interpret the Sec-
                        ond Amendment.
                           Respondents next direct our attention to three late-18th-
                        century and early-19th-century statutes, but each parallels
                        the colonial statutes already discussed. One 1786 Virginia
                        statute provided that “no man, great nor small, [shall] go
                        nor ride armed by night nor by day, in fairs or markets, or
                        in other places, in terror of the Country.” Collection of All
                        Such Acts of the General Assembly of Virginia ch. 21, p. 33
                        (1794).14 A Massachusetts statute from 1795 commanded
                        justices of the peace to arrest “all affrayers, rioters, disturb-
                        ers, or breakers of the peace, and such as shall ride or go
                        armed offensively, to the fear or terror of the good citizens
                        of this Commonwealth.” 1795 Mass. Acts and Laws ch. 2,
                        p. 436, in Laws of the Commonwealth of Massachusetts.
                        And an 1801 Tennessee statute likewise required any per-
                        son who would “publicly ride or go armed to the terror of the
                        people, or privately carry any dirk, large knife, pistol or any
                        other dangerous weapon, to the fear or terror of any person”
                        to post a surety; otherwise, his continued violation of the
                        law would be “punished as for a breach of the peace, or riot
                        at common law.” 1801 Tenn. Acts pp. 260–261.
                           A by-now-familiar thread runs through these three stat-
                        utes: They prohibit bearing arms in a way that spreads
                        “fear” or “terror” among the people. As we have already ex-
                        plained, Chief Justice Holt in Sir John Knight’s Case inter-
                        preted this in Terrorem Populi element to require some-
                        thing more than merely carrying a firearm in public. See
                        supra, at 34–35. Respondents give us no reason to think
                        that the founding generation held a different view. Thus,
                        all told, in the century leading up to the Second Amendment
                        ——————
                          14 The Virginia statute all but codified the existing common law in this

                        regard. See G. Webb, The Office and Authority of a Justice of Peace 92
                        (1736) (explaining how a constable “may take away Arms from such who
                        ride, or go, offensively armed, in Terror of the People”).




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                        and in the first decade after its adoption, there is no histor-
                        ical basis for concluding that the pre-existing right en-
                        shrined in the Second Amendment permitted broad prohi-
                        bitions on all forms of public carry.
                                                       3
                            Only after the ratification of the Second Amendment in
                        1791 did public-carry restrictions proliferate. Respondents
                        rely heavily on these restrictions, which generally fell into
                        three categories: common-law offenses, statutory prohibi-
                        tions, and “surety” statutes. None of these restrictions im-
                        posed a substantial burden on public carry analogous to the
                        burden created by New York’s restrictive licensing regime.
                            Common-Law Offenses. As during the colonial and
                        founding periods, the common-law offenses of “affray” or go-
                        ing armed “to the terror of the people” continued to impose
                        some limits on firearm carry in the antebellum period. But
                        as with the earlier periods, there is no evidence indicating
                        that these common-law limitations impaired the right of
                        the general population to peaceable public carry.
                            For example, the Tennessee attorney general once
                        charged a defendant with the common-law offense of affray,
                        arguing that the man committed the crime when he
                        “ ‘arm[ed] himself with dangerous and unusual weapons, in
                        such a manner as will naturally cause terror to the people.’ ”
                        Simpson v. State, 13 Tenn. 356, 358 (1833). More specifi-
                        cally, the indictment charged that Simpson “with force and
                        arms being arrayed in a warlike manner . . . unlawfully,
                        and to the great terror and disturbance of divers good citi-
                        zens, did make an affray.” Id., at 361. The Tennessee Su-
                        preme Court quashed the indictment, holding that the Stat-
                        ute of Northampton was never part of Tennessee law. Id.,
                        at 359. But even assuming that Tennesseans’ ancestors
                        brought with them the common law associated with the
                        Statute, the Simpson court found that if the Statute had




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                        made, as an “independent ground of affray,” the mere arm-
                        ing of oneself with firearms, the Tennessee Constitution’s
                        Second Amendment analogue had “completely abrogated
                        it.” Id., at 360. At least in light of that constitutional guar-
                        antee, the court did not think that it could attribute to the
                        mere carrying of arms “a necessarily consequent operation
                        as terror to the people.” Ibid.
                           Perhaps more telling was the North Carolina Supreme
                        Court’s decision in State v. Huntly, 25 N. C. 418 (1843) (per
                        curiam). Unlike the Tennessee Supreme Court in Simpson,
                        the Huntly court held that the common-law offense codified
                        by the Statute of Northampton was part of the State’s law.
                        See 25 N. C., at 421–422. However, consistent with the
                        Statute’s long-settled interpretation, the North Carolina
                        Supreme Court acknowledged “that the carrying of a gun”
                        for a lawful purpose “per se constitutes no offence.” Id., at
                        422–423. Only carrying for a “wicked purpose” with a “mis-
                        chievous result . . . constitute[d a] crime.” Id., at 423; see
                        also J. Haywood, The Duty and Office of Justices of Peace
                        10 (1800); H. Potter, The Office and Duties of a Justice of
                        the Peace 39 (1816).15 Other state courts likewise recog-
                        nized that the common law did not punish the carrying of


                        ——————
                           15 The dissent concedes that Huntly, 25 N. C. 418, recognized that citi-

                        zens were “ ‘at perfect liberty’ to carry for ‘lawful purpose[s].’ ” Post, at
                        42 (quoting Huntly, 25 N. C., at 423). But the dissent disputes that such
                        “lawful purpose[s]” included self-defense, because Huntly goes on to
                        speak more specifically of carrying arms for “business or amusement.”
                        Id., at 422–423. This is an unduly stingy interpretation of Huntly. In
                        particular, Huntly stated that “the citizen is at perfect liberty to carry
                        his gun” “[f]or any lawful purpose,” of which “business” and “amusement”
                        were then mentioned. Ibid. (emphasis added). Huntly then contrasted
                        these “lawful purpose[s]” with the “wicked purpose . . . to terrify and
                        alarm.” Ibid. Because there is no evidence that Huntly considered self-
                        defense a “wicked purpose,” we think the best reading of Huntly would
                        sanction public carry for self-defense, so long as it was not “in such [a]
                        manner as naturally will terrify and alarm.” Id., at 423.




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                        deadly weapons per se, but only the carrying of such weap-
                        ons “for the purpose of an affray, and in such manner as to
                        strike terror to the people.” O’Neil v. State, 16 Ala. 65, 67
                        (1849). Therefore, those who sought to carry firearms pub-
                        licly and peaceably in antebellum America were generally
                        free to do so.
                           Statutory Prohibitions. In the early to mid-19th century,
                        some States began enacting laws that proscribed the con-
                        cealed carry of pistols and other small weapons. As we rec-
                        ognized in Heller, “the majority of the 19th-century courts
                        to consider the question held that [these] prohibitions on
                        carrying concealed weapons were lawful under the Second
                        Amendment or state analogues.” 554 U. S., at 626. Re-
                        spondents unsurprisingly cite these statutes16—and deci-
                        sions upholding them17—as evidence that States were his-
                        torically free to ban public carry.
                           In fact, however, the history reveals a consensus that
                        States could not ban public carry altogether. Respondents’
                        ——————
                           16 Beginning in 1813 with Kentucky, six States (five of which were in

                        the South) enacted laws prohibiting the concealed carry of pistols by
                        1846. See 1813 Ky. Acts §1, p. 100; 1813 La. Acts p. 172; 1820 Ind. Acts
                        p. 39; Ark. Rev. Stat. §13, p. 280 (1838); 1838 Va. Acts ch. 101, §1, p. 76;
                        1839 Ala. Acts no. 77, §1. During this period, Georgia enacted a law that
                        appeared to prohibit both concealed and open carry, see 1837 Ga. Acts
                        §§1, 4, p. 90, but the Georgia Supreme Court later held that the prohibi-
                        tion could not extend to open carry consistent with the Second Amend-
                        ment. See infra, at 45–46. Between 1846 and 1859, only one other State,
                        Ohio, joined this group. 1859 Ohio Laws §1, p. 56. Tennessee, mean-
                        while, enacted in 1821 a broader law that prohibited carrying, among
                        other things, “belt or pocket pistols, either public or private,” except
                        while traveling. 1821 Tenn. Acts ch. 13, §1, p. 15. And the Territory of
                        Florida prohibited concealed carry during this same timeframe. See
                        1835 Terr. of Fla. Laws p. 423.
                           17 See State v. Mitchell, 3 Blackf. 229 (Ind. 1833); State v. Reid, 1 Ala.

                        612, 616 (1840); State v. Buzzard, 4 Ark. 18 (1842); Nunn v. State, 1 Ga.
                        243 (1846); State v. Chandler, 5 La. 489 (1850); State v. Smith, 11 La.
                        633 (1856); State v. Jumel, 13 La. 399 (1858). But see Bliss v. Common-
                        wealth, 12 Ky. 90 (1822). See generally 2 J. Kent, Commentaries on
                        American Law *340, n. b.




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                        cited opinions agreed that concealed-carry prohibitions
                        were constitutional only if they did not similarly prohibit
                        open carry. That was true in Alabama. See State v. Reid,
                        1 Ala. 612, 616, 619–621 (1840).18 It was also true in Loui-
                        siana. See State v. Chandler, 5 La. 489, 490 (1850).19 Ken-
                        tucky, meanwhile, went one step further—the State Su-
                        preme Court invalidated a concealed-carry prohibition. See
                        Bliss v. Commonwealth, 12 Ky. 90 (1822).20
                           The Georgia Supreme Court’s decision in Nunn v. State,
                        1 Ga. 243 (1846), is particularly instructive. Georgia’s 1837
                        statute broadly prohibited “wearing” or “carrying” pistols
                        “as arms of offence or defence,” without distinguishing be-
                        tween concealed and open carry. 1837 Ga. Acts 90, §1. To
                        the extent the 1837 Act prohibited “carrying certain weap-
                        ons secretly,” the court explained, it was “valid.” Nunn, 1

                        ——————
                           18 See Reid, 1 Ala., at 619 (holding that “the Legislature cannot inhibit

                        the citizen from bearing arms openly”); id., at 621 (noting that there was
                        no evidence “tending to show that the defendant could not have defended
                        himself as successfully, by carrying the pistol openly, as by secreting it
                        about his person”).
                           19 See, e.g., Chandler, 5 La., at 490 (Louisiana concealed-carry prohibi-

                        tion “interfered with no man’s right to carry arms (to use its words) ‘in
                        full open view,’ which places men upon an equality”); Smith, 11 La., at
                        633 (The “arms” described in the Second Amendment “are such as are
                        borne by a people in war, or at least carried openly”); Jumel, 13 La., at
                        399–400 (“The statute in question does not infringe the right of the peo-
                        ple to keep or bear arms. It is a measure of police, prohibiting only a
                        particular mode of bearing arms which is found dangerous to the peace
                        of society”).
                           20 With respect to Indiana’s concealed-carry prohibition, the Indiana

                        Supreme Court’s reasons for upholding it are unknown because the court
                        issued a one-sentence per curiam order holding the law “not unconstitu-
                        tional.” Mitchell, 3 Blackf., at 229. Similarly, the Arkansas Supreme
                        Court upheld Arkansas’ prohibition, but without reaching a majority ra-
                        tionale. See Buzzard, 4 Ark. 18. The Arkansas Supreme Court would
                        later adopt Tennessee’s approach, which tolerated the prohibition of all
                        public carry of handguns except for military-style revolvers. See, e.g.,
                        Fife v. State, 31 Ark. 455 (1876).




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                        Ga., at 251. But to the extent the Act also prohibited “bear-
                        ing arms openly,” the court went on, it was “in conflict with
                        the Constitutio[n] and void.” Ibid.; see also Heller, 554
                        U. S., at 612. The Georgia Supreme Court’s treatment of
                        the State’s general prohibition on the public carriage of
                        handguns indicates that it was considered beyond the con-
                        stitutional pale in antebellum America to altogether pro-
                        hibit public carry.
                          Finally, we agree that Tennessee’s prohibition on carry-
                        ing “publicly or privately” any “belt or pocket pisto[l],” 1821
                        Tenn. Acts ch. 13, p. 15, was, on its face, uniquely severe,
                        see Heller, 554 U. S., at 629. That said, when the Tennessee
                        Supreme Court addressed the constitutionality of a sub-
                        stantively identical successor provision, see 1870 Tenn.
                        Acts ch. 13, §1, p. 28, the court read this language to permit
                        the public carry of larger, military-style pistols because any
                        categorical prohibition on their carry would “violat[e] the
                        constitutional right to keep arms.” Andrews v. State, 50
                        Tenn. 165, 187 (1871); see also Heller, 554 U. S., at 629 (dis-
                        cussing Andrews).21
                          All told, these antebellum state-court decisions evince a
                        consensus view that States could not altogether prohibit the
                        public carry of “arms” protected by the Second Amendment
                        or state analogues.22
                        ——————
                           21 Shortly after Andrews, 50 Tenn. 165, Tennessee codified an excep-

                        tion to the State’s handgun ban for “an[y] army pistol, or such as are
                        commonly carried and used in the United States Army” so long as they
                        were carried “openly in [one’s] hands.” 1871 Tenn. Pub. Acts ch. 90, §1;
                        see also State v. Wilburn, 66 Tenn. 57, 61–63 (1872); Porter v. State, 66
                        Tenn. 106, 107–108 (1874).
                           22 The Territory of New Mexico made it a crime in 1860 to carry “any

                        class of pistols whatever” “concealed or otherwise.” 1860 Terr. of N. M.
                        Laws §§1–2, p. 94. This extreme restriction is an outlier statute enacted
                        by a territorial government nearly 70 years after the ratification of the
                        Bill of Rights, and its constitutionality was never tested in court. Its
                        value in discerning the original meaning of the Second Amendment is
                        insubstantial. Moreover, like many other stringent carry restrictions




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                           Surety Statutes. In the mid-19th century, many jurisdic-
                        tions began adopting surety statutes that required certain
                        individuals to post bond before carrying weapons in public.
                        Although respondents seize on these laws to justify the
                        proper-cause restriction, their reliance on them is mis-
                        placed. These laws were not bans on public carry, and they
                        typically targeted only those threatening to do harm.
                           As discussed earlier, Massachusetts had prohibited rid-
                        ing or going “armed offensively, to the fear or terror of the
                        good citizens of this Commonwealth” since 1795. 1795
                        Mass. Acts and Laws ch. 2, at 436, in Laws of the Common-
                        wealth of Massachusetts. In 1836, Massachusetts enacted
                        a new law providing:
                             “If any person shall go armed with a dirk, dagger,
                             sword, pistol, or other offensive and dangerous weapon,
                             without reasonable cause to fear an assault or other in-
                             jury, or violence to his person, or to his family or prop-
                             erty, he may, on complaint of any person having rea-
                             sonable cause to fear an injury, or breach of the peace,
                             be required to find sureties for keeping the peace, for a
                             term not exceeding six months, with the right of ap-
                             pealing as before provided.” Mass. Rev. Stat., ch. 134,
                             §16.
                        In short, the Commonwealth required any person who was
                        reasonably likely to “breach the peace,” and who, standing
                        accused, could not prove a special need for self-defense, to
                        post a bond before publicly carrying a firearm. Between
                        1838 and 1871, nine other jurisdictions adopted variants of


                        ——————
                        that were localized in the Western Territories, New Mexico’s prohibition
                        ended when the Territory entered the Union as a State in 1911 and guar-
                        anteed in its State Constitution that “[t]he people have the right to bear
                        arms for their security and defense, but nothing herein shall be held to
                        permit the carrying of concealed weapons.” N. M. Const., Art. II, §6
                        (1911); see infra, at 61.




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                        the Massachusetts law.23
                          Contrary to respondents’ position, these “reasonable-
                        cause laws” in no way represented the “direct precursor” to
                        the proper-cause requirement. Brief for Respondents 27.
                        While New York presumes that individuals have no public
                        carry right without a showing of heightened need, the
                        surety statutes presumed that individuals had a right to
                        public carry that could be burdened only if another could
                        make out a specific showing of “reasonable cause to fear an
                        injury, or breach of the peace.” Mass. Rev. Stat., ch. 134,
                        §16 (1836).24 As William Rawle explained in an influential
                        treatise, an individual’s carrying of arms was “sufficient
                        cause to require him to give surety of the peace” only when
                        “attended with circumstances giving just reason to fear that
                        he purposes to make an unlawful use of them.” A View of
                        the Constitution of the United States of America 126 (2d ed.
                        1829). Then, even on such a showing, the surety laws did
                        not prohibit public carry in locations frequented by the gen-
                        eral community. Rather, an accused arms-bearer “could go
                        on carrying without criminal penalty” so long as he
                        “post[ed] money that would be forfeited if he breached the
                        peace or injured others—a requirement from which he was
                        exempt if he needed self-defense.” Wrenn, 864 F. 3d, at 661.
                          Thus, unlike New York’s regime, a showing of special
                        need was required only after an individual was reasonably
                        accused of intending to injure another or breach the peace.
                        And, even then, proving special need simply avoided a fee
                        rather than a ban. All told, therefore, “[u]nder surety laws
                        ——————
                           23 See 1838 Terr. of Wis. Stat. §16, p. 381; Me. Rev. Stat., ch. 169, §16

                        (1840); Mich. Rev. Stat., ch. 162, §16 (1846); 1847 Va. Acts ch. 14, §16;
                        Terr. of Minn. Rev. Stat., ch. 112, §18 (1851); 1854 Ore. Stat. ch. 16, §17,
                        p. 220; D. C. Rev. Code ch. 141, §16 (1857); 1860 Pa. Laws p. 432, §6;
                        W. Va. Code, ch. 153, §8 (1868).
                           24 It is true that two of the antebellum surety laws were unusually

                        broad in that they did not expressly require a citizen complaint to trigger
                        the posting of a surety. See 1847 Va. Acts ch. 14, §16; W. Va. Code, ch.
                        153, §8 (1868).




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                        . . . everyone started out with robust carrying rights” and
                        only those reasonably accused were required to show a spe-
                        cial need in order to avoid posting a bond. Ibid. These an-
                        tebellum special-need requirements “did not expand carry-
                        ing for the responsible; it shrank burdens on carrying by
                        the (allegedly) reckless.” Ibid.
                            One Court of Appeals has nonetheless remarked that
                        these surety laws were “a severe constraint on anyone
                        thinking of carrying a weapon in public.” Young, 992 F. 3d,
                        at 820. That contention has little support in the historical
                        record. Respondents cite no evidence showing the average
                        size of surety postings. And given that surety laws were
                        “intended merely for prevention” and were “not meant as
                        any degree of punishment,” 4 Blackstone, Commentaries,
                        at 249, the burden these surety statutes may have had on
                        the right to public carry was likely too insignificant to shed
                        light on New York’s proper-cause standard—a violation of
                        which can carry a 4-year prison term or a $5,000 fine. In
                        Heller, we noted that founding-era laws punishing unlawful
                        discharge “with a small fine and forfeiture of the weapon
                        . . . , not with significant criminal penalties,” likely did not
                        “preven[t] a person in the founding era from using a gun to
                        protect himself or his family from violence, or that if he did
                        so the law would be enforced against him.” 554 U. S., at
                        633–634. Similarly, we have little reason to think that the
                        hypothetical possibility of posting a bond would have pre-
                        vented anyone from carrying a firearm for self-defense in
                        the 19th century.
                            Besides, respondents offer little evidence that authorities
                        ever enforced surety laws. The only recorded case that we
                        know of involved a justice of the peace declining to require
                        a surety, even when the complainant alleged that the arms-
                        bearer “ ‘did threaten to beat, wou[n]d, mai[m], and kill’ ”
                        him. Brief for Professor Robert Leider et al. as Amici Cu-
                        riae 31 (quoting Grover v. Bullock, No. 185 (Worcester Cty.,




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                        Aug. 13, 1853)); see E. Ruben & S. Cornell, Firearm Region-
                        alism and Public Carry: Placing Southern Antebellum Case
                        Law in Context, 125 Yale L. J. Forum 121, 130, n. 53 (2015).
                        And one scholar who canvassed 19th-century newspapers—
                        which routinely reported on local judicial matters—found
                        only a handful of other examples in Massachusetts and the
                        District of Columbia, all involving black defendants who
                        may have been targeted for selective or pretextual enforce-
                        ment. See R. Leider, Constitutional Liquidation, Surety
                        Laws, and the Right To Bear Arms 15–17, in New Histories
                        of Gun Rights and Regulation (J. Blocher, J. Charles, & D.
                        Miller eds.) (forthcoming); see also Brief for Professor Rob-
                        ert Leider et al. as Amici Curiae 31–32. That is surely too
                        slender a reed on which to hang a historical tradition of re-
                        stricting the right to public carry.25
                           Respondents also argue that surety statutes were severe
                        restrictions on firearms because the “reasonable cause to
                        fear” standard was essentially pro forma, given that
                        “merely carrying firearms in populous areas breached the
                        peace” per se. Brief for Respondents 27. But that is a coun-
                        terintuitive reading of the language that the surety statutes
                        actually used. If the mere carrying of handguns breached
                        the peace, it would be odd to draft a surety statute requiring
                        a complainant to demonstrate “reasonable cause to fear an
                        injury, or breach of the peace,” Mass. Rev. Stat., ch. 134,
                        §16, rather than a reasonable likelihood that the arms-
                        bearer carried a covered weapon. After all, if it was the na-
                        ture of the weapon rather than the manner of carry that

                        ——————
                          25 The dissent speculates that the absence of recorded cases involving

                        surety laws may simply “show that these laws were normally followed.”
                        Post, at 45. Perhaps. But again, the burden rests with the government
                        to establish the relevant tradition of regulation, see supra, at 15, and,
                        given all of the other features of surety laws that make them poor ana-
                        logues to New York’s proper-cause standard, we consider the barren rec-
                        ord of enforcement to be simply one additional reason to discount their
                        relevance.




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                        was dispositive, then the “reasonable fear” requirement
                        would be redundant.
                           Moreover, the overlapping scope of surety statutes and
                        criminal statutes suggests that the former were not viewed
                        as substantial restrictions on public carry. For example,
                        when Massachusetts enacted its surety statute in 1836, it
                        reaffirmed its 1794 criminal prohibition on “go[ing] armed
                        offensively, to the terror of the people.” Mass. Rev. Stat., ch.
                        85, §24. And Massachusetts continued to criminalize the
                        carrying of various “dangerous weapons” well after passing
                        the 1836 surety statute. See, e.g., 1850 Mass. Acts ch. 194,
                        §1, p. 401; Mass. Gen. Stat., ch. 164, §10 (1860). Similarly,
                        Virginia had criminalized the concealed carry of pistols
                        since 1838, see 1838 Va. Acts ch. 101, §1, nearly a decade
                        before it enacted its surety statute, see 1847 Va. Acts ch.
                        14, §16. It is unlikely that these surety statutes constituted
                        a “severe” restraint on public carry, let alone a restriction
                        tantamount to a ban, when they were supplemented by di-
                        rect criminal prohibitions on specific weapons and methods
                        of carry.
                           To summarize: The historical evidence from antebellum
                        America does demonstrate that the manner of public carry
                        was subject to reasonable regulation. Under the common
                        law, individuals could not carry deadly weapons in a man-
                        ner likely to terrorize others. Similarly, although surety
                        statutes did not directly restrict public carry, they did pro-
                        vide financial incentives for responsible arms carrying. Fi-
                        nally, States could lawfully eliminate one kind of public
                        carry—concealed carry—so long as they left open the option
                        to carry openly.
                           None of these historical limitations on the right to bear
                        arms approach New York’s proper-cause requirement be-
                        cause none operated to prevent law-abiding citizens with
                        ordinary self-defense needs from carrying arms in public for
                        that purpose.




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                           Evidence from around the adoption of the Fourteenth
                        Amendment also fails to support respondents’ position. For
                        the most part, respondents and the United States ignore
                        the “outpouring of discussion of the [right to keep and bear
                        arms] in Congress and in public discourse, as people de-
                        bated whether and how to secure constitutional rights for
                        newly free slaves” after the Civil War. Heller, 554 U. S., at
                        614. Of course, we are not obliged to sift the historical ma-
                        terials for evidence to sustain New York’s statute. That is
                        respondents’ burden. Nevertheless, we think a short review
                        of the public discourse surrounding Reconstruction is useful
                        in demonstrating how public carry for self-defense re-
                        mained a central component of the protection that the Four-
                        teenth Amendment secured for all citizens.
                           A short prologue is in order. Even before the Civil War
                        commenced in 1861, this Court indirectly affirmed the im-
                        portance of the right to keep and bear arms in public. Writ-
                        ing for the Court in Dred Scott v. Sandford, 19 How. 393
                        (1857), Chief Justice Taney offered what he thought was a
                        parade of horribles that would result from recognizing that
                        free blacks were citizens of the United States. If blacks
                        were citizens, Taney fretted, they would be entitled to the
                        privileges and immunities of citizens, including the right
                        “to keep and carry arms wherever they went.” Id., at 417
                        (emphasis added). Thus, even Chief Justice Taney recog-
                        nized (albeit unenthusiastically in the case of blacks) that
                        public carry was a component of the right to keep and bear
                        arms—a right free blacks were often denied in antebellum
                        America.
                           After the Civil War, of course, the exercise of this funda-
                        mental right by freed slaves was systematically thwarted.
                        This Court has already recounted some of the Southern
                        abuses violating blacks’ right to keep and bear arms. See
                        McDonald, 561 U. S., at 771 (noting the “systematic efforts”




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                        made to disarm blacks); id., at 845–847 (THOMAS, J., con-
                        curring in part and concurring in judgment); see also S.
                        Exec. Doc. No. 43, 39th Cong., 1st Sess., 8 (1866) (“Pistols,
                        old muskets, and shotguns were taken away from [freed
                        slaves] as such weapons would be wrested from the hands
                        of lunatics”).
                           In the years before the 39th Congress proposed the Four-
                        teenth Amendment, the Freedmen’s Bureau regularly kept
                        it abreast of the dangers to blacks and Union men in the
                        postbellum South. The reports described how blacks used
                        publicly carried weapons to defend themselves and their
                        communities. For example, the Bureau reported that a
                        teacher from a Freedmen’s school in Maryland had written
                        to say that, because of attacks on the school, “[b]oth the
                        mayor and sheriff have warned the colored people to go
                        armed to school, (which they do,)” and that the “[t]he super-
                        intendent of schools came down and brought [the teacher]
                        a revolver” for his protection. Cong. Globe, 39th Cong., 1st
                        Sess., 658 (1866); see also H. R. Exec. Doc. No. 68, 39th
                        Cong., 2d Sess., 91 (1867) (noting how, during the New Or-
                        leans riots, blacks under attack “defended themselves . . .
                        with such pistols as they had”).
                           Witnesses before the Joint Committee on Reconstruction
                        also described the depredations visited on Southern blacks,
                        and the efforts they made to defend themselves. One Vir-
                        ginia music professor related that when “[t]wo Union men
                        were attacked . . . they drew their revolvers and held their
                        assailants at bay.” H. R. Rep. No. 30, 39th Cong., 1st Sess.,
                        pt. 2, p. 110 (1866). An assistant commissioner to the Bu-
                        reau from Alabama similarly reported that men were “rob-
                        bing and disarming negroes upon the highway,” H. R. Exec.
                        Doc. No. 70, 39th Cong., 1st Sess., 297 (1866), indicating
                        that blacks indeed carried arms publicly for their self-
                        protection, even if not always with success. See also H. R.
                        Exec. Doc. No. 329, 40th Cong., 2d Sess., 41 (1868) (describ-
                        ing a Ku Klux Klan outfit that rode “through the country




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                        . . . robbing every one they come across of money, pistols,
                        papers, &c.”); id., at 36 (noting how a black man in Tennes-
                        see had been murdered on his way to get book subscrip-
                        tions, with the murderer taking, among other things, the
                        man’s pistol).
                            Blacks had “procured great numbers of old army muskets
                        and revolvers, particularly in Texas,” and “employed them
                        to protect themselves” with “vigor and audacity.” S. Exec.
                        Doc. No. 43, 39th Cong., 1st Sess., at 8. Seeing that govern-
                        ment was inadequately protecting them, “there [was] the
                        strongest desire on the part of the freedmen to secure arms,
                        revolvers particularly.” H. R. Rep. No. 30, 39th Cong., 1st
                        Sess., pt. 3, at 102.
                            On July 6, 1868, Congress extended the 1866 Freedmen’s
                        Bureau Act, see 15 Stat. 83, and reaffirmed that freedmen
                        were entitled to the “full and equal benefit of all laws and
                        proceedings concerning personal liberty [and] personal se-
                        curity . . . including the constitutional right to keep and bear
                        arms.” §14, 14 Stat. 176 (1866) (emphasis added). That
                        same day, a Bureau official reported that freedmen in Ken-
                        tucky and Tennessee were still constantly under threat:
                        “No Union man or negro who attempts to take any active
                        part in politics, or the improvement of his race, is safe a
                        single day; and nearly all sleep upon their arms at night,
                        and carry concealed weapons during the day.” H. R. Exec.
                        Doc. No. 329, 40th Cong., 2d Sess., at 40.
                            Of course, even during Reconstruction the right to keep
                        and bear arms had limits. But those limits were consistent
                        with a right of the public to peaceably carry handguns for
                        self-defense. For instance, when General D. E. Sickles is-
                        sued a decree in 1866 pre-empting South Carolina’s Black
                        Codes—which prohibited firearm possession by blacks—he
                        stated: “The constitutional rights of all loyal and well-
                        disposed inhabitants to bear arms will not be infringed;
                        nevertheless this shall not be construed to sanction the un-
                        lawful practice of carrying concealed weapons. . . . And no




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                        disorderly person, vagrant, or disturber of the peace, shall
                        be allowed to bear arms.” Cong. Globe, 39th Cong., 1st
                        Sess., at 908–909; see also McDonald, 561 U. S., at 847–848
                        (opinion of THOMAS, J.).26 Around the same time, the edi-
                        tors of The Loyal Georgian, a prominent black-owned news-
                        paper, were asked by “A Colored Citizen” whether “colored
                        persons [have] a right to own and carry fire arms.” The ed-
                        itors responded that blacks had “the same right to own and
                        carry fire arms that other citizens have.” The Loyal Geor-
                        gian, Feb. 3, 1866, p. 3, col. 4. And, borrowing language
                        from a Freedmen’s Bureau circular, the editors maintained
                        that “[a]ny person, white or black, may be disarmed if con-
                        victed of making an improper or dangerous use of weapons,”
                        even though “no military or civil officer has the right or au-
                        thority to disarm any class of people, thereby placing them
                        at the mercy of others.” Ibid. (quoting Circular No. 5,
                        Freedmen’s Bureau, Dec. 22, 1865); see also McDonald, 561
                        U. S., at 848–849 (opinion of THOMAS, J.).27
                        ——————
                           26 Respondents invoke General Orders No. 10, which covered the Sec-

                        ond Military District (North and South Carolina), and provided that
                        “[t]he practice of carrying deadly weapons, except by officers and soldiers
                        in the military service of the United States, is prohibited.” Headquarters
                        Second Military Dist., Gen. Orders No. 10 (Charleston, S. C., Apr. 11,
                        1867), in S. Exec. Doc. No. 14, 40th Cong., 1st Sess., 64 (1867). We put
                        little weight on this categorical restriction given that the order also spec-
                        ified that a violation of this prohibition would “render the offender ame-
                        nable to trial and punishment by military commission,” ibid., rather than
                        a jury otherwise guaranteed by the Constitution. There is thus little in-
                        dication that these military dictates were designed to align with the Con-
                        stitution’s usual application during times of peace.
                           27 That said, Southern prohibitions on concealed carry were not always

                        applied equally, even when under federal scrutiny. One lieutenant
                        posted in Saint Augustine, Florida, remarked how local enforcement of
                        concealed-carry laws discriminated against blacks: “To sentence a negro
                        to several dollars’ fine for carrying a revolver concealed upon his person,
                        is in accordance with an ordinance of the town; but still the question nat-
                        urally arises in my mind, ‘Why is this poor fellow fined for an offence
                        which is committed hourly by every other white man I meet in the
                        streets?’ ” H. R. Exec. Doc. No. 57, 40th Cong., 2d Sess., 83 (1867); see




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                           As for Reconstruction-era state regulations, there was lit-
                        tle innovation over the kinds of public-carry restrictions
                        that had been commonplace in the early 19th century. For
                        instance, South Carolina in 1870 authorized the arrest of
                        “all who go armed offensively, to the terror of the people,”
                        1870 S. C. Acts p. 403, no. 288, §4, parroting earlier stat-
                        utes that codified the common-law offense. That same year,
                        after it cleaved from Virginia, West Virginia enacted a
                        surety statute nearly identical to the one it inherited from
                        Virginia. See W. Va. Code, ch. 153, §8. Also in 1870, Ten-
                        nessee essentially reenacted its 1821 prohibition on the
                        public carry of handguns but, as explained above, Tennes-
                        see courts interpreted that statute to exempt large pistols
                        suitable for military use. See supra, at 46.
                           Respondents and the United States, however, direct our
                        attention primarily to two late-19th-century cases in Texas.
                        In 1871, Texas law forbade anyone from “carrying on or
                        about his person . . . any pistol . . . unless he has reasonable
                        grounds for fearing an unlawful attack on his person.” 1871
                        Tex. Gen. Laws §1. The Texas Supreme Court upheld that
                        restriction in English v. State, 35 Tex. 473 (1871). The
                        Court reasoned that the Second Amendment, and the
                        State’s constitutional analogue, protected only those arms
                        “as are useful and proper to an armed militia,” including
                        holster pistols, but not other kinds of handguns. Id., at
                        474–475. Beyond that constitutional holding, the English
                        court further opined that the law was not “contrary to pub-
                        lic policy,” id., at 479, given that it “ma[de] all necessary
                        exceptions” allowing deadly weapons to “be carried as
                        means of self-defense,” and therefore “fully cover[ed] all
                        wants of society,” id., at 477.
                           Four years later, in State v. Duke, 42 Tex. 455 (1875), the
                        Texas Supreme Court modified its analysis. The court re-
                        interpreted Texas’ State Constitution to protect not only
                        ——————
                        also H. R. Rep. No. 16, 39th Cong., 2d Sess., 427 (1867).




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                        military-style weapons but rather all arms “as are com-
                        monly kept, according to the customs of the people, and are
                        appropriate for open and manly use in self-defense.” Id., at
                        458. On that understanding, the court recognized that, in
                        addition to “holster pistol[s],” the right to bear arms covered
                        the carry of “such pistols at least as are not adapted to being
                        carried concealed.” Id., at 458–459. Nonetheless, after
                        expanding the scope of firearms that warranted state con-
                        stitutional protection, Duke held that requiring any pistol-
                        bearer to have “ ‘reasonable grounds fearing an unlawful at-
                        tack on [one’s] person’ ” was a “legitimate and highly
                        proper” regulation of handgun carriage. Id., at 456, 459–
                        460. Duke thus concluded that the 1871 statute “appear[ed]
                        to have respected the right to carry a pistol openly when
                        needed for self-defense.” Id., at 459.
                           We acknowledge that the Texas cases support New York’s
                        proper-cause requirement, which one can analogize to
                        Texas’ “reasonable grounds” standard. But the Texas stat-
                        ute, and the rationales set forth in English and Duke, are
                        outliers. In fact, only one other State, West Virginia,
                        adopted a similar public-carry statute before 1900. See W.
                        Va. Code, ch. 148, §7 (1887). The West Virginia Supreme
                        Court upheld that prohibition, reasoning that no handguns
                        of any kind were protected by the Second Amendment, a
                        rationale endorsed by no other court during this period. See
                        State v. Workman, 35 W. Va. 367, 371–374, 14 S. E. 9, 11
                        (1891). The Texas decisions therefore provide little insight
                        into how postbellum courts viewed the right to carry pro-
                        tected arms in public.
                           In the end, while we recognize the support that postbel-
                        lum Texas provides for respondents’ view, we will not give
                        disproportionate weight to a single state statute and a pair
                        of state-court decisions. As in Heller, we will not “stake our
                        interpretation of the Second Amendment upon a single law,
                        in effect in a single [State], that contradicts the overwhelm-
                        ing weight of other evidence regarding the right to keep and




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                        bear arms for defense” in public. 554 U. S., at 632.
                                                       5
                           Finally, respondents point to the slight uptick in gun reg-
                        ulation during the late-19th century—principally in the
                        Western Territories. As we suggested in Heller, however,
                        late-19th-century evidence cannot provide much insight
                        into the meaning of the Second Amendment when it contra-
                        dicts earlier evidence. See id., at 614; supra, at 28.28 Here,
                        moreover, respondents’ reliance on late-19th-century laws
                        has several serious flaws even beyond their temporal dis-
                        tance from the founding.
                           The vast majority of the statutes that respondents invoke
                        come from the Western Territories. Two Territories prohib-
                        ited the carry of pistols in towns, cities, and villages, but
                        seemingly permitted the carry of rifles and other long guns
                        everywhere. See 1889 Ariz. Terr. Sess. Laws no. 13, §1,
                        p. 16; 1869 N. M. Laws ch. 32, §§1–2, p. 72.29 Two others
                        prohibited the carry of all firearms in towns, cities, and vil-
                        lages, including long guns. See 1875 Wyo. Terr. Sess. Laws
                        ch. 52, §1; 1889 Idaho Terr. Gen. Laws §1, p. 23. And one
                        Territory completely prohibited public carry of pistols eve-
                        rywhere, but allowed the carry of “shot-guns or rifles” for
                        certain purposes. See 1890 Okla. Terr. Stats., Art. 47, §§1–
                        2, 5, p. 495.
                           These territorial restrictions fail to justify New York’s
                        ——————
                          28 We will not address any of the 20th-century historical evidence

                        brought to bear by respondents or their amici. As with their late-19th-
                        century evidence, the 20th-century evidence presented by respondents
                        and their amici does not provide insight into the meaning of the Second
                        Amendment when it contradicts earlier evidence.
                          29 The New Mexico restriction allowed an exception for individuals car-

                        rying for “the lawful defence of themselves, their families or their prop-
                        erty, and the same being then and there threatened with danger.” 1869
                        Terr. of N. M. Laws ch. 32, §1, p. 72. The Arizona law similarly exempted
                        those who have “reasonable ground for fearing an unlawful attack upon
                        his person.” 1889 Ariz. Terr. Sess. Laws no. 13, §2, p. 17.




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                        proper-cause requirement for several reasons. First, the
                        bare existence of these localized restrictions cannot over-
                        come the overwhelming evidence of an otherwise enduring
                        American tradition permitting public carry. For starters,
                        “[t]he very transitional and temporary character of the
                        American [territorial] system” often “permitted legislative
                        improvisations which might not have been tolerated in a
                        permanent setup.” E. Pomeroy, The Territories and the
                        United States 1861–1890, p. 4 (1947). These territorial
                        “legislative improvisations,” which conflict with the Na-
                        tion’s earlier approach to firearm regulation, are most un-
                        likely to reflect “the origins and continuing significance of
                        the Second Amendment” and we do not consider them “in-
                        structive.” Heller, 554 U. S., at 614.
                           The exceptional nature of these western restrictions is all
                        the more apparent when one considers the miniscule terri-
                        torial populations who would have lived under them. To
                        put that point into perspective, one need not look further
                        than the 1890 census. Roughly 62 million people lived in
                        the United States at that time. Arizona, Idaho, New Mex-
                        ico, Oklahoma, and Wyoming combined to account for only
                        420,000 of those inhabitants—about two-thirds of 1% of the
                        population. See Dept. of Interior, Compendium of the Elev-
                        enth Census: 1890, Part I.–Population 2 (1892). Put
                        simply, these western restrictions were irrelevant to more
                        than 99% of the American population. We have already ex-
                        plained that we will not stake our interpretation of the Sec-
                        ond Amendment upon a law in effect in a single State, or a
                        single city, “that contradicts the overwhelming weight of
                        other evidence regarding the right to keep and bear arms”
                        in public for self-defense. Heller, 554 U. S., at 632; see su-
                        pra, at 57–58. Similarly, we will not stake our interpreta-
                        tion on a handful of temporary territorial laws that were
                        enacted nearly a century after the Second Amendment’s
                        adoption, governed less than 1% of the American popula-
                        tion, and also “contradic[t] the overwhelming weight” of




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                        other, more contemporaneous historical evidence. Heller,
                        554 U. S., at 632.
                          Second, because these territorial laws were rarely subject
                        to judicial scrutiny, we do not know the basis of their per-
                        ceived legality. When States generally prohibited both
                        open and concealed carry of handguns in the late-19th cen-
                        tury, state courts usually upheld the restrictions when they
                        exempted army revolvers, or read the laws to exempt at
                        least that category of weapons. See, e.g., Haile v. State, 38
                        Ark. 564, 567 (1882); Wilson v. State, 33 Ark. 557, 560
                        (1878); Fife v. State, 31 Ark. 455, 461 (1876); State v. Wil-
                        burn, 66 Tenn. 57, 60 (1872); Andrews, 50 Tenn., at 187.30
                        Those state courts that upheld broader prohibitions with-
                        out qualification generally operated under a fundamental
                        misunderstanding of the right to bear arms, as expressed
                        in Heller. For example, the Kansas Supreme Court upheld
                        a complete ban on public carry enacted by the city of Salina
                        in 1901 based on the rationale that the Second Amendment
                        protects only “the right to bear arms as a member of the
                        state militia, or some other military organization provided
                        for by law.” Salina v. Blaksley, 72 Kan. 230, 232, 83 P. 619,
                        620 (1905). That was clearly erroneous. See Heller, 554
                        U. S., at 592.
                          Absent any evidence explaining why these unprece-
                        dented prohibitions on all public carry were understood to
                        comport with the Second Amendment, we fail to see how
                        they inform “the origins and continuing significance of the
                        Amendment.” Id., at 614; see also The Federalist No. 37,

                        ——————
                           30 Many other state courts during this period continued the antebellum

                        tradition of upholding concealed carry regimes that seemingly provided
                        for open carry. See, e.g., State v. Speller, 86 N. C. 697 (1882); Chatteaux
                        v. State, 52 Ala. 388 (1875); Eslava v. State, 49 Ala. 355 (1873); State v.
                        Shelby, 90 Mo. 302, 2 S. W. 468 (1886); Carroll v. State, 28 Ark. 99 (1872);
                        cf. Robertson v. Baldwin, 165 U. S. 275, 281–282 (1897) (remarking in
                        dicta that “the right of the people to keep and bear arms . . . is not in-
                        fringed by laws prohibiting the carrying of concealed weapons”).




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                        at 229 (explaining that the meaning of ambiguous constitu-
                        tional provisions can be “liquidated and ascertained by a se-
                        ries of particular discussions and adjudications” (emphasis
                        added)).
                           Finally, these territorial restrictions deserve little weight
                        because they were—consistent with the transitory nature
                        of territorial government—short lived. Some were held un-
                        constitutional shortly after passage. See In re Brickey, 8
                        Idaho 597, 70 P. 609 (1902). Others did not survive a Ter-
                        ritory’s admission to the Union as a State. See Wyo. Rev.
                        Stat., ch. 3, §5051 (1899) (1890 law enacted upon statehood
                        prohibiting public carry only when combined with “intent,
                        or avowed purpose, of injuring [one’s] fellow-man”). Thus,
                        they appear more as passing regulatory efforts by not-yet-
                        mature jurisdictions on the way to statehood, rather than
                        part of an enduring American tradition of state regulation.
                           Beyond these Territories, respondents identify one West-
                        ern State—Kansas—that instructed cities with more than
                        15,000 inhabitants to pass ordinances prohibiting the pub-
                        lic carry of firearms. See 1881 Kan. Sess. Laws §§1, 23,
                        pp. 79, 92.31 By 1890, the only cities meeting the population
                        threshold were Kansas City, Topeka, and Wichita. See
                        Compendium of the Eleventh Census: 1890, at 442–452.
                        Even if each of these three cities enacted prohibitions by
                        1890, their combined population (93,000) accounted for only
                        6.5% of Kansas’ total population. Ibid. Although other
                        Kansas cities may also have restricted public carry unilat-
                        erally,32 the lone late-19th-century state law respondents
                        ——————
                          31 In 1875, Arkansas prohibited the public carry of all pistols. See 1875

                        Ark. Acts p. 156, §1. But this categorical prohibition was also short lived.
                        About six years later, Arkansas exempted “pistols as are used in the
                        army or navy of the United States,” so long as they were carried “uncov-
                        ered, and in [the] hand.” 1881 Ark. Acts p. 191, no. 96, §§1, 2.
                          32 In 1879, Salina, Kansas, prohibited the carry of pistols but broadly

                        exempted “cases when any person carrying [a pistol] is engaged in the
                        pursuit of any lawful business, calling or employment” and the circum-
                        stances were “such as to justify a prudent man in carrying such weapon,




                                                                                                       (150)
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                        identify does not prove that Kansas meaningfully restricted
                        public carry, let alone demonstrate a broad tradition of
                        States doing so.
                                                   *    *     *
                           At the end of this long journey through the Anglo-American
                        history of public carry, we conclude that respondents have
                        not met their burden to identify an American tradition jus-
                        tifying the State’s proper-cause requirement. The Second
                        Amendment guaranteed to “all Americans” the right to bear
                        commonly used arms in public subject to certain reasona-
                        ble, well-defined restrictions. Heller, 554 U. S., at 581.
                        Those restrictions, for example, limited the intent for which
                        one could carry arms, the manner by which one carried
                        arms, or the exceptional circumstances under which one
                        could not carry arms, such as before justices of the peace
                        and other government officials. Apart from a few late-19th-
                        century outlier jurisdictions, American governments simply
                        have not broadly prohibited the public carry of commonly
                        used firearms for personal defense. Nor, subject to a few
                        late-in-time outliers, have American governments required
                        law-abiding, responsible citizens to “demonstrate a special
                        need for self-protection distinguishable from that of the
                        general community” in order to carry arms in public.
                        Klenosky, 75 App. Div., at 793, 428 N. Y. S. 2d, at 257.
                                                      IV
                          The constitutional right to bear arms in public for self-
                        defense is not “a second-class right, subject to an entirely
                        different body of rules than the other Bill of Rights guaran-
                        tees.” McDonald, 561 U. S., at 780 (plurality opinion). We
                        know of no other constitutional right that an individual
                        may exercise only after demonstrating to government offic-

                        ——————
                        for the defense of his person, property or family.” Salina, Kan., Rev. Or-
                        dinance No. 268, §2.




                                                                                                     (151)
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                        ers some special need. That is not how the First Amend-
                        ment works when it comes to unpopular speech or the free
                        exercise of religion. It is not how the Sixth Amendment
                        works when it comes to a defendant’s right to confront the
                        witnesses against him. And it is not how the Second
                        Amendment works when it comes to public carry for self-
                        defense.
                           New York’s proper-cause requirement violates the Four-
                        teenth Amendment in that it prevents law-abiding citizens
                        with ordinary self-defense needs from exercising their right
                        to keep and bear arms. We therefore reverse the judgment
                        of the Court of Appeals and remand the case for further pro-
                        ceedings consistent with this opinion.

                                                                          It is so ordered.




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                                              ALITO, J., concurring

                        SUPREME COURT OF THE UNITED STATES
                                                  _________________

                                                   No. 20–843
                                                  _________________

                         NEW YORK STATE RIFLE & PISTOL ASSOCIATION,
                          INC., ET AL., PETITIONERS v. KEVIN P. BRUEN, IN
                            HIS OFFICIAL CAPACITY AS SUPERINTENDENT
                                 OF NEW YORK STATE POLICE, ET AL.
                         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                                   APPEALS FOR THE SECOND CIRCUIT
                                                 [June 23, 2022]

                          JUSTICE ALITO, concurring.
                          I join the opinion of the Court in full but add the following
                        comments in response to the dissent.
                                                       I
                           Much of the dissent seems designed to obscure the spe-
                        cific question that the Court has decided, and therefore it
                        may be helpful to provide a succinct summary of what we
                        have actually held. In District of Columbia v. Heller, 554
                        U. S. 570 (2008), the Court concluded that the Second
                        Amendment protects the right to keep a handgun in the
                        home for self-defense. Heller found that the Amendment
                        codified a preexisting right and that this right was regarded
                        at the time of the Amendment’s adoption as rooted in “ ‘the
                        natural right of resistance and self-preservation.’ ” Id., at
                        594. “[T]he inherent right of self-defense,” Heller ex-
                        plained, is “central to the Second Amendment right.” Id.,
                        at 628.
                           Although Heller concerned the possession of a handgun
                        in the home, the key point that we decided was that “the
                        people,” not just members of the “militia,” have the right to
                        use a firearm to defend themselves. And because many peo-
                        ple face a serious risk of lethal violence when they venture




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                        outside their homes, the Second Amendment was under-
                        stood at the time of adoption to apply under those circum-
                        stances. The Court’s exhaustive historical survey estab-
                        lishes that point very clearly, and today’s decision therefore
                        holds that a State may not enforce a law, like New York’s
                        Sullivan Law, that effectively prevents its law-abiding res-
                        idents from carrying a gun for this purpose.
                           That is all we decide. Our holding decides nothing about
                        who may lawfully possess a firearm or the requirements
                        that must be met to buy a gun. Nor does it decide anything
                        about the kinds of weapons that people may possess. Nor
                        have we disturbed anything that we said in Heller or
                        McDonald v. Chicago, 561 U. S. 742 (2010), about re-
                        strictions that may be imposed on the possession or carry-
                        ing of guns.
                           In light of what we have actually held, it is hard to see
                        what legitimate purpose can possibly be served by most of
                        the dissent’s lengthy introductory section. See post, at 1–8
                        (opinion of BREYER, J.). Why, for example, does the dissent
                        think it is relevant to recount the mass shootings that have
                        occurred in recent years? Post, at 4–5. Does the dissent
                        think that laws like New York’s prevent or deter such atroc-
                        ities? Will a person bent on carrying out a mass shooting
                        be stopped if he knows that it is illegal to carry a handgun
                        outside the home? And how does the dissent account for the
                        fact that one of the mass shootings near the top of its list
                        took place in Buffalo? The New York law at issue in this
                        case obviously did not stop that perpetrator.
                           What is the relevance of statistics about the use of guns
                        to commit suicide? See post, at 5–6. Does the dissent think
                        that a lot of people who possess guns in their homes will be
                        stopped or deterred from shooting themselves if they cannot
                        lawfully take them outside?
                           The dissent cites statistics about the use of guns in do-
                        mestic disputes, see post, at 5, but it does not explain why
                        these statistics are relevant to the question presented in




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                        this case. How many of the cases involving the use of a gun
                        in a domestic dispute occur outside the home, and how
                        many are prevented by laws like New York’s?
                          The dissent cites statistics on children and adolescents
                        killed by guns, see post, at 1, 4, but what does this have to
                        do with the question whether an adult who is licensed to
                        possess a handgun may be prohibited from carrying it out-
                        side the home? Our decision, as noted, does not expand the
                        categories of people who may lawfully possess a gun, and
                        federal law generally forbids the possession of a handgun
                        by a person who is under the age of 18, 18 U. S. C.
                        §§922(x)(2)–(5), and bars the sale of a handgun to anyone
                        under the age of 21, §§922(b)(1), (c)(1).1
                          The dissent cites the large number of guns in private
                        hands—nearly 400 million—but it does not explain what
                        this statistic has to do with the question whether a person
                        who already has the right to keep a gun in the home for self-
                        ——————
                           1 The dissent makes no effort to explain the relevance of most of the

                        incidents and statistics cited in its introductory section (post, at 1–8)
                        (opinion of BREYER, J.). Instead, it points to studies (summarized later
                        in its opinion) regarding the effects of “shall issue” licensing regimes on
                        rates of homicide and other violent crimes. I note only that the dissent’s
                        presentation of such studies is one-sided. See RAND Corporation, Ef-
                        fects of Concealed-Carry Laws on Violent Crime (Apr. 22,
                        2022), https://www.rand.org/research/gun-policy/analysis/concealed-
                        carry/violent-crime-html; see also Brief for William English et al. as
                        Amici Curiae 3 (“The overwhelming weight of statistical analysis on the
                        effects of [right-to-carry] laws on violent crime concludes that RTC laws
                        do not result in any statistically significant increase in violent crime
                        rates”); Brief for Arizona et al. as Amici Curiae 12 (“[P]opulation-level
                        data on licensed carry is extensive, and the weight of the evidence con-
                        firms that objective, non-discriminatory licensed-carry laws have two re-
                        sults: (1) statistically significant reductions in some types of violent
                        crime, or (2) no statistically significant effect on overall violent crime”);
                        Brief for Law Enforcement Groups et al. as Amici Curiae 12 (“[O]ver the
                        period 1991–2019 the inventory of firearms more than doubled; the num-
                        ber of concealed carry permits increased by at least sevenfold,” but “mur-
                        der rates fell by almost half, from 9.8 per 100,000 people in 1991 to 5.0
                        per 100,000 in 2019” and “[v]iolent crimes plummeted by over half ”).




                                                                                                        (155)
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                                                 ALITO, J., concurring

                        defense is likely to be deterred from acquiring a gun by the
                        knowledge that the gun cannot be carried outside the home.
                        See post, at 3. And while the dissent seemingly thinks that
                        the ubiquity of guns and our country’s high level of gun vi-
                        olence provide reasons for sustaining the New York law, the
                        dissent appears not to understand that it is these very facts
                        that cause law-abiding citizens to feel the need to carry a
                        gun for self-defense.
                           No one apparently knows how many of the 400 million
                        privately held guns are in the hands of criminals, but there
                        can be little doubt that many muggers and rapists are
                        armed and are undeterred by the Sullivan Law. Each year,
                        the New York City Police Department (NYPD) confiscates
                        thousands of guns,2 and it is fair to assume that the number
                        of guns seized is a fraction of the total number held unlaw-
                        fully. The police cannot disarm every person who acquires
                        a gun for use in criminal activity; nor can they provide bod-
                        yguard protection for the State’s nearly 20 million residents
                        or the 8.8 million people who live in New York City. Some
                        of these people live in high-crime neighborhoods. Some
                        must traverse dark and dangerous streets in order to reach
                        their homes after work or other evening activities. Some
                        are members of groups whose members feel especially vul-
                        nerable. And some of these people reasonably believe that
                        unless they can brandish or, if necessary, use a handgun in
                        the case of attack, they may be murdered, raped, or suffer
                        some other serious injury.
                           Ordinary citizens frequently use firearms to protect
                        ——————
                           2 NYPD statistics show approximately 6,000 illegal guns were seized

                        in 2021. A. Southall, This Police Captain’s Plan To Stop Gun Violence
                        Uses More Than Handcuffs, N. Y. Times, Feb. 4, 2022. According to re-
                        cent remarks by New York City Mayor Eric Adams, the NYPD has con-
                        fiscated 3,000 firearms in 2022 so far. City of New York, Transcript:
                        Mayor Eric Adams Makes Announcement About NYPD Gun Violence
                        Suppression Division (June 6, 2022), https://www1.nyc.gov/office-of-the-
                        mayor/news/369-22/trascript-mayor-eric-adams-makes-announcement-
                        nypd-gun-violence-suppression-division.




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                        themselves from criminal attack. According to survey data,
                        defensive firearm use occurs up to 2.5 million times per
                        year. Brief for Law Enforcement Groups et al. as Amici Cu-
                        riae 5. A Centers for Disease Control and Prevention report
                        commissioned by former President Barack Obama reviewed
                        the literature surrounding firearms use and noted that
                        “[s]tudies that directly assessed the effect of actual defen-
                        sive uses of guns . . . have found consistently lower injury
                        rates among gun-using crime victims compared with vic-
                        tims who used other self-protective strategies.” Institute of
                        Medicine and National Research Council, Priorities for Re-
                        search To Reduce the Threat of Firearm-Related Violence
                        15–16 (2013) (referenced in Brief for Independent Women’s
                        Law Center as Amicus Curiae 19–20).
                           Many of the amicus briefs filed in this case tell the story
                        of such people. Some recount incidents in which a potential
                        victim escaped death or serious injury only because carry-
                        ing a gun for self-defense was allowed in the jurisdiction
                        where the incident occurred. Here are two examples. One
                        night in 1987, Austin Fulk, a gay man from Arkansas, “was
                        chatting with another man in a parking lot when four gay
                        bashers charged them with baseball bats and tire irons.
                        Fulk’s companion drew his pistol from under the seat of his
                        car, brandished it at the attackers, and fired a single shot
                        over their heads, causing them to flee and saving the would-
                        be victims from serious harm.” Brief for DC Project Foun-
                        dation et al. as Amici Curiae 31 (footnote omitted).
                           On July 7, 2020, a woman was brutally assaulted in the
                        parking lot of a fast food restaurant in Jefferson City, Ten-
                        nessee. Her assailant slammed her to the ground and be-
                        gan to drag her around while strangling her. She was saved
                        when a bystander who was lawfully carrying a pistol
                        pointed his gun at the assailant, who then stopped the as-
                        sault and the assailant was arrested. Ibid. (citing C. Weth-
                        ington, Jefferson City Police: Legally Armed Good Samari-
                        tan Stops Assault, ABC News 6, WATE.com (July 9, 2020),




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                        https://www.wate.com/news/local-news/jefferson-city-police-
                        legally-armed-good-samaritan-stops-assault/).
                          In other incidents, a law-abiding person was driven to vi-
                        olate the Sullivan Law because of fear of victimization and
                        as a result was arrested, prosecuted, and incarcerated. See
                        Brief for Black Attorneys of Legal Aid et al. as Amici Curiae
                        22–25.
                          Some briefs were filed by members of groups whose mem-
                        bers feel that they have special reasons to fear attacks. See
                        Brief for Asian Pacific American Gun Owners Association
                        as Amicus Curiae; Brief for DC Project Foundation et al. as
                        Amici Curiae; Brief for Black Guns Matter et al. as Amici
                        Curiae; Brief for Independent Women’s Law Center as Ami-
                        cus Curiae; Brief for National African American Gun Asso-
                        ciation, Inc., as Amicus Curiae.
                          I reiterate: All that we decide in this case is that the Sec-
                        ond Amendment protects the right of law-abiding people to
                        carry a gun outside the home for self-defense and that the
                        Sullivan Law, which makes that virtually impossible for
                        most New Yorkers, is unconstitutional.
                                                      II
                           This brings me to Part II–B of the dissent, post, at 11–21,
                        which chastises the Court for deciding this case without a
                        trial and factual findings about just how hard it is for a law-
                        abiding New Yorker to get a carry permit. The record be-
                        fore us, however, tells us everything we need on this score.
                        At argument, New York’s solicitor general was asked about
                        an ordinary person who works at night and must walk
                        through dark and crime-infested streets to get home. Tr. of
                        Oral Arg. 66–67. The solicitor general was asked whether
                        such a person would be issued a carry permit if she pleaded:
                        “[T]here have been a lot of muggings in this area, and I am
                        scared to death.” Id., at 67. The solicitor general’s candid
                        answer was “in general,” no. Ibid. To get a permit, the ap-
                        plicant would have to show more—for example, that she




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                        had been singled out for attack. Id., at 65; see also id., at
                        58. A law that dictates that answer violates the Second
                        Amendment.
                                                      III
                           My final point concerns the dissent’s complaint that the
                        Court relies too heavily on history and should instead ap-
                        prove the sort of “means-end” analysis employed in this
                        case by the Second Circuit. Under that approach, a court,
                        in most cases, assesses a law’s burden on the Second
                        Amendment right and the strength of the State’s interest
                        in imposing the challenged restriction. See post, at 20. This
                        mode of analysis places no firm limits on the ability of
                        judges to sustain any law restricting the possession or use
                        of a gun. Two examples illustrate the point.
                           The first is the Second Circuit’s decision in a case the
                        Court decided two Terms ago, New York State Rifle & Pistol
                        Assn., Inc. v. City of New York, 590 U. S. ___ (2020). The
                        law in that case affected New York City residents who had
                        been issued permits to keep a gun in the home for self-
                        defense. The city recommended that these permit holders
                        practice at a range to ensure that they are able to handle
                        their guns safely, but the law prohibited them from taking
                        their guns to any range other than the seven that were
                        spread around the city’s five boroughs. Even if such a per-
                        son unloaded the gun, locked it in the trunk of a car, and
                        drove to the nearest range, that person would violate the
                        law if the nearest range happened to be outside city limits.
                        The Second Circuit held that the law was constitutional,
                        concluding, among other things, that the restriction was
                        substantially related to the city’s interests in public safety
                        and crime prevention. See New York State Rifle & Pistol
                        Assn., Inc. v. New York, 883 F. 3d 45, 62–64 (2018). But
                        after we agreed to review that decision, the city repealed
                        the law and admitted that it did not actually have any ben-
                        eficial effect on public safety. See N. Y. Penal Law Ann.




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                                                  ALITO, J., concurring

                        §400.00(6) (West Cum. Supp. 2022); Suggestion of Mootness
                        in New York State Rifle & Pistol Assn., Inc. v. City of New
                        York, O. T. 2019, No. 18–280, pp. 5–7.
                           Exhibit two is the dissent filed in Heller by JUSTICE
                        BREYER, the author of today’s dissent. At issue in Heller
                        was an ordinance that made it impossible for any District
                        of Columbia resident to keep a handgun in the home for
                        self-defense. See 554 U. S., at 574–575. Even the respond-
                        ent, who carried a gun on the job while protecting federal
                        facilities, did not qualify. Id., at 575–576. The District of
                        Columbia law was an extreme outlier; only a few other ju-
                        risdictions in the entire country had similar laws. Never-
                        theless, JUSTICE BREYER’s dissent, while accepting for the
                        sake of argument that the Second Amendment protects the
                        right to keep a handgun in the home, concluded, based on
                        essentially the same test that today’s dissent defends, that
                        the District’s complete ban was constitutional. See id., at
                        689, 722 (under “an interest-balancing inquiry. . .” the dis-
                        sent would “conclude that the District’s measure is a pro-
                        portionate, not a disproportionate, response to the compel-
                        ling concerns that led the District to adopt it”).
                           Like that dissent in Heller, the real thrust of today’s dis-
                        sent is that guns are bad and that States and local jurisdic-
                        tions should be free to restrict them essentially as they see
                        fit.3 That argument was rejected in Heller, and while the
                        dissent protests that it is not rearguing Heller, it proceeds
                        to do just that. See post, at 25–28.
                           Heller correctly recognized that the Second Amendment


                        ——————
                          3 If we put together the dissent in this case and JUSTICE BREYER’s Hel-

                        ler dissent, States and local governments would essentially be free to ban
                        the possession of all handguns, and it is unclear whether its approach
                        would impose any significant restrictions on laws regulating long guns.
                        The dissent would extend a very large measure of deference to legislation
                        implicating Second Amendment rights, but it does not claim that such
                        deference is appropriate when any other constitutional right is at issue.




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                        codifies the right of ordinary law-abiding Americans to pro-
                        tect themselves from lethal violence by possessing and, if
                        necessary, using a gun. In 1791, when the Second Amend-
                        ment was adopted, there were no police departments, and
                        many families lived alone on isolated farms or on the fron-
                        tiers. If these people were attacked, they were on their own.
                        It is hard to imagine the furor that would have erupted if
                        the Federal Government and the States had tried to take
                        away the guns that these people needed for protection.
                           Today, unfortunately, many Americans have good reason
                        to fear that they will be victimized if they are unable to pro-
                        tect themselves. And today, no less than in 1791, the Sec-
                        ond Amendment guarantees their right to do so.




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                                           KAVANAUGH, J., concurring

                        SUPREME COURT OF THE UNITED STATES
                                                  _________________

                                                   No. 20–843
                                                  _________________

                         NEW YORK STATE RIFLE & PISTOL ASSOCIATION,
                          INC., ET AL., PETITIONERS v. KEVIN P. BRUEN, IN
                            HIS OFFICIAL CAPACITY AS SUPERINTENDENT
                                 OF NEW YORK STATE POLICE, ET AL.
                         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                                   APPEALS FOR THE SECOND CIRCUIT
                                                 [June 23, 2022]

                           JUSTICE KAVANAUGH, with whom THE CHIEF JUSTICE
                        joins, concurring.
                           The Court employs and elaborates on the text, history,
                        and tradition test that Heller and McDonald require for
                        evaluating whether a government regulation infringes on
                        the Second Amendment right to possess and carry guns for
                        self-defense. See District of Columbia v. Heller, 554 U. S.
                        570 (2008); McDonald v. Chicago, 561 U. S. 742 (2010). Ap-
                        plying that test, the Court correctly holds that New York’s
                        outlier “may-issue” licensing regime for carrying handguns
                        for self-defense violates the Second Amendment.
                           I join the Court’s opinion, and I write separately to un-
                        derscore two important points about the limits of the
                        Court’s decision.
                           First, the Court’s decision does not prohibit States from
                        imposing licensing requirements for carrying a handgun for
                        self-defense. In particular, the Court’s decision does not af-
                        fect the existing licensing regimes—known as “shall-issue”
                        regimes—that are employed in 43 States.
                           The Court’s decision addresses only the unusual discre-
                        tionary licensing regimes, known as “may-issue” regimes,
                        that are employed by 6 States including New York. As the




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                        Court explains, New York’s outlier may-issue regime is con-
                        stitutionally problematic because it grants open-ended dis-
                        cretion to licensing officials and authorizes licenses only for
                        those applicants who can show some special need apart
                        from self-defense. Those features of New York’s regime—
                        the unchanneled discretion for licensing officials and the
                        special-need requirement—in effect deny the right to carry
                        handguns for self-defense to many “ordinary, law-abiding
                        citizens.” Ante, at 1; see also Heller, 554 U. S., at 635. The
                        Court has held that “individual self-defense is ‘the central
                        component’ of the Second Amendment right.” McDonald,
                        561 U. S., at 767 (quoting Heller, 554 U. S., at 599). New
                        York’s law is inconsistent with the Second Amendment
                        right to possess and carry handguns for self-defense.
                           By contrast, 43 States employ objective shall-issue licens-
                        ing regimes. Those shall-issue regimes may require a li-
                        cense applicant to undergo fingerprinting, a background
                        check, a mental health records check, and training in fire-
                        arms handling and in laws regarding the use of force,
                        among other possible requirements. Brief for Arizona et al.
                        as Amici Curiae 7. Unlike New York’s may-issue regime,
                        those shall-issue regimes do not grant open-ended discre-
                        tion to licensing officials and do not require a showing of
                        some special need apart from self-defense. As petitioners
                        acknowledge, shall-issue licensing regimes are constitu-
                        tionally permissible, subject of course to an as-applied chal-
                        lenge if a shall-issue licensing regime does not operate in
                        that manner in practice. Tr. of Oral Arg. 50−51.
                           Going forward, therefore, the 43 States that employ ob-
                        jective shall-issue licensing regimes for carrying handguns
                        for self-defense may continue to do so. Likewise, the 6
                        States including New York potentially affected by today’s
                        decision may continue to require licenses for carrying hand-
                        guns for self-defense so long as those States employ objec-
                        tive licensing requirements like those used by the 43 shall-
                        issue States.




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                                           KAVANAUGH, J., concurring

                          Second, as Heller and McDonald established and the
                        Court today again explains, the Second Amendment “is nei-
                        ther a regulatory straightjacket nor a regulatory blank
                        check.” Ante, at 21. Properly interpreted, the Second
                        Amendment allows a “variety” of gun regulations. Heller,
                        554 U. S., at 636. As Justice Scalia wrote in his opinion for
                        the Court in Heller, and JUSTICE ALITO reiterated in rele-
                        vant part in the principal opinion in McDonald:
                              “Like most rights, the right secured by the Second
                            Amendment is not unlimited.           From Blackstone
                            through the 19th-century cases, commentators and
                            courts routinely explained that the right was not a
                            right to keep and carry any weapon whatsoever in any
                            manner whatsoever and for whatever purpose. . . .
                            [N]othing in our opinion should be taken to cast doubt
                            on longstanding prohibitions on the possession of fire-
                            arms by felons and the mentally ill, or laws forbidding
                            the carrying of firearms in sensitive places such as
                            schools and government buildings, or laws imposing
                            conditions and qualifications on the commercial sale of
                            arms. [Footnote 26: We identify these presumptively
                            lawful regulatory measures only as examples; our list
                            does not purport to be exhaustive.]
                              “We also recognize another important limitation on
                            the right to keep and carry arms. Miller said, as we
                            have explained, that the sorts of weapons protected
                            were those in common use at the time. We think that
                            limitation is fairly supported by the historical tradition
                            of prohibiting the carrying of dangerous and unusual
                            weapons.” Heller, 554 U. S., at 626−627, and n. 26 (ci-
                            tations and quotation marks omitted); see also McDon-
                            ald, 561 U. S., at 786 (plurality opinion).
                                               *   *    *
                          With those additional comments, I join the opinion of the
                        Court.




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                                             BARRETT, J., concurring

                        SUPREME COURT OF THE UNITED STATES
                                                  _________________

                                                   No. 20–843
                                                  _________________

                         NEW YORK STATE RIFLE & PISTOL ASSOCIATION,
                          INC., ET AL., PETITIONERS v. KEVIN P. BRUEN, IN
                            HIS OFFICIAL CAPACITY AS SUPERINTENDENT
                                 OF NEW YORK STATE POLICE, ET AL.
                         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                                   APPEALS FOR THE SECOND CIRCUIT
                                                 [June 23, 2022]

                           JUSTICE BARRETT, concurring.
                           I join the Court’s opinion in full. I write separately to
                        highlight two methodological points that the Court does not
                        resolve. First, the Court does not conclusively determine
                        the manner and circumstances in which postratification
                        practice may bear on the original meaning of the Constitu-
                        tion. See ante, at 24–29. Scholars have proposed competing
                        and potentially conflicting frameworks for this analysis, in-
                        cluding liquidation, tradition, and precedent. See, e.g., Nel-
                        son, Originalism and Interpretive Conventions, 70 U. Chi.
                        L. Rev. 519 (2003); McConnell, Time, Institutions, and In-
                        terpretation, 95 B. U. L. Rev. 1745 (2015). The limits on
                        the permissible use of history may vary between these
                        frameworks (and between different articulations of each
                        one). To name just a few unsettled questions: How long af-
                        ter ratification may subsequent practice illuminate original
                        public meaning? Cf. McCulloch v. Maryland, 4 Wheat. 316,
                        401 (1819) (citing practice “introduced at a very early period
                        of our history”). What form must practice take to carry
                        weight in constitutional analysis? See Myers v. United
                        States, 272 U. S. 52, 175 (1926) (citing a “legislative exposi-
                        tion of the Constitution . . . acquiesced in for a long term of
                        years”). And may practice settle the meaning of individual




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                                             BARRETT, J., concurring

                        rights as well as structural provisions? See Baude, Consti-
                        tutional Liquidation, 71 Stan. L. Rev. 1, 49–51 (2019) (can-
                        vassing arguments). The historical inquiry presented in
                        this case does not require us to answer such questions,
                        which might make a difference in another case. See ante,
                        at 17–19.
                           Second and relatedly, the Court avoids another “ongoing
                        scholarly debate on whether courts should primarily rely on
                        the prevailing understanding of an individual right when
                        the Fourteenth Amendment was ratified in 1868” or when
                        the Bill of Rights was ratified in 1791. Ante, at 29. Here,
                        the lack of support for New York’s law in either period
                        makes it unnecessary to choose between them. But if 1791
                        is the benchmark, then New York’s appeals to Reconstruc-
                        tion-era history would fail for the independent reason that
                        this evidence is simply too late (in addition to too little). Cf.
                        Espinoza v. Montana Dept. of Revenue, 591 U. S. ___, ___–
                        ___ (2020) (slip op., at 15–16) (a practice that “arose in the
                        second half of the 19th century . . . cannot by itself establish
                        an early American tradition” informing our understanding
                        of the First Amendment). So today’s decision should not be
                        understood to endorse freewheeling reliance on historical
                        practice from the mid-to-late 19th century to establish the
                        original meaning of the Bill of Rights. On the contrary, the
                        Court is careful to caution “against giving postenactment
                        history more weight than it can rightly bear.” Ante, at 26.




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                                            BREYER, J., dissenting

                        SUPREME COURT OF THE UNITED STATES
                                                 _________________

                                                  No. 20–843
                                                 _________________

                         NEW YORK STATE RIFLE & PISTOL ASSOCIATION,
                          INC., ET AL., PETITIONERS v. KEVIN P. BRUEN, IN
                            HIS OFFICIAL CAPACITY AS SUPERINTENDENT
                                 OF NEW YORK STATE POLICE, ET AL.
                         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                                   APPEALS FOR THE SECOND CIRCUIT
                                                [June 23, 2022]

                           JUSTICE BREYER, with whom JUSTICE SOTOMAYOR and
                        JUSTICE KAGAN join, dissenting.
                           In 2020, 45,222 Americans were killed by firearms. See
                        Centers for Disease Control and Prevention, Fast Facts:
                        Firearm Violence Prevention (last updated May 4, 2022)
                        (CDC, Fast Facts), https://www.cdc.gov/violenceprevention/
                        firearms/fastfact.html. Since the start of this year (2022),
                        there have been 277 reported mass shootings—an average
                        of more than one per day. See Gun Violence Archive (last
                        visited     June     20,   2022),    https://www.gunviolence
                        archive.org. Gun violence has now surpassed motor vehicle
                        crashes as the leading cause of death among children and
                        adolescents. J. Goldstick, R. Cunningham, & P. Carter,
                        Current Causes of Death in Children and Adolescents in
                        the United States, 386 New England J. Med. 1955 (May 19,
                        2022) (Goldstick).
                           Many States have tried to address some of the dangers of
                        gun violence just described by passing laws that limit, in
                        various ways, who may purchase, carry, or use firearms of
                        different kinds. The Court today severely burdens States’
                        efforts to do so. It invokes the Second Amendment to strike
                        down a New York law regulating the public carriage of con-




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                                             BREYER, J., dissenting

                        cealed handguns. In my view, that decision rests upon sev-
                        eral serious mistakes.
                           First, the Court decides this case on the basis of the
                        pleadings, without the benefit of discovery or an evidentiary
                        record. As a result, it may well rest its decision on a mis-
                        taken understanding of how New York’s law operates in
                        practice. Second, the Court wrongly limits its analysis to
                        focus nearly exclusively on history. It refuses to consider
                        the government interests that justify a challenged gun reg-
                        ulation, regardless of how compelling those interests may
                        be. The Constitution contains no such limitation, and nei-
                        ther do our precedents. Third, the Court itself demon-
                        strates the practical problems with its history-only ap-
                        proach. In applying that approach to New York’s law, the
                        Court fails to correctly identify and analyze the relevant
                        historical facts. Only by ignoring an abundance of histori-
                        cal evidence supporting regulations restricting the public
                        carriage of firearms can the Court conclude that New York’s
                        law is not “consistent with the Nation’s historical tradition
                        of firearm regulation.” See ante, at 15.
                           In my view, when courts interpret the Second Amend-
                        ment, it is constitutionally proper, indeed often necessary,
                        for them to consider the serious dangers and consequences
                        of gun violence that lead States to regulate firearms. The
                        Second Circuit has done so and has held that New York’s
                        law does not violate the Second Amendment. See Ka-
                        chalsky v. County of Westchester, 701 F. 3d 81, 97–99, 101
                        (2012). I would affirm that holding. At a minimum, I would
                        not strike down the law based only on the pleadings, as the
                        Court does today—without first allowing for the develop-
                        ment of an evidentiary record and without considering the
                        State’s compelling interest in preventing gun violence. I re-
                        spectfully dissent.
                                                      I
                            The question before us concerns the extent to which the




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                        Second Amendment prevents democratically elected offi-
                        cials from enacting laws to address the serious problem of
                        gun violence. And yet the Court today purports to answer
                        that question without discussing the nature or severity of
                        that problem.
                           In 2017, there were an estimated 393.3 million civilian-
                        held firearms in the United States, or about 120 fire-
                        arms per 100 people. A. Karp, Estimating Global Civilian-
                        Held Firearms Numbers, Small Arms Survey 4 (June
                        2018), https://www.smallarmssurvey.org/sites/default/files/
                        resources/SAS-BP-Civilian-Firearms-Numbers.pdf. That
                        is more guns per capita than in any other country in the
                        world. Ibid. (By comparison, Yemen is second with about
                        52.8 firearms per 100 people—less than half the per capita
                        rate in the United States—and some countries, like Indone-
                        sia and Japan, have fewer than one firearm per 100 people.
                        Id., at 3–4.)
                           Unsurprisingly, the United States also suffers a dispro-
                        portionately high rate of firearm-related deaths and inju-
                        ries. Cf. Brief for Educational Fund To Stop Gun Violence
                        et al. as Amici Curiae 17–18 (Brief for Educational Fund)
                        (citing studies showing that, within the United States,
                        “states that rank among the highest in gun ownership also
                        rank among the highest in gun deaths” while “states with
                        lower rates of gun ownership have lower rates of gun
                        deaths”). In 2015, approximately 36,000 people were killed
                        by firearms nationwide. M. Siegel et al., Easiness of Legal
                        Access to Concealed Firearm Permits and Homicide Rates
                        in the United States, 107 Am. J. Pub. Health 1923 (2017).
                        Of those deaths, 22,018 (or about 61%) were suicides,
                        13,463 (37%) were homicides, and 489 (1%) were uninten-
                        tional injuries. Ibid. On top of that, firearms caused an
                        average of 85,694 emergency room visits for nonfatal inju-
                        ries each year between 2009 and 2017. E. Kaufman et al.,
                        Epidemiological Trends in Fatal and Nonfatal Firearm In-
                        juries in the US, 2009–2017, 181 JAMA Internal Medicine




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                                             BREYER, J., dissenting

                        237 (2021) (Kaufman).
                           Worse yet, gun violence appears to be on the rise. By
                        2020, the number of firearm-related deaths had risen to
                        45,222, CDC, Fast Facts, or by about 25% since 2015. That
                        means that, in 2020, an average of about 124 people died
                        from gun violence every day. Ibid. As I mentioned above,
                        gun violence has now become the leading cause of death in
                        children and adolescents, surpassing car crashes, which
                        had previously been the leading cause of death in that age
                        group for over 60 years. Goldstick 1955; J. Bates, Guns Be-
                        came the Leading Cause of Death for American Children
                        and Teens in 2020, Time, Apr. 27, 2022, https://www.
                        time.com/6170864/cause-of-death-children-guns/. And the
                        consequences of gun violence are borne disproportionately
                        by communities of color, and Black communities in partic-
                        ular. See CDC, Age-Adjusted Rates of Firearm-Related
                        Homicide, by Race, Hispanic Origin, and Sex—National
                        Vital Statistics System, United States, 2019, at 1491 (Oct.
                        22, 2021), https://www.cdc.gov/mmwr/volumes/70/wr/pdfs/
                        mm7042a6-H.pdf (documenting 34.9 firearm-related homi-
                        cides per 100,000 population for non-Hispanic Black men in
                        2019, compared to 7.7 such homicides per 100,000 popula-
                        tion for men of all races); S. Kegler et al., CDC, Vital Signs:
                        Changes in Firearm Homicide and Suicide Rates—United
                        States, 2019–2020, at 656–658 (May 13, 2022), https://
                        www.cdc.gov/mmwr/volumes/71/wr/pdfs/mm7119e1-H.pdf.
                           The dangers posed by firearms can take many forms.
                        Newspapers report mass shootings occurring at an enter-
                        tainment district in Philadelphia, Pennsylvania (3 dead
                        and 11 injured); an elementary school in Uvalde, Texas (21
                        dead); a supermarket in Buffalo, New York (10 dead and 3
                        injured); a series of spas in Atlanta, Georgia (8 dead); a busy
                        street in an entertainment district of Dayton, Ohio (9 dead
                        and 17 injured); a nightclub in Orlando, Florida (50 dead
                        and 53 injured); a church in Charleston, South Carolina (9
                        dead); a movie theater in Aurora, Colorado (12 dead and 50




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                        injured); an elementary school in Newtown, Connecticut (26
                        dead); and many, many more. See, e.g., R. Todt, 3 Dead, 11
                        Wounded in Philadelphia Shooting on Busy Street, Wash-
                        ington Post, June 5, 2022; A. Hernández, J. Slater, D. Bar-
                        rett, & S. Foster-Frau, At Least 19 Children, 2 Teachers
                        Killed at Texas Elementary School, Washington Post, May
                        25, 2022; A. Joly, J. Slater, D. Barrett, & A. Hernandez, 10
                        Killed in Racially Motivated Shooting at Buffalo Grocery
                        Store, Washington Post, May 14, 2022; C. McWhirter & V.
                        Bauerlein, Atlanta-Area Shootings at Spas Leave Eight
                        Dead, Wall Street Journal, Mar. 17, 2021; A. Hassan, Day-
                        ton Gunman Shot 26 People in 32 Seconds, Police Timeline
                        Reveals, N. Y. Times, Aug. 13, 2019; L. Alvarez & R. Pérez-
                        Peña, Orlando Gunman Attacks Gay Nightclub, Leaving 50
                        Dead, N. Y. Times, June 12, 2016; J. Horowitz, N. Corasa-
                        niti, & A. Southall, Nine Killed in Shooting at Black Church
                        in Charleston, N. Y. Times, June 17, 2015; R. Lin, Gunman
                        Kills 12 at ‘Dark Knight Rises’ Screening in Colorado, L. A.
                        Times, July 20, 2012; J. Barron, Nation Reels After Gun-
                        man Massacres 20 Children at School in Connecticut, N. Y.
                        Times, Dec. 14, 2012. Since the start of this year alone
                        (2022), there have already been 277 reported mass shoot-
                        ings—an average of more than one per day. Gun Violence
                        Archive; see also Gun Violence Archive, General Methodol-
                        ogy, https://www.gunviolencearchive.org/methodology (de-
                        fining mass shootings to include incidents in which at least
                        four victims are shot, not including the shooter).
                           And mass shootings are just one part of the problem. Easy
                        access to firearms can also make many other aspects of
                        American life more dangerous. Consider, for example, the
                        effect of guns on road rage. In 2021, an average of 44 people
                        each month were shot and either killed or wounded in road
                        rage incidents, double the annual average between 2016
                        and 2019. S. Burd-Sharps & K. Bistline, Everytown for
                        Gun Safety, Reports of Road Rage Shootings Are on the Rise
                        (Apr. 4, 2022), https://www.everytownresearch.org/reports-




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                        of-road-rage-shootings-are-on-the-rise/; see also J. Dono-
                        hue, A. Aneja, & K. Weber, Right-to-Carry Laws and Vio-
                        lent Crime: A Comprehensive Assessment Using Panel
                        Data and a State-Level Synthetic Control Analysis, 16 J.
                        Empirical Legal Studies 198, 204 (2019). Some of those
                        deaths might have been avoided if there had not been a
                        loaded gun in the car. See ibid.; Brief for American Bar
                        Association as Amicus Curiae 17–18; Brief for Educational
                        Fund 20–23 (citing studies showing that the presence of a
                        firearm is likely to increase aggression in both the person
                        carrying the gun and others who see it).
                           The same could be said of protests: A study of 30,000 pro-
                        tests between January 2020 and June 2021 found that
                        armed protests were nearly six times more likely to become
                        violent or destructive than unarmed protests. Everytown
                        for Gun Safety, Armed Assembly: Guns, Demonstrations,
                        and Political Violence in America (Aug. 23, 2021), https://
                        www.everytownresearch.org/report/armed-assembly-guns-
                        demonstrations-and-political-violence-in-america/ (finding
                        that 16% of armed protests turned violent, compared to less
                        than 3% of unarmed protests). Or domestic disputes: An-
                        other study found that a woman is five times more likely to
                        be killed by an abusive partner if that partner has access to
                        a gun. Brief for Educational Fund 8 (citing A. Zeoli, R. Ma-
                        linski, & B. Turchan, Risks and Targeted Interventions:
                        Firearms in Intimate Partner Violence, 38 Epidemiologic
                        Revs. 125 (2016); J. Campbell et al., Risk Factors for Femi-
                        cide in Abusive Relationships: Results From a Multisite
                        Case Control Study, 93 Am. J. Pub. Health 1089, 1092
                        (2003)). Or suicides: A study found that men who own
                        handguns are three times as likely to commit suicide than
                        men who do not and women who own handguns are seven
                        times as likely to commit suicide than women who do not.
                        D. Studdert et al., Handgun Ownership and Suicide in Cal-
                        ifornia, 382 New England J. Med. 2220, 2224 (June 4,
                        2020).




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                           Consider, too, interactions with police officers. The pres-
                        ence of a gun in the hands of a civilian poses a risk to both
                        officers and civilians. Amici prosecutors and police chiefs
                        tell us that most officers who are killed in the line of duty
                        are killed by firearms; they explain that officers in States
                        with high rates of gun ownership are three times as likely
                        to be killed in the line of duty as officers in States with low
                        rates of gun ownership. Brief for Prosecutors Against Gun
                        Violence as Amicus Curiae 23–24; Brief for Former Major
                        City Police Chiefs as Amici Curiae 13–14, and n. 21, (citing
                        D. Swedler, M. Simmons, F. Dominici, & D. Hemenway,
                        Firearm Prevalence and Homicides of Law Enforcement Of-
                        ficers in the United States, 105 Am. J. Pub. Health 2042,
                        2045 (2015)). They also say that States with the highest
                        rates of gun ownership report four times as many fatal
                        shootings of civilians by police officers compared to States
                        with the lowest rates of gun ownership. Brief for Former
                        Major City Police Chiefs as Amici Curiae 16 (citing D.
                        Hemenway, D. Azrael, A. Connor, & M. Miller, Variation in
                        Rates of Fatal Police Shootings Across US States: The Role
                        of Firearm Availability, 96 J. Urb. Health 63, 67 (2018)).
                           These are just some examples of the dangers that fire-
                        arms pose. There is, of course, another side to the story. I
                        am not simply saying that “guns are bad.” See ante, at 8
                        (ALITO, J., concurring). Some Americans use guns for legit-
                        imate purposes, such as sport (e.g., hunting or target shoot-
                        ing), certain types of employment (e.g., as a private security
                        guard), or self-defense. Cf. ante, at 4–6 (ALITO, J., concur-
                        ring). Balancing these lawful uses against the dangers of
                        firearms is primarily the responsibility of elected bodies,
                        such as legislatures. It requires consideration of facts, sta-
                        tistics, expert opinions, predictive judgments, relevant val-
                        ues, and a host of other circumstances, which together
                        make decisions about how, when, and where to regulate
                        guns more appropriately legislative work. That considera-
                        tion counsels modesty and restraint on the part of judges




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                        when they interpret and apply the Second Amendment.
                           Consider, for one thing, that different types of firearms
                        may pose different risks and serve different purposes. The
                        Court has previously observed that handguns, the type of
                        firearm at issue here, “are the most popular weapon chosen
                        by Americans for self-defense in the home.” District of Co-
                        lumbia v. Heller, 554 U. S. 570, 629 (2008). But handguns
                        are also the most popular weapon chosen by perpetrators of
                        violent crimes. In 2018, 64.4% of firearm homicides and
                        91.8% of nonfatal firearm assaults were committed with a
                        handgun. Dept. of Justice, Bureau of Justice Statistics, G.
                        Kena & J. Truman, Trends and Patterns in Firearm Vio-
                        lence, 1993–2018, pp. 5–6 (Apr. 2022). Handguns are also
                        the most commonly stolen type of firearm—63% of burgla-
                        ries resulting in gun theft between 2005 and 2010 involved
                        the theft of at least one handgun. Dept. of Justice, Bureau
                        of Justice Statistics, L. Langton, Firearms Stolen During
                        Household Burglaries and Other Property Crimes, 2005–
                        2010, p. 3 (Nov. 2012).
                           Or consider, for another thing, that the dangers and ben-
                        efits posed by firearms may differ between urban and rural
                        areas. See generally Brief for City of Chicago et al. as Amici
                        Curiae (detailing particular concerns about gun violence in
                        large cities). Firearm-related homicides and assaults are
                        significantly more common in urban areas than rural ones.
                        For example, from 1999 to 2016, 89.8% of the 213,175 fire-
                        arm-related homicides in the United States occurred in
                        “metropolitan” areas. M. Siegel et al., The Impact of State
                        Firearm Laws on Homicide Rates in Suburban and Rural
                        Areas Compared to Large Cities in the United States,
                        1991–2016, 36 J. Rural Health 255 (2020); see also Brief for
                        Partnership for New York City as Amicus Curiae 10; Kauf-
                        man 237 (finding higher rates of fatal assault injuries from
                        firearms in urban areas compared to rural areas); C. Bra-
                        nas, M. Nance, M. Elliott, T. Richmond, & C. Schwab, Ur-
                        ban-Rural Shifts in Intentional Firearm Death: Different




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                        Causes, Same Results, 94 Am. J. Pub. Health 1750, 1752
                        (2004) (finding higher rates of firearm homicide in urban
                        counties compared to rural counties).
                           JUSTICE ALITO asks why I have begun my opinion by re-
                        viewing some of the dangers and challenges posed by gun
                        violence and what relevance that has to today’s case. Ante,
                        at 2–4 (concurring opinion). All of the above considerations
                        illustrate that the question of firearm regulation presents a
                        complex problem—one that should be solved by legislatures
                        rather than courts. What kinds of firearm regulations
                        should a State adopt? Different States might choose to an-
                        swer that question differently. They may face different
                        challenges because of their different geographic and demo-
                        graphic compositions. A State like New York, which must
                        account for the roughly 8.5 million people living in the 303
                        square miles of New York City, might choose to adopt dif-
                        ferent (and stricter) firearms regulations than States like
                        Montana or Wyoming, which do not contain any city re-
                        motely comparable in terms of population or density. See
                        U. S. Census Bureau, Quick Facts: New York City (last up-
                        dated July 1, 2021) (Quick Facts: New York City), https://
                        www.census.gov/quickfacts/newyorkcitynewyork/; Brief for
                        City of New York as Amicus Curiae 8, 22. For a variety of
                        reasons, States may also be willing to tolerate different de-
                        grees of risk and therefore choose to balance the competing
                        benefits and dangers of firearms differently.
                           The question presented in this case concerns the extent
                        to which the Second Amendment restricts different States
                        (and the Federal Government) from working out solutions
                        to these problems through democratic processes. The pri-
                        mary difference between the Court’s view and mine is that
                        I believe the Amendment allows States to take account of
                        the serious problems posed by gun violence that I have just
                        described. I fear that the Court’s interpretation ignores
                        these significant dangers and leaves States without the
                        ability to address them.




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                                                       II
                                                       A
                           New York State requires individuals to obtain a license
                        in order to carry a concealed handgun in public. N. Y. Penal
                        Law Ann. §400.00(2) (West Cum. Supp. 2022). I address
                        the specifics of that licensing regime in greater detail in
                        Part II–B below. Because, at this stage in the proceedings,
                        the parties have not had an opportunity to develop the evi-
                        dentiary record, I refer to facts and representations made
                        in petitioners’ complaint and in amicus briefs filed before
                        us.
                           Under New York’s regime, petitioners Brandon Koch and
                        Robert Nash have obtained restricted licenses that permit
                        them to carry a concealed handgun for certain purposes and
                        at certain times and places. They wish to expand the scope
                        of their licenses so that they can carry a concealed handgun
                        without restriction.
                           Koch and Nash are residents of Rensselaer County, New
                        York. Koch lives in Troy, a town of about 50,000, located
                        eight miles from New York’s capital city of Albany, which
                        has a population of about 98,000. See App. 100; U. S. Cen-
                        sus Bureau, Quick Facts: Troy City, New York (last up-
                        dated July 1, 2021), https://www.census.gov/quickfacts/
                        troycitynewyork; id., Albany City, New York, https://www.
                        census.gov/quickfacts/albanycitynewyork. Nash lives in
                        Averill Park, a small town 12.5 miles from Albany. App.
                        100.
                           Koch and Nash each applied for a license to carry a con-
                        cealed handgun. Both were issued restricted licenses that
                        allowed them to carry handguns only for purposes of hunt-
                        ing and target shooting. Id., at 104, 106. But they wanted
                        “unrestricted” licenses that would allow them to carry con-
                        cealed handguns “for personal protection and all lawful pur-
                        poses.” Id., at 112; see also id., at 40. They wrote to the
                        licensing officer in Rensselaer County—Justice Richard




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                        McNally, a justice of the New York Supreme Court—re-
                        questing that the hunting and target shooting restrictions
                        on their licenses be removed. Id., at 40, 111–113. After
                        holding individual hearings for each petitioner, Justice
                        McNally denied their requests. Id., at 31, 41, 105, 107, 114.
                        He clarified that, in addition to hunting and target shoot-
                        ing, Koch and Nash could “carry concealed for purposes of
                        off road back country, outdoor activities similar to hunting,
                        for example fishing, hiking & camping.” Id., at 41, 114. He
                        also permitted Koch, who was employed by the New York
                        Court System’s Division of Technology, to “carry to and
                        from work.” Id., at 111, 114. But he reaffirmed that Nash
                        was prohibited from carrying a concealed handgun in loca-
                        tions “typically open to and frequented by the general pub-
                        lic.” Id., at 41. Neither Koch nor Nash alleges that he ap-
                        pealed Justice McNally’s decision. Brief for Respondents
                        13; see App. 122–126.
                           Instead, petitioners Koch and Nash, along with the New
                        York State Rifle & Pistol Association, Inc., brought this law-
                        suit in federal court against Justice McNally and other
                        State representatives responsible for enforcing New York’s
                        firearms laws. Petitioners claimed that the State’s refusal
                        to modify Koch’s and Nash’s licenses violated the Second
                        Amendment. The District Court dismissed their complaint.
                        It followed Second Circuit precedent holding that New
                        York’s licensing regime was constitutional. See Kachalsky,
                        701 F. 3d, at 101. The Court of Appeals for the Second Cir-
                        cuit affirmed. We granted certiorari to review the constitu-
                        tionality of “New York’s denial of petitioners’ license appli-
                        cations.” Ante, at 8 (majority opinion).
                                                      B
                           As the Court recognizes, New York’s licensing regime
                        traces its origins to 1911, when New York enacted the “Sul-
                        livan Law,” which prohibited public carriage of handguns
                        without a license. See 1911 N. Y. Laws ch. 195, §1, p. 443.




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                        Two years later in 1913, New York amended the law to es-
                        tablish substantive standards for the issuance of a license.
                        See 1913 N. Y. Laws ch. 608, §1, pp. 1627–1629. Those
                        standards have remained the foundation of New York’s li-
                        censing regime ever since—a regime that the Court now,
                        more than a century later, strikes down as unconstitu-
                        tional.
                           As it did over 100 years ago, New York’s law today con-
                        tinues to require individuals to obtain a license before car-
                        rying a concealed handgun in public. N. Y. Penal Law Ann.
                        §400.00(2); Kachalsky, 701 F. 3d, at 85–86. Because the
                        State does not allow the open carriage of handguns at all, a
                        concealed-carry license is the only way to legally carry a
                        handgun in public. Id., at 86. This licensing requirement
                        applies only to handguns (i.e., “pistols and revolvers”) and
                        short-barreled rifles and shotguns, not to all types of fire-
                        arms. Id., at 85. For instance, the State does not require a
                        license to carry a long gun (i.e., a rifle or a shotgun over a
                        certain length) in public. Ibid.; §265.00(3) (West 2022).
                           To obtain a concealed-carry license for a handgun, an ap-
                        plicant must satisfy certain eligibility criteria. Among
                        other things, he must generally be at least 21 years old and
                        of “good moral character.” §400.00(1). And he cannot have
                        been convicted of a felony, dishonorably discharged from
                        the military, or involuntarily committed to a mental hy-
                        giene facility. Ibid. If these and other eligibility criteria
                        are satisfied, New York law provides that a concealed-carry
                        license “shall be issued” to individuals working in certain
                        professions, such as judges, corrections officers, or messen-
                        gers of a “banking institution or express company.”
                        §400.00(2). Individuals who satisfy the eligibility criteria
                        but do not work in one of these professions may still obtain
                        a concealed-carry license, but they must additionally show
                        that “proper cause exists for the issuance thereof.”
                        §400.00(2)(f ).
                           The words “proper cause” may appear on their face to be




                                                                                         (178)
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                        broad, but there is “a substantial body of law instructing
                        licensing officials on the application of this standard.” Id.,
                        at 86. New York courts have interpreted proper cause “to
                        include carrying a handgun for target practice, hunting, or
                        self-defense.” Ibid. When an applicant seeks a license for
                        target practice or hunting, he must show “ ‘a sincere desire
                        to participate in target shooting and hunting.’ ” Ibid. (quot-
                        ing In re O’Connor, 154 Misc. 2d 694, 697, 585 N. Y. S. 2d
                        1000, 1003 (Westchester Cty. 1992)). When an applicant
                        seeks a license for self-defense, he must show “ ‘a special
                        need for self-protection distinguishable from that of the
                        general community.’ ” 701 F. 3d, at 86 (quoting In re
                        Klenosky, 75 App. Div. 2d 793, 793, 428 N. Y. S. 2d 256, 257
                        (1980)). Whether an applicant meets these proper cause
                        standards is determined in the first instance by a “licensing
                        officer in the city or county . . . where the applicant resides.”
                        §400.00(3). In most counties, the licensing officer is a local
                        judge. Kachalsky, 701 F. 3d, at 87, n. 6. For example, in
                        Rensselaer County, the licensing officer who denied peti-
                        tioners’ requests to remove the restrictions on their licenses
                        was a justice of the New York Supreme Court. App. 31. If
                        the officer denies an application, the applicant can obtain
                        judicial review under Article 78 of New York’s Civil Practice
                        Law and Rules. Kachalsky, 701 F. 3d, at 87. New York
                        courts will then review whether the denial was arbitrary
                        and capricious. Ibid.
                           In describing New York’s law, the Court recites the above
                        facts but adds its own gloss. It suggests that New York’s
                        licensing regime gives licensing officers too much discretion
                        and provides too “limited” judicial review of their decisions,
                        ante, at 4; that the proper cause standard is too “demand-
                        ing,” ante, at 3; and that these features make New York an
                        outlier compared to the “vast majority of States,” ante, at 4.
                        But on what evidence does the Court base these character-
                        izations? Recall that this case comes to us at the pleading
                        stage. The parties have not had an opportunity to conduct




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                        discovery, and no evidentiary hearings have been held to
                        develop the record. See App. 15–26. Thus, at this point,
                        there is no record to support the Court’s negative charac-
                        terizations, as we know very little about how the law has
                        actually been applied on the ground.
                           Consider each of the Court’s criticisms in turn. First, the
                        Court says that New York gives licensing officers too much
                        discretion and “leaves applicants little recourse if their local
                        licensing officer denies a permit.” Ante, at 4. But there is
                        nothing unusual about broad statutory language that can
                        be given more specific content by judicial interpretation.
                        Nor is there anything unusual or inadequate about subject-
                        ing licensing officers’ decisions to arbitrary-and-capricious
                        review. Judges routinely apply that standard, for example,
                        to determine whether an agency action is lawful under both
                        New York law and the Administrative Procedure Act. See,
                        e.g., N. Y. Civ. Prac. Law Ann. §7803(3) (2021); 5 U. S. C.
                        §706(2)(A). The arbitrary-and-capricious standard has
                        thus been used to review important policies concerning
                        health, safety, and immigration, to name just a few exam-
                        ples. See, e.g., Biden v. Missouri, 595 U. S. ___, ___ (2022)
                        (per curiam) (slip op., at 8); Department of Homeland Secu-
                        rity v. Regents of Univ. of Cal., 591 U. S. ___, ___, ___ (2020)
                        (slip op., at 9, 17); Department of Commerce v. New York,
                        588 U. S. ___, ___ (2019) (slip op., at 16); Motor Vehicle Mfrs.
                        Assn. of United States, Inc. v. State Farm Mut. Automobile
                        Ins. Co., 463 U. S. 29, 41, 46 (1983).
                           Without an evidentiary record, there is no reason to as-
                        sume that New York courts applying this standard fail to
                        provide license applicants with meaningful review. And
                        there is no evidentiary record to support the Court’s as-
                        sumption here. Based on the pleadings alone, we cannot
                        know how often New York courts find the denial of a con-
                        cealed-carry license to be arbitrary and capricious or on
                        what basis. We do not even know how a court would have
                        reviewed the licensing officer’s decisions in Koch’s and




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                        Nash’s cases because they do not appear to have sought ju-
                        dicial review at all. See Brief for Respondents 13; App. 122–
                        126.
                           Second, the Court characterizes New York’s proper cause
                        standard as substantively “demanding.” Ante, at 3. But,
                        again, the Court has before it no evidentiary record to
                        demonstrate how the standard has actually been applied.
                        How “demanding” is the proper cause standard in practice?
                        Does that answer differ from county to county? How many
                        license applications are granted and denied each year? At
                        the pleading stage, we do not know the answers to these
                        and other important questions, so the Court’s characteriza-
                        tion of New York’s law may very well be wrong.
                           In support of its assertion that the law is “demanding,”
                        the Court cites only to cases originating in New York City.
                        Ibid. (citing In re Martinek, 294 App. Div. 2d 221, 743
                        N. Y. S. 2d 80 (2002) (New York County, i.e., Manhattan);
                        In re Kaplan, 249 App. Div. 2d 199, 673 N. Y. S. 2d 66
                        (1998) (same); In re Klenosky, 75 App. Div. 2d 793, 428
                        N. Y. S. 2d 256 (same); In re Bernstein, 85 App. Div. 2d 574,
                        445 N. Y. S. 2d 716 (1981) (Bronx County)). But cases from
                        New York City may not accurately represent how the
                        proper cause standard is applied in other parts of the State,
                        including in Rensselaer County where petitioners reside.
                           To the contrary, amici tell us that New York’s licensing
                        regime is purposefully flexible: It allows counties and cities
                        to respond to the particular needs and challenges of each
                        area. See Brief for American Bar Association as Amicus
                        Curiae 12; Brief for City of New York as Amicus Curiae 20–
                        29. Amici suggest that some areas may interpret words
                        such as “proper cause” or “special need” more or less
                        strictly, depending upon each area’s unique circumstances.
                        See ibid. New York City, for example, reports that it “has
                        applied the [proper cause] requirement relatively rigor-
                        ously” because its densely populated urban areas pose a
                        heightened risk of gun violence. Brief for City of New York




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                        as Amicus Curiae 20. In comparison, other (perhaps more
                        rural) counties “have tailored the requirement to their own
                        circumstances, often issuing concealed-carry licenses more
                        freely than the City.” Ibid.; see also In re O’Connor, 154
                        Misc. 2d, at 698, 585 N. Y. S. 2d, at 1004 (“The circum-
                        stances which exist in New York City are significantly dif-
                        ferent than those which exist in Oswego or Putnam Coun-
                        ties. . . . The licensing officers in each county are in the best
                        position to determine whether any interest of the popula-
                        tion of their county is furthered by the use of restrictions on
                        pistol licenses”); Brief for Citizens Crime Commission of
                        New York City as Amicus Curiae 18–19. Given the geo-
                        graphic variation across the State, it is too sweeping for the
                        Court to suggest, without an evidentiary record, that the
                        proper cause standard is “demanding” in Rensselaer
                        County merely because it may be so in New York City.
                           Finally, the Court compares New York’s licensing regime
                        to that of other States. Ante, at 4–6. It says that New
                        York’s law is a “may issue” licensing regime, which the
                        Court describes as a law that provides licensing officers
                        greater discretion to grant or deny licenses than a “shall is-
                        sue” licensing regime. Ante, at 4–5. Because the Court
                        counts 43 “shall issue” jurisdictions and only 7 “may issue”
                        jurisdictions, it suggests that New York’s law is an outlier.
                        Ibid.; see also ante, at 1–2 (KAVANAUGH, J., concurring).
                        Implicitly, the Court appears to ask, if so many other States
                        have adopted the more generous “shall issue” approach,
                        why can New York not be required to do the same?
                           But the Court’s tabulation, and its implicit question,
                        overlook important context. In drawing a line between
                        “may issue” and “shall issue” licensing regimes, the Court
                        ignores the degree of variation within and across these cat-
                        egories. Not all “may issue” regimes are necessarily alike,
                        nor are all “shall issue” regimes. Conversely, not all “may
                        issue” regimes are as different from the “shall issue” re-




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                        gimes as the Court assumes. For instance, the Court rec-
                        ognizes in a footnote that three States (Connecticut, Dela-
                        ware, and Rhode Island) have statutes with discretionary
                        criteria, like so-called “may issue” regimes do. Ante, at 5,
                        n. 1. But the Court nonetheless counts them among the 43
                        “shall issue” jurisdictions because, it says, these three
                        States’ laws operate in practice more like “shall issue” re-
                        gimes. Ibid.; see also Brief for American Bar Association as
                        Amicus Curiae 10 (recognizing, conversely, that some “shall
                        issue” States, e.g., Alabama, Colorado, Georgia, Oregon,
                        and Virginia, still grant some degree of discretion to licens-
                        ing authorities).
                          As these three States demonstrate, the line between “may
                        issue” and “shall issue” regimes is not as clear cut as the
                        Court suggests, and that line depends at least in part on
                        how statutory discretion is applied in practice. Here, be-
                        cause the Court strikes down New York’s law without af-
                        fording the State an opportunity to develop an evidentiary
                        record, we do not know how much discretion licensing offic-
                        ers in New York have in practice or how that discretion is
                        exercised, let alone how the licensing regimes in the other
                        six “may issue” jurisdictions operate.
                          Even accepting the Court’s line between “may issue” and
                        “shall issue” regimes and assuming that its tally (7 “may
                        issue” and 43 “shall issue” jurisdictions) is correct, that
                        count does not support the Court’s implicit suggestion that
                        the seven “may issue” jurisdictions are somehow outliers or
                        anomalies. The Court’s count captures only a snapshot in
                        time. It forgets that “shall issue” licensing regimes are a
                        relatively recent development. Until the 1980s, “may issue”
                        regimes predominated. See id., at 9; R. Grossman & S. Lee,
                        May Issue Versus Shall Issue: Explaining the Pattern of
                        Concealed-Carry Handgun Laws, 1960–2001, 26 Contemp.
                        Econ. Pol’y 198, 200 (2008) (Grossman). As of 1987, 16
                        States and the District of Columbia prohibited concealed




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                        carriage outright, 26 States had “may issue” licensing re-
                        gimes, 7 States had “shall issue” regimes, and 1 State (Ver-
                        mont) allowed concealed carriage without a permit. Con-
                        gressional Research Service, Gun Control: Concealed Carry
                        Legislation in the 115th Congress 1 (Jan. 30, 2018). Thus,
                        it has only been in the last few decades that States have
                        shifted toward “shall issue” licensing laws. Prior to that,
                        most States operated “may issue” licensing regimes without
                        legal or practical problem.
                           Moreover, even considering, as the Court does, only the
                        present state of play, its tally provides an incomplete pic-
                        ture because it accounts for only the number of States with
                        “may issue” regimes, not the number of people governed by
                        those regimes. By the Court’s count, the seven “may issue”
                        jurisdictions are New York, California, Hawaii, Maryland,
                        Massachusetts, New Jersey, and the District of Columbia.
                        Ante, at 5–6. Together, these seven jurisdictions comprise
                        about 84.4 million people and account for over a quarter of
                        the country’s population. U. S. Census Bureau, 2020 Pop-
                        ulation and Housing State Data (Aug. 12, 2021) (2020
                        Population), https://www.census.gov/library/visualizations/
                        interactive/2020-population-and-housing-state-data.html.
                        Thus, “may issue” laws can hardly be described as a mar-
                        ginal or outdated regime.
                           And there are good reasons why these seven jurisdictions
                        may have chosen not to follow other States in shifting to-
                        ward “shall issue” regimes. The seven remaining “may is-
                        sue” jurisdictions are among the most densely populated in
                        the United States: the District of Columbia (with an aver-
                        age of 11,280.0 people/square mile in 2020), New Jersey
                        (1,263.0), Massachusetts (901.2), Maryland (636.1), New
                        York (428.7), California (253.7), and Hawaii (226.6). U. S.
                        Census Bureau, Historical Population Density (1910–2020)
                        (Apr. 26, 2001), https://www.census.gov/data/tables/time-
                        series/dec/density-data-text.html. In comparison, the aver-
                        age population density of the United States as a whole is




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                        93.8 people/square mile, and some States have population
                        densities as low as 1.3 (Alaska), 5.9 (Wyoming), and 7.4
                        (Montana) people/square mile. Ibid. These numbers reflect
                        in part the fact that these “may issue” jurisdictions contain
                        some of the country’s densest and most populous urban ar-
                        eas, e.g., New York City, Los Angeles, San Francisco, the
                        District of Columbia, Honolulu, and Boston. U. S. Census
                        Bureau, Urban Area Facts (Oct. 8, 2021), https://www.census
                        . gov/programs-surveys/geography/guidance/geo-areas/
                        urban-rural/ua-facts.html. New York City, for example, has
                        a population of about 8.5 million people, making it more
                        populous than 38 States, and it squeezes that population
                        into just over 300 square miles. Quick Facts: New York
                        City; 2020 Population; Brief for City of New York as Amicus
                        Curiae 8, 22.
                           As I explained above, supra, at 8–9, densely populated
                        urban areas face different kinds and degrees of dangers
                        from gun violence than rural areas. It is thus easy to see
                        why the seven “may issue” jurisdictions might choose to reg-
                        ulate firearm carriage more strictly than other States. See
                        Grossman 199 (“We find strong evidence that more urban
                        states are less likely to shift to ‘shall issue’ than rural
                        states”).
                           New York and its amici present substantial data justify-
                        ing the State’s decision to retain a “may issue” licensing re-
                        gime. The data show that stricter gun regulations are as-
                        sociated with lower rates of firearm-related death and
                        injury. See, e.g., Brief for Citizens Crime Commission of
                        New York City as Amicus Curiae 9–11; Brief for Former
                        Major City Police Chiefs as Amici Curiae 9–12; Brief for Ed-
                        ucational Fund 25–28; Brief for Social Scientists et al. as
                        Amici Curiae 9–19. In particular, studies have shown that
                        “may issue” licensing regimes, like New York’s, are associ-
                        ated with lower homicide rates and lower violent crime
                        rates than “shall issue” licensing regimes. For example, one
                        study compared homicide rates across all 50 States during




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                        the 25-year period from 1991 to 2015 and found that “shall
                        issue” laws were associated with 6.5% higher total homicide
                        rates, 8.6% higher firearm homicide rates, and 10.6%
                        higher handgun homicide rates. Siegel, 107 Am. J. Pub.
                        Health, at 1924–1925, 1927. Another study longitudinally
                        followed 33 States that had adopted “shall-issue” laws be-
                        tween 1981 and 2007 and found that the adoption of those
                        laws was associated with a 13%–15% increase in rates of
                        violent crime after 10 years. Donohue, 16 J. Empirical Le-
                        gal Studies, at 200, 240. Numerous other studies show sim-
                        ilar results. See, e.g., Siegel, 36 J. Rural Health, at 261
                        (finding that “may issue” laws are associated with 17%
                        lower firearm homicide rates in large cities); C. Crifasi et
                        al., Association Between Firearm Laws and Homicide in
                        Urban Counties, 95 J. Urb. Health 383, 387 (2018) (finding
                        that “shall issue” laws are associated with a 4% increase in
                        firearm homicide rates in urban counties); M. Doucette, C.
                        Crifasi, & S. Frattaroli, Right-to-Carry Laws and Firearm
                        Workplace Homicides: A Longitudinal Analysis (1992–
                        2017), 109 Am. J. Pub. Health 1747, 1751 (Dec. 2019) (find-
                        ing that States with “shall issue” laws between 1992 and
                        2017 experienced 29% higher rates of firearm-related work-
                        place homicides); Brief for Social Scientists et al. as Amici
                        Curiae 15–16, and nn. 17–20 (citing “thirteen . . . empirical
                        papers from just the last few years linking [“shall issue”]
                        laws to higher violent crime”).
                           JUSTICE ALITO points to competing empirical evidence
                        that arrives at a different conclusion. Ante, at 3, n. 1 (con-
                        curring opinion). But these types of disagreements are ex-
                        actly the sort that are better addressed by legislatures than
                        courts. The Court today restricts the ability of legislatures
                        to fulfill that role. It does so without knowing how New
                        York’s law is administered in practice, how much discretion
                        licensing officers in New York possess, or whether the
                        proper cause standard differs across counties. And it does
                        so without giving the State an opportunity to develop the




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                        evidentiary record to answer those questions. Yet it strikes
                        down New York’s licensing regime as a violation of the Sec-
                        ond Amendment.
                                                      III
                                                       A
                           How does the Court justify striking down New York’s law
                        without first considering how it actually works on the
                        ground and what purposes it serves? The Court does so by
                        purporting to rely nearly exclusively on history. It requires
                        “the government [to] affirmatively prove that its firearms
                        regulation is part of the historical tradition that delimits
                        the outer bounds of ‘the right to keep and bear arms.’ ” Ante,
                        at 10. Beyond this historical inquiry, the Court refuses to
                        employ what it calls “means-end scrutiny.” Ibid. That is,
                        it refuses to consider whether New York has a compelling
                        interest in regulating the concealed carriage of handguns or
                        whether New York’s law is narrowly tailored to achieve that
                        interest. Although I agree that history can often be a useful
                        tool in determining the meaning and scope of constitutional
                        provisions, I believe the Court’s near-exclusive reliance on
                        that single tool today goes much too far.
                           The Court concedes that no Court of Appeals has adopted
                        its rigid history-only approach. See ante, at 8. To the con-
                        trary, every Court of Appeals to have addressed the ques-
                        tion has agreed on a two-step framework for evaluating
                        whether a firearm regulation is consistent with the Second
                        Amendment. Ibid.; ante, at 10, n. 4 (majority opinion) (list-
                        ing cases from the First, Second, Third, Fourth, Fifth,
                        Sixth, Seventh, Ninth, Tenth, Eleventh, and D. C. Circuits).
                        At the first step, the Courts of Appeals use text and history
                        to determine “whether the regulated activity falls within
                        the scope of the Second Amendment.” Ezell v. Chicago, 846
                        F. 3d 888, 892 (CA7 2017). If it does, they go on to the sec-
                        ond step and consider “ ‘the strength of the government’s
                        justification for restricting or regulating’ ” the Second




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                        Amendment right. Ibid. In doing so, they apply a level of
                        “means-ends” scrutiny “that is proportionate to the severity
                        of the burden that the law imposes on the right”: strict scru-
                        tiny if the burden is severe, and intermediate scrutiny if it
                        is not. National Rifle Assn. of Am., Inc. v. Bureau of Alco-
                        hol, Tobacco, Firearms, and Explosives, 700 F. 3d 185, 195,
                        198, 205 (CA5 2012).
                           The Court today replaces the Courts of Appeals’ consen-
                        sus framework with its own history-only approach. That is
                        unusual. We do not normally disrupt settled consensus
                        among the Courts of Appeals, especially not when that con-
                        sensus approach has been applied without issue for over a
                        decade. See Brief for Second Amendment Law Professors
                        as Amici Curiae 4, 13–15; see also this Court’s Rule 10. The
                        Court attempts to justify its deviation from our normal
                        practice by claiming that the Courts of Appeals’ approach is
                        inconsistent with Heller. See ante, at 10. In doing so, the
                        Court implies that all 11 Courts of Appeals that have con-
                        sidered this question misread Heller.
                           To the contrary, it is this Court that misreads Heller. The
                        opinion in Heller did focus primarily on “constitutional text
                        and history,” ante, at 13 (majority opinion), but it did not
                        “rejec[t] . . . means-end scrutiny,” as the Court claims, ante,
                        at 15. Consider what the Heller Court actually said. True,
                        the Court spent many pages in Heller discussing the text
                        and historical context of the Second Amendment. 554 U. S.,
                        at 579–619. But that is not surprising because the Heller
                        Court was asked to answer the preliminary question
                        whether the Second Amendment right to “bear Arms” en-
                        compasses an individual right to possess a firearm in the
                        home for self-defense. Id., at 577. The Heller Court con-
                        cluded that the Second Amendment’s text and history were
                        sufficiently clear to resolve that question: The Second
                        Amendment, it said, does include such an individual right.
                        Id., at 579–619. There was thus no need for the Court to go
                        further—to look beyond text and history, or to suggest what




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                        analysis would be appropriate in other cases where the text
                        and history are not clear.
                           But the Heller Court did not end its opinion with that
                        preliminary question. After concluding that the Second
                        Amendment protects an individual right to possess a fire-
                        arm for self-defense, the Heller Court added that that right
                        is “not unlimited.” Id., at 626. It thus had to determine
                        whether the District of Columbia’s law, which banned
                        handgun possession in the home, was a permissible regula-
                        tion of the right. Id., at 628–630. In answering that second
                        question, it said: “Under any of the standards of scrutiny
                        that we have applied to enumerated constitutional rights,
                        banning from the home ‘the most preferred firearm in the
                        nation to “keep” and use for protection of one’s home and
                        family’ would fail constitutional muster.” Id., at 628–629
                        (emphasis added; footnote and citation omitted). That lan-
                        guage makes clear that the Heller Court understood some
                        form of means-end scrutiny to apply. It did not need to spec-
                        ify whether that scrutiny should be intermediate or strict
                        because, in its view, the District’s handgun ban was so “se-
                        vere” that it would have failed either level of scrutiny. Id.,
                        at 628–629; see also id., at 628, n. 27 (clarifying that ra-
                        tional-basis review was not the proper level of scrutiny).
                           Despite Heller’s express invocation of means-end scru-
                        tiny, the Court today claims that the majority in Heller re-
                        jected means-end scrutiny because it rejected my dissent in
                        that case. But that argument misreads both my dissent and
                        the majority opinion. My dissent in Heller proposed directly
                        weighing “the interests protected by the Second Amend-
                        ment on one side and the governmental public-safety con-
                        cerns on the other.” Id., at 689. I would have asked
                        “whether the statute burdens a protected interest in a way
                        or to an extent that is out of proportion to the statute’s sal-
                        utary effects upon other important governmental inter-
                        ests.” Id., at 689–690. The majority rejected my dissent,




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                        not because I proposed using means-end scrutiny, but be-
                        cause, in its view, I had done the opposite. In its own words,
                        the majority faulted my dissent for proposing “a freestand-
                        ing ‘interest-balancing’ approach” that accorded with “none
                        of the traditionally expressed levels [of scrutiny] (strict scru-
                        tiny, intermediate scrutiny, rational basis).” Id., at 634
                        (emphasis added).
                           The majority further made clear that its rejection of free-
                        standing interest balancing did not extend to traditional
                        forms of means-end scrutiny. It said: “We know of no other
                        enumerated constitutional right whose core protection has
                        been subjected to a freestanding ‘interest-balancing’ ap-
                        proach.” Ibid. To illustrate this point, it cited as an exam-
                        ple the First Amendment right to free speech. Id., at 635.
                        Judges, of course, regularly use means-end scrutiny, includ-
                        ing both strict and intermediate scrutiny, when they inter-
                        pret or apply the First Amendment. See, e.g., United States
                        v. Playboy Entertainment Group, Inc., 529 U. S. 803, 813
                        (2000) (applying strict scrutiny); Turner Broadcasting Sys-
                        tem, Inc. v. FCC, 520 U. S. 180, 186, 189–190 (1997) (apply-
                        ing intermediate scrutiny). The majority therefore cannot
                        have intended its opinion, consistent with our First Amend-
                        ment jurisprudence, to be read as rejecting all traditional
                        forms of means-end scrutiny.
                           As Heller’s First Amendment example illustrates, the
                        Court today is wrong when it says that its rejection of
                        means-end scrutiny and near-exclusive focus on history “ac-
                        cords with how we protect other constitutional rights.”
                        Ante, at 15. As the Court points out, we do look to history
                        in the First Amendment context to determine “whether the
                        expressive conduct falls outside of the category of protected
                        speech.” Ibid. But, if conduct falls within a category of pro-
                        tected speech, we then use means-end scrutiny to deter-
                        mine whether a challenged regulation unconstitutionally
                        burdens that speech. And the degree of scrutiny we apply




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                        often depends on the type of speech burdened and the se-
                        verity of the burden. See, e.g., Arizona Free Enterprise
                        Club’s Freedom Club PAC v. Bennett, 564 U. S. 721, 734
                        (2011) (applying strict scrutiny to laws that burden political
                        speech); Ward v. Rock Against Racism, 491 U. S. 781, 791
                        (1989) (applying intermediate scrutiny to time, place, and
                        manner restrictions); Central Hudson Gas & Elec. Corp. v.
                        Public Serv. Comm’n of N. Y., 447 U. S. 557, 564–566 (1980)
                        (applying intermediate scrutiny to laws that burden com-
                        mercial speech).
                           Additionally, beyond the right to freedom of speech, we
                        regularly use means-end scrutiny in cases involving other
                        constitutional provisions. See, e.g., Church of Lukumi Ba-
                        balu Aye, Inc. v. Hialeah, 508 U. S. 520, 546 (1993) (apply-
                        ing strict scrutiny under the First Amendment to laws that
                        restrict free exercise of religion in a way that is not neutral
                        and generally applicable); Adarand Constructors, Inc. v.
                        Peña, 515 U. S. 200, 227 (1995) (applying strict scrutiny un-
                        der the Equal Protection Clause to race-based classifica-
                        tions); Clark v. Jeter, 486 U. S. 456, 461 (1988) (applying
                        intermediate scrutiny under the Equal Protection Clause to
                        sex-based classifications); see also Virginia v. Moore, 553
                        U. S. 164, 171 (2008) (“When history has not provided a con-
                        clusive answer, we have analyzed a search or seizure in
                        light of traditional standards of reasonableness”).
                           The upshot is that applying means-end scrutiny to laws
                        that regulate the Second Amendment right to bear arms
                        would not create a constitutional anomaly. Rather, it is the
                        Court’s rejection of means-end scrutiny and adoption of a
                        rigid history-only approach that is anomalous.
                                                     B
                          The Court’s near-exclusive reliance on history is not only
                        unnecessary, it is deeply impractical. It imposes a task on
                        the lower courts that judges cannot easily accomplish.
                        Judges understand well how to weigh a law’s objectives (its




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                        “ends”) against the methods used to achieve those objec-
                        tives (its “means”). Judges are far less accustomed to re-
                        solving difficult historical questions. Courts are, after all,
                        staffed by lawyers, not historians. Legal experts typically
                        have little experience answering contested historical ques-
                        tions or applying those answers to resolve contemporary
                        problems.
                           The Court’s insistence that judges and lawyers rely
                        nearly exclusively on history to interpret the Second
                        Amendment thus raises a host of troubling questions. Con-
                        sider, for example, the following. Do lower courts have the
                        research resources necessary to conduct exhaustive histor-
                        ical analyses in every Second Amendment case? What his-
                        torical regulations and decisions qualify as representative
                        analogues to modern laws? How will judges determine
                        which historians have the better view of close historical
                        questions? Will the meaning of the Second Amendment
                        change if or when new historical evidence becomes availa-
                        ble? And, most importantly, will the Court’s approach per-
                        mit judges to reach the outcomes they prefer and then cloak
                        those outcomes in the language of history? See S. Cornell,
                        Heller, New Originalism, and Law Office History: “Meet the
                        New Boss, Same as the Old Boss,” 56 UCLA L. Rev. 1095,
                        1098 (2009) (describing “law office history” as “a results ori-
                        ented methodology in which evidence is selectively gath-
                        ered and interpreted to produce a preordained conclusion”).
                           Consider Heller itself. That case, fraught with difficult
                        historical questions, illustrates the practical problems with
                        expecting courts to decide important constitutional ques-
                        tions based solely on history. The majority in Heller under-
                        took 40 pages of textual and historical analysis and con-
                        cluded that the Second Amendment’s protection of the right
                        to “keep and bear Arms” historically encompassed an “indi-
                        vidual right to possess and carry weapons in case of con-
                        frontation”—that is, for self-defense. 554 U. S., at 592; see
                        also id., at 579–619. Justice Stevens’ dissent conducted an




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                        equally searching textual and historical inquiry and con-
                        cluded, to the contrary, that the term “bear Arms” was an
                        idiom that protected only the right “to use and possess arms
                        in conjunction with service in a well-regulated militia.” Id.,
                        at 651. I do not intend to relitigate Heller here. I accept its
                        holding as a matter of stare decisis. I refer to its historical
                        analysis only to show the difficulties inherent in answering
                        historical questions and to suggest that judges do not have
                        the expertise needed to answer those questions accurately.
                           For example, the Heller majority relied heavily on its in-
                        terpretation of the English Bill of Rights. Citing Black-
                        stone, the majority claimed that the English Bill of Rights
                        protected a “ ‘right of having and using arms for self-preser-
                        vation and defence.’ ” Id., at 594 (quoting 1 Commentaries
                        on the Laws of England 140 (1765)). The majority inter-
                        preted that language to mean a private right to bear arms
                        for self-defense, “having nothing whatever to do with ser-
                        vice in a militia.” 554 U. S., at 593. Two years later, how-
                        ever, 21 English and early American historians (including
                        experts at top universities) told us in McDonald v. Chicago,
                        561 U. S. 742 (2010), that the Heller Court had gotten the
                        history wrong: The English Bill of Rights “did not . . . pro-
                        tect an individual’s right to possess, own, or use arms for
                        private purposes such as to defend a home against bur-
                        glars.” Brief for English/Early American Historians as
                        Amici Curiae in McDonald v. Chicago, O. T. 2009, No. 08–
                        1521, p. 2. Rather, these amici historians explained, the
                        English right to “have arms” ensured that the Crown could
                        not deny Parliament (which represented the people) the
                        power to arm the landed gentry and raise a militia—or the
                        right of the people to possess arms to take part in that mi-
                        litia—“should the sovereign usurp the laws, liberties, es-
                        tates, and Protestant religion of the nation.” Id., at 2–3.
                        Thus, the English right did protect a right of “self-preserva-
                        tion and defence,” as Blackstone said, but that right “was to




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                        be exercised not by individuals acting privately or inde-
                        pendently, but as a militia organized by their elected repre-
                        sentatives,” i.e., Parliament. Id., at 7–8. The Court, not an
                        expert in history, had misread Blackstone and other
                        sources explaining the English Bill of Rights.
                           And that was not the Heller Court’s only questionable
                        judgment. The majority rejected Justice Stevens’ argument
                        that the Second Amendment’s use of the words “bear Arms”
                        drew on an idiomatic meaning that, at the time of the
                        founding, commonly referred to military service. 554 U. S.,
                        at 586. Linguistics experts now tell us that the majority
                        was wrong to do so. See, e.g., Brief for Corpus Linguistics
                        Professors and Experts as Amici Curiae (Brief for Linguis-
                        tics Professors); Brief for Neal Goldfarb as Amicus Curiae;
                        Brief for Americans Against Gun Violence as Amicus Cu-
                        riae 13–15. Since Heller was decided, experts have
                        searched over 120,000 founding-era texts from between
                        1760 and 1799, as well as 40,000 texts from sources dating
                        as far back as 1475, for historical uses of the phrase “bear
                        arms,” and they concluded that the phrase was overwhelm-
                        ingly used to refer to “ ‘war, soldiering, or other forms of
                        armed action by a group rather than an individual.’ ” Brief
                        for Linguistics Professors 11, 14; see also D. Baron, Corpus
                        Evidence Illuminates the Meaning of Bear Arms, 46 Has-
                        tings Const. L. Q. 509, 510 (2019) (“Non-military uses of
                        bear arms in reference to hunting or personal self-defense
                        are not just rare, they are almost nonexistent”); id., at 510–
                        511 (reporting 900 instances in which “bear arms” was used
                        to refer to military or collective use of firearms and only 7
                        instances that were either ambiguous or without a military
                        connotation).
                           These are just two examples. Other scholars have con-
                        tinued to write books and articles arguing that the Court’s
                        decision in Heller misread the text and history of the Second
                        Amendment. See generally, e.g., M. Waldman, The Second
                        Amendment (2014); S. Cornell, The Changing Meaning of




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                        the Right To Keep and Bear Arms: 1688–1788, in Guns in
                        Law 20–27 (A. Sarat, L. Douglas, & M. Umphrey eds. 2019);
                        P. Finkelman, The Living Constitution and the Second
                        Amendment: Poor History, False Originalism, and a Very
                        Confused Court, 37 Cardozo L. Rev. 623 (2015); D. Walker,
                        Necessary to the Security of Free States: The Second
                        Amendment as the Auxiliary Right of Federalism, 56 Am.
                        J. Legal Hist. 365 (2016); W. Merkel, Heller as Hubris, and
                        How McDonald v. City of Chicago May Well Change the
                        Constitutional World as We Know It, 50 Santa Clara L.
                        Rev. 1221 (2010).
                           I repeat that I do not cite these arguments in order to
                        relitigate Heller. I wish only to illustrate the difficulties
                        that may befall lawyers and judges when they attempt to
                        rely solely on history to interpret the Constitution. In Hel-
                        ler, we attempted to determine the scope of the Second
                        Amendment right to bear arms by conducting a historical
                        analysis, and some of us arrived at very different conclu-
                        sions based on the same historical sources. Many experts
                        now tell us that the Court got it wrong in a number of ways.
                        That is understandable given the difficulty of the inquiry
                        that the Court attempted to undertake. The Court’s past
                        experience with historical analysis should serve as a warn-
                        ing against relying exclusively, or nearly exclusively, on
                        this mode of analysis in the future.
                           Failing to heed that warning, the Court today does just
                        that. Its near-exclusive reliance on history will pose a num-
                        ber of practical problems. First, the difficulties attendant
                        to extensive historical analysis will be especially acute in
                        the lower courts. The Court’s historical analysis in this case
                        is over 30 pages long and reviews numerous original
                        sources from over 600 years of English and American his-
                        tory. Ante, at 30–62. Lower courts—especially district
                        courts—typically have fewer research resources, less assis-
                        tance from amici historians, and higher caseloads than we
                        do. They are therefore ill equipped to conduct the type of




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                        searching historical surveys that the Court’s approach re-
                        quires. Tellingly, even the Courts of Appeals that have ad-
                        dressed the question presented here (namely, the constitu-
                        tionality of public carriage restrictions like New York’s)
                        “have, in large part, avoided extensive historical analysis.”
                        Young v. Hawaii, 992 F. 3d 765, 784–785 (CA9 2021) (col-
                        lecting cases). In contrast, lawyers and courts are well
                        equipped to administer means-end scrutiny, which is regu-
                        larly applied in a variety of constitutional contexts, see su-
                        pra, at 24–25.
                           Second, the Court’s opinion today compounds these prob-
                        lems, for it gives the lower courts precious little guidance
                        regarding how to resolve modern constitutional questions
                        based almost solely on history. See, e.g., ante, at 1
                        (BARRETT, J., concurring) (“highlight[ing] two methodologi-
                        cal points that the Court does not resolve”). The Court de-
                        clines to “provide an exhaustive survey of the features that
                        render regulations relevantly similar under the Second
                        Amendment.” Ante, at 20. Other than noting that its his-
                        tory-only analysis is “neither a . . . straightjacket nor a . . .
                        blank check,” the Court offers little explanation of how
                        stringently its test should be applied. Ante, at 21. Ironi-
                        cally, the only two “relevan[t]” metrics that the Court does
                        identify are “how and why” a gun control regulation “bur-
                        den[s the] right to armed self-defense.” Ante, at 20. In
                        other words, the Court believes that the most relevant met-
                        rics of comparison are a regulation’s means (how) and ends
                        (why)—even as it rejects the utility of means-end scrutiny.
                           What the Court offers instead is a laundry list of reasons
                        to discount seemingly relevant historical evidence. The
                        Court believes that some historical laws and decisions can-
                        not justify upholding modern regulations because, it says,
                        they were outliers. It explains that just two court decisions
                        or three colonial laws are not enough to satisfy its test.
                        Ante, at 37, 57. But the Court does not say how many cases
                        or laws would suffice “to show a tradition of public-carry




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                        regulation.” Ante, at 37. Other laws are irrelevant, the
                        Court claims, because they are too dissimilar from New
                        York’s concealed-carry licensing regime. See, e.g., ante, at
                        48–49. But the Court does not say what “representative
                        historical analogue,” short of a “twin” or a “dead ringer,”
                        would suffice. See ante, at 21 (emphasis deleted). Indeed,
                        the Court offers many and varied reasons to reject potential
                        representative analogues, but very few reasons to accept
                        them. At best, the numerous justifications that the Court
                        finds for rejecting historical evidence give judges ample
                        tools to pick their friends out of history’s crowd. At worst,
                        they create a one-way ratchet that will disqualify virtually
                        any “representative historical analogue” and make it nearly
                        impossible to sustain common-sense regulations necessary
                        to our Nation’s safety and security.
                           Third, even under ideal conditions, historical evidence
                        will often fail to provide clear answers to difficult questions.
                        As an initial matter, many aspects of the history of firearms
                        and their regulation are ambiguous, contradictory, or dis-
                        puted. Unsurprisingly, the extent to which colonial stat-
                        utes enacted over 200 years ago were actually enforced, the
                        basis for an acquittal in a 17th-century decision, and the
                        interpretation of English laws from the Middle Ages (to
                        name just a few examples) are often less than clear. And
                        even historical experts may reach conflicting conclusions
                        based on the same sources. Compare, e.g., P. Charles, The
                        Faces of the Second Amendment Outside the Home: History
                        Versus Ahistorical Standards of Review, 60 Clev. St. L. Rev.
                        1, 14 (2012), with J. Malcolm, To Keep and Bear Arms: The
                        Origins of an Anglo-American Right 104 (1994). As a result,
                        history, as much as any other interpretive method, leaves
                        ample discretion to “loo[k] over the heads of the [crowd] for
                        one’s friends.” A. Scalia & B. Garner, Reading Law: The
                        Interpretation of Legal Texts 377 (2012).
                           Fourth, I fear that history will be an especially inade-




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                        quate tool when it comes to modern cases presenting mod-
                        ern problems. Consider the Court’s apparent preference for
                        founding-era regulation. See ante, at 25–28. Our country
                        confronted profoundly different problems during that time
                        period than it does today. Society at the founding was “pre-
                        dominantly rural.” C. McKirdy, Misreading the Past: The
                        Faulty Historical Basis Behind the Supreme Court’s Deci-
                        sion in District of Columbia v. Heller, 45 Capital U. L. Rev.
                        107, 151 (2017). In 1790, most of America’s relatively small
                        population of just four million people lived on farms or in
                        small towns. Ibid. Even New York City, the largest Amer-
                        ican city then, as it is now, had a population of just 33,000
                        people. Ibid. Small founding-era towns are unlikely to
                        have faced the same degrees and types of risks from gun
                        violence as major metropolitan areas do today, so the types
                        of regulations they adopted are unlikely to address modern
                        needs. Id., at 152 (“For the most part, a population living
                        on farms and in very small towns did not create conditions
                        in which firearms created a significant danger to the public
                        welfare”); see also supra, at 8–9.
                           This problem is all the more acute when it comes to “mod-
                        ern-day circumstances that [the Framers] could not have
                        anticipated.” Heller, 554 U. S., at 721–722 (BREYER, J., dis-
                        senting). How can we expect laws and cases that are over
                        a century old to dictate the legality of regulations targeting
                        “ghost guns” constructed with the aid of a three-dimen-
                        sional printer? See, e.g., White House Briefing Room, FACT
                        SHEET: The Biden Administration Cracks Down on Ghost
                        Guns, Ensures That ATF Has the Leadership It Needs
                        To Enforce Our Gun Laws (Apr. 11, 2022), https://
                        whitehouse.gov/briefing-room/statements-releases/2022/
                        04/11/fact-sheet-the-biden-administration-cracks-down-
                        on-ghost-guns-ensures-that-atf-has-the-leadership-it-
                        needs-to-enforce-our-gun-laws/. Or modern laws requiring
                        all gun shops to offer smart guns, which can only be fired
                        by authorized users? See, e.g., N. J. Stat. Ann. §2C:58–




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                        2.10(a) (West Cum. Supp. 2022). Or laws imposing addi-
                        tional criminal penalties for the use of bullets capable of
                        piercing body armor? See, e.g., 18 U. S. C. §§921(a)(17)(B),
                        929(a).
                           The Court’s answer is that judges will simply have to em-
                        ploy “analogical reasoning.” Ante, at 19–20. But, as I ex-
                        plained above, the Court does not provide clear guidance on
                        how to apply such reasoning. Even seemingly straightfor-
                        ward historical restrictions on firearm use may prove sur-
                        prisingly difficult to apply to modern circumstances. The
                        Court affirms Heller’s recognition that States may forbid
                        public carriage in “sensitive places.” Ante, at 21–22. But
                        what, in 21st-century New York City, may properly be con-
                        sidered a sensitive place? Presumably “legislative assem-
                        blies, polling places, and courthouses,” which the Court
                        tells us were among the “relatively few” places “where
                        weapons were altogether prohibited” in the 18th and 19th
                        centuries. Ante, at 21. On the other hand, the Court also
                        tells us that “expanding the category of ‘sensitive places’
                        simply to all places of public congregation that are not iso-
                        lated from law enforcement defines th[at] category . . . far
                        too broadly.” Ante, at 22. So where does that leave the
                        many locations in a modern city with no obvious 18th- or
                        19th-century analogue? What about subways, nightclubs,
                        movie theaters, and sports stadiums? The Court does not
                        say.
                           Although I hope—fervently—that future courts will be
                        able to identify historical analogues supporting the validity
                        of regulations that address new technologies, I fear that it
                        will often prove difficult to identify analogous technological
                        and social problems from Medieval England, the founding
                        era, or the time period in which the Fourteenth Amendment
                        was ratified.      Laws addressing repeating crossbows,
                        launcegays, dirks, dagges, skeines, stilladers, and other an-
                        cient weapons will be of little help to courts confronting
                        modern problems. And as technological progress pushes




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                        our society ever further beyond the bounds of the Framers’
                        imaginations, attempts at “analogical reasoning” will be-
                        come increasingly tortured. In short, a standard that relies
                        solely on history is unjustifiable and unworkable.
                                                       IV
                            Indeed, the Court’s application of its history-only test in
                        this case demonstrates the very pitfalls described above.
                        The historical evidence reveals a 700-year Anglo-American
                        tradition of regulating the public carriage of firearms in
                        general, and concealed or concealable firearms in particu-
                        lar. The Court spends more than half of its opinion trying
                        to discredit this tradition. But, in my view, the robust evi-
                        dence of such a tradition cannot be so easily explained
                        away. Laws regulating the public carriage of weapons ex-
                        isted in England as early as the 13th century and on this
                        Continent since before the founding. Similar laws re-
                        mained on the books through the ratifications of the Second
                        and Fourteenth Amendments through to the present day.
                        Many of those historical regulations imposed significantly
                        stricter restrictions on public carriage than New York’s li-
                        censing requirements do today. Thus, even applying the
                        Court’s history-only analysis, New York’s law must be up-
                        held because “historical precedent from before, during, and
                        . . . after the founding evinces a comparable tradition of reg-
                        ulation.” Ante, at 18 (majority opinion) (internal quotation
                        marks omitted).
                                                  A. England.
                           The right codified by the Second Amendment was “ ‘inher-
                        ited from our English ancestors.’ ” Heller, 554 U. S., at 599
                        (quoting Robertson v. Baldwin, 165 U. S. 275, 281 (1897));
                        see also ante, at 30 (majority opinion). And some of Eng-
                        land’s earliest laws regulating the public carriage of weap-
                        ons were precursors of similar American laws enacted




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                        roughly contemporaneously with the ratification of the Sec-
                        ond Amendment. See infra, at 40–42. I therefore begin, as
                        the Court does, ante, at 30–31, with the English ancestors
                        of New York’s laws regulating public carriage of firearms.
                           The relevant English history begins in the late-13th and
                        early-14th centuries, when Edward I and Edward II issued
                        a series of orders to local sheriffs that prohibited any person
                        from “going armed.” See 4 Calendar of the Close Rolls, Ed-
                        ward I, 1296–1302, p. 318 (Sept. 15, 1299) (1906); id., at 588
                        (July 16, 1302); 5 id., Edward I, 1302–1307, at 210 (June
                        10, 1304) (1908); id., Edward II, 1307–1313, at 52 (Feb. 9,
                        1308) (1892); id., at 257 (Apr. 9, 1310); id., at 553 (Oct. 12,
                        1312); id., Edward II, 1323–1327, at 560 (Apr. 28, 1326)
                        (1898); 1 Calendar of Plea and Memoranda Rolls of the City
                        of London, 1323–1364, p. 15 (Nov. 1326) (A. Thomas ed.
                        1926). Violators were subject to punishment, including
                        “forfeiture of life and limb.” See, e.g., 4 Calendar of the
                        Close Rolls, Edward I, 1296–1302, at 318 (Sept. 15, 1299)
                        (1906). Many of these royal edicts contained exemptions for
                        persons who had obtained “the king’s special licence.” See
                        ibid.; 5 id., Edward I, 1302–1307, at 210 (June 10, 1304);
                        id., Edward II, 1307–1313, at 553 (Oct. 12, 1312); id., Ed-
                        ward II, 1323–1327, at 560 (Apr. 28, 1326). Like New
                        York’s law, these early edicts prohibited public carriage ab-
                        sent special governmental permission and enforced that
                        prohibition on pain of punishment.
                           The Court seems to suggest that these early regulations
                        are irrelevant because they were enacted during a time of
                        “turmoil” when “malefactors . . . harried the country, com-
                        mitting assaults and murders.” Ante, at 31 (internal quo-
                        tation marks omitted). But it would seem to me that what
                        the Court characterizes as a “right of armed self-defense”
                        would be more, rather than less, necessary during a time of
                        “turmoil.” Ante, at 20. The Court also suggests that laws
                        that were enacted before firearms arrived in England, like




                                                                                            (201)
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                        these early edicts and the subsequent Statute of Northamp-
                        ton, are irrelevant. Ante, at 32. But why should that be?
                        Pregun regulations prohibiting “going armed” in public il-
                        lustrate an entrenched tradition of restricting public car-
                        riage of weapons. That tradition seems as likely to apply to
                        firearms as to any other lethal weapons—particularly if we
                        follow the Court’s instruction to use analogical reasoning.
                        See ante, at 19–20. And indeed, as we shall shortly see, the
                        most significant prefirearm regulation of public carriage—
                        the Statute of Northampton—was in fact applied to guns
                        once they appeared in England. See Sir John Knight’s
                        Case, 3 Mod. 117, 87 Eng. Rep. 75, 76 (K. B. 1686)
                           The Statute of Northampton was enacted in 1328. 2 Edw.
                        3, 258, c. 3. By its terms, the statute made it a criminal
                        offense to carry arms without the King’s authorization. It
                        provided that, without such authorization, “no Man great
                        nor small, of what Condition soever he be,” could “go nor
                        ride armed by night nor by day, in Fairs, Markets, nor in
                        the presence of the Justices or other Ministers, nor in no
                        part elsewhere, upon pain to forfeit their Armour to the
                        King, and their Bodies to Prison at the King’s pleasure.”
                        Ibid. For more than a century following its enactment, Eng-
                        land’s sheriffs were routinely reminded to strictly enforce
                        the Statute of Northampton against those going armed
                        without the King’s permission. See Calendar of the Close
                        Rolls, Edward III, 1330–1333, at 131 (Apr. 3, 1330) (1898);
                        1 Calendar of the Close Rolls, Richard II, 1377–1381, at 34
                        (Dec. 1, 1377) (1914); 2 id., Richard II, 1381–1385, at 3
                        (Aug. 7, 1381) (1920); 3 id., Richard II, 1385–1389, at 128
                        (Feb. 6, 1386) (1921); id., at 399–400 (May 16, 1388); 4 id.,
                        Henry VI, 1441–1447, at 224 (May 12, 1444) (1937); see also
                        11 Tudor Royal Proclamations, The Later Tudors: 1553–
                        1587, pp. 442–445 (Proclamation 641, 21 Elizabeth I, July
                        26, 1579) (P. Hughes & J. Larkin eds. 1969).
                           The Court thinks that the Statute of Northampton “has
                        little bearing on the Second Amendment,” in part because




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                        it was “enacted . . . more than 450 years before the ratifica-
                        tion of the Constitution.” Ante, at 32. The statute, however,
                        remained in force for hundreds of years, well into the 18th
                        century. See 4 W. Blackstone, Commentaries 148–149
                        (1769) (“The offence of riding or going armed, with danger-
                        ous or unusual weapons, is a crime against the public peace,
                        by terrifying the good people of the land; and is particularly
                        prohibited by the Statute of Northampton” (first emphasis
                        in original, second emphasis added)). It was discussed in
                        the writings of Blackstone, Coke, and others. See ibid.; W.
                        Hawkins, 1 Pleas of the Crown 135 (1716) (Hawkins); E.
                        Coke, The Third Part of the Institutes of the Laws of Eng-
                        land 160 (1797). And several American Colonies and States
                        enacted restrictions modeled on the statute. See infra, at
                        40–42. There is thus every reason to believe that the Fram-
                        ers of the Second Amendment would have considered the
                        Statute of Northampton a significant chapter in the Anglo-
                        American tradition of firearms regulation.
                           The Court also believes that, by the end of the 17th cen-
                        tury, the Statute of Northampton was understood to con-
                        tain an extratextual intent element: the intent to cause ter-
                        ror in others. Ante, at 34–38, 41. The Court relies on two
                        sources that arguably suggest that view: a 1686 decision,
                        Sir John Knight’s Case, and a 1716 treatise written by Ser-
                        jeant William Hawkins. Ante, at 34–37. But other sources
                        suggest that carrying arms in public was prohibited because
                        it naturally tended to terrify the people. See, e.g., M. Dal-
                        ton, The Country Justice 282–283 (1690) (“[T]o wear Armor,
                        or Weapons not usually worn, . . . seems also be a breach,
                        or means of breach of the Peace . . . ; for they strike a fear
                        and terror in the People” (emphasis added)). According to
                        these sources, terror was the natural consequence—not an
                        additional element—of the crime.
                           I find this view more persuasive in large part because it
                        is not entirely clear that the two sources the Court relies on




                                                                                            (203)
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                        actually support the existence of an intent-to-terrify re-
                        quirement. Start with Sir John Knight’s Case, which, ac-
                        cording to the Court, considered Knight’s arrest for walking
                        “ ‘about the streets’ ” and into a church “ ‘armed with guns.’ ”
                        Ante, at 34 (quoting Sir John Knight’s Case, 3 Mod. 117, 87
                        Eng. Rep., at 76). The Court thinks that Knight’s acquittal
                        by a jury demonstrates that the Statute of Northampton
                        only prohibited public carriage of firearms with an intent to
                        terrify. Ante, at 34–35. But by now the legal significance
                        of Knight’s acquittal is impossible to reconstruct. Brief for
                        Patrick J. Charles as Amicus Curiae 23, n. 9. The primary
                        source describing the case (the English Reports) was noto-
                        riously incomplete at the time Sir John Knight’s Case was
                        decided. Id., at 24–25. And the facts that historians can
                        reconstruct do not uniformly support the Court’s interpre-
                        tation. The King’s Bench required Knight to pay a surety
                        to guarantee his future good behavior, so it may be more
                        accurate to think of the case as having ended in “a condi-
                        tional pardon” than acquittal. Young, 992 F. 3d, at 791; see
                        also Rex v. Sir John Knight, 1 Comb. 40, 90 Eng. Rep. 331
                        (K. B. 1686). And, notably, it appears that Knight based his
                        defense on his loyalty to the Crown, not a lack of intent to
                        terrify. 3 The Entring Book of Roger Morrice 1677–1691:
                        The Reign of James II, 1685–1687, pp. 307–308 (T. Harris
                        ed. 2007).
                            Similarly, the passage from the Hawkins treatise on
                        which the Court relies states that the Statute of Northamp-
                        ton’s prohibition on the public carriage of weapons did not
                        apply to the “wearing of Arms . . . unless it be accompanied
                        with such Circumstances as are apt to terrify the People.”
                        Hawkins 136. But Hawkins goes on to enumerate rela-
                        tively narrow circumstances where this exception applied:
                        when “Persons of Quality . . . wea[r] common Weapons, or
                        hav[e] their usual Number of Attendants with them, for
                        their Ornament or Defence, in such Places, and upon such
                        Occasions, in which it is the common Fashion to make use




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                        of them,” or to persons merely wearing “privy Coats of
                        Mail.” Ibid. It would make little sense if a narrow excep-
                        tion for nobility, see Oxford English Dictionary (3d ed., Dec.
                        2012), https://www.oed.com/view/Entry/155878 (defining
                        “quality,” A.I.5.a), and “privy coats of mail” were allowed to
                        swallow the broad rule that Hawkins (and other commen-
                        tators of his time) described elsewhere. That rule provided
                        that “there may be an Affray where there is no actual Vio-
                        lence; as where a Man arms himself with dangerous and
                        unusual Weapons, in such a Manner as will naturally cause
                        a Terror to the People, which is . . . strictly prohibited by
                        [the Statute of Northampton].” Hawkins 135. And it pro-
                        vided no exception for those who attempted to “excuse the
                        wearing such Armour in Publick, by alleging that . . . he
                        wears it for the Safety of his Person from . . . Assault.” Id.,
                        at 136. In my view, that rule announces the better reading
                        of the Statute of Northampton—as a broad prohibition on
                        the public carriage of firearms and other weapons, without
                        an intent-to-terrify requirement or exception for self-de-
                        fense.
                           Although the Statute of Northampton is particularly sig-
                        nificant because of its breadth, longevity, and impact on
                        American law, it was far from the only English restriction
                        on firearms or their carriage. See, e.g., 6 Hen. 8 c. 13, §1
                        (1514) (restricting the use and ownership of handguns); 25
                        Hen. 8 c. 17, §1 (1533) (same); 33 Hen. 8 c. 6, §§1–2 (1541)
                        (same); 25 Edw. 3, st. 5, c. 2 (1350) (making it a “Felony or
                        Trespass” to “ride armed covertly or secretly with Men of
                        Arms against any other, to slay him, or rob him, or take
                        him, or retain him till he hath made Fine or Ransom for to
                        have his Deliverance”) (brackets and footnote omitted).
                        Whatever right to bear arms we inherited from our English
                        forebears, it was qualified by a robust tradition of public
                        carriage regulations.
                           As I have made clear, I am not a historian. But if the
                        foregoing facts, which historians and other scholars have




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                        presented to us, are even roughly correct, it is difficult to
                        see how the Court can believe that English history fails to
                        support legal restrictions on the public carriage of firearms.
                                               B. The Colonies.
                           The American Colonies continued the English tradition
                        of regulating public carriage on this side of the Atlantic. In
                        1686, the colony of East New Jersey passed a law providing
                        that “no person or persons . . . shall presume privately to
                        wear any pocket pistol, skeines, stilladers, daggers or dirks,
                        or other unusual or unlawful weapons within this Prov-
                        ince.” An Act Against Wearing Swords, &c., ch. 9, in
                        Grants, Concessions, and Original Constitutions of the
                        Province of New Jersey 290 (2d ed. 1881). East New Jersey
                        also specifically prohibited “planter[s]” from “rid[ing] or
                        go[ing] armed with sword, pistol, or dagger.” Ibid. Massa-
                        chusetts Bay and New Hampshire followed suit in 1692 and
                        1771, respectively, enacting laws that, like the Statute of
                        Northampton, provided that those who went “armed Offen-
                        sively” could be punished. An Act for the Punishing of
                        Criminal Offenders, 1692 Mass. Acts and Laws no. 6, pp.
                        11–12; An Act for the Punishing of Criminal Offenders,
                        1771 N. H. Acts and Laws ch. 6, §5, p. 17.
                           It is true, as the Court points out, that these laws were
                        only enacted in three colonies. Ante, at 37. But that does
                        not mean that they may be dismissed as outliers. They
                        were successors to several centuries of comparable laws in
                        England, see supra, at 34–40, and predecessors to numer-
                        ous similar (in some cases, materially identical) laws en-
                        acted by the States after the founding, see infra, at 41–42.
                        And while it may be true that these laws applied only to
                        “dangerous and unusual weapons,” see ante, at 38 (majority
                        opinion), that category almost certainly included guns, see
                        Charles, 60 Clev. St. L. Rev., at 34, n. 181 (listing 18th cen-
                        tury sources defining “ ‘offensive weapons’ ” to include “ ‘Fire
                        Arms’ ” and “ ‘Guns’ ”); State v. Huntly, 25 N. C. 418, 422




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                        (1843) (per curiam) (“A gun is an ‘unusual weapon,’ where-
                        with to be armed and clad”). Finally, the Court points out
                        that New Jersey’s ban on public carriage applied only to
                        certain people or to the concealed carriage of certain
                        smaller firearms. Ante, at 39–40. But the Court’s refusal
                        to credit the relevance of East New Jersey’s law on this ba-
                        sis raises a serious question about what, short of a “twin”
                        or a “dead ringer,” qualifies as a relevant historical ana-
                        logue. See ante, at 21 (majority opinion) (emphasis de-
                        leted).
                                            C. The Founding Era.
                           The tradition of regulations restricting public carriage of
                        firearms, inherited from England and adopted by the Colo-
                        nies, continued into the founding era. Virginia, for exam-
                        ple, enacted a law in 1786 that, like the Statute of North-
                        ampton, prohibited any person from “go[ing] nor rid[ing]
                        armed by night nor by day, in fairs or markets, or in other
                        places, in terror of the Country.” 1786 Va. Acts, ch. 21.
                        And, as the Court acknowledges, “public-carry restrictions
                        proliferate[d]” after the Second Amendment’s ratification
                        five years later in 1791. Ante, at 42. Just a year after that,
                        North Carolina enacted a law whose language was lifted
                        from the Statute of Northampton virtually verbatim (ves-
                        tigial references to the King included). Collection of Stat-
                        utes, pp. 60–61, ch. 3 (F. Martin ed. 1792). Other States
                        passed similar laws in the late-18th and 19th centuries.
                        See, e.g., 1795 Mass. Acts and Laws ch. 2, p. 436; 1801
                        Tenn. Acts pp. 260–261; 1821 Me. Laws p. 285; see also
                        Charles, 60 Clev. St. L. Rev., at 40, n. 213 (collecting
                        sources).
                           The Court discounts these laws primarily because they
                        were modeled on the Statute of Northampton, which it be-
                        lieves prohibited only public carriage with the intent to ter-
                        rify. Ante, at 41. I have previously explained why I believe




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                        that preventing public terror was one reason that the Stat-
                        ute of Northampton prohibited public carriage, but not an
                        element of the crime. See supra, at 37–39. And, consistent
                        with that understanding, American regulations modeled on
                        the Statute of Northampton appear to have been under-
                        stood to set forth a broad prohibition on public carriage of
                        firearms without any intent-to-terrify requirement. See
                        Charles, 60 Clev. St. L. Rev., at 35, 37–41; J. Haywood, A
                        Manual of the Laws of North-Carolina, pt. 2, p. 40 (3d
                        ed.1814); J. Ewing, The Office and Duty of a Justice of the
                        Peace 546 (1805).
                           The Court cites three cases considering common-law of-
                        fenses, ante, at 42–44, but those cases do not support the
                        view that only public carriage in a manner likely to terrify
                        violated American successors to the Statute of Northamp-
                        ton. If anything, they suggest that public carriage of fire-
                        arms was not common practice. At least one of the cases
                        the Court cites, State v. Huntly, wrote that the Statute of
                        Northampton codified a pre-existing common-law offense,
                        which provided that “riding or going armed with dangerous
                        or unusual weapons, is a crime against the public peace, by
                        terrifying the good people of the land.” 25 N. C., at 420–421
                        (quoting 4 Blackstone, Commentaries, at 149; emphasis
                        added). Huntly added that “[a] gun is an ‘unusual weapon’ ”
                        and that “[n]o man amongst us carries it about with him, as
                        one of his every-day accoutrements—as a part of his dress—
                        and never, we trust, will the day come when any deadly
                        weapon will be worn or wielded in our peace-loving and law-
                        abiding State, as an appendage of manly equipment.” 25
                        N. C., at 422. True, Huntly recognized that citizens were
                        nonetheless “at perfect liberty” to carry for “lawful pur-
                        pose[s]”—but it specified that those purposes were “busi-
                        ness or amusement.” Id., at 422–423. New York’s law sim-
                        ilarly recognizes that hunting, target shooting, and certain
                        professional activities are proper causes justifying lawful
                        carriage of a firearm. See supra, at 12–13. The other two




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                        cases the Court cites for this point similarly offer it only
                        limited support—either because the atextual intent ele-
                        ment the Court advocates was irrelevant to the decision’s
                        result, see O’Neill v. State, 16 Ala. 65 (1849), or because the
                        decision adopted an outlier position not reflected in the
                        other cases cited by the Court, see Simpson v. State, 13
                        Tenn. 356, 360 (1833); see also ante, at 42–43, 57 (majority
                        opinion) (refusing to give “a pair of state-court decisions”
                        “disproportionate weight”). The founding-era regulations—
                        like the colonial and English laws on which they were mod-
                        eled—thus demonstrate a longstanding tradition of broad
                        restrictions on public carriage of firearms.
                                            D. The 19th Century.
                           Beginning in the 19th century, States began to innovate
                        on the Statute of Northampton in at least two ways. First,
                        many States and Territories passed bans on concealed car-
                        riage or on any carriage, concealed or otherwise, of certain
                        concealable weapons. For example, Georgia made it unlaw-
                        ful to carry, “unless in an open manner and fully exposed to
                        view, any pistol, (except horseman’s pistols,) dirk, sword in
                        a cane, spear, bowie-knife, or any other kind of knives, man-
                        ufactured and sold for the purpose of offence and defence.”
                        Ga. Code §4413 (1861). Other States and Territories en-
                        acted similar prohibitions. See, e.g., Ala. Code §3274 (1852)
                        (banning, with limited exceptions, concealed carriage of “a
                        pistol, or any other description of fire arms”); see also ante,
                        at 44, n. 16 (majority opinion) (collecting sources). And the
                        Territory of New Mexico appears to have banned all car-
                        riage whatsoever of “any class of pistols whatever,” as well
                        as “bowie kni[ves,] . . . Arkansas toothpick[s], Spanish dag-
                        ger[s], slung-shot[s], or any other deadly weapon.” 1860
                        Terr. of N. M. Laws §§1–2, p. 94. These 19th-century bans
                        on concealed carriage were stricter than New York’s law,
                        for they prohibited concealed carriage with at most limited
                        exceptions, while New York permits concealed carriage




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                        with a lawfully obtained license. See supra, at 12. Moreo-
                        ver, as Heller recognized, and the Court acknowledges, “the
                        majority of the 19th-century courts to consider the question
                        held that [these types of] prohibitions on carrying concealed
                        weapons were lawful under the Second Amendment or state
                        analogues.” 554 U. S., at 626 (emphasis added); see also
                        ante, at 44.
                           The Court discounts this history because, it says, courts
                        in four Southern States suggested or held that a ban on con-
                        cealed carriage was only lawful if open carriage or carriage
                        of military pistols was allowed. Ante, at 44–46. (The Court
                        also cites Bliss v. Commonwealth, 12 Ky. 90 (1822), which
                        invalidated Kentucky’s concealed-carry prohibition as con-
                        trary to that State’s Second Amendment analogue. Id., at
                        90–93. Bliss was later overturned by constitutional amend-
                        ment and was, as the Court appears to concede, an outlier.
                        See Peruta v. County of San Diego, 824 F. 3d 919, 935–936
                        (CA9 2016); ante, at 45.) Several of these decisions, how-
                        ever, emphasized States’ leeway to regulate firearms car-
                        riage as necessary “to protect the orderly and well disposed
                        citizens from the treacherous use of weapons not even de-
                        signed for any purpose of public defence.” State v. Smith,
                        11 La. 633 (1856); see also Andrews v. State, 50 Tenn. 165,
                        179–180 (1871) (stating that “the right to keep” rifles, shot-
                        guns, muskets, and repeaters could not be “infringed or for-
                        bidden,” but “[t]heir use [may] be subordinated to such reg-
                        ulations and limitations as are or may be authorized by the
                        law of the land, passed to subserve the general good, so as
                        not to infringe the right secured and the necessary inci-
                        dents to the exercise of such right”); State v. Reid, 1 Ala.
                        612, 616 (1840) (recognizing that the constitutional right to
                        bear arms “necessarily . . . leave[s] with the Legislature the
                        authority to adopt such regulations of police, as may be dic-
                        tated by the safety of the people and the advancement of
                        public morals”). And other courts upheld concealed-carry
                        restrictions without any reference to an exception allowing




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                        open carriage, so it is far from clear that the cases the Court
                        cites represent a consensus view. See State v. Mitchell, 3
                        Blackf. 229 (Ind. 1833); State v. Buzzard, 4 Ark. 18 (1842).
                        And, of course, the Court does not say whether the result in
                        this case would be different if New York allowed open car-
                        riage by law-abiding citizens as a matter of course.
                           The second 19th-century innovation, adopted in a num-
                        ber of States, was surety laws. Massachusetts’ surety law,
                        which served as a model for laws adopted by many other
                        States, provided that any person who went “armed with a
                        dirk, dagger, sword, pistol, or other offensive and dangerous
                        weapon,” and who lacked “reasonable cause to fear an as-
                        sualt [sic],” could be made to pay a surety upon the “com-
                        plaint of any person having reasonable cause to fear an in-
                        jury, or breach of the peace.” Mass. Rev. Stat., ch. 134, §16
                        (1836). Other States and Territories enacted identical or
                        substantially similar laws. See, e.g., Me. Rev. Stat., ch. 169,
                        §16 (1840); Mich. Rev. Stat., ch. 162, §16 (1846); Terr. of
                        Minn. Rev. Stat., ch. 112, §18 (1851); 1854 Ore. Stat., ch.
                        16, §17; W. Va. Code, ch. 153, §8 (1868); 1862 Pa. Laws p.
                        250, §6. These laws resemble New York’s licensing regime
                        in many, though admittedly not all, relevant respects. Most
                        notably, like New York’s proper cause requirement, the
                        surety laws conditioned public carriage in at least some cir-
                        cumstances on a special showing of need. Compare supra,
                        at 13, with Mass. Rev. Stat., ch. 134, §16.
                           The Court believes that the absence of recorded cases in-
                        volving surety laws means that they were rarely enforced.
                        Ante, at 49–50. Of course, this may just as well show that
                        these laws were normally followed. In any case, scholars
                        cited by the Court tell us that “traditional case law research
                        is not especially probative of the application of these re-
                        strictions” because “in many cases those records did not sur-
                        vive the passage of time” or “are not well indexed or digi-
                        tally searchable.” E. Ruben & S. Cornell, Firearms




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                        Regionalism and Public Carry: Placing Southern Antebel-
                        lum Case Law in Context, 125 Yale L. J. Forum 121, 130–
                        131, n. 53 (2015). On the contrary, “the fact that re-
                        strictions on public carry were well accepted in places like
                        Massachusetts and were included in the relevant manuals
                        for justices of the peace” suggests “that violations were en-
                        forced at the justice of peace level, but did not result in ex-
                        pensive appeals that would have produced searchable case
                        law.” Id., at 131, n. 53 (citation omitted). The surety laws
                        and broader bans on concealed carriage enacted in the 19th
                        century demonstrate that even relatively stringent re-
                        strictions on public carriage have long been understood to
                        be consistent with the Second Amendment and its state
                        equivalents.
                                           E. Postbellum Regulation.
                           After the Civil War, public carriage of firearms remained
                        subject to extensive regulation. See, e.g., Cong. Globe, 39th
                        Cong., 1st Sess., 908 (1866) (“The constitutional rights of all
                        loyal and well-disposed inhabitants to bear arms will not be
                        infringed; nevertheless this shall not be construed to sanc-
                        tion the unlawful practice of carrying concealed weapons”).
                        Of course, during this period, Congress provided (and com-
                        mentators recognized) that firearm regulations could not be
                        designed or enforced in a discriminatory manner. See ibid.;
                        Act of July 16, 1866, §14, 14 Stat. 176–177 (ensuring that
                        all citizens were entitled to the “full and equal benefit of all
                        laws . . . including the constitutional right to keep and bear
                        arms . . . without respect to race or color, or previous condi-
                        tion of slavery”); see also The Loyal Georgian, Feb. 3, 1866,
                        p. 3, col. 4. But that by-now uncontroversial proposition
                        says little about the validity of nondiscriminatory re-
                        strictions on public carriage, like New York’s.
                           What is more relevant for our purposes is the fact that,
                        in the postbellum period, States continued to enact gener-
                        ally applicable restrictions on public carriage, many of




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                        which were even more restrictive than their predecessors.
                        See S. Cornell & J. Florence, The Right to Bear Arms in the
                        Era of the Fourteenth Amendment: Gun Rights or Gun Reg-
                        ulation? 50 Santa Clara L. Rev. 1043, 1066 (2010). Most
                        notably, many States and Western Territories enacted
                        stringent regulations that prohibited any public carriage of
                        firearms, with only limited exceptions. For example, Texas
                        made it a misdemeanor to carry in public “any pistol, dirk,
                        dagger, slung-shot, sword-cane, spear, brass-knuckles,
                        bowie-knife, or any other kind of knife manufactured or sold
                        for the purpose of offense or defense” absent “reasonable
                        grounds for fearing an [immediate and pressing] unlawful
                        attack.” 1871 Tex. Gen. Laws ch. 34, §1. Similarly, New
                        Mexico made it “unlawful for any person to carry deadly
                        weapons, either concealed or otherwise, on or about their
                        persons within any of the settlements of this Territory.”
                        1869 Terr. of N. M. Laws ch. 32, §1. New Mexico’s prohibi-
                        tion contained only narrow exceptions for carriage on a per-
                        son’s own property, for self-defense in the face of immediate
                        danger, or with official authorization. Ibid. Other States
                        and Territories adopted similar laws. See, e.g., 1875 Wyo.
                        Terr. Sess. Laws ch. 52, §1; 1889 Idaho Terr. Gen. Laws §1,
                        p. 23; 1881 Kan. Sess. Laws §23, p. 92; 1889 Ariz. Terr.
                        Sess. Laws no. 13, §1, p. 16.
                           When they were challenged, these laws were generally
                        upheld. P. Charles, The Faces of the Second Amendment
                        Outside the Home, Take Two: How We Got Here and Why
                        It Matters, 64 Clev. St. L. Rev. 373, 414 (2016); see also
                        ante, at 56–57 (majority opinion) (recognizing that postbel-
                        lum Texas law and court decisions support the validity of
                        New York’s licensing regime); Andrews, 50 Tenn., at 182
                        (recognizing that “a man may well be prohibited from car-
                        rying his arms to church, or other public assemblage,” and
                        that the carriage of arms other than rifles, shot guns, mus-
                        kets, and repeaters “may be prohibited if the Legislature




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                        deems proper, absolutely, at all times, and under all cir-
                        cumstances”).
                           The Court’s principal answer to these broad prohibitions
                        on public carriage is to discount gun control laws passed in
                        the American West. Ante, at 58–61. It notes that laws en-
                        acted in the Western Territories were “rarely subject to ju-
                        dicial scrutiny.” Ante, at 60. But, of course, that may well
                        mean that “[w]e . . . can assume it settled that these” regu-
                        lations were “consistent with the Second Amendment.” See
                        ante, at 21 (majority opinion). The Court also reasons that
                        laws enacted in the Western Territories applied to a rela-
                        tively small portion of the population and were compara-
                        tively short lived. See ante, 59–61. But even assuming that
                        is true, it does not mean that these laws were historical ab-
                        errations. To the contrary, bans on public carriage in the
                        American West and elsewhere constitute just one chapter
                        of the centuries-old tradition of comparable firearms regu-
                        lations described above.
                                            F. The 20th Century.
                           The Court disregards “20th-century historical evidence.”
                        Ante, at 58, n. 28. But it is worth noting that the law the
                        Court strikes down today is well over 100 years old, having
                        been enacted in 1911 and amended to substantially its pre-
                        sent form in 1913. See supra, at 12. That alone gives it a
                        longer historical pedigree than at least three of the four
                        types of firearms regulations that Heller identified as “pre-
                        sumptively lawful.” 554 U. S., at 626–627, and n. 26; see C.
                        Larson, Four Exceptions in Search of a Theory: District of
                        Columbia v. Heller and Judicial Ipse Dixit, 60 Hastings
                        L. J. 1371, 1374–1379 (2009) (concluding that “ ‘prohibi-
                        tions on the possession of firearms by felons and the men-
                        tally ill [and] laws imposing conditions and qualifications
                        on the commercial sale of arms’ ” have their origins in the
                        20th century); Kanter v. Barr, 919 F. 3d 437, 451 (CA7
                        2019) (Barrett, J., dissenting) (“Founding-era legislatures




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                        did not strip felons of the right to bear arms simply because
                        of their status as felons”). Like JUSTICE KAVANAUGH, I un-
                        derstand the Court’s opinion today to cast no doubt on that
                        aspect of Heller’s holding. Ante, at 3 (concurring opinion).
                        But unlike JUSTICE KAVANAUGH, I find the disconnect be-
                        tween Heller’s treatment of laws prohibiting, for example,
                        firearms possession by felons or the mentally ill, and the
                        Court’s treatment of New York’s licensing regime, hard to
                        square. The inconsistency suggests that the Court today
                        takes either an unnecessarily cramped view of the relevant
                        historical record or a needlessly rigid approach to analogi-
                        cal reasoning.
                                                  *    *     *
                           The historical examples of regulations similar to New
                        York’s licensing regime are legion. Closely analogous Eng-
                        lish laws were enacted beginning in the 13th century, and
                        similar American regulations were passed during the colo-
                        nial period, the founding era, the 19th century, and the 20th
                        century. Not all of these laws were identical to New York’s,
                        but that is inevitable in an analysis that demands exami-
                        nation of seven centuries of history. At a minimum, the
                        laws I have recounted resembled New York’s law, similarly
                        restricting the right to publicly carry weapons and serving
                        roughly similar purposes. That is all that the Court’s test,
                        which allows and even encourages “analogical reasoning,”
                        purports to require. See ante, at 21 (disclaiming the neces-
                        sity of a “historical twin”).
                           In each instance, the Court finds a reason to discount the
                        historical evidence’s persuasive force. Some of the laws
                        New York has identified are too old. But others are too re-
                        cent. Still others did not last long enough. Some applied to
                        too few people. Some were enacted for the wrong reasons.
                        Some may have been based on a constitutional rationale
                        that is now impossible to identify. Some arose in histori-
                        cally unique circumstances. And some are not sufficiently




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                        analogous to the licensing regime at issue here. But if the
                        examples discussed above, taken together, do not show a
                        tradition and history of regulation that supports the valid-
                        ity of New York’s law, what could? Sadly, I do not know the
                        answer to that question. What is worse, the Court appears
                        to have no answer either.
                                                         V
                           We are bound by Heller insofar as Heller interpreted the
                        Second Amendment to protect an individual right to pos-
                        sess a firearm for self-defense. But Heller recognized that
                        that right was not without limits and could appropriately
                        be subject to government regulation. 554 U. S., at 626–627.
                        Heller therefore does not require holding that New York’s
                        law violates the Second Amendment. In so holding, the
                        Court goes beyond Heller.
                           It bases its decision to strike down New York’s law almost
                        exclusively on its application of what it calls historical “an-
                        alogical reasoning.” Ante, at 19–20. As I have admitted
                        above, I am not a historian, and neither is the Court. But
                        the history, as it appears to me, seems to establish a robust
                        tradition of regulations restricting the public carriage of
                        concealed firearms. To the extent that any uncertainty re-
                        mains between the Court’s view of the history and mine,
                        that uncertainty counsels against relying on history alone.
                        In my view, it is appropriate in such circumstances to look
                        beyond the history and engage in what the Court calls
                        means-end scrutiny. Courts must be permitted to consider
                        the State’s interest in preventing gun violence, the effec-
                        tiveness of the contested law in achieving that interest, the
                        degree to which the law burdens the Second Amendment
                        right, and, if appropriate, any less restrictive alternatives.
                           The Second Circuit has previously done just that, and it
                        held that New York’s law does not violate the Second
                        Amendment. See Kachalsky, 701 F. 3d, at 101. It first eval-
                        uated the degree to which the law burdens the Second




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                        Amendment right to bear arms. Id., at 93–94. It concluded
                        that the law “places substantial limits on the ability of law-
                        abiding citizens to possess firearms for self-defense in pub-
                        lic,” but does not burden the right to possess a firearm in
                        the home, where Heller said “ ‘the need for defense of self,
                        family, and property is most acute.’ ” Kachalsky, 701 F. 3d,
                        at 93–94 (quoting Heller, 554 U. S., at 628). The Second
                        Circuit therefore determined that the law should be subject
                        to heightened scrutiny, but not to strict scrutiny and its at-
                        tendant presumption of unconstitutionality. 701 F. 3d, at
                        93–94. In applying such heightened scrutiny, the Second
                        Circuit recognized that “New York has substantial, indeed
                        compelling, governmental interests in public safety and
                        crime prevention.” Id., at 97. I agree. As I have demon-
                        strated above, see supra, at 3–9, firearms in public present
                        a number of dangers, ranging from mass shootings to road
                        rage killings, and are responsible for many deaths and in-
                        juries in the United States. The Second Circuit then eval-
                        uated New York’s law and concluded that it is “substan-
                        tially related” to New York’s compelling interests.
                        Kachalsky, 701 F. 3d, at 98–99. To support that conclusion,
                        the Second Circuit pointed to “studies and data demonstrat-
                        ing that widespread access to handguns in public increases
                        the likelihood that felonies will result in death and funda-
                        mentally alters the safety and character of public spaces.”
                        Id., at 99. We have before us additional studies confirming
                        that conclusion. See, e.g., supra, at 19–20 (summarizing
                        studies finding that “may issue” licensing regimes are asso-
                        ciated with lower rates of violent crime than “shall issue”
                        regimes). And we have been made aware of no less restric-
                        tive, but equally effective, alternative. After considering all
                        of these factors, the Second Circuit held that New York’s
                        law does not unconstitutionally burden the right to bear
                        arms under the Second Amendment. I would affirm that
                        holding.




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                          New York’s Legislature considered the empirical evi-
                        dence about gun violence and adopted a reasonable licens-
                        ing law to regulate the concealed carriage of handguns in
                        order to keep the people of New York safe. The Court today
                        strikes down that law based only on the pleadings. It gives
                        the State no opportunity to present evidence justifying its
                        reasons for adopting the law or showing how the law actu-
                        ally operates in practice, and it does not so much as
                        acknowledge these important considerations. Because I
                        cannot agree with the Court’s decision to strike New York’s
                        law down without allowing for discovery or the development
                        of any evidentiary record, without considering the State’s
                        compelling interest in preventing gun violence and protect-
                        ing the safety of its citizens, and without considering the
                        potentially deadly consequences of its decision, I respect-
                        fully dissent.




                                                                                      (218)
